Case 20-10343-LSS   Doc 6418-1   Filed 09/29/21   Page 1 of 303




                      EXHIBIT 1
               Case 20-10343-LSS                  Doc 6418-1           Filed 09/29/21           Page 2 of 303




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    BOY SCOUTS OF AMERICA AND                                          Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                       (Jointly Administered)
                                Debtors.


     AMENDED DISCLOSURE STATEMENT FOR THE MODIFIED FIFTH AMENDED
      CHAPTER 11 PLAN OF REORGANIZATION FOR BOY SCOUTS OF AMERICA
                          AND DELAWARE BSA, LLC


WHITE & CASE LLP                                                    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Jessica C. Lauria (admitted pro hac vice)                           Derek C. Abbott (No. 3376)
1221 Avenue of the Americas                                         Andrew R. Remming (No. 5120)
New York, New York 10020                                            Paige N. Topper (No. 6470)
Telephone: (212) 819-8200                                           1201 North Market Street, 16th Floor
Email: jessica.lauria@whitecase.com                                 P.O. Box 1347
                                                                    Wilmington, Delaware 19899-1347
– and –
                                                                    Telephone: (302) 658-9200
    WHITE & CASE LLP                                                Email: dabbott@morrisnichols.com
    Michael C. Andolina (admitted pro hac vice)                             aremming@morrisnichols.com
    Matthew E. Linder (admitted pro hac vice)                               ptopper@morrisnichols.com
    Laura E. Baccash (admitted pro hac vice)
    Blair M. Warner (admitted pro hac vice)
    111 South Wacker Drive
    Chicago, Illinois 60606
    Telephone: (312) 881-5400
    Email: mandolina@whitecase.com
           mlinder@whitecase.com
           laura.baccash@whitecase.com
           blair.warner@whitecase.com

Attorneys for the Debtors and Debtors in Possession

Dated: September 2729, 2021
       Wilmington, Delaware



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification number,
      are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address is 1325
      West Walnut Hill Lane, Irving, Texas 75038.
       Case 20-10343-LSS    Doc 6418-1     Filed 09/29/21    Page 3 of 303




THIS DISCLOSURE STATEMENT HAS NOT BEEN APPROVED BY THE
BANKRUPTCY COURT. ACCEPTANCES OR REJECTIONS OF THE PLAN MAY
NOT BE SOLICITED UNTIL THE BANKRUPTCY COURT APPROVES THIS
DISCLOSURE STATEMENT. ACCORDINGLY, THIS IS NOT A SOLICITATION OF
A VOTE TO ACCEPT OR REJECT THE PLAN. THIS DISCLOSURE STATEMENT
MAY BE REVISED TO REFLECT DEVELOPMENTS THAT OCCUR AFTER THE
DATE HEREOF BUT PRIOR TO THE BANKRUPTCY COURT’S APPROVAL OF
THIS DISCLOSURE STATEMENT.



                  [Remainder of Page Intentionally Left Blank]
        Case 20-10343-LSS         Doc 6418-1      Filed 09/29/21    Page 4 of 303




                                TABLE OF CONTENTS

                                                                                         Page

ARTICLE I. IMPORTANT DATES                                                                 1
ARTICLE II. INTRODUCTION                                                                   5
A.   Background                                                                           5
B.   The BSA                                                                              8
C.   Voting and Confirmation                                                              9
D.   Settlements and Resolutions                                                         11
E.   Treatment of Chartered Organizations Under the Plan                                 16
F.   Timeline                                                                            20
G.   The Channeling Injunction                                                           22
H.   Summary and Description of Classes and Treatment                                    23
I.   Illustrative Recovery Charts for Direct Abuse Claims under the Trust Distribution
     Procedures                                                                          30
J.   The Settlement Trust                                                                37
K.   Further Information Regarding Non-Abuse Litigation Claims                           38
L.   Description of Certain Insurance Provisions of the Plan                             39
M.   Modification and Amendments                                                         40
ARTICLE III. ORGANIZATION OVERVIEW AND CORPORATE HISTORY                                 41
A.   Organization Overview                                                               41
B.   Corporate Structure                                                                 48
C.   Revenue Sources and Assets                                                          51
D.   Prepetition Capital Structure                                                       53
E.   Local Councils and Chartered Organizations                                          58
F.   Insurance Coverage for Abuse Claims                                                 58
ARTICLE IV. EVENTS LEADING TO THE CHAPTER 11 CASES                                       69
A.   The BSA’s Prepetition Global Resolution Efforts and Prepetition Claims Against
     the BSA                                                                              69
B.   The Impact of Statutes-of-Limitation Changes on Claims against the BSA and
     Non-Debtor Stakeholders                                                             71
ARTICLE V. THE CHAPTER 11 CASES                                                          72
A.   Commencement of the Cases and First Day Relief                                      72
B.   Procedural Motions                                                                  73
C.   Critical Vendors and Shared Services                                                73
D.   Retention of Chapter 11 Professionals                                               73
E.   Appointment of Fee Examiner                                                         74
F.   Appointment of Statutory Committees, Ad Hoc Committee, and Future
     Claimants’ Representative                                                           75
G.   Filing of Schedules of Assets and Liabilities and Statements of Financial Affairs   77
H.   Exclusivity                                                                         78
I.   Removal                                                                             78


                                              i
        Case 20-10343-LSS        Doc 6418-1      Filed 09/29/21   Page 5 of 303




J.   Preliminary Injunction                                                        79
K.   Mediation                                                                     81
L.   Evaluation of Estate Assets                                                   83
M.   Bar Dates and Body of Claims                                                  84
N.   Description of Abuse Claims and the Valuation of Abuse Claims                 89
O.   Future Claimants’ Representative’s Future Abuse Claims Forecast               94
P.   Assumption and Rejection of Unexpired Leases and Executory Contracts          94
Q.   Stay Relief Matters                                                           95
R.   Other Litigation                                                              96
S.   Material Settlements and Resolutions                                         103
T.   TCC / FCR Joint Standing Motion                                              120
U.   Other Relevant Filings & Hearings                                            121
ARTICLE VI. OVERVIEW OF THE PLAN                                                  122
A.   General                                                                      122
B.   Distributions                                                                122
C.   Treatment of Unclassified Claims                                             122
D.   Classification of Claims and Interests Summary                               125
E.   Treatment of Claims and Interests                                            129
F.   Elimination of Vacant Classes                                                137
G.   Cramdown                                                                     138
H.   Means for Implementation of the Plan                                         138
I.   Vesting of Assets in the Reorganized BSA                                     157
J.   Retention of Certain Causes of Action                                        157
K.   Compensation and Benefits Programs                                           157
L.   Restoration Plan and Deferred Compensation Plan                              158
M.   Workers’ Compensation Programs                                               158
N.   Treatment of Executory Contracts and Unexpired Leases                        158
O.   Provisions Governing Distributions                                           163
P.   Procedures for Resolving Contingent, Unliquidated, and Disputed Claims       168
Q.   Discharges, Channeling Injunction, Releases, Exculpations and Injunctions;
     Survival of Indemnification and Exculpation Obligations                      171
R.   Reservation of Rights                                                        183
S.   Disallowed Claims                                                            184
T.   No Successor Liability                                                       184
U.   Indemnities                                                                  184
V.   The Official Committees and the Future Claimants’ Representative             185
W.   Retention of Jurisdiction                                                    186
X.   Miscellaneous Provisions                                                     190
ARTICLE VII. THE SETTLEMENT TRUST AND TRUST DISTRIBUTION
     PROCEDURES                                                                   195
A.   The Settlement Trust                                                         195
B.   Trust Distribution Procedures                                                209
ARTICLE VIII. SOLICITATION PROCEDURES AND REQUIREMENTS                            236
A.   Voting Summary and Deadline                                                  236


                                            ii
        Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21   Page 6 of 303




B.   Solicitation Procedures                                                       238
C.   Classes Entitled to Vote on the Plan                                          242
D.   Certain Factors to Be Considered Prior to Voting                              245
ARTICLE IX. CONFIRMATION PROCEDURES                                                246
A.   Hearing on Plan Confirmation                                                  246
B.   Requirements for Confirmation of the Plan                                     246
C.   Acceptance by an Impaired Class                                               247
D.   Best Interests of Creditors / Liquidation Analysis                            247
E.   Feasibility                                                                   252
F.   Conditions Precedent to Confirmation of the Plan                              253
G.   Conditions Precedent to the Effective Date                                    256
H.   Waiver of Conditions Precedent                                                257
I.   Substantial Consummation of the Plan                                          257
J.   Vacatur of Confirmation Order; Non-Occurrence of Effective Date               258
ARTICLE X. RISK FACTORS                                                            258
A.   Risks Relating to the Debtors’ Operations, Financial Condition, and Certain
     Bankruptcy Law Considerations                                                 258
B.   Additional Factors                                                            277
ARTICLE XI. CERTAIN UNITED STATES FEDERAL INCOME TAX
     CONSEQUENCES OF THE PLAN                                                      278
A.   The Settlement Trust                                                          279
B.   Holders of Claims                                                             279
C.   Holders that are Non-United States Persons                                    281
ARTICLE XII. CONCLUSION AND RECOMMENDATION                                         281




                                            iii
       Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 7 of 303




                                     Table of Exhibits

EXHIBIT A   Plan of Reorganization

EXHIBIT B   Local Council Form of Letter of Intent

EXHIBIT C   Expected Local Council Settlement Trust Contributions

EXHIBIT D   Liquidation Analysis

  EXHIBIT D-1     Individual Local Council Balance Sheets

  EXHIBIT D-2     Local Council Property Value Information

EXHIBIT E   Financial Projections Analysis

  EXHIBIT E-1    Retained Property List

EXHIBIT F   Abuse Claims List Composite

EXHIBIT G   Tort Claimants’ Committee’s Local Council Abuse Claims Valuations

   EXHIBIT G-1     Debtors’ Response to Tort Claimants’ Committee’s Local Council Abuse
                  Claims Valuations

EXHIBIT H   Connections with Proposed Settlement Trustee
               Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 8 of 303




                                      ARTICLE I. IMPORTANT DATES2 3

    Event4
                                                                                              Date
    Voting Record Date                                               [●]October 1, 2021

    Deadline to Mail Solicitation Packages and                       [●]October 15, 2021
    Related Notices

    Rule 3018(a) Motion Deadline                                     [●]November 1, 2021

    Deadline to File Plan Supplement                                 [●]November 30, 2021

    Voting Resolution Event Deadline                                 [●]December 14, 2021 or as otherwise
                                                                     ordered by the Bankruptcy Court
    Voting Deadline                                                  [●]December 14, 2021 at 4:00 p.m. (Eastern
                                                                     Time)
    Preliminary Voting Report Deadline                               [●]December 21, 2021

    Plan ObjectionFinal Voting Report Deadline                       [●]January 4, 20212022

    Final Voting ReportPlan Objection Deadline                       [●], 2021January 7, 2022 at 4:00 p.m.
                                                                     (Eastern Time)
    Confirmation Brief/Reply Deadline                                [●]January 17, 20212022
                                                                     [●], 2021January 24, 2022 at [●10:00 a.m.]
    Confirmation Hearing
                                                                         (Eastern Time)5




2
      Certain of these proposed dates are subject to the Bankruptcy Court’s availability.
3
      The Debtors filed a motion to establish a timeline and protocol for discovery related to confirmation of the Plan. The dates
      requested in such motion, as may be amended, shall thereafter be incorporated herein.
4
      Capitalized terms used in this summary of “Important Dates” and not otherwise defined herein or in the Plan shall have the
      meaning ascribed to them in the Solicitation Procedures Motion (as defined below).
5
      The Confirmation Hearing is being proposed to be held on [●], 2021January 24, 2022 at [●10:00 a.m.] (Eastern Time) and
      to be continued to the extent necessary on [●], 20212022 at [●] (Eastern Time).


                                                                 1
       Case 20-10343-LSS   Doc 6418-1   Filed 09/29/21   Page 9 of 303




                              DISCLAIMER

     THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT IS
INCLUDED HEREIN FOR PURPOSES OF SOLICITING VOTES TO ACCEPT, AND
OBTAINING CONFIRMATION OF, THE PLAN AND MAY NOT BE RELIED UPON FOR
ANY OTHER PURPOSE.

     ALL CREDITORS ARE ENCOURAGED TO READ THIS DISCLOSURE
STATEMENT AND ITS ATTACHED EXHIBITS, INCLUDING THE PLAN, IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THE PLAN. PLAN SUMMARIES
AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN
THEIR ENTIRETY BY REFERENCE TO THE PLAN, THE EXHIBITS AND SCHEDULES
ATTACHED TO THE PLAN, AND DOCUMENTS INCLUDED IN THE PLAN
SUPPLEMENT, WHICH CONTROL OVER THE DISCLOSURE STATEMENT IN THE
EVENT OF ANY INCONSISTENCY OR INCOMPLETENESS. THE STATEMENTS
CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
OF THIS DISCLOSURE STATEMENT, AND THERE CAN BE NO ASSURANCE THAT
THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME AFTER
THIS DATE. ALTHOUGH THE DEBTORS MAY SUBSEQUENTLY UPDATE THE
INFORMATION IN THIS DISCLOSURE STATEMENT, THE DEBTORS HAVE NO
AFFIRMATIVE DUTY TO DO SO, EXCEPT AS OTHERWISE PROVIDED IN THE PLAN,
BY ORDER OF THE BANKRUPTCY COURT OR IN ACCORDANCE WITH APPLICABLE
LAW.

     ANY STATEMENTS IN THIS DISCLOSURE STATEMENT CONCERNING THE
PROVISIONS OF ANY DOCUMENT ARE NOT NECESSARILY COMPLETE, AND IN
EACH INSTANCE REFERENCE IS MADE TO SUCH DOCUMENT FOR THE FULL TEXT
THEREOF.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016 OF THE
BANKRUPTCY RULES AND NOT NECESSARILY IN ACCORDANCE WITH FEDERAL
OR STATE SECURITIES LAWS OR OTHER NON-BANKRUPTCY LAW.

     PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING,
OR TRANSFERRING CLAIMS AGAINST THE DEBTORS SHOULD EVALUATE THIS
DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH
THEY WERE PREPARED.

     THIS DISCLOSURE STATEMENT AND ANY DOCUMENTS APPROVED AS A
PART OF THE SOLICITATION PACKAGE ARE THE ONLY DOCUMENTS TO BE USED
IN CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN. NO
SOLICITATION OF VOTES MAY BE MADE UNTIL THE BANKRUPTCY COURT HAS
APPROVED THIS DISCLOSURE STATEMENT AND THE DEBTORS HAVE
DISTRIBUTED THIS DISCLOSURE STATEMENT IN ACCORDANCE WITH THE
SOLICITATION PROCEDURES.     NO PERSON HAS BEEN AUTHORIZED TO


                                    2
       Case 20-10343-LSS   Doc 6418-1   Filed 09/29/21   Page 10 of 303




DISTRIBUTE ANY INFORMATION CONCERNING THE PLAN OTHER THAN THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AND ANY
ACCOMPANYING DOCUMENTS.

     THE DEBTORS’ MANAGEMENT, WITH THE ASSISTANCE OF THE DEBTORS’
FINANCIAL ADVISORS, PREPARED THE FINANCIAL PROJECTIONS APPENDED TO
THIS DISCLOSURE STATEMENT. ALTHOUGH THE DEBTORS HAVE PRESENTED
THESE PROJECTIONS WITH NUMERICAL SPECIFICITY, THEY HAVE NECESSARILY
BASED THE PROJECTIONS ON A VARIETY OF ESTIMATES AND ASSUMPTIONS
THAT, ALTHOUGH CONSIDERED REASONABLE BY SENIOR LEADERSHIP OF THE
DEBTORS AT THE TIME OF PREPARATION, MAY NOT BE REALIZED, AND ARE
INHERENTLY SUBJECT TO SIGNIFICANT OPERATIONAL, ECONOMIC, AND
FINANCIAL UNCERTAINTIES AND CONTINGENCIES, MANY OF WHICH WILL BE
BEYOND THE DEBTORS’ OR REORGANIZED BSA’S CONTROL. THE DEBTORS
CAUTION THAT THEY CANNOT MAKE ANY REPRESENTATIONS AS TO THE
ACCURACY OF THESE PROJECTIONS OR TO THE DEBTORS’ OR REORGANIZED
BSA’S ABILITY TO ACHIEVE THE PROJECTED RESULTS. SOME ASSUMPTIONS
INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS AND CIRCUMSTANCES
OCCURRING SUBSEQUENT TO THE DATE ON WHICH THESE PROJECTIONS WERE
PREPARED MAY DIFFER FROM ANY ASSUMED FACTS AND CIRCUMSTANCES.
ALTERNATIVELY, ANY EVENTS AND CIRCUMSTANCES THAT COME TO PASS MAY
WELL HAVE BEEN UNANTICIPATED, AND THUS MAY AFFECT FINANCIAL
RESULTS IN A MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER.
THE PROJECTIONS, THEREFORE, MAY NOT BE RELIED UPON AS A GUARANTY OR
OTHER ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

     CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE
STATEMENT IS BY ITS NATURE FORWARD LOOKING AND CONTAINS ESTIMATES,
ASSUMPTIONS, AND PROJECTIONS THAT MAY BE MATERIALLY DIFFERENT FROM
ACTUAL FUTURE RESULTS. THE WORDS “BELIEVE,” “MAY,” “WILL,” “ESTIMATE,”
“CONTINUE,” “ANTICIPATE,” “INTEND,” “EXPECT,” AND SIMILAR EXPRESSIONS
IDENTIFY THESE FORWARD-LOOKING STATEMENTS. THESE FORWARD-LOOKING
STATEMENTS ARE SUBJECT TO A NUMBER OF RISKS, UNCERTAINTIES, AND
ASSUMPTIONS, INCLUDING THOSE DESCRIBED IN ARTICLE X, “RISK FACTORS.” IN
LIGHT OF THESE RISKS AND UNCERTAINTIES, THE FORWARD-LOOKING EVENTS
AND CIRCUMSTANCES DISCUSSED IN THIS DISCLOSURE STATEMENT MAY NOT
OCCUR, AND ACTUAL RESULTS COULD DIFFER MATERIALLY FROM THOSE
ANTICIPATED IN THE FORWARD-LOOKING STATEMENTS. THE DEBTORS AND
THE REORGANIZED BSA DO NOT UNDERTAKE ANY OBLIGATION TO PUBLICLY
UPDATE OR REVISE ANY FORWARD- LOOKING STATEMENTS, WHETHER AS A
RESULT OF NEW INFORMATION, FUTURE EVENTS, OR OTHERWISE.

     EXCEPT WHERE SPECIFICALLY NOTED, THE FINANCIAL INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT HAS NOT BEEN AUDITED BY A
CERTIFIED PUBLIC ACCOUNTANT AND HAS NOT BEEN PREPARED IN
ACCORDANCE WITH GENERALLY ACCEPTED ACCOUNTING PRINCIPLES. THE
HISTORICAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT HAS


                                    3
       Case 20-10343-LSS   Doc 6418-1   Filed 09/29/21   Page 11 of 303




BEEN OBTAINED FROM SUCH REPORTS AND OTHER SOURCES OF INFORMATION
AS ARE AVAILABLE TO THE DEBTORS.

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN
FURTHERANCE OF A SETTLEMENT OF SUCH CONTESTED MATTERS, ADVERSARY
PROCEEDINGS, AND OTHER ACTIONS OR THREATENED ACTIONS.           THIS
DISCLOSURE STATEMENT WILL NOT BE ADMISSIBLE IN ANY NON-BANKRUPTCY
PROCEEDING, NOR SHALL THIS DISCLOSURE STATEMENT BE CONSTRUED TO BE
CONCLUSIVE ADVICE ON THE TAX OR OTHER LEGAL EFFECTS OF THE PLAN AS
TO HOLDERS OF CLAIMS AGAINST, OR INTERESTS IN, THE DEBTORS OR
REORGANIZED BSA. THE DEBTORS DO NOT REPRESENT OR WARRANT THAT THE
INFORMATION CONTAINED HEREIN OR ATTACHED HERETO IS WITHOUT ANY
MATERIAL INACCURACY OR OMISSION.




                                    4
             Case 20-10343-LSS                Doc 6418-1          Filed 09/29/21          Page 12 of 303




                                        ARTICLE II. INTRODUCTION

A.       Background

        This Disclosure Statement is being furnished by the Debtors in connection with the
Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (as such may be amended, altered, modified or supplemented from time to
time, the “Plan”),6 dated September 1529, 2021, pursuant to section 1125 of the Bankruptcy
Code, and in connection with the solicitation of votes to accept or reject the Plan.

       The Plan described in this Disclosure Statement is proposed by the Debtors and
supported by the Future Claimants’ Representative, the Creditors’ Committee, the Coalition, and
the Ad Hoc Committee7 (collectively, the “Supporting Parties”). The Plan further incorporates
settlements with JPM, Hartford, and TCJC.

        Since the outset of these cases, the Debtors have advocated for a global resolution of
Scouting-related sexual abuse claims that would comprehensively address liabilities of the
Debtors and the many non-debtor Local Councils and Chartered Organizations that administer
and carry out Scouting programming nationwide. Negotiations increased in intensity during
2021 and have occurred in the context of informal negotiations, countless hours of formal
telephonic and video mediation sessions, and formal in-person mediation with the support of
three Mediators appointed by the Bankruptcy Court.8 The Debtors entered into a settlement with
the Creditors’ Committee and JPM in March 2021. The Debtors also entered into a settlement
with Hartford (the “Initial Hartford Settlement Agreement”) in April 2021.9 Thereafter,
negotiations continued with the other mediation parties. In those sessions, the Debtors made
substantial progress toward a consensual plan of reorganization that would garner the support of
the representatives of a majority of holders of Abuse Claims.

       On July 1, 2021, the Debtors entered into a restructuring support agreement [D.I. 5466,
5813. 5868] (together with all exhibits, including the term sheet attached thereto and as may be
amended or modified from time to time in accordance with the terms thereof, the “Restructuring
Support Agreement”)10 with the Future Claimants’ Representative, the Tort Claimants’
Committee, the Coalition, and the State Court Counsel,11 as well as the Ad Hoc Committee


6
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Plan.
7
     The Ad Hoc Committee of Local Councils is comprised of eight representative Local Councils (as defined in the Plan, the
     “Ad Hoc Committee”).
8
     In addition to numerous telephonic and video sessions, formal in-person mediation sessions were held on (i) March
     30–April 1, 2021 in Miami; (ii) June 2–3, 2021 in Chicago; (iii) June 29–30, 2021 in Los Angeles; and (iv) May 4–6, May
     26–27, June 7–10, August 3–5, August 18–24, September 1, and September 9–10, 2021 in New York City. See Article V.K
     herein for a further discussion on mediation throughout these Chapter 11 Cases, the Mediators, and the mediation parties.
9
     The Initial Hartford Settlement Agreement was announced on April 16, 2021 [D.I. 2624] and incorporated into a prior
     version of the Plan filed on May 16, 2021 [D.I. 4107].
10
     Capitalized terms in this Article II.A not otherwise defined herein shall have the meanings ascribed to them in the
     Restructuring Support Agreement.
11
     The Coalition was formed in connection with certain law firms (“State Court Counsel”) representing holders of Abuse
     Claims. These firms are: (i) Slater Slater Schulman LLP, (ii) ASK LLP, (iii) Andrews & Thornton, (iv) Levin Papantonio
     Thomas Mitchell Rafferty & Procter P.A., (v) Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C., (vi) Junell &
     Associates PLLC, (vii) Reich & Binstock LLP, (viii) Marc J. Bern & Partners LLP, (ix) Krause & Kinsman Law Firm, (x)


                                                              5
             Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 13 of 303




(together with the Debtors, the “RSA Supporting Parties”), and concurrently filed a motion to
approve the Restructuring Support Agreement (the “RSA Motion”). The Restructuring Support
Agreement provided for a plan of reorganization that would deliver global resolution in these
Chapter 11 Cases, and the representatives of approximately 70,000 holders of Abuse Claims
supported the plan as set forth in the term sheet attached to the Restructuring Support
Agreement.

        Under the terms of the plan of reorganization contemplated by the Restructuring Support
Agreement, the incorporation of any settlement with Hartford was required to be on terms and
conditions acceptable to the Debtors and the RSA Supporting Parties. The terms and conditions
of the Initial Hartford Settlement Agreement were not acceptable to the RSA Supporting Parties
and were required to be removed from the plan of reorganization. To comply with the
Restructuring Support Agreement, the Debtors sought a determination from the Bankruptcy
Court that they had no obligations under the Initial Hartford Settlement Agreement.

        After holding a hearing on the RSA Motion on August 12, 13, and 16, the Bankruptcy
Court issued a bench ruling on August 19, 2021. The Bankruptcy Court ruled, among other
things, that the Debtors were authorized to enter into the Restructuring Support Agreement but
refrained from ruling with respect to whether the Debtors have any obligation to seek approval
of the Initial Hartford Settlement Agreement.

        Without a clear path for removing the terms and conditions of the Initial Hartford
Settlement Agreement from the plan of reorganization, the Debtors and RSA Supporting Parties
continued to engage in mediated negotiations regarding the terms of a settlement with Hartford
that would be acceptable to representatives of holders of Direct Abuse Claims. On August 27,
2021, during those negotiations, the Restructuring Support Agreement expired in accordance
with its terms. The Debtors and the RSA Supporting Parties continued to mediate with various
parties in interest, including Insurance Companies and certain Chartered Organizations. After
further mediation, negotiations yielded an improved settlement with Hartford, supported by the
Debtors, the Future Claimants’ Representative, the Coalition and certain State Court Counsel,
and a settlement with TCJC.12

        On September 14, 2021, the Debtors filed the Sixth Mediators’ Report, which stated that
the Debtors, Hartford, the Future Claimants’ Representative, the Coalition, and the Ad Hoc
Committee had agreed in principle on settlement terms that will result in an additional $1.037
billion of cash contributions to the Settlement Trust, in addition to the contributions of up to
approximately $820 million that will be made by the Debtors and the Local Councils [D.I. 6210].
13
   Specifically, such parties have agreed on: (1) as a result of negotiations led on behalf of Abuse
     Bailey Cowan Heckaman PLLC, (xi) Babin Law, LLC, (xii) Jason J. Joy & Associates, PLLC, (xiii) Motley Rice LLC,
     (xiv) Weller Green Toups & Terrell LLP, (xv) Colter Legal PLLC, (xvi) Christina Pendleton & Associates PLLC, (xvii)
     Forman Law Offices, P.A., (xviii) Danziger & De Llano LLP, (xix) Swenson & Shelley PLLC, (xx) Cohen Hirsch LP
     (formerly Brooke F. Cohen Law, Hirsch Law Firm), (xxi) Damon J. Baldone PLC, (xxii) Cutter Law PC, (xxiii) The Robert
     Pahlke Law Group, (xxiv) Napoli Shkolnik PLLC, (xxv) Porter & Malouf, P.A, (xxvi) The Moody Law Firm, and (xxvii)
     Linville Johnson & Pahlke Law Group [D.I. 1997].
12
     While the Tort Claimants’ Committee supported the plan of reorganization as described in the expired Restructuring
     Support Agreement, the material terms of which are incorporated into the Plan, the Tort Claimants’ Committee does not
     support the settlements with Hartford and TCJC.
13
     As of the date of the filing of this Disclosure Statement, every Local Council has submitted a non-binding letter of intent
     reflecting each Local Council’s intent to contribute the amounts listed on Exhibit C to this Disclosure Statement. A form of


                                                                6
             Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 14 of 303




Survivors by the Coalition, the Future Claimants’ Representative, and their respective
professionals, the terms of a modified settlement with Hartford, with State Court Counsel
supporting and agreeing to be bound by such terms; and (2) a settlement with TCJC.14 The
modified Hartford settlement, the principal terms of which are set forth in the term sheet
attached to the Plan as Exhibit I-1 and which will be the subject of a definitive settlement
agreement which will be filed with the Bankruptcy Court and included in the Plan Supplement
(the “Hartford Insurance Settlement Agreement”), supersedes and, upon the Effective Date,
renders the Initial Hartford Settlement Agreement void.15 In exchange for Hartford’s $787
million cash contribution to the Settlement Trust,16 Debtors will sell to Hartford, under the Plan,
all liability insurance policies issued by Hartford to the BSA as the first named insured, free and
clear of all interests in such policies. Hartford will be designated as a Settling Insurance
Company and a Protected Party under the Plan and, subject to Bankruptcy Court approval, will
receive the Hartford Administrative Expense Claim in the amount of $2 million, to be paid in
accordance with the terms of the Hartford Insurance Settlement Agreement. Notably, the
Hartford Settlement Contribution is not subject to reduction based on the terms of settlements
with other insurers.17 Moreover, in exchange for TCJC’s (1) $250 million cash contribution to
the Settlement Trust, (2) rights under applicable insurance policies owned by the Debtors and the
Local Councils, and (3) subordinate and/or waiver, release and expungement of TCJC’s claims
against the Debtors, TCJC will be designated as a Contributing Chartered Organization and
Protected Party under the Plan. As consideration for such contributions by Hartford and TCJC,
both parties will be entitled to the benefits of the Channeling Injunction and third-party releases
under the Plan with respect to Abuse Claims, subject to Bankruptcy Court approval.

        This Disclosure Statement describes the Plan, which incorporates the material terms set
forth in the expired Restructuring Support Agreement and additionally incorporates the new
settlements with Hartford and TCJC, as well as the JPM / Creditors’ Committee Settlement. The
Plan allows the Debtors to achieve the dual objectives that the Debtors set out to accomplish at
the outset of these cases: (a) to timely and equitably compensate survivors of Abuse in Scouting
and (b) to ensure that the BSA emerges from bankruptcy with the ability to continue its vital
charitable mission.

     THE DEBTORS AND THE SUPPORTING PARTIES (INCLUDING THE
CREDITORS’ COMMITTEE, THE FUTURE CLAIMANTS’ REPRESENTATIVE, THE
COALITION, AND THE AD HOC COMMITTEE) SUPPORT CONFIRMATION OF
THE PLAN AND URGE ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THE
PLAN TO VOTE TO ACCEPT THE PLAN. THE DEBTORS AND THE SUPPORTING
PARTIES BELIEVE THAT THE PLAN PROVIDES THE HIGHEST AND BEST

     reflecting each Local Council’s intent to contribute the amounts listed on Exhibit C to this Disclosure Statement. A form of
     the non-binding letter of intent is attached as Exhibit B hereto.
14
     The Hartford term sheet is attached as Exhibit A and TCJC term sheet is attached as Exhibit B to the Sixth Mediators’
     Report [D.I. 6210].
15
     Under the Plan, Hartford would be granted an Allowed Administrative Expense Claim in the amount of $2 million relating
     to the Initial Hartford Settlement Agreement.
16
     The modified Hartford Insurance Settlement Agreement provides for an increased cash contribution to the Settlement Trust
     of $137 million as compared to the Initial Hartford Settlement Agreement.
17
     The Initial Hartford Settlement Agreement included a reduction provision based upon any future contribution amount from
     Century to the Settlement Trust.


                                                                7
             Case 20-10343-LSS               Doc 6418-1             Filed 09/29/21   Page 15 of 303




RECOVERY FOR ALL CREDITORS AND IS IN THE BEST INTERESTS OF THE
DEBTORS’ ESTATES.

       The Plan provides the framework for global resolution of Abuse Claims against the
Debtors, Related Non-Debtor Entities, and Local Councils, as well as any Participating
Chartered Organizations and Contributing Chartered Organizations and Settling Insurance
Companies that may make contributions to the Settlement Trust for the benefit of survivors of
Abuse (collectively, “Abuse Survivors”). The Plan has been designed to maximize and expedite
recoveries to Abuse Survivors. The Debtors and the Supporting Parties strongly encourage all
holders of Claims in the Voting Classes, including Direct Abuse Claims, to vote in favor of the
Plan.

       By order dated [●], 2021, the Bankruptcy Court approved this Disclosure Statement in
accordance with section 1125 of the Bankruptcy Code and found that it contained “adequate
information” sufficient to enable a hypothetical investor of the relevant Class to make an
informed judgment about the Plan, and authorized its use in connection with the solicitation of
votes with respect to the Plan. Approval of this Disclosure Statement does not, however,
constitute a determination by the Bankruptcy Court as to the accuracy or completeness of
the information contained herein nor an endorsement by the Bankruptcy Court as to the
fairness or merits of the Plan. No solicitation of votes may be made except pursuant to this
Disclosure Statement and section 1125 of the Bankruptcy Code.

        A copy of the Plan is attached hereto as Exhibit A. The rules of interpretation set forth
in Article I.B of the Plan govern the interpretation of this Disclosure Statement. Please note
that if any inconsistencies exist between this Disclosure Statement and the Plan, the Plan
shall govern in all respects.

B.       The BSA

        The BSA’s charitable mission is to prepare young men and women for life by instilling in
them the values of the Scout Oath and Law and encouraging them to be trustworthy, kind,
friendly and helpful. The BSA also trains young men and women in responsible citizenship,
character development, and self-reliance through participation in a wide range of outdoor
activities, educational programs, and, at older ages, career-oriented programs in partnership with
community organizations. Indeed, since its inception more than 110 years ago, more than 130
million young men and women have participated in the BSA’s youth programs, and at least 35
million adult volunteers have helped carry out the BSA’s mission.18 Today, the BSA remains
one of the largest youth organizations in the United States and one of the largest Scouting
organizations in the world, with approximately 762,000 registered youth participants and
approximately 320,000 adult volunteers. The BSA’s alumni are legion among our nation’s
business, political, and cultural leaders. Their legacy is the creation and support of Scouting
units in virtually every corner of America and at U.S. military bases worldwide.

       The BSA welcomes all young men and women, regardless of gender, race, ethnic
background, sexual orientation, disability, or gender identification, who are willing to accept

18
     See BSA, About the BSA, https://www.scouting.org/about/.


                                                                8
             Case 20-10343-LSS       Doc 6418-1      Filed 09/29/21     Page 16 of 303




Scouting’s values and meet the other requirements of membership. A Scout subscribes to the
following oath: “On my honor I will do my best to do my duty to God and my country and to
obey the Scout Law; to help other people at all times; to keep myself physically strong, mentally
awake, and morally straight.”19 Scouts are expected to conduct themselves in accordance with
the Scout Law: to be “trustworthy, loyal, helpful, friendly, courteous, kind, obedient, cheerful,
thrifty, brave, clean, and reverent.”20

       The BSA cares deeply about all survivors of child abuse. The BSA understands that no
apology can repair the damage caused by abuse or take away the pain that survivors have
endured. The BSA is steadfast in its commitment to continually improve all of its policies to
prevent abuse.

C.         Voting and Confirmation

       Article VIII of this Disclosure Statement specifies the deadlines, procedures, and
instructions for voting to accept or reject the Plan, as well as the applicable standards for
tabulating ballots and master ballots, used in voting on the Plan (each, generally referred
to herein as a “Ballot”). The following is an overview of certain information related to
voting that is contained in Article VIII of this Disclosure Statement and elsewhere in this
Disclosure Statement.

        This Disclosure Statement is being transmitted in order to provide adequate information
to enable holders of Claims in Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF
Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience
Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8
(Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), which Claims in such Classes are
Impaired and entitled to vote on the Plan, to make an informed judgment in exercising their right
to vote to accept or reject the Plan.

        Each Class of Claims entitled to vote shall have accepted the Plan pursuant to the
requirements of section 1126(c) of the Bankruptcy Code if at least two-thirds (2/3) in amount
and more than one-half (1/2) in number of those voting in each such Class voted to accept the
Plan. Assuming the requisite acceptances are obtained, the Debtors intend to seek Confirmation
of the Plan at the Confirmation Hearing scheduled for [●]January 24, 20212022, at [●10:00 a.m.]
(Eastern Time) before the Bankruptcy Court. The Confirmation Hearing may be continued from
time to time without further notice other than an adjournment announced in open court or a
notice of adjournment filed with the Bankruptcy Court and served on those parties who have
requested notice under Bankruptcy Rule 2002 and the Entities who have filed an objection to the
Plan, if any, without further notice to parties in interest. The Bankruptcy Court, in its discretion
and prior to the Confirmation Hearing, may put in place additional procedures governing the
Confirmation Hearing. Subject to section 1127 of the Bankruptcy Code, the Plan may be
modified, if necessary, prior to, during, or as a result of the Confirmation Hearing, without
further notice to parties in interest.


19
     Id.
20
     Id.


                                                 9
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 17 of 303




        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection or response to Confirmation of the Plan must: (i) be
in writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim of such party; (iii) state with particularity the legal and factual basis and nature of any
objection to the Plan and include any evidentiary support therefor; and (iv) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before [●], 2021January 7, 2022 at 4:00 p.m. (Eastern Time) (the
“Plan Objection Deadline”), and served on the Debtors and certain other parties in interest in
accordance with the Solicitation Procedures Order (defined below) so that they are received on
or before the Plan Objection Deadline.

       The Debtors have engaged Omni Agent Solutions (the “Solicitation Agent” or “Notice
and Claims Agent”) to assist in the voting process.

        The Solicitation Agent will provide additional copies of all materials and will process
and tabulate the Ballots, as defined in the Debtors’ Motion for Order (I) Approving the
Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and
Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope
of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with Approval of the
Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief [D.I. 2295]
(the “Solicitation Procedures Motion”), filed on March 2, 2021, for Classes 3A, 3B, 4A, 4B, 5, 6,
7, 8, and 9, as applicable. You may obtain these documents from the Solicitation Agent free of
charge by: (a) calling the Debtors’ toll-free restructuring hotline at (866) 907-2721, (b) visiting
the Debtors’ restructuring website at https://omniagentsolutions.com/bsa, (c) writing to Boy
Scouts of America, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland
Hills, CA 91367, or (d) emailing BSAballots@omniagnt.com. You may also access from these
materials for a fee via PACER at http://www.deb.uscourts.gov/.

       As further described in the Solicitation Procedures (as defined inwhich are annexed
to the Solicitation Procedures MotionOrder as Exhibit 1), to be counted, your Ballot
indicating acceptance or rejection of the Plan must be received by the Solicitation Agent no
later than 4:00 p.m. (Eastern Time) on [●]December 14, 2021 (the “Voting Deadline”),
unless the Debtors, in their sole discretion, extend the period during which votes will be
accepted on the Plan, in which case the term “Voting Deadline” shall mean the last date on, and
time by which, such period is extended. Any executed Ballot that does not indicate either an
acceptance or rejection of the Plan or indicates both an acceptance and rejection of the Plan will
not be counted as an acceptance or rejection and will not count toward the tabulations required
pursuant to either section 1129 of the Bankruptcy Code.

        Prior to deciding whether and how to vote on the Plan, each holder of a Claim entitled to
vote should consider carefully all of the information in this Disclosure Statement, including
Article X entitled “Risk Factors.” Each holder of a Claim entitled to vote on the Plan should
review this Disclosure Statement and the Plan and all Exhibits hereto and thereto before
submitting a Ballot. This Disclosure Statement contains a summary of certain provisions
of the Plan and certain other documents and financial information. The Debtors believe
that these summaries are fair and accurate as of the date hereof and provide adequate
information with respect to the documents summarized; however, such summaries are


                                                10
          Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 18 of 303




qualified to the extent that they do not set forth the entire text of those documents and as
otherwise provided herein.

D.     Settlements and Resolutions

        To both maximize distributions to holders of Direct Abuse Claims and continue the
BSA’s long tradition of Scouting, the Debtors and Supporting Parties seek approval of a plan of
reorganization under chapter 11 of the Bankruptcy Code that provides a framework for global
resolution, which, if confirmed and consummated, will allow the Debtors, as Reorganized BSA,
to emerge from bankruptcy, having fulfilled their dual restructuring goals of (a) providing an
equitable, streamlined, and certain process by which Abuse Survivors may obtain compensation
for Abuse and (b) ensuring that the Reorganized BSA has the ability to continue its vital
charitable mission.

        The Plan incorporates certain of the material terms and provisions of the expired
Restructuring Support Agreement. Additionally, as described above and in more detail below,
the Plan incorporates the JPM / Creditors’ Committee Settlement, which, subject to its terms and
the effectiveness of the Plan, resolves all issues and objections that could be asserted by the
Creditors’ Committee with respect to confirmation of the Plan and prospective lien challenges,
and all claims or causes of action that might be brought by or on behalf of the Debtors’ Estates.
As described more fully below and set forth in the Plan, the JPM / Creditors’ Committee
Settlement provides for substantial benefits to the Debtors’ Estates, including distributions to
holders of Allowed Convenience Claims, Allowed General Unsecured Claims, and Allowed
Non-Abuse Litigation Claims, in addition to extensions of the maturity dates of the Prepetition
Debt and Security Documents, including a two year moratorium on principal, which allows the
Debtors to increase their contributions to the Settlement Trust. The JPM / Creditors’ Committee
Settlement also contemplates the Allowance of JPM’s Claims by amending and restating the
Prepetition Debt and Security Documents in the manner described in the Plan.

         The BSA’s charitable mission of Scouting is supported by certain Entities that are not
Debtors in these Chapter 11 Cases, including Local Councils and Chartered Organizations. As
described in this Disclosure Statement, the Local Councils serve geographic areas of varying
size across the United States and facilitate the delivery of the Scouting program at the local
level. Chartered Organizations are typically local organizations—such as faith-based
institutions, clubs, civic associations, educational institutions, businesses, and groups of
citizens—that sponsor local Scouting units. Under the Plan, substantial contributions to the
Settlement Trust by the Debtors, Local Councils, Contributing Chartered Organizations, and
Settling Insurance Companies will be made in exchange for the treatment of the foregoing
Entities as Protected Parties under the Channeling Injunction. Additionally, Participating
Chartered Organizations will agree to assignment and transfer to the Settlement Trust of their
BSA insurance related rights and actions in exchange for treatment as Limited Protected Parties
under the Channeling Injunction. The foregoing settlements are intended to provide for the fair
and equitable resolution of Abuse Claims.

       To continue the mission of Scouting through these non-Debtors, the Plan provides for the
settlement of Abuse Claims against the BSA, Local Councils, any Participating Chartered
Organizations, Contributing Chartered Organizations, and Settling Insurance Companies, by


                                               11
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 19 of 303




“channeling” all such Claims to the Settlement Trust (with respect to Participating Charted
Organizations, Post-1975 Chartered Organization Abuse Claims), which shall have the exclusive
responsibility for processing, liquidating and paying Abuse Claims. To obtain the benefits of the
Channeling Injunction, Local Councils, Participating Chartered Organizations, Contributing
Chartered Organizations, and Settling Insurance Companies will make substantial financial
and/or insurance contributions to the Settlement Trust.

        These contributions to the Settlement Trust, along with the BSA’s contributions, will be
used to fund significant recoveries for holders of compensable Direct Abuse Claims in
accordance with the terms of the Trust Distribution Procedures. The Trust Distribution
Procedures will establish the methodology for resolution of Abuse Claims, establish the process
by which Abuse Claims will be reviewed by the Settlement Trust, and will specify liquidated
values for compensable Claims based on the nature of the underlying Abuse.

        Within this framework, the Plan also incorporates the terms and provisions of the
Hartford Insurance Settlement Agreement and the TCJC Settlement Agreement. As described
more fully below, these settlements contemplate, among other things, cash contributions to the
Settlement Trust from Hartford and TCJC in exchange for the treatment of the foregoing Entities
as Protected Parties under the Plan.

       The assets contributed to the Settlement Trust will be administered by the Settlement
Trustee and used to resolve Abuse Claims in accordance with the Settlement Trust Documents,
including the Settlement Trust Agreement and the Trust Distribution Procedures. The Trust
Distribution Procedures will specify the methodology for processing, liquidating, and paying
Abuse Claims.

       Generally, the features of settlements as incorporated in the Plan are as follows:

      The BSA will contribute to the Settlement Trust, among other things, (a) Net
       Unrestricted Cash and Investments; (b) the BSA’s right, title, and interest in and to (i) the
       Artwork, (ii) the Oil and Gas Interests, and (iii) the Warehouse and Distribution Center
       (the value of which is subject to the Leaseback Requirement); (c) the net proceeds of the
       sale of Scouting University; (d) certain of the Debtors’ rights under applicable insurance;
       (e) the Settlement Trust Causes of Action; (f) the assignment of any and all Perpetrator
       Indemnification Claims held by the BSA; and (g) the BSA Settlement Trust Note;

      The BSA Settlement Trust Note to be issued on the Effective Date to the Settlement
       Trust by the Reorganized BSA in the principal amount of $80 million, which will bear
       interest from the Effective Date at a rate of 5.5% per annum and be payable
       semi-annually. Principal payments under the BSA Settlement Trust Note shall be
       payable in annual installments due on February 15 of each year during the term of the
       BSA Settlement Trust Note, commencing on February 15 with certain minimum payment




                                                12
              Case 20-10343-LSS                 Doc 6418-1          Filed 09/29/21           Page 20 of 303




          requirements.21 The BSA Settlement Trust Note may be prepaid at any time without
          penalty;

         Local Councils are expected to make a substantial contribution to the Settlement Trust to
          resolve the Abuse Claims that may be asserted against them in exchange for being
          included as a Protected Party under the Plan and receiving the benefits of the Channeling
          Injunction, consisting of (a) $500 million, comprised of at least $300 million in Cash
          with the balance in property, exclusive of insurance rights, (b) the DST Note, a $100
          million interest-bearing variable-payment obligation note issued by a Delaware statutory
          trust on or as soon as practicable after the Effective Date, and (c) the Local Council
          Insurance Rights. A list of each Local Council’s total expected contribution, including a
          specific break-down between the (i) cash contribution and (ii) property contribution, is
          attached hereto as Exhibit C.

         Each Local Council’s commitment to make its respective contribution to the Settlement
          Trust is dependent upon, among other things, an acceptable resolution of insurance and
          indemnity issues with respect to Chartered Organizations. Local Councils have currently
          memorialized their intent to contribute to the Settlement Trust on non-binding letters of
          intent, substantially conforming to the form attached hereto as Exhibit B. According to
          the letters of intent, the commitment of each Local Council to make its share of the $500
          million contribution is expressly contingent on a resolution related to Chartered
          Organizations that is acceptable to such Local Council. To date, no Local Council has
          publicly expressed satisfaction or dissatisfaction with the treatment afforded to Chartered
          Organizations. The Debtors and the Ad Hoc Committee believe that, notwithstanding the
          contingencies currently reflected in Local Council letters of intent, Local Councils will
          ultimately contribute the aggregate amount required under the Plan; references
          throughout this Disclosure Statement to the aggregate Local Council contribution
          therefore assume that Local Councils will collectively achieve the Local Council
          Settlement Contribution amount.

         The assignment and transfer to the Settlement Trust of all of the insurance rights of all of
          the BSA, Local Councils and Contributing Chartered Organizations under insurance
          policies of the Debtors, Local Councils and such Contributing Chartered Organizations,
          thereby providing the potential for substantial insurance recoveries to holders of Direct
          Abuse Claims;

         TCJC will make a cash contribution of $250 million plus certain insurance rights to the
          Settlement Trust for payment of Abuse Claims related to TCJC that arose in connection
          with their sponsorship of one or more Scouting units which shall be channeled to the

21
     In accordance with the Plan, such annual principal payments shall be equal to the sum of the following calculation: (a) $4.5
      million; plus (b) $3.50 multiplied by the aggregate number of Youth Members as of December 31 of the preceding year up
      to the forecasted number of Youth Members for such year as set forth in the Debtors’ five-year business plan; plus (c) $50
      multiplied by the aggregate number of High Adventure Base Participants during the preceding calendar year; plus (d) $50
      multiplied by the aggregate number of Youth Members in excess of the forecast set forth in the Debtors’ five-year business
      plan; plus (e) $150 multiplied by the aggregate number of High Adventure Base Participants in excess of the forecasted
      number of High Adventure Base Participants for such year as set forth in the Debtors’ five-year business plan. The forecast
      for years after 2025 shall be deemed to be the forecast for calendar year 2025.


                                                               13
      Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 21 of 303




    Settlement Trust; TCJC will be included as a Protected Party under the Plan, and receive
    the benefits of the Channeling Injunction. TCJC’s contribution will go to pay Abuse
    Claimants with a claim against TCJC, in addition to pro rata share of Settlement Trust
    expenses, unless there are excess funds which will go to other Abuse Claimants;

   A mechanism by which other Chartered Organizations can become Participating
    Chartered Organizations (unless they elect not to or are chapter 11 debtors) through the
    assignment and transfer to the Settlement Trust of all of the post-1975 insurance rights of
    such Participating Chartered Organization in exchange for inclusion as a Limited
    Protected Party under the Plan, thereby providing the potential for substantial recoveries
    to holders of Abuse Claims. The mechanism also includes a pathway for other Chartered
    Organizations to make further substantial contributions to the Settlement Trust to resolve
    Abuse Claims that may be asserted against them related to Abuse that arose in
    connection with their sponsorship of one or more Scouting units, including those that
    arose prior to January 1, 1976, in exchange for being included as a Protected Party under
    the Plan and receiving the benefits of the Channeling Injunction, thereby becoming
    “Contributing Chartered Organizations” under the Plan. The Debtors shall continue to
    work in good faith with other parties involved in these Chapter 11 Cases to increase
    participation by Chartered Organizations;

   A proposed settlement by and among the BSA, JPM (the BSA’s senior Secured lender),
    and the Creditors’ Committee, under which JPM has agreed that, in full and final
    satisfaction of its Allowed Claims and in exchange for the Creditors’ Committee’s
    agreement not to pursue certain alleged estate causes of action, it shall enter into the
    Restated Debt and Security Documents as of the Effective Date. The Restated Debt and
    Security Documents will contain terms that are substantially similar to the Prepetition
    Debt and Security Documents except that, among certain other modifications, the
    maturity dates under the Restated Debt and Security Documents shall be the date that is
    ten (10) years after the Effective Date and principal under the Restated Debt and Security
    Documents shall be payable in installments beginning on the date that is two (2) years
    after the Effective Date;

   The proposed JPM / Creditors’ Committee Settlement referenced above provides for the
    BSA’s assumption of its prepetition Pension Plan and satisfaction of Allowed
    Convenience Claims, Allowed General Unsecured Claims, and Allowed Non-Abuse
    Litigation Claims, which are held by creditors who are core to the Debtors’ charitable
    mission or whose Allowed Claims were incurred in furtherance of the Debtors’ charitable
    mission;

   The JPM / Creditors’ Committee Settlement also contemplates a term loan from the
    National Boy Scouts of America Foundation (as defined in the Plan, the “Foundation”),
    in the principal amount of $42.8 million, which will be used by Reorganized BSA for
    working capital and general corporate purposes. This Foundation Loan will permit the
    Debtors to contribute a substantial amount of consideration in Cash to the Settlement
    Trust on the Effective Date;



                                            14
             Case 20-10343-LSS                 Doc 6418-1          Filed 09/29/21           Page 22 of 303




        Hartford is expected to make a contribution of $787 million to the Settlement Trust for
         the payment of Abuse Claims in exchange for the sale of the Hartford Policies to
         Hartford free and clear of the interests of all third parties, including any additional
         insureds under the Hartford Policies, which interests will be channeled to the Settlement
         Trust; Hartford will be included as a Settling Insurance Company and Protected Party
         under the Plan, and receive the benefits of the Channeling Injunction. Hartford’s
         contribution is subject to resolution of Chartered Organization rights to Hartford policies
         in a manner that is acceptable to Hartford. All references throughout this Disclosure
         Statement to Hartford’s contribution assume that Hartford is satisfied with the Plan’s
         treatment of Chartered Organizations as it impacts Hartford Policies; and

        A mechanism by which other Insurance Companies may enter into Insurance Settlement
         Agreements and provide sum-certain contributions to the Settlement Trust in exchange
         for being included as a Protected Party under the Plan and receiving the benefits of the
         Channeling Injunction, thereby becoming “Settling Insurance Companies” under the
         Plan.

         The following chart illustrates the BSA Settlement Trust Contribution under the Plan:

     BSA Settlement Trust Contribution                               Source                  Estimated Amount

     Net Unrestricted Cash and                                        Cash                        $58.9 million
     Investments22 23
     Warehouse and Distribution Center24                        Real Property                     $11.6 million
     Scouting University (net sale proceeds)25                        Cash                         $1.9 million
     Artwork                                                          Asset            $59.0 million26
     Oil and Gas Interests                                            Asset                        $7.6 million
     BSA Settlement Trust Note                                   Note Payable                     $80.0 million




22
     Reflects Unrestricted Cash and Investments on the Effective Date, after giving effect to the Foundation Loan of $42.8
     million, above $39 million as of December 31, 2021 less the JPM Exit Fee, Allowed Administrative Expense Claims, the
     Hartford Administrative Expense Claim, Professional Fee Reserve, Creditor Representative Fee Cap, and Allowed Priority,
     Secured, and Convenience Claims. The Debtors believe that pursuing potential avoidance actions under the Bankruptcy
     Code, including potential preference or fraudulent transfer actions, would not yield a net return.
23
     Represents estimated Settlement Trust contributions assuming an Effective Date of December 31, 2021 per the financial
     projections in the Disclosure Statement. The actual Cash Settlement Trust contribution is uncertain and subject various
     risks, including timing of emergence, amount of professional fees incurred, and performance of the organization through the
     Effective Date.
24
     Estimated value based on a third-party broker opinion of value from November 2020 which is further supported by current
     negotiations with a potential purchaser, both of which contemplate a leaseback to BSA at current market rates with 3%
     annual increases.
25
     Represents net proceeds from the sale of the Scouting University building held in a segregated bank account for the benefit
     of the BSA Settlement Trust.
26
     Estimated value based on a third-party fine arts appraisal report prepared by Geolat in March 2012.


                                                              15
             Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21          Page 23 of 303




     Total Estimated BSA Settlement Trust Non-Insurance                                $219 million27
     Contribution


         The Debtors and the Supporting Parties are committed to working with other Chartered
Organizations and Settling Insurance Companies (other than Hartford and TCJC, which are
described herein) to increase participation and contributions to the Settlement Trust, and will
work in good faith with other parties involved in these Chapter 11 Cases to further negotiate
terms to foster participation and further contributions to the Settlement Trust. When any new
Chartered Organization or other Settling Insurance Company agrees to a settlement, the Debtors
will file a notice on the case docket for these Chapter 11 Cases for distribution to any party that
has requested notice pursuant to Bankruptcy Rule 2002, stating the name of the Contributing
Chartered Organization or Settling Insurance Company and the amount of its contribution. The
Debtors will also notify any party that has requested notice pursuant to Bankruptcy Rule 2002 of
any additional Settling Insurance Companies. The Debtors will also post a notice of any new
Contributing Chartered Organizations and Settling Insurance Companies at
https://omniagentsolutions.com/bsa.

        The Debtors and Supporting Parties are affirmatively seeking to reach further mediated
settlements of disputed issues with Chartered Organizations and Insurance Companies, and other
related matters, which may result in the amendment or modification of the Plan to propose
additional settlements pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and
Bankruptcy Rule 9019. The Debtors and Supporting Parties believe that resolution of these
controversies in advance of the Confirmation Hearing will facilitate the favorable resolution of
these Chapter 11 Cases and maximize distributions to holders of Allowed Claims and Abuse
Claims under the Settlement Trust.

E.       Treatment of Chartered Organizations Under the Plan

        The Plan provides three alternate paths for Chartered Organizations. As explained
below, a Chartered Organization may: (1) become a Contributing Chartered Organization and
thereby become a Protected Party and receive the full benefits and protections of the Channeling
Injunction in exchange for its contribution of certain insurance-related rights to the Settlement
Trust in addition to a substantial monetary contribution to the Settlement Trust; (2) become a
Participating Chartered Organization and receive certain limited benefits and protections of the
Channeling Injunction as a Limited Protected Party in exchange for contribution of certain rights
under the Abuse Insurance Policies to the Settlement Trust, or (3) refrain from participating in
the Plan. A Chartered Organization that chooses not to participate in the Plan will receive no
benefits and protections under the Plan from future litigation related to Abuse Claims and will
retain any rights it may have under insurance policies issued to the BSA or Local Councils that

27
     Assuming a December 31, 2021 Effective Date, as reflected in the chart above, the amount of Net Unrestricted Cash and
     Investments is estimated to be approximately $58.9 million and as a result the total BSA Settlement Trust Contribution is
     valued at approximately $219 million. The BSA Settlement Trust Contribution value could be higher or lower than $219
     million depending on (a) timing of emergence, (b) performance of BSA’s underlying business between now and emergence,
     (c) the level of professional fees incurred, and (d) the realizable value of the non-cash components of the BSA Settlement
     Trust Contribution.


                                                              16
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 24 of 303




provide coverage to Chartered Organizations for Abuse Claims. One exception to the ability of
non-participating Chartered Organizations to retain their insurance rights under the Abuse
Insurance Policies is that the Hartford Insurance Settlement Agreement provides that the
Hartford Policies are being purchased by Hartford free and clear of all interests of the estate and
any person or entity other than the estate, pursuant to sections 363, 1123 and/or 1141 of the
Bankruptcy Code.
       1. Chartered Organizations Included in the Plan

        The “Chartered Organizations” referenced in the Plan encompasses each and every
chartering partner of the BSA, including each civic, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, that are presently or were formerly authorized by the BSA to operate,
sponsor or otherwise support one or more Scouting units. As discussed further herein, the
Chartered Organizations play an important role in the Debtors’ charitable mission by facilitating
Scouting units across the country.

       2. The Effect of the Channeling Injunction on Abuse Claims Against Chartered
          Organizations

        The Channeling Injunction to be issued as a part of the Plan will permanently and forever
stay, bar, and enjoin holders of Abuse Claims from pursuing such claims against the Debtors and
other non-Debtors that are Protected Parties, including Contributing Chartered Organizations.
Additionally, the Channeling Injunction will likewise permanently and forever stay, bar, and
enjoin holders from pursuing certain, but not all, Abuse Claims against Limited Protected
Parties, including Participating Chartered Organizations. The Channeling Injunction will not
protect Chartered Organizations unless they are either a Contributing Chartered Organization or
Participating Chartered Organization.

         As explained more fully below in Article III.F.3 below, it is the BSA’s position that
Chartered Organizations were not named or additional insureds under any of the BSA Insurance
Policies prior to 1976. Therefore, neither the BSA nor the Insurance Companies have any
obligation to defend or indemnify, i.e., pay settlements or judgments, with regard to Chartered
Organizations for any Abuse Claims prior to 1976 in connection with such policies. Therefore,
with respect to Participating Chartered Organizations, Abuse Claims prior to 1976 will not be
channeled to the Settlement Trust. The Abuse Claims related to the Limited Protected Parties
that will be channeled to the Settlement Trust are called “Post-1975 Chartered Organization
Abuse Claims.” Such claims include any Abuse Claim against a Participating Chartered
Organization that relates to Abuse alleged to have first occurred on or after January 1, 1976,
which; provided, however, that the term “Post-1975 Chartered Organization Abuse Claims” shall
be limited to any Claim against a Participating Chartered Organization that is attributable to,
arises from, is based upon, relates to, or results from Abuse that occurred in connection, in whole
or in part, with the Participating Contributing Chartered Organization’s or its personnel’s or
affiliates’ involvement in, or sponsorship of, one or more Scouting units. (including any such
Claim that has been asserted or may be amended to assert in a proof of claim alleging Abuse,
whether or not timely filed, in the Chapter 11 Cases), including any proportionate or allocable
share of liability based thereon. For the avoidance of doubt, no Claim alleging Abuse shall be a


                                                17
            Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 25 of 303




“Post-1975 Chartered Organization Abuse Claim” against a Participating Chartered
Organization if such Claim is wholly unrelated to Scouting.

        On the Effective Date of the Plan, the Settlement Trust shall assume the liabilities,
obligations, and responsibilities, financial or otherwise, of (a) the Protected Parties for all Abuse
Claims and (b) the Limited Protected Parties for all Post-1975 Chartered Organization Abuse
Claims. Holders of Abuse Claims that are not Post-1975 Chartered Organization Abuse Claims
shall maintain the right to assert such Abuse Claims against any Limited Protected Party (unless
such Chartered Organization becomes a Contributing Chartered Organization). Likewise, any
Chartered Organization that decides not to become a Participating Chartered Organization or
Contributing Chartered Organization will not benefit from the Channeling Injunction in any
manner and will retain its respective insurance rights and liabilities with respect to Abuse Claims
(except insurance rights or interests, if any, in the Hartford Policies, which will be sold to
Hartford pursuant to sections 363, 1123 and/or 1141 of the Bankruptcy Code).

       3. Participating Chartered Organizations

        Most Chartered Organizations will be treated as “Participating Chartered Organizations”
under the Plan unless the Chartered Organization elects to opt out of this treatment or becomes a
Contributing Chartered Organization as explained below. This general treatment enables a
Chartered Organization to benefit from some of the protections under the proposed Channeling
Injunction (described in greater detail below) in exchange for contribution to the Settlement
Trust of rights under Abuse Insurance Policies issued on or after January 1, 1976. This
assignment is called the “Participating Chartered Organization Insurance Assignment” and
involves the assignment and transfer to the Settlement Trust of the Participating Chartering
Organizations’ rights in and to (a) the Participating Chartered Organization Insurance Actions,
(b) the Insurance Action Recoveries, (c) the Insurance Settlement Agreements, and (d) all other
rights, claims, benefits, or Causes of Action under or with respect to the Abuse Insurance
Policies (but not the policies themselves).

       Generally, Chartered Organizations that are not Contributing Chartered Organizations
will be automatically deemed to be Participating Chartered Organizations unless a Chartered
Organization:

            objects to confirmation of the Plan, or

            completes the opt-out election form provided by the Debtors indicating that it does
             not wish to make the Participating Chartered Organization Insurance Assignment
             (discussed below) on or before the Plan Objection Deadline, or

            is a debtor in a pending bankruptcy.

        A Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date will
not be a Participating Chartered Organization unless it elects to be treated as a Participating
Chartered Organization by advising Debtors’ counsel in writing that it wishes to make the
Participating Chartered Organization Insurance Assignment.



                                                 18
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 26 of 303




       All Participating Chartered Organizations shall be treated as “Limited Protected Parties”
under the Plan, allowing them limited benefits of the Channeling Injunction, including the
channeling of all Abuse Claims against them that relate to Abuse alleged to have first occurred
on or after January 1, 1976. The Settlement Trust will resolve all such Post-1975 Chartered
Organization Abuse Claims in accordance with the Trust Distribution Procedures.

       4. Effect of Expedited Distribution Election on Chartered Organizations

       If a holder of an Abuse Claim elects to receive the Expedited Distribution, such claim
holder will be required to execute a release, substantially in the form attached to Exhibit A of the
Trust Distribution Procedures, of all Chartered Organizations with respect to the Abuse Claim.
The number of holders of Abuse Claims who ultimately elect to take the Expedited Distributions
and provide the release in the foregoing sentence cannot be ascertained at this time.

       5. Contributing Chartered Organizations

        A Chartered Organization may receive the full benefits and protections of the Channeling
Injunction as a “Protected Party” if it becomes a “Contributing Chartered Organization” under
the Plan. In order to become a Contributing Chartered Organization and receive the full benefits
of the Channeling Injunction, a Chartered Organization should seek to become a party to the
mediation to further negotiate the contributions necessary to be granted these protections, and
may contact bankruptcy counsel for the Debtors with this request. Pursuant to the Mediation
Order [D.I. 812] (as defined herein), (i) all of the mediation parties must agree to include any
additional party or parties in the mediation and (ii) the Mediators must agree that the
participation of such additional party or parties is necessary or would be beneficial to the
mediation.

        Through mediation, a Chartered Organization must enter into a settlement with the BSA
that includes a substantial contribution to the Settlement Trust that will resolve Abuse Claims
that may be asserted related to Abuse that arose in connection with the Chartered Organization’s
involvement in Scouting prior to the Petition Date regardless of time period (as opposed to
Participating Chartered Organizations, which only include claims that arose after January 1,
1976). The BSA believes that a substantial contribution is necessary for the Bankruptcy Court
to approve treatment as a Protected Party under the Plan and receiving the benefits of the
Channeling Injunction, thereby becoming a “Contributing Chartered Organization.” As a part of
such substantial contribution, each Contributing Chartered Organization will agree to take part in
the Insurance Assignment, which includes (x) the assignment and transfer to the Settlement
Trust of (a) the Insurance Actions, (b) the Insurance Action Recoveries, (c) the Insurance
Settlement Agreements, and (d) all other rights, claims, benefits, or Causes of Action of the
Debtors, Related Non-Debtor Entities, Local Councils, or Contributing Chartered Organizations
under or with respect to the Abuse Insurance Policies (but not the policies themselves) and (y)
the Participating Chartered Organization Insurance Assignment. A Participating Chartered
Organization cannot become a Contributing Chartered Organization and receive the full
protections of the Channeling Injunction based solely on the Participating Chartered
Organization Insurance Assignment.




                                                 19
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 27 of 303




       Each Contributing Chartered Organization/Protected Party will receive the benefit of the
channeling of Abuse Claims to the Settlement Trust under the Channeling Injunction, which
means that holders of such claims will be required to resolve their claims against such
Contributing Chartered Organization with the Settlement Trust. The claims that will be
channeled are only with respect to any Abuse Claim that is attributable to, arises from, is based
upon, relates to, or results from, Abuse that occurred prior to the Petition Date in connection
with the Contributing Chartered Organization’s sponsorship of one or more Scouting units.

       Because Contributing Chartered Organizations will be Protected Parties under the
Channeling Injunction, the Debtors believe that no Insurance Settlement Agreement, including
the Hartford Insurance Settlement Agreement, will impair the rights of any Contributing
Chartered Organization.

       The BSA encourages Chartered Organizations to become parties to the Bankruptcy
Court-approved mediation process to discuss and negotiate such a settlement in order to
become a Contributing Chartered Organization and receive the full benefits of the
Channeling Injunction.

       6. Treatment of Chartered Organizations That Are Neither a Participating Chartered
          Organization Nor a Contributing Chartered Organization

        If a Chartered Organization does not become a Participating Chartered Organization or a
Contributing Chartered Organization under the Plan, it will not receive the benefit of the
Channeling Injunction with respect to Post-1975 Chartered Organization Abuse Claims and will
retain its rights, if any, under the BSA Insurance Policies, unless, pursuant to an Insurance
Settlement Agreement, such as the Hartford Insurance Settlement Agreement, the Debtors sell to
a Settling Insurance Company one or more BSA Insurance Policies issued by such Settling
Insurance Company pursuant to sections 363, 1123 and/or 1141 of the Bankruptcy Code. In that
case, the rights, if any, of any Chartered Organizations under such BSA Insurance Policies will
be treated in accordance with sections 363 and 1141 of the Bankruptcy Code and other
applicable law.

F.     Timeline

        As the Debtors have stated throughout these Chapter 11 Cases, emergence from
bankruptcy as soon as possible is critical. There are several reasons for this. The Debtors’
membership dropped significantly in 2020 as a result of the COVID-19 pandemic. In order to
rebuild membership, the Debtors must emerge from the cloud of these Chapter 11 Cases as soon
as possible. If the number of new members and returning members is substantially reduced from
current projections, the Debtors could lack the means to meet their operational needs or
otherwise emerge from bankruptcy. Timely emergence from Chapter 11 is essential to the
Debtors’ ability to improve their operations.

       Finally, substantial professional fees will continue to accrue until a plan is confirmed and
becomes effective. At this time, the Debtors’ bankruptcy estate bears the burden for the fees of
the professionals and advisors to the Debtors, the Tort Claimants’ Committee, the Future
Claimants’ Representative, the Creditors’ Committee, and JPM. Moreover, pursuant to the Plan,


                                                20
             Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21      Page 28 of 303




to the extent approved by the Bankruptcy Court, the Debtors will also pay certain fees incurred
by the Coalition. Such fees are substantial and to date the Debtors have incurred more than $146
million28 in professional fees related to this restructuring. By the end of December 2021, the
Debtors estimate the professional fees in the Chapter 11 Cases will equal or exceed $205
million.29 Each successive month is expected to cost the estate approximately $10 million or
more. The Debtors believe this is wholly inappropriate for a non-profit chapter 11 proceeding
and believe emergence from bankruptcy as soon as possible is essential to stop the accrual of
additional professional fees.

        Until recently, there had not been sufficient support for a plan of reorganization from the
survivor constituencies to facilitate a global resolution that would accomplish the dual goals of
this restructuring. However, now the Debtors have incorporated the material terms and
provisions of the expired Restructuring Support Agreement, which the Debtors believe will
result in the holders of Direct Abuse Claims voting to accept the Plan. As discussed, above, the
Plan also incorporates the terms and provisions of the Hartford Insurance Settlement Agreement,
which is supported by the Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
Representative, and the attorneys representing holders of Direct Abuse Claims listed on
Schedule 1 to the Hartford Insurance Settlement Agreement term sheet. However, with the
exception of Hartford, the Debtors do not yet have support for the Plan from their other insurers.
Without the support of the Debtors’ other insurers, confirmation of this Plan may not occur until
late 2021, which will place a further financial burden on the Debtors. The potential for
protracted litigation with Insurance Companies other than those that settle with the Debtors
under the Plan is great and will cause increased costs and expenses to the Debtors, including
with respect to professional fees. In light of these circumstances and the delayed emergence
from the Chapter 11 Cases, the Debtors have worked with their advisors to take steps to mitigate
the financial impact.

        If emergence were to occur in December 2021, the BSA estimates that the Net
Unrestricted Cash and Investments under the Plan would be approximately $58.9 million
resulting in a value of BSA Settlement Trust Contribution of approximately $219 million;
however, assuming a March 31, 2022 emergence, as reflected in the chart below, the amount of
Net Unrestricted Cash and Investments drops to $26 million and, as a result, the total BSA
Settlement Trust Contribution is valued at approximately $186 million. The BSA Settlement
Trust Contribution value could be higher or lower than the amounts reflected in the chart
depending on (a) timing of emergence, (b) performance of BSA’s underlying business between
now and emergence, (c) the level of professional fees incurred, and (d) the realizable value of the
non-cash components of the BSA Settlement Trust Contribution.

         The following chart reflects the value of the BSA Settlement Trust Contribution over
time:

                             ($ in millions)            12/31/21       1/31/22    2/28/22    3/31/22

                   Unrestricted Cash & Investments
                   after Foundation Loan Proceeds          $165.0        $181.9     $165.7     $180.1

28
     Amount through August 31, 2021, excluding bar noticing fees.
29
     Amount excludes bar noticing fees.


                                                            21
             Case 20-10343-LSS                  Doc 6418-1             Filed 09/29/21         Page 29 of 303



                    Less:
                    Unrestricted Cash & Investments
                        Retained by BSA30                      (39.0)        (56.0)       (40.0)        (54.0)
                    Professional Fees Paid        from
                         12/1/21 Forward31                     (44.6)        (54.8)       (64.6)        (75.0)

                    Coalition Restructuring Expenses32         (15.3)        (16.2)       (17.2)        (18.1)
                    Other Deductions33
                                                                (7.3)         (7.2)         (7.3)        (7.3)
                    Net Unrestricted Cash &
                    Investments (to Settlement Trust)          $58.9         $47.6         $36.7        $25.7
                    Value of Other Cash and
                        Non-Cash Contributions to
                        Settlement Trust34                     160.1         160.1         160.1        160.1
                    Total Estimated Contributions to
                    Settlement Trust                            $219        $207.7       $196.8        $185.8



G.        The Channeling Injunction

        The Channeling Injunction to be issued as a part of the Plan will permanently and forever
stay, bar, and enjoin holders of Abuse Claims from taking any action for the purpose of directly
or indirectly or derivatively collecting, recovering, or receiving payment of, on, or with respect
to any Abuse Claim other than pursuant to the Settlement Trust Agreement and the Trust
Distribution Procedures. Each holder of an Abuse Claim will have no right whatsoever at any
time to assert its Abuse Claim against any Protected Party or any property or interest in property
of any Protected Party. For the avoidance of doubt, Abuse Claims include Indirect Abuse
Claims.

        The Protected Parties include: (a) the Debtors; (b) Reorganized BSA; (c) the Related
Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations;
(f) the Settling Insurance Companies, including Hartford; and (g) all of such Persons’
Representatives; provided, however, that no Perpetrator is or shall be a Protected Party.
Notwithstanding the foregoing, a Contributing Chartered Organization shall be a Protected Party
with respect to Abuse Claims only as set forth in the definition of “Abuse Claim.”

30
     Minimum retained Unrestricted Cash and Investments is $39 million if the Effective Date occurs in December 2021.
     Beginning on January 1, 2022, the minimum retained Unrestricted Cash and Investments increases based on cumulative
     estimated monthly net cash flows. For example, if the BSA has an Effective Date of January 31, 2022, the minimum
     retained cash increases from $39 million to $56 million based on an estimated monthly cash flow of $17 million during the
     month of January.
31
     Includes all professional fees paid from December 1, 2021 onward, including the Professional Fee Reserve Amount and
     ordinary professional fee payments, if applicable.
32
     Assumed to be $15.3 million for a December 31, 2021 Effective Date and an additional $950,000 per month thereafter.
33
     Consists of amounts of cash (a) equal to the JPM Exit Fee, (b) sufficient to fund all unpaid Allowed Administrative
     Expense Claims, including the Allowed Hartford Administrative Expense Claim, (c) equal to the Creditor Representative
     Fee Cap, (d) estimated to be required to satisfy Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed
     Secured Claims, and Allowed Convenience Claims, and (e) sufficient to fund all accrued but unpaid interest and reasonable
     fees and expenses of JPM as of the Effective Date.
34
     Consists of the net sale proceeds from the Scouting University building, the value of the Artwork, the Oil and Gas Interests,
     and the Warehouse and Distribution Center, subject to the Leaseback Requirement, and the $80 million BSA Settlement
     Trust Note.


                                                               22
             Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21          Page 30 of 303




        Additionally, the Limited Protected Parties (i.e., Participating Chartered Organizations)
shall enjoy the benefit of the Channeling Injunction, with respect to Post-1975 Chartered
Organization Abuse Claims against the Limited Protected Parties as provided for in Article X.F
of the Plan.

        The Debtors have compiled a list of all potential Protected Parties and potential Limited
Protected Parties under the Plan, including the identities of all Local Councils, Chartered
Organizations, and Insurance Companies. To the extent any such parties participate, they will be
included in the definition of Protected Parties and will benefit from the Channeling Injunction.
This list of potential Protected Parties and Limited Protected Parties will be made available at
https://omniagentsolutions.com/bsa-SAballots and https://omniagentsolutions.com/bsa-ballots.
This list only includes potential Protected Parties and potential Limited Protected Parties
for disclosure purposes—it does not mean that any such party will in fact become a
Protected Party or potential Limited Protected Party, as applicable, under the Plan;
however, the Plan assumes, with limited exceptions, that all of the parties listed as potential
Limited Protected Parties will in fact become Limited Protected Parties unless such party
opts out.35

        The difference between the release in Article X.J.4 of the Plan and the Channeling
Injunction in Article X.F of the Plan is that the release in Article X.J.4 of the Plan is consensual
while the Channeling Injunction is non-consensual. Specifically, the parties that vote to accept
or reject the Plan may opt out of the release provisions in Article X.J.4 of the Plan. Additionally,
holders of Unimpaired Claims are deemed to grant the releases in Article X.J.4 of the Plan
unless they object to the releases. In contrast, the Channeling Injunction, which benefits not
only the BSA, but also Local Councils, Participating Chartered Organizations, Contributing
Chartered Organizations and Settling Insurance Companies, will apply regardless of consent to
the Plan, if the Bankruptcy Court finds, after evaluating certain factors, that such non-debtor
third parties made a substantial contribution of assets to the Reorganized BSA and/or Settlement
Trust. That determination will be made at Confirmation.

        Additionally, any Chartered Organization that is not a Contributing Chartered
Organization as of the Effective Date may become a Protected Party after the Effective Date if
the Bankruptcy Court, after notice and an opportunity for parties in interest to be heard, approves
a settlement agreement between such Chartered Organization and the Settlement Trustee. Any
Chartered Organization that is not a Participating Chartered Organization as of the Effective
Date may become a Participating Chartered Organization after the Effective Date by agreement
with the Settlement Trustee and without further order of the Bankruptcy Court; provided,
however, that the Settlement Trustee shall file a notice with the Bankruptcy Court within thirty
(30) days of entering into any agreement with a Chartered Organization that deems such
Chartered Organization to be a Limited Protected Party, together with an amendment to Exhibit
K of the Plan removing such Chartered Organization from the list of Chartered Organizations
that are not Participating Chartered Organizations. Finally, within twelve months of the
Effective Date,36 any Insurance Company that is a Non-Settling Insurance Company as of the

35
     The Debtors are providing these disclosures because such parties may be included in the definition of Protected Parties and
     will likely be Limited Protected Parties, as applicable, under the Plan and thereby benefit from the Channeling Injunction.
36
     This period can be extended in the sole discretion of the Settlement Trustee upon order of the Bankruptcy Court.


                                                              23
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 31 of 303




Effective Date may become a Protected Party if it executes a settlement with the Settlement
Trustee after notice filed with the Bankruptcy Court and an opportunity for parties in interest to
object. Such settlement will be deemed binding absent objection by any party in interest within
fifteen calendar days of such notice.

       The Channeling Injunction only applies to Abuse Claims, while the release in Article
X.J.4 of the Plan applies to Claims other than Abuse Claims. The Channeling Injunction does
not mean that an Abuse Claim is being extinguished. Rather, the Abuse Claims are being
channeled to the Settlement Trust, and will be reviewed and paid pursuant to the Trust
Distribution Procedures.

        The Channeling Injunction is necessary to channel Abuse Claims to the Settlement Trust,
creating a swift and efficient means to liquidate valid Abuse Claims pursuant to the Trust
Distribution Procedures, while at the same time ensuring that the Reorganized BSA can continue
to carry out its charitable mission. The Channeling Injunction and related non-consensual
third-party releases as crafted are necessary to effect a meaningful and final resolution of Abuse
Claims that will benefit holders of such Claims.

H.     Summary and Description of Classes and Treatment

        Except for Administrative Expense Claims and Priority Tax Claims, which are not
required to be classified, all Claims and Interests are divided into Classes under the Plan. The
following chart summarizes the projected distributions to holders of Allowed Claims against and
Interests in each of the Debtors under the Plan and Abuse Claims that will be resolved by the
Settlement Trust in accordance with the Trust Distribution Procedures. This chart is only a
summary of such classification and treatment and reference should be made to the entire
Disclosure Statement and the Plan for a complete description of the classification and treatment
of Claims and Interests. The ability to receive distributions under the Plan depends upon the
ability of the Debtors to obtain Confirmation of the Plan and meet the conditions to
Confirmation and effectiveness of the Plan, as discussed in this Disclosure Statement, including,
but not limited to, holders of Direct Abuse Claims providing a sufficient number of votes to
accept the Plan.

        Moreover, although every reasonable effort was made to be accurate, the projections of
estimated recoveries are only an estimate. Any estimates of Claims or Interests in this
Disclosure Statement may vary from the final amounts allowed by the Bankruptcy Court. As a
result of the foregoing and other uncertainties which are inherent in the estimates, the estimated
recoveries in this Disclosure Statement may vary from the actual recoveries received. The
projected recoveries set forth below may change based upon changes in the amount of Allowed
Claims and Abuse Claims resolved by the Settlement Trust in accordance with the Trust
Distribution Procedures, as well as other factors related to the Debtors’ operations and general
economic conditions. The Debtors reserve the right to modify the Plan consistent with section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019.

       The summary of classification and treatment of Claims against and Interests in the
Debtors is as follows:



                                                24
                 Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 32 of 303




     Class Designation37            Treatment under the Plan        Impairment and Estimated Amount38
                                                                     Entitlement to   and Approximate
                                                                          Vote      Percentage Recovery
     1           Other               Each holder of an Allowed Unimpaired            Estimated Allowed
                 Priority            Other Priority Claim shall                      Amount: Less than
                 Claims              receive: (i) payment in        Not Entitled to  $0.1 million
                                     Cash in an amount equal to Vote (Presumed to
                                     such Allowed Other             Accept)          Estimated Percentage
                                     Priority Claim; or                              Recovery: 100%
                                     (ii) satisfaction of such
                                     Allowed Other Priority
                                     Claim in any other manner
                                     that renders the Allowed
                                     Other Priority Claim
                                     Unimpaired, including
                                     Reinstatement.
     2           Other               Each holder of an Allowed Unimpaired            Estimated Amount:
                 Secured             Other Secured Claim shall                       $0
                 Claims              receive: (i) payment in        Not Entitled to
                                     Cash in an amount equal to Vote (Presumed to Estimated Percentage
                                     the Allowed amount of          Accept)          Recovery: 100%
                                     such Claim; (ii) satisfaction
                                     of such Other Secured
                                     Claim in any other manner
                                     that renders the Allowed
                                     Other Secured Claim
                                     Unimpaired, including
                                     Reinstatement; or
                                     (iii) return of the applicable
                                     collateral in satisfaction of
                                     the Allowed amount of
                                     such Other Secured Claim.




37
         The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
         Class.
38
         Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
         of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
         amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
         to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
         Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
         which are beyond the Debtors’ control.


                                                                   25
        Case 20-10343-LSS      Doc 6418-1      Filed 09/29/21   Page 33 of 303




Class Designation37   Treatment under the Plan    Impairment and Estimated Amount38
                                                   Entitlement to    and Approximate
                                                        Vote       Percentage Recovery
3A      2010 Credit Each holder of an Allowed Impaired              Estimated Amount:
        Facility    2010 Credit Facility Claim                      $80,762,060
        Claims      shall receive a Claim under Entitled to Vote
                    the Restated Credit Facility                    Estimated Percentage
                    Documents in an amount                          Recovery: 100%
                    equal to the amount of such
                    holder’s Allowed 2010
                    Credit Facility Claim.
3B      2019 RCF    Each holder of an Allowed Impaired              Estimated Amount:
        Claims      2019 RCF Claim shall                            $61,542,720
                    receive a Claim under the     Entitled to Vote
                    Restated Credit Facility                        Estimated Percentage
                    Documents in an amount                          Recovery: 100%
                    equal to the amount of such
                    holder’s Allowed 2019
                    RCF Claim.
4A      2010 Bond   Each holder of an Allowed Impaired              Estimated Amount:
        Claims      2010 Bond Claim shall                           $40,137,274
                    receive a Claim under the     Entitled to Vote
                    Restated 2010 Bond                              Estimated Percentage
                    Documents in an amount                          Recovery: 100%
                    equal to the amount of such
                    holder’s Allowed 2010
                    Bond Claim.
4B      2012 Bond   Each holder of an Allowed Impaired              Estimated Amount:
        Claims      2012 Bond Claim shall                           $145,662,101
                    receive a Claim under the     Entitled to Vote
                    Restated 2012 Bond                              Estimated Percentage
                    Documents in an amount                          Recovery: 100%
                    equal to the amount of such
                    holder’s Allowed 2012
                    Bond Claim.
5       Convenience Each holder of an Allowed Impaired              Estimated Amount:
        Claims      Convenience Claim shall                         $2.3 million – $2.9
                    receive Cash in an amount Entitled to Vote million
                    equal to 100% of such
                    holder’s Allowed                                Estimated Percentage
                    Convenience Claim.                              Recovery: 100%
6       General     Each holder of an Allowed Impaired              Estimated Amount:
        Unsecured   General Unsecured Claim                         $26.5 million – $33.5
        Claims      shall receive, subject to the Entitled to Vote million
                    holder’s ability to elect


                                          26
                 Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 34 of 303




     Class Designation37            Treatment under the Plan       Impairment and Estimated Amount38
                                                                    Entitlement to    and Approximate
                                                                         Vote       Percentage Recovery
                                     Convenience Claim                               Estimated Percentage
                                     treatment on account of the                     Recovery: 75 – 95%
                                     Allowed General
                                     Unsecured Claim, its Pro
                                     Rata Share of the Core
                                     Value Cash Pool up to the
                                     full amount of such
                                     Allowed General
                                     Unsecured Claim in the
                                     manner described in Article
                                     VII of the Plan.
     7           Non-Abuse           Each holder of an Allowed Impaired              Estimated Amount:
                 Litigation          Non-Abuse Litigation                            Undetermined39
                 Claims              Claim shall, subject to (i)   Entitled to Vote
                                     the holder’s ability to elect                   Estimated Percentage
                                     Convenience Claim                               Recovery: 100%
                                     treatment as provided in the
                                     following sentence and (ii)
                                     the terms and conditions of
                                     Article IV.D.3 of the Plan
                                     (as applicable), retain the
                                     right to recover up to the
                                     amount of such holder’s
                                     Allowed Non-Abuse
                                     Litigation Claim from (x)
                                     available insurance
                                     coverage or the proceeds of
                                     any Insurance Policy,
                                     including any Abuse
                                     Insurance Policy or
                                     Non-Abuse Insurance
                                     Policy, (y) applicable
                                     proceeds of any Insurance
                                     Settlement Agreements,
                                     and (z) co-liable
                                     non-debtors (if any) or their
                                     insurance coverage. Solely
                                     to the extent that the holder
                                     of an Allowed Non-Abuse
                                     Litigation Claim fails to
                                     recover in full from the
39
         This class is comprised of approximately fifty-five (55) wrongful death or personal injury claims as well as seven (7) other
         litigation claims. None of these claims have been liquidated.


                                                                   27
                 Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 35 of 303




     Class Designation37            Treatment under the Plan                 Impairment and Estimated Amount38
                                                                              Entitlement to  and Approximate
                                                                                   Vote      Percentage Recovery
                           foregoing sources on
                           account of such Allowed
                           Claim after exhausting its
                           remedies in respect thereof,
                           such holder may elect to
                           have the unsatisfied portion
                           of its Allowed Claim
                           treated as an Allowed
                           Convenience Claim and
                           receive cash in an amount
                           equal to the lesser of (a) the
                           amount of the unsatisfied
                           portion of the Allowed
                           Non-Abuse Litigation
                           Claim and (b) $50,000.
     8        Direct Abuse Pursuant to the Channeling Impaired                                          Estimated Amount:
                 Claims40  Injunction set forth in                                                      $2.4 billion – $7.1
                           Article X.F of the Plan,       Entitled to Vote                              billion
                           each holder of a Direct
                           Abuse Claim shall have                                                       Estimated Percentage
                           such holder’s Direct Abuse                                                   Recovery at $7.1
                           Claim against the Protected                                                  billion: 10 – 21%
                           Parties (and each of them)                                                   plus additional
                           permanently channeled to                                                     insurance rights,
                           the Settlement Trust, and                                                    expected to yield up
                           such Direct Abuse Claim                                                      to 100% recovery
                           shall thereafter be asserted
                           exclusively against the                                                      Estimated Percentage
                           Settlement Trust and                                                         Recovery at $2.4
                           processed, liquidated, and                                                   billion: 31 – 63%
                           paid in accordance with the                                                  plus additional
                           terms, provisions, and                                                       insurance rights,
                           procedures of the                                                            expected to yield up
                           Settlement Trust                                                             to 100% recovery410
                           Documents.
40
         Under the Plan, “Direct Abuse   Claim” means
                                      Pursuant          an Abuse
                                                   to the          Claim that is not an Indirect Abuse Claim.
                                                           Channeling
41
         The following calculation wasInjunction set forth inpercentage recovery range under the Plan: ($219 million (BSA
                                           used to  determine  the
         Settlement Contribution) plus $500 million (Local Counsel Contribution) plus $100 million (DST Note) plus Hartford
         Settlement Contribution minusArticle   X.F of
                                          the Hartford    the Plan, Expense Claim ($785 million)) divided by $2.4 billion - $7.1
                                                       Administrative
                                      eachRange).
         billion (Estimated Abuse Claims      holder The
                                                       of arecovery
                                                             Post-1975percentages are net of assumed cost to operate the Settlement
         Trust. Costs are estimated between 6 and 10% of total assets with costs expected to be at the high end of the range in a
         smaller trust and at or below the lower end of the range in a larger trust under the Plan. The low end of the recovery range
         excludes the Hartford Settlement Contribution as some parties may object to the settlement amount and/or how the
         settlement amount is distributed to holders of Abuse Claims, thereby rendering these amounts unavailable to some or all
         creditors. The TCJC Settlement Contribution is not reflected in the recovery ranges for Direct Abuse Claims because such


                                                                   28
               Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 36 of 303




     Class Designation37          Treatment under the Plan                 Impairment and Estimated Amount38
                                                                            Entitlement to  and Approximate
                                                                                 Vote      Percentage Recovery
                                   Chartered Organization
                                   Abuse Claim shall have                                              Under the
                                   such holder’s Post-1975                                             Expedited
                                   Chartered Organization                                              Distribution:42
                                   Abuse Claim against the                                             Estimated Amount:
                                   Limited Protected Parties                                           $3,500.00
                                   (and each of them)
                                   permanently channeled to
                                   the Settlement Trust, and
                                   such Post-1975 Chartered
                                   Organization Abuse Claim
                                   shall thereafter be asserted
                                   exclusively against the
                                   Settlement Trust and
                                   processed, liquidated, and
                                   paid in accordance with the
                                   terms, provisions, and




       contribution by TCJC may not be available to all holders of Direct Abuse Claims under the Trust Distribution Procedures.
       Abuse Claims that relate to TCJC may have a higher recovery than the ranges set forth above. In addition, the Bates White
       estimated range of $2.4 billion to $7.1 billion estimates the value of Abuse Claims, which would include Future Abuse
       Claims, to the extent viable. The Future Claimants’ Representative asserts that the forecast of the Future Abuse Claims
       should be higher than reflected in the Debtors’ range. The Debtors do not agree with the forecast of the Future Abuse
       Claims asserted by the Future Claimants’ Representative and believe that the Bates White range is a more accurate range of
       the value for all Abuse Claims, including Future Abuse Claims. Therefore, the Bates White range provides a better basis on
       which to formulate projected recoveries on account of Abuse Claims, including Direct Abuse Claims (which include Future
       Abuse Claims).
42
       Pursuant to Article III.B.10 of the Plan, under the Plan, each holder of a properly completed non-duplicative proof of claim
       asserting a Direct Abuse Claim who filed such Claim by the Bar Date or was permitted by a Final Order of the Bankruptcy
       Court to file a late claim may, following the Effective Date, subject to critieria set forth in the Trust Distribution
       Procedures, elect on his or her Ballot to receive an Expedited Distribution in exchange for a full and final release in favor
       of the Debtors, the Related Non-Debtor Entities, the Local Councils, Contributing Chartered Organizations, and the Settling
       Insurance Companies. Under the Plan, “Expedited Distribution” means a one-time Cash payment from the Settlement Trust
       in the amount of $3,500.00, conditioned upon satisfaction of the criteria set forth in the Trust Distribution Procedures.


                                                                 29
                  Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21            Page 37 of 303




     Class Designation37             Treatment under the Plan                 Impairment and Estimated Amount38
                                                                               Entitlement to  and Approximate
                                                                                    Vote      Percentage Recovery
                             procedures of the
                             Settlement Trust
                             Documents.
     9        Indirect Abuse Pursuant to the Channeling Impaired                                          Estimated Amount:
                  Claims43   Injunction set forth in                                                      Unknown44
                             Article X.F of the Plan,    Entitled to Vote
                             each holder of an Indirect                                                   Estimated Percentage
                             Abuse Claim shall have                                                       Recovery at $7.1
                             such holder’s Indirect                                                       billion: 10 – 21%
                             Abuse Claim against the                                                      plus additional
                             Protected Parties (and each                                                  insurance rights,
                             of them) permanently                                                         expected to yield up
                             channeled to the Settlement                                                  to 100% recovery
                             Trust, and such Indirect
                             Abuse Claim shall                                                            Estimated Percentage
                             thereafter be asserted                                                       Recovery at $2.4
                             exclusively against the                                                      billion: 31 – 63%
                             Settlement Trust and                                                         plus additional
                             processed, liquidated, and                                                   insurance rights,
                             paid in accordance with the                                                  expected to yield up
                             terms, provisions, and                                                       to 100% recovery
                             procedures of the
                             Settlement Trust
                             Documents.

                                    Pursuant to the Channeling
                                    Injunction set forth in
                                    Article X.F of the Plan,
                                    each holder of a Post-1975
                                    Chartered Organization
                                    Abuse Claim shall have
43                                  such Claim”
         Under the Plan, “Indirect Abuse holder’s  Post-1975
                                                means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
         reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable
         non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in
         the nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any
         indemnification, reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement,
         insurance policy, program agreement or contract.
44
         The Debtors are unable to estimate with certainty the recovery amount for Indirect Abuse Claims under the Plan since they
         are unliquidated and contingent and subject to objection under section 502(e) of the Bankruptcy Code. However, to the
         extent the Indirect Abuse Claims become liquidated in the future, Indirect Abuse Claimants have the ability, pursuant to the
         Plan, to bring a claim for reconsideration under section 502(j) of the Bankruptcy Code and may be able to recover, on
         account of such claim, against the Settlement Trust Assets. Pursuant to the Trust Distribution Procedures, recoveries on
         account of Indirect Abuse Claims that are liquidated, non-contingent, and meet the criteria set forth in the Trust Distribution
         Procedures shall be subject to the same liquidation and payment procedures as the Settlement Trust would have afforded the
         holders of the underlying valid Direct Abuse Claims as liquidated under the Trust Distribution Procedures. The Bates
         White estimated range of $2.4 billion to $7.1 billion estimates the value of Abuse Claims, which would include Indirect
         Abuse Claims, to the extent viable.


                                                                    30
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 38 of 303




 Class Designation37       Treatment under the Plan       Impairment and Estimated Amount38
                                                           Entitlement to  and Approximate
                                                                Vote      Percentage Recovery
                           Chartered Organization
                           Abuse Claim against the
                           Limited Protected Parties
                           (and each of them)
                           permanently channeled to
                           the Settlement Trust, and
                           such Post-1975 Chartered
                           Organization Abuse Claim
                           shall thereafter be asserted
                           exclusively against the
                           Settlement Trust and
                           processed, liquidated, and
                           paid in accordance with the
                           terms, provisions, and
                           procedures of the
                           Settlement Trust
                           Documents.
     10     Interests in   Interests in Delaware BSA      Impaired           Estimated Amount:
            Delaware       shall be deemed cancelled                         N/A
            BSA            without further action by or   Not Entitled to
                           order of the Bankruptcy        Vote               Estimated Percentage
                           Court and shall be of no       (Deemed to         Recovery: 0%
                           further force or effect,       Reject)
                           whether surrendered for
                           cancellation or otherwise.


I.        Illustrative Recovery Charts for Direct Abuse Claims under the Trust Distribution
          Procedures

        While both the Debtors and the Tort Claimants’ Committee have estimates regarding the
recovery to holders of Direct Abuse Claims, the actual recovery will depend on a number of
factors including (a) the number and severity of Abuse Claims allowed under the Trust
Distribution Procedures, including Future Abuse Claims, which have been estimated by the
Future Claimants’ Representative [TO COME]to be approximately $5 billion (or approximately
21% of the total value of Direct Abuse Claims as calculated by Ankura applying the procedures
and criteria set forth in the Trust Distribution Procedures dated July 2, 2021), (b) any additional
proceeds that may be recovered by the Debtors prior to the Effective Date or the Settlement
Trust after the Effective Date from Insurance Companies and Chartered Organizations, and (c)
the costs of running the Settlement Trust.

      The Debtors and the Tort Claimants’ Committee have each provided illustrative
examples (set forth below) of what holders of Direct Abuse Claims would recover under


                                                 31
             Case 20-10343-LSS              Doc 6418-1          Filed 09/29/21        Page 39 of 303




different scenarios with different assumptions. The Debtors and the Tort Claimants’
Committee disagree regarding which estimate reflects the most likely recovery to holders of
Direct Abuse Claims.

        The Debtors’ examples use their expert’s value for the claims pool (as described in
Article V.N) and show potential recoveries on the base and maximum values in the Trust
Distribution Procedures for both in-statute Abuse Claims and for Abuse Claims subject to statute
of limitations or repose defenses.

        The Tort Claimants’ Committee’s examples use an illustrative value of the claims pool if
all the Direct Abuse Claims that are currently asserted are allowed at the base value in the Trust
Distribution Procedures and adjusted in the manner provided in the proposed Trust Distribution
Procedures for statutes of limitations defenses. The Tort Claimants’ Committee has not adjusted
for any other factors that would impact the validity and valuation of the Direct Abuse Claims
under the Trust Distribution Procedures because the Tort Claimants’ Committee does not believe
that there is sufficient evidence to do so.

       Neither the Debtors’ nor the Tort Claimants’ Committee’s illustrations reflect the option
for claimants to accept the $3,500 “Expedited Distribution” prior to the Settlement Trust’s
review of their Direct Abuse Claim.

       So that holders of Direct Abuse Claims are informed of the differing views of the
projected recoveries, both illustrations are set forth below:

         1. Debtors’ Illustrative Direct Abuse Claim Recoveries under the Trust Distribution
            Procedures

        Under the Plan, the Debtors estimate that holders of Direct Abuse Claims will receive
between 10-63% of the value of such Claims. To calculate these recovery percentages, the
Debtors took the known value being contributed to the Settlement Trust, excluding the TCJC
Settlement Contribution,45 as of September 23, 2021 ($1.604 billion) less estimated costs to
operate the Settlement Trust and divided such amount by the Debtors’ estimate of the aggregate
value of Abuse Claims which is between $2.4 billion and $7.1 billion (as described in Article
V.N.). The low end of the recovery range excludes the Hartford Settlement Contribution as
some parties may object to the settlement amount and/or how the settlement amount is
distributed to holders of Abuse Claims, thereby rendering these amounts unavailable to some or
all creditors. This recovery percentage will increase with additional insurance recoveries and the
potential addition of Contributing Chartered Organizations. The Debtors believe these increases
may provide up to a 100% recovery.

        The chart below sets forth the Debtor’s estimated recovery by type of Direct Abuse
Claim as well whether the claim is presumed to be within or outside of the applicable statute of
limitations or repose based on the “Mitigating Scaling Factors” addressed in the next paragraph.
For claims presumed subject to a defense based on of statute of limitation or repose, illustrative

45
     The TCJC Settlement Contribution is not reflected in the recovery ranges for Direct Abuse Claims because such
     contribution by TCJC is only expected to be available to certain claimants under the Trust Distribution Procedures.


                                                           32
          Case 20-10343-LSS           Doc 6418-1          Filed 09/29/21        Page 40 of 303




recoveries are shown based on the mid-point of the scaling factors. Individual claimant
recoveries will be different based on the Settlement Trustee’s full review of each
individual’s claim and the application of all of the factors laid out in the Trust Distribution
Procedures.
        The Trust Distribution Procedures contain certain Mitigating Scaling Factors that the
Settlement Trustee may assign to eliminate or decrease the recovery of a Direct Abuse Claim,
including the passage of a statute of limitations or a statute of repose. Below are the scaling
factors and a summary of the tiers into which the Debtors, in consultation with the Coalition and
Future Claimants’ Representative, have classified each state:

 Tier                    Closed             Gray 3              Gray 2              Gray 1           Open
 Scaling Factor         .01 - .10          .10 - .25           .30 - .45           .50 - .70           1
 States                Alabama              Alaska               Iowa             Connecticut       Arizona
                         Kansas             Florida           Minnesota                DC          Arkansas
                       Oklahoma              Idaho          New Hampshire          Delaware        California
                      Puerto Rico           Indiana          North Dakota          Georgia         Colorado
                     South Dakota          Kentucky              Ohio               Illinois         Guam
                                                                                 Massachusett
                       Utah               Maryland              Pennsylvania            s           Hawaii
                      Wyoming             Michigan             South Carolina    New Mexico        Louisiana
                  Unknown / Federal      Mississippi             Tennessee          Oregon           Maine
                                           Missouri             West Virginia     Washington       Montana
                                          Nebraska                                                New Jersey
                                           Nevada                                                  New York
                                        Rhode Island                                             North Carolina
                                            Texas                                                  Vermont
                                        Virgin Islands
                                           Virginia
                                         Wisconsin




               Debtors Illustrative Distribution Examples By Type of Direct Abuse Claim
                                            Penetration Claim
                                                                                             In-Statute
                                            Out-of-Statute Claims                           in Any State
 Recovery Range
                          Closed            Gray 3               Gray 2          Gray 1          Open
                          (5.5%)           (17.5%)              (37.5%)          (60%)          (100%)
 Base Claim Amount                                                                          $      600,000
   10% Recovery       $       3,300    $      10,500       $       22,500   $      36,000   $       60,000
   63% Recovery       $      20,790    $      66,150       $      141,750   $     226,800   $      378,000
   100% Recovery      $      33,000    $     105,000       $      225,000   $     360,000   $      600,000
 Max Claim Amount                                                                           $    2,700,000
   10% Recovery       $      14,850    $      47,250       $      101,250   $     162,000   $      270,000
   63% Recovery       $      93,555    $     297,675       $      637,875   $   1,020,600   $    1,701,000
   100% Recovery      $     148,500    $     472,500       $    1,012,500   $   1,620,000   $    2,700,000

                                            Oral Sex Claim


                                                     33
        Case 20-10343-LSS           Doc 6418-1          Filed 09/29/21       Page 41 of 303



                                                                                          In-Statute
                                           Out-of-Statute Claims                         in Any State
Recovery Range
                        Closed            Gray 3              Gray 2          Gray 1          Open
                        (5.5%)           (17.5%)             (37.5%)          (60%)          (100%)
Base Claim Amount                                                                        $      450,000
  10% Recovery      $      2,475     $        7,875      $      16,875   $      27,000   $       45,000
  63% Recovery      $     15,593     $       49,613      $     106,313   $     170,100   $      283,500
  100% Recovery     $     24,750     $       78,750      $     168,750   $     270,000   $      450,000
Max Claim Amount                                                                         $    2,025,000
  10% Recovery      $     11,138     $       35,438      $      75,938   $     121,500   $      202,500
  63% Recovery      $     70,166     $      223,256      $     478,406   $     765,450   $    1,275,750
  100% Recovery     $    111,375     $      354,375      $     759,375   $   1,215,000   $    2,025,000

                                         Masturbation Claim
                                                                                          In-Statute
                                           Out-of-Statute Claims                         in Any State
Recovery Range
                        Closed            Gray 3              Gray 2          Gray 1          Open
                        (5.5%)           (17.5%)             (37.5%)          (60%)          (100%)
Base Claim Amount                                                                        $      300,000
  10% Recovery      $      1,650     $        5,250      $      11,250   $      18,000   $       30,000
  63% Recovery      $     10,395     $       33,075      $      70,875   $     113,400   $      189,000
  100% Recovery     $     16,500     $       52,500      $     112,500   $     180,000   $      300,000
Max Claim Amount                                                                         $    1,350,000
  10% Recovery      $      7,425     $       23,625      $      50,625   $      81,000   $      135,000
  63% Recovery      $     46,778     $      148,838      $     318,938   $     510,300   $      850,500
  100% Recovery     $     74,250     $      236,250      $     506,250   $     810,000   $    1,350,000

                                    Touching Unclothed Claim
                                                                                          In-Statute
                                           Out-of-Statute Claims                         in Any State
Recovery Range
                        Closed            Gray 3              Gray 2          Gray 1          Open
                        (5.5%)           (17.5%)             (37.5%)          (60%)          (100%)
Base Claim Amount                                                                        $     150,000
  10% Recovery      $         825    $        2,625      $       5,625   $       9,000   $      15,000
  63% Recovery      $      5,198     $       16,538      $      35,438   $      56,700   $      94,500
  100% Recovery     $      8,250     $       26,250      $      56,250   $      90,000   $     150,000
Max Claim Amount                                                                         $     675,000
  10% Recovery      $      3,713     $     11,813   $      25,313        $      40,500   $      67,500
  63% Recovery      $     23,389     $     74,419   $     159,469        $     255,150   $     425,250
  100% Recovery     $     37,125     $    118,125   $     253,125        $     405,000   $     675,000
                                     Touching Clothed Claim
                                                                                          In-Statute
                                           Out-of-Statute Claims                         in Any State
Recovery Range
                        Closed            Gray 3              Gray 2          Gray 1          Open
                        (5.5%)           (17.5%)             (37.5%)          (60%)          (100%)
Base Claim Amount                                                                        $      75,000
  10% Recovery      $         413    $        1,313      $       2,813   $       4,500   $       7,500
  63% Recovery      $      2,599     $        8,269      $      17,719   $      28,350   $      47,250
  100% Recovery     $      4,125     $       13,125      $      28,125   $      45,000   $      75,000


                                                   34
             Case 20-10343-LSS                 Doc 6418-1             Filed 09/29/21         Page 42 of 303




 Max Claim Amount                                                                                             $     337,500
  10% Recovery               $        1,856       $        5,906       $      12,656     $      20,250        $      33,750
  63% Recovery               $       11,694       $       37,209       $      79,734     $     127,575        $     212,625
  100% Recovery              $       18,563       $       59,063       $     126,563     $     202,500        $     337,500

                                                      Non-Touching Claim
                                                                                                               In-Statute
                                                        Out-of-Statute Claims                                 in Any State
 Recovery Range
                                 Closed                 Gray 3              Gray 2            Gray 1               Open
                                 (5.5%)                (17.5%)             (37.5%)            (60%)               (100%)
 Base Claim Amount                                                                                            $       3,500
   10% Recovery              $            19      $           61       $         131     $          210       $          350
   63% Recovery              $           121      $          386       $         827     $        1,323       $       2,205
   100% Recovery             $           193      $          613       $       1,313     $        2,100       $       3,500
 Max Claim Amount                                                                                             $       8,500
   10% Recovery              $            47      $          149       $          319    $           510      $          850
   63% Recovery              $           295      $          937       $       2,008     $        3,213       $       5,355
   100% Recovery             $           468      $        1,488       $       3,188     $        5,100       $       8,500

         2. Tort Claimants’ Committee’s Illustrative Direct Abuse Claim Recoveries under the
            Trust Distribution Procedures

       The Tort Claimants’ Committee has a different view than the Debtors about the value of
Abuse Claims. The Tort Claimants’ Committee also took the known value being contributed to
the Settlement Trust, excluding the TCJC Settlement Contribution, as of September 23, 2021
($1.604 billion) less estimated costs to operate the Settlement Trust (projected at 10%). After
adjustment for administrative expenses, $1.444 billion would be distributable to the holders of
Allowed Abuse Claims.
       The Tort Claimants’ Committee calculated the range of values of all asserted Abuse
Claims is $13.5 billion to $73.2 billion taking into account the Base and Maximum Claim values
under the Trust Distribution Procedures and the range of statute of limitations discounts. For
purposes of this illustration, the Tort Claimants’ Committee estimated the total claims amount
assuming all the Abuse Claims are allowed at the base value in the Trust Distribution
Procedures. The Abuse Claims were then adjusted using the median of the statutes of limitations
discount range.46 This results in an estimated recovery of 9.63%. The Tort Claimants’
Committee did not discount for lack of information in the claim filings, in part because claimants
will have the opportunity to supplement that information.
       The chart below sets forth the projected recovery on a base claim by Abuse type after
applying the median discounts for statutes of limitations required under the Trust Distribution
Procedures based on the applicable state law. These amounts will be further reduced on
account of recoveries for holders of Future Abuse Claims, which claims have been estimated
by the Future Claimants’ Representative [TO COME]to be approximately $5 billion or
approximately 21% of the total value of Direct Abuse Claims as calculated by Ankura
46
     The references in the chart below to “closed” “Grey 1-3” and “open” are references to the tiers for statute of limitations
     adjustments in the Trust Distribution Procedures as noted above and as set forth on Schedule 1 to the Trust Distribution
     Procedures.


                                                                 35
          Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 43 of 303




applying the procedures and criteria set forth in the Trust Distribution Procedures dated July
2, 2021.




                                              36
Case 20-10343-LSS     Doc 6418-1              Filed 09/29/21          Page 44 of 303




                             Penetration Claim
                          Base Claim Amount: $600,000
                        % Of Base Claim Payment: 9.63%
                       Payment Range: $3,177 - $57,771
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed      Gray 3                  Gray 2                  Gray 1               any State)
$3,177      $10,110                 $21,664                 $34,663               $57,771


                               Oral Sex Claim
                          Base Claim Amount: $450,000
                        % Of Base Claim Payment: 9.63%
                       Payment Range: $2,383 - $43,328
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed       Gray 3                 Gray 2                  Gray 1               any State)
$2,383       $7,582                 $16,248                 $25,997               $43,328


                            Masturbation Claim
                          Base Claim Amount: $300,000
                        % Of Base Claim Payment: 9.63%
                       Payment Range: $1,589 - $28,886
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed       Gray 3                 Gray 2                  Gray 1               any State)
$1,589       $5,055                 $10,832                 $17,331               $28,886


                        Touching Unclothed Claim
                          Base Claim Amount: $150,000
                        % Of Base Claim Payment: 9.63%
                        Payment Range: $794 - $14,443
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed       Gray 3                 Gray 2                   Gray 1              any State)
 $794        $2,527                 $5,416                   $8,666               $14,443


                         Touching Clothed Claim
                          Base Claim Amount: $75,000
                        % Of Base Claim Payment: 9.63%
                         Payment Range: $397 - $7,221
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed       Gray 3                 Gray 2                   Gray 1              any State)
 $397        $1,264                 $2,708                   $4,333                $7,221


                           Non-Touching Claim
                           Base Claim Amount: $3,500
                        % Of Base Claim Payment: 9.63%
                          Payment Range: $19 - $337
              Base Payment After Statute Of Limitation Adjustments
                                                                            Open (or in-statute in
Closed       Gray 3                 Gray 2                   Gray 1              any State)
 $19          $59                    $126                     $202                 $337



                                      37
Case 20-10343-LSS   Doc 6418-1    Filed 09/29/21   Page 45 of 303




                             38
           Case 20-10343-LSS         Doc 6418-1      Filed 09/29/21    Page 46 of 303




         3. Tort Claimants’ Committee’s Analysis of Local Council Contributions

       The Tort Claimants’ Committee encourages holders of Direct Abuse Claims to review
the detailed chart at Exhibit G, which shows that the Local Councils’ aggregate contribution
pays 1.27% of the maximum Trust Distribution Procedure claim value – which represents
approximately 28% of their book value of unrestricted net assets – to fund the proposed
settlement.

       Exhibit G does not include the $100 million DST Note as that is not allocated between
the Local Councils and, as noted in the risk factor at Article X.A.19 of this Disclosure Statement,
the payment of the DST Note is not assured and there is no security for the DST Note.

         Exhibit G includes the following information:

        Name of the Local Council and number of Abuse Claims that implicate a Local Council.
        Valuation of the Abuse Claims against each Local Council using the Trust Distribution
         Procedures (Base) with the highest statute of limitation discount (resulting in the “Low”
         value) and the Trust Distribution Procedures (Max) with the lowest statute of limitation
         discount (resulting in the “High” value).
        The total value contributed by each Local Council.
        The value of each Local Council’s unrestricted net assets.

       The Debtors do not agree with the TCC’sTort Claimants’ Committee’s analysis on
Exhibit G and have included their specific response to the analysis on Exhibit G-1.

J.       The Settlement Trust

       On the Effective Date of the Plan, the Settlement Trust will be established for the benefit
of holders of Abuse Claims. From and after the Effective Date, all Abuse Claims shall be
channeled to the Settlement Trust, which will be funded by the Settlement Trust Assets. As
further described in Article VII of this Disclosure Statement, the Settlement Trust will
administer the Settlement Trust Assets and process, liquidate, and pay Abuse Claims in
accordance with the applicable Trust Distribution Procedures.

       The purpose of the Settlement Trust is to assume liability for all Abuse Claims, to
administer the Settlement Trust Assets, and to direct the processing, liquidation, and payment of
all compensable Abuse Claims. The Settlement Trust will resolve Abuse Claims through the
Trust Distribution Procedures, which are summarized in Article VII.B of this Disclosure
Statement and attached to the Plan as Exhibit A. The Trust Distribution Procedures are designed
to permit the Settlement Trustee to provide substantially similar treatment to holders of legally
valid and factually supported, similar Abuse Claims and will be the sole and exclusive method
by which the holder of an Abuse Claim may seek allowance and resolution of his or her Abuse
Claim. The Debtors will demonstrate at the Confirmation Hearing that the Settlement
Trust will resolve Abuse Claims in accordance with the Settlement Trust Documents in
such a way that holders of Abuse Claims are treated fairly, equitably, and reasonably in


                                                39
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 47 of 303




light of the finite assets available to satisfy such Claims, and otherwise comply in all
respects with the requirements of the Bankruptcy Code.

       The Trust Distribution Procedures are discussed further in Article VII.B herein.
Additionally, the Settlement Trust Agreement is attached to the Plan as Exhibit B.

K.     Further Information Regarding Non-Abuse Litigation Claims

        The Debtors’ insurance coverage for years 2013 and later may provide coverage for both
Abuse Claims and Non-Abuse Litigation Claims, but there is a negligible risk that the Debtors
will exhaust all of their insurance coverage for such years on account of Non-Abuse Litigation
Claims. The Debtors have identified approximately sixty-two (62) active out of seventy-two
(72) total Non-Abuse Litigation Claims, all of which appear to have arisen in 2013 or later (to
the extent the date of the alleged incident is known). The Debtors believe that at least eleven
(11) of the active Claims will be disallowed through the Claims reconciliation process. In
addition, one (1) claim has been withdrawn, six (6) have been satisfied, and three (3) have been
previously disallowed. The Debtors have approximately $200 million of available insurance
coverage in each year after 2013, in addition to primary insurance policies issued by Old
Republic Insurance Company that have $1 million in per-occurrence limits, but no applicable
aggregate limit. It is likely that a material number of the Non-Abuse Litigation Claims will not
exceed the $1 million per-occurrence limit of the primary policies issued by Old Republic
Insurance Company or Evanston Insurance Company. As such, the Debtors expect that there
will be ample insurance coverage for Non-Abuse Litigation Claims.

       The Debtors will use their best efforts to obtain Bankruptcy Court approval of as many
settlements of Non-Abuse Litigation Claims as possible prior to the Effective Date. While the
Settlement Trust has the power to settle or release the Specified Insurance Policies, prior to the
exercise of that right, any Non-Abuse Litigation Claim may recover for its claim from any
available Specified Insurance Policy.

        Moreover, prior to the Effective Date the Creditors’ Committee will retain consent rights
with respect to any proposed settlement between the Debtors and its primary insurers Old
Republic (Specified Insurance Policies from 2013-19) and Evanston/Markel (Specified
Insurance Policies from 2019-20), unless that settlement does not release the applicable insurer
for liability arising from Non-Abuse Litigation Claims. With respect to any proposed
pre-Effective Date settlement of a Specified Insurance Policy that is an excess policy (above the
Old Republic umbrella layer for the period 2013-19, or above the Evanston/Markel umbrella
layer for the period 2019-20), the Creditors’ Committee will have consultation rights.

         Post Effective Date, if and when the Settlement Trust settles any Specified Insurance
Policies, the Settlement Trust shall have consent over any post-emergence settlement of
Non-Abuse Litigation Claims, such consent not to be unreasonably withheld. Each holder of a
Non-Abuse Litigation Claim shall remain entitled to recover up to $1 million of its claim under
primary Specified Insurance Policies. Any amounts exceeding $1 million shall be recoverable in
the first instance from any available, unsettled umbrella or excess Specified Insurance Policies.
Subject to a review of the details concerning the Non-Abuse Litigation Claims by the Settlement
Trustee, to the extent that the holder of a Non-Abuse Litigation Claim cannot recover the full


                                                40
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 48 of 303




amount of any judgment or settlement of their claim consented to by the Settlement Trust (such
consent not to be unreasonably withheld) from any Specified Insurance Policy as a result of the
Settlement Trust’s release of the Specified Insurance Policy, any unpaid amounts (up to
applicable policy limits) shall be submitted to the Settlement Trust, which shall pay such
amounts out of the proceeds of Specified Insurance Policies. Release of the Non-Abuse
Litigation Claim against the Debtors, Local Councils, and any other insureds under applicable
Specific Insurance Policies shall be a condition of such payment of a Non-Abuse Litigation
Claim by the Settlement Trust.

        The Settlement Trustee will have a duty to treat Direct Abuse Claims and Non-Abuse
Litigation Claims that implicate the Specified Insurance Policies fairly and equally. In
negotiating any settlements involving Specified Insurance Policies, the Settlement Trust will
agree to bear in mind the interests of both abuse and non-abuse claimants in structuring any
settlement and use best efforts to maximize recoveries for both constituencies.

        With respect to any Non-Abuse Litigation Claim that has been asserted against any Local
Council, notice of which is provided to the Debtors, the Coalition, the Tort Claimants’
Committee, and the Future Claimants’ Representative prior to the Effective Date, the rights of
the Local Council to recover for such Non-Abuse Litigation Claim under the Specified Insurance
Policies shall be preserved; provided, however, that if the holder of a Non-Abuse Litigation
Claim provides a full and complete written release of any claims that such holder of a
Non-Abuse Litigation Claim may have against the Local Council related to the Non-Abuse
Litigation Claim, then the Local Council will be deemed to have waived any rights it may have
against the Specified Insurance Policy with respect to such Non-Abuse Litigation Claim.

L.     Description of Certain Insurance Provisions of the Plan

        Article X.M of the Plan sets forth certain provisions related to the treatment of Insurance
Policies under the Plan and specifically, in relation to the Settlement Trust. On May 19, 2021,
the Bankruptcy Court held a hearing to consider, among other things, the Exclusivity Motion
(defined below) and the related objections. During the arguments related thereto, there was
robust discussion related to the insurance neutrality provisions of the prior version of the Plan
and the reach of such insurance neutrality provisions in general. Although the Bankruptcy Court
indicated that it would require guidance from all parties at the appropriate time with respect to
insurance neutrality, the Bankruptcy Court provided preliminary direction with respect to what it
believed were the bounds of the Bankruptcy Court’s authority to modify the rights and
obligations of Insurance Companies under their Insurance Policies through a plan of
reorganization or related documents. In particular, the Bankruptcy Court observed that (i) it
does not view an insurance policy any differently than any other contract, in the sense that a plan
of reorganization should not modify the terms and provisions of the policy except as allowed
under the Bankruptcy Code, and (ii) to the extent a plan of reorganization is not
insurance-neutral, insurers have the right to participate and object to such plan and are then
bound by the Bankruptcy Court’s rulings with respect thereto.
       As a result of the robust discussion at the May 19, 2021 hearing and this guidance from
the Bankruptcy Court as well as the objections that were filed, the Debtors modified the
insurance provisions of the Plan. As set forth therein, or as otherwise provided in the Bankruptcy


                                                41
          Case 20-10343-LSS         Doc 6418-1      Filed 09/29/21    Page 49 of 303




Code, applicable law, the findings made by the Bankruptcy Court in the Confirmation Order or
the findings made by the District Court in the Affirmation Order, it shall not “modify, amend, or
supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy or rights and obligations under an Insurance Policy to the extent such rights and
obligations are otherwise available under applicable law. . . .”
       A more fulsome description of the modified insurance provisions of the Plan can be
found in Article VII.A.30 of this Disclosure Statement.

M.     Modification and Amendments

       Mediation and settlement negotiations with various parties are on-going and will
continue after the date of this Disclosure Statement. Subject to the limitations contained in
the Plan, the Debtors reserve the right to modify the Plan as to material terms and seek
Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes
on such modified Plan. Subject to certain restrictions and requirements set forth in section
1127 of the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on
modifications set forth in the Plan, the Debtors expressly reserve their rights to alter,
amend, or modify materially the Plan with respect to the Debtors one or more times
including after Confirmation, and, to the extent necessary, may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or
omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

       For the avoidance of doubt, such modification(s) may include a settlement pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. Any such modification or supplement shall
be considered a modification of the Plan and shall be made in accordance with Article
XII.B of the Plan.

       If the Bankruptcy Court finds, after a hearing on notice to the parties in interest in
the Chapter 11 Cases, that the proposed modification does not materially and adversely
change the treatment of the Claim or Interest of any holder thereof who has not accepted
in writing the proposed modification, the Bankruptcy Court may deem the Plan to be
accepted by all holders of Claims or Interests who have previously accepted the Plan.
Entry of a Confirmation Order shall mean that all modifications or amendments to the
Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code and do not require additional disclosure or resolicitation under
Bankruptcy Rule 3019.

      For the avoidance of doubt, any and all rights of holders of Claims against the
Debtors or Interests in the Debtors are expressly reserved under Bankruptcy Rule 3019
and any other applicable provisions under the Bankruptcy Rules, Local Rules of the
Bankruptcy Court, or Bankruptcy Code.




                                               42
               Case 20-10343-LSS             Doc 6418-1          Filed 09/29/21         Page 50 of 303




         ARTICLE III. ORGANIZATION OVERVIEW AND CORPORATE HISTORY

A.        Organization Overview

          1.       The Boy Scouts of America

        The BSA was incorporated in the District of Columbia on February 8, 1910, and
subsequently chartered by Congress as a non-profit corporation under Title 36 of the United
States Code on June 15, 1916. 36 U.S.C. §§ 30901-08. The Congressional Report in Support of
the Act to Incorporate the Boy Scouts of America provides that the Scouting program “is
intended to supplement and enlarge established modern educational facilities in activities in the
great and healthful out of doors where may be the better developed physical strength and
endurance, self-reliance, and the powers of initiative and resourcefulness, all for the purpose of
establishing through the boys of today the very highest type of American citizenship.” H.R.
Rep. No. 64-130 at 245 (1916). Consistent with this charitable intention, the BSA’s
congressional charter states that the purpose of the organization is to “promote, through
organization, and cooperation with other agencies, the ability of boys to do things for themselves
and others, to train them in Scoutcraft, and to teach them patriotism, courage, self-reliance, and
kindred virtues, using the methods which are now in common use by Boy Scouts.” BSA
Charter, § 3; see also BSA Bylaws, § 2 (“In achieving this purpose, emphasis shall be placed
upon its educational program and the oaths, promises, and codes of the Scouting program for
character development, citizenship training, leadership, and mental and physical fitness.”).
These mandates have been the guiding light for the BSA’s work for over a century.

        As a non-profit corporation, the BSA is required to adopt and carry out a charitable,
religious, educational, or other philanthropic mission. It is the BSA’s mission “to prepare young
people to make ethical and moral choices over their lifetimes by instilling in them the values of
the Scout Oath and Law.”47 Unlike a profit-seeking corporation, the BSA’s senior leadership
owes fiduciary duties to the Scouting mission, not the generation of profits. The successful
delivery of this mission to youth in America is the BSA’s fiduciary obligation. To that end, all
Scouting policies, practices, and programming are specifically designed to train Scouts in
responsible citizenship, character development, and self-reliance, in a manner consistent with the
BSA’s mission. Thus, to be eligible for Scouting, individuals must subscribe to, and conduct
themselves in accordance with, the Scout Oath and the Scout Law:

         Scout Oath. “On my honor I will do my best to do my duty to God and my country and
          to obey the Scout Law; to help other people at all times; to keep myself physically strong,
          mentally awake, and morally straight.”48

         Scout Law. “A Scout is trustworthy, loyal, helpful, friendly, courteous, kind, obedient,
          cheerful, thrifty, brave, clean, and reverent.”49



47
     BSA, Mission & Vision, https://www.scouting.org/legal/mission/.
48
     BSA, What are the Scout Oath and Law?, https://www.scouting.org/discover/faq/question10/.
49
     BSA, About the BSA, https://www.scouting.org/about/.


                                                            43
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 51 of 303




At all levels of Scouting, these fundamental tenets of the BSA’s mission are taught to Scouts so
they can successfully develop into our nation’s next generation of great leaders.
        In support of its mission, the BSA has long facilitated the spread of Scouting in the
United States through units chartered by local partners and has also designed and implemented
an array of its own outdoor activities, educational and skill-building programs, and career
training. Since its inception, more than 130 million Scouts have participated in the BSA’s
programming, and more than 35 million adult leaders have helped carry out the BSA’s mission.
The BSA has grown to be one of the largest youth organizations in the country, as well as one of
the largest Scouting organizations in the world. In 2019, nearly three million Scouts and adult
leaders were involved in Scouting and helped deliver more than 13 million Scouting service
hours to communities across the country.

        Throughout its 110-year history, the BSA has continually looked for ways to offer
Scouting to more young men and women. In 1912, the BSA formed the Camp Fire Girls as a
sister organization. In the 1930s, the BSA introduced Cub Scouts as a program for younger
participants. Other past and current BSA programs include Air Scouts, Sea Scouts, Exploring,
Venturing, and STEM Scouts. In 2018, the BSA welcomed girls into Cub Scouts, and in 2019,
the BSA began chartering girl units to join Scouts BSA, the program previously known as Boy
Scouts. Since 2017, over 200,000 girls have participated in Scouting, including approximately
130,000 in Cub Scouts, 30,000 in Scouts BSA, and 65,000 in Venturing, Sea Scouts, and
Exploring. The BSA has also organized affiliated organizations and affinity groups—such as
Learning for Life, Order of the Arrow, and National Eagle Scout Association—to provide
additional educational, civic, and developmental programs for Scouts, as well as engagement
opportunities for Scouting alumni and supporters.

        The BSA also provides other services critical to continued Scouting opportunities for
America’s young men and women, including core program content, such as events and other
activities at high adventure facilities; the procurement and sale of uniforms and equipment;
information technology and digital resources; training of professional Scouters to serve in Local
Councils; communications and publications including magazines and online content for Scouts
and adult leaders; training development and delivery; national events; registration systems; and
other quality control services. In addition, every four years, the BSA hosts a National Jamboree,
where tens of thousands of Scouts from around the country gather to celebrate Scouting, learn
about teamwork and leadership, and develop lifelong friendships.

       The Headquarters of the BSA is in Irving, Texas. The BSA has approximately 1,155
employees, all of whom are located in the United States and its territories. The BSA’s
employees are located at its Headquarters; at the BSA’s national Warehouse and Distribution
Center in Charlotte, North Carolina; at approximately 145 official BSA Scout Shops located
throughout the country; and at the BSA’s four high adventure facilities located in Florida and the
U.S. Virgin Islands, New Mexico, West Virginia, and Minnesota and parts of Canada. The
BSA’s sources of funding include membership fees, high adventure facility fees, supply sales at
Scout Shops, on its website, and directly to Local Councils, donor contributions, legacies,
bequests, corporate sponsorships, and grants from foundations. In 2020, the BSA’s total gross
revenues were approximately $187 million. Of this total, approximately 28% was attributable to
supply sales, approximately 47% to membership fees, approximately 8% to high adventure


                                                44
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 52 of 303




facility operations, approximately 2% to investments, approximately 4% to contributions,
approximately 1% to event fees, and approximately 10% to other.

        The BSA is governed by an executive board and an executive committee, which are
responsible for managing the organization’s affairs and electing officers. The executive board is
comprised of 72 total members and is led by the National Chair. The board is made up of 64
regular members and the executive committee, which is a twelve-member delegation of the
executive board that is also led by the National Chair. The executive committee includes, among
others, the National “Key 3,” who are responsible for guiding the BSA organization as a whole:
the National Chair (Daniel G. Ownby), National Commissioner (W. Scott Sorrells), and Chief
Executive Officer and President (Roger C. Mosby). The National Chair and National
Commissioner are volunteer positions. The executive committee has formed a bankruptcy task
force to direct the Debtors’ restructuring strategy in connection with these Chapter 11 Cases.

       2.      The Scouting Experience

        Delivery of the Scouting mission is the fiduciary obligation of the BSA. Local Councils
and Chartered Organizations, and the Scouting units that they sponsor, operationalize this
mission. Through these organizations, Scouts learn the values embodied in the Scout Oath and
Scout Law. From the beginner-level Cub Scouts to the most advanced offerings at high
adventure facilities, all Scouting programming is intended to instill in the next generation of
leaders the fundamental tenets of the BSA’s mission.

                       a.      Cub Scouts

        The gateway to the Scouting program is Cub Scouts, where younger participants
(kindergarten through fifth grade) first build character, learn citizenship, and develop personal
skills and physical fitness. The den—a small group of six to eight children who are the same
grade and gender—is the cornerstone of Cub Scouting. In the den, Cub Scouts make friends,
develop new skills and interests, and learn respectfulness, sportsmanship, and citizenship.
Several dens in the same community form a pack. At pack meetings, Cub Scouts engage in a
wide range of fun and interactive activities, including games, arts and crafts, skits, and songs.
Packs also hold special events and activities, such as advancement banquets, field trips,
community service projects, and, most famously, the Pinewood Derby. Cub Scouts attend camp
outings and participate in other local outdoor activities, such as hiking, biking, swimming,
sledding, and a variety of team sports, all of which help instill in them a life-long respect for the
environment, a core principle of the Scouting mission. Many of these outdoor adventures are
held at Local Council-owned properties specifically developed and maintained for the purpose of
delivering the Scouting program. Cub Scout programming is family-oriented, and adult
volunteers, many of whom are parents of participating Cub Scouts, play an active role in den and
pack leadership.

                       b.      Scouts BSA

       After Cub Scouts, youth participants progress to Scouts BSA. The Scouts BSA program
focuses on service to others, community engagement, leadership development, respect for the
environment, and personal and professional growth. In Scouts BSA, adult volunteers take a back


                                                 45
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21     Page 53 of 303




seat, and Scouts themselves assume important leadership roles at their own meetings and
activities. Scouts BSA units, known as “troops,” are single-gender and composed of several
smaller groups called “patrols.” At patrol and troop meetings, Scouts engage in knowledge- and
skill-based challenges, team building exercises, and community service projects, such as
cleaning parks and other public spaces, enhancing nature preserves, building trails in wildlands,
constructing playgrounds, creating libraries, collecting meals for food banks, visiting with the
sick or elderly, or responding to national emergencies.

         In Scouts BSA, every Scout is able to take on a leadership role in his or her patrol, which
provides one of the unique experiences in Scouting that inspires young people from all
backgrounds, experiences, and capabilities to see themselves as a leader and hone skills that will
last a lifetime. In addition, Scouts are encouraged to participate in a wider suite of outdoor
activities, including weekend camping trips, summer camps, and themed-camporees where they
are exposed to more advanced Scouting programming and skill-building in diverse areas, such as
first aid, rock climbing, forestry, conservation, and environmental awareness. At these events,
Scouts from different troops work together and form life-long bonds. Local Council camps and
other facilities are the hub for many of these outdoor adventures.

        Central tenets of Scouts BSA programming are rank advancement and merit badges.
Young men and women begin their journey in Scouts BSA at the rank of Scout. As they master
skills and learn important life lessons, they progress to the ranks of Tenderfoot, Second Class,
First Class, Star, and then Life. Along the way, Scouts earn merit badges that recognize hard
work and achievement in sports, arts, sciences, trades, personal finance, and future careers. At
this time, there are more than 135 merit badges, and any Scout, or any qualified Venturer or Sea
Scout may earn any of them at any time. In 2019, young men and women earned more than 1.7
million merit badges that represent skills that will help them succeed throughout their lives.

       Scouts who successfully complete this rigorous program, serve as a leader in their troop
for a designated period of time, and design and lead a significant service project, are awarded
Scouts BSA’s highest rank of Eagle. Less than 8% of Scouts achieve the Eagle Scout rank, and
past Scouts achieving this honor permeate our nation’s government, economy, and culture,
including President Gerald Ford, astronaut Neil Armstrong, civil rights leader Percy Sutton, and
entrepreneurs Sam Walton and Ross Perot, to name a few.

                       c.     Advanced Scouting

        In addition to Scouting’s core Cub Scouts and Scouts BSA offerings, older Scouts
participate in other advanced programs. In Venturing, co-ed groups form their own Scout-led
“crews” that design and carry out specialized programming and activities. The opportunities
available through Venturing are endless: A Scout interested in the outdoors can join a Venturing
crew that backpacks in state or national parks and kayaks in local or remote rivers; a Scout
interested in the sciences can join one that builds robots or volunteers at planetariums and
museums; and a Scout interested in community service can join one that volunteers at soup
kitchens or rebuilds homes in the wake of natural disasters. Venturing crews instill in their
members the importance of adventure, leadership, personal growth, and service, all of which are
fundamental to the Scouting mission.



                                                46
             Case 20-10343-LSS                Doc 6418-1          Filed 09/29/21   Page 54 of 303




        Other advanced programs for older Scouts include Sea Scouts, where Scouts learn
boating skills and water safety, and also study maritime heritage. Sea Scouts participate in
boating and other water-based excursions, such as scuba diving off the Florida Keys and
kayaking in the Everglades. Another program, Exploring, is the BSA’s preeminent workforce
development program. Through Exploring, Scouts join career-specific clubs sponsored by local
businesses, government agencies, and community organizations. Scouts develop important
personal and professional skills through immersive, on-the-job training. And STEM Scouts
offers the Scouting experience with less emphasis on the outdoors. Participating young men and
women learn about and nurture a lifelong interest in science, technology, engineering, and math
through creative, hands-on activities, educational field trips, and interaction with STEM
professionals.

                             d.       High Adventure Facilities

         The apex of the Scouting program is found at the four iconic high adventure facilities
operated by the BSA. At these facilities, Scouts experience the truest embodiment of what
Congress envisioned when it chartered the organization more than a century ago—unparalleled
facilities hosting outdoor activities, educational programs, and leadership training. As Scouts
progress through Scouting, these high adventure facilities provide them with opportunities to
implement the knowledge and training that they gained through Cub Scouts and Scouts BSA at
locations and in programs that are not available anywhere else in the country. Not surprisingly,
there is strong demand for these high adventure facilities—more than 50,000 Scouts and
Scouters participate in the programs and events held there every year, and more than two million
have done so since their openings. Since 2010, scout high adventure base attendance has
increased from approximately 40,000 to approximately 50,000 per year despite declines in
overall membership. As their storied histories portend, these facilities and the programming they
allow play a critical role in the BSA’s delivery of the Scouting program to young Americans.

                             (i)      Northern Tier

       The BSA opened the Northern Tier high adventure facility (“Northern Tier”)—located on
the boundary waters between Minnesota and Canada—as its first high adventure facility in 1923.
For nearly a century, the BSA has maintained several wilderness canoe bases at Northern Tier
from which generations of Scouts have explored millions of acres of lakes, rivers, forests, and
wetlands of northern Minnesota, northwestern Ontario, and southeastern Manitoba. Scouts at
Northern Tier embark on canoe treks covering up to 150 miles and lasting as long as two weeks.
Along the way, Scouts camp at remote, unstaffed campgrounds, where they must learn and
implement Scouting’s philosophy of self-sufficiency. In the winter, Northern Tier transforms
into a cold-weather camping outpost, where Scouts can engage in winter activities such as
cross-country skiing, dog sledding, snow shoeing, and ice fishing. Over the years, the BSA has
hosted almost 250,000 Scouts and Scouters at Northern Tier.50

                             (ii)     Philmont Scout Ranch

      The BSA’s largest high adventure facility, Philmont Scout Ranch (“Philmont”), was
opened in 1938 on nearly 150,000 acres of rugged mountain wilderness in the Sangre de Cristo
50
     See generally BSA, About Northern Tier, https://www.ntier.org/about/.


                                                             47
              Case 20-10343-LSS              Doc 6418-1         Filed 09/29/21         Page 55 of 303




range of the Rocky Mountains in northeastern New Mexico. At Philmont, Scouts have access to
a labyrinth of backpacking trails, as well as 35 staffed camps and 55 trail camps, spread across
mountainous terrain ranging in elevation from 6,500 to 12,500 feet. In addition, the BSA’s
programming at Philmont features the best of the Old West—horseback riding, burro packing,
gold panning, chuckwagon dinners, and interpretive history—along with physical challenges
such as rock climbing, mountain biking, and sport shooting. These experiences teach Scouts
about our nation’s frontier history and instill in them a lifelong sense of adventure and
confidence in challenging situations. In addition, Philmont hosts a series of leadership training
programs for adult leaders. Well over a million Scouts and Scouters have experienced the
unique and diverse offerings of Philmont.51

                            (iii)    Florida Sea Base

         Florida Sea Base (“Sea Base”) was commissioned by the BSA as its third high adventure
facility in 1980. At several facilities in south Florida and the U.S. Virgin Islands, Scouts swim,
snorkel, scuba dive, and fish. Scouts also participate in boating and sailing adventures
throughout the Caribbean, as well as primitive camping on several island-based settlements.
Through Sea Base’s programming, Scouts learn to trust one another and work as a team, and also
learn the importance of conservation and the preservation of our environment. Since opening its
doors, the BSA has provided aquatic adventures to nearly 300,000 Scouts and Scouters at Sea
Base.52

                            (iv)     Summit Bechtel Reserve

        Most recently, in 2013, the BSA opened the Summit Bechtel Reserve (“Summit”) in the
wilds of West Virginia. It is the preeminent summer camp, high adventure facility, and
leadership training center for the millions of Scouts and adult leaders involved in Scouting now
and for generations to come. At the Summit, Scouts explore the New River Gorge region
through white-water rafting, kayaking, canyoneering, and advanced orienteering. Scouts also
participate in more modern adventures, such as skateboarding, ATV riding, freestyle BMXing,
and zip-lining. This programming pushes Scouts past their comfort zones, where they can better
develop and master the leadership, character, citizenship, and fitness that are core to the BSA’s
mission. In addition to its regular programming, the BSA hosts a National Jamboree at the
Summit every four years. In 2019, the BSA hosted the largest World Jamboree ever, with over
45,000 attendees Scouts in attendance from 167 countries. It was the first such event held in the
United States in over 50 years. All told, approximately 200,000 Scouts and Scouters have
experienced the wonders of the Summit since it opened less than a decade ago.53

         3.        Delivery of the Scouting Programs

        Local Councils and Chartered Organizations work closely together to carry out the
mission of Scouting. Each of these entities plays a vital role in training Scouts in responsible
citizenship, character development, and self-reliance. Despite their common purpose, the BSA,
Local Councils, and Chartered Organizations are legally independent entities. Each Local
51
     See generally BSA, About Philmont, https://www.philmontscoutranch.org/about/.
52
     See generally BSA, About Sea Base, https://www.bsaseabase.org/about/.
53
     See generally BSA, The Summit Story, https://www.summitbsa.org/about-us/summit-story/.


                                                           48
             Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21          Page 56 of 303




Council is a non-profit corporation under the laws of its respective state and exempt from federal
income tax under section 501(c)(3) of the Internal Revenue Code. Each Local Council also
maintains its own senior management and independent volunteer board of directors. The BSA
does not hold any equity interest in any Local Council, Chartered Organization, or Scouting unit,
and only the BSA and its wholly owned subsidiary, Delaware BSA, LLC, are Debtors in these
Chapter 11 Cases.54

                   a.        Local Councils

      In furtherance of its mission, the BSA charters independently incorporated Local
Councils to facilitate the delivery of the Scouting program. Local Councils are not agents of the
BSA, and they have no authority to bind the organization.

        There are currently 251 Local Councils covering geographic areas of varying size,
population, and demographics. Although they are legally independent of the BSA, Local
Councils are required to organize, operate, and promote Scouting in a manner that is consistent
with the BSA’s mission and with the BSA’s Charter, bylaws, rules and regulations, policies, and
guidelines. Local Councils generally do not receive financial support from the BSA; instead,
they rely upon their own fundraising through donations, product sales, special events, and
corporate gifts. The BSA does, however, provide certain corporate and administrative support to
the Local Councils in exchange for shared services and other fees and reimbursements, as well
as for the assistance of Local Councils in delivering the Scouting mission. This support includes
human resources, access to training facilities, marketing services, and general liability Insurance
Coverage.

       The BSA is responsible for developing and disseminating the structure and content of the
Scouting program, owns and licenses intellectual property, and provides training and support
services, including corporate services such as human resources, marketing and legal functions,
and information technology. The BSA, in addition to holding the power to grant charters to
Local Councils, may also revoke a Local Council’s charter for failing to meet national standards.
Local Councils, for their part, play a key role in delivering the Scouting program. Local
Councils also serve the vital function of collecting member fees and remitting such funds to the
BSA. Each of these Local Councils is crucial to the BSA’s ability to carry out its mission.

         The most important functions served by Local Councils are their recruiting of Chartered
Organizations and their oversight of the operation of the Scouting units that those Chartered
Organizations create. Local Councils also provide other services essential to Scouting,
including: funding of local Scouting programs and initiatives; recruiting of Scouts and volunteer
leaders; providing Scout and volunteer training; offering opportunities for rank advancement;
locally enforcing the BSA’s policies, rules, and regulations; and registering members and
leaders. In addition, many Local Councils own and operate service centers, camps, and other
facilities that provide the local resources necessary for a successful Scouting program.



54
     In addition to Local Councils and Chartered Organizations, the BSA is also affiliated with several non-stock Entities, each
     of which is related to, but legally independent of, the BSA. Several of these affiliated, non-stock Entities are directly
     involved in delivering the Scouting program, while others, such as the Foundation, serve the BSA’s mission in other ways.


                                                              49
              Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21          Page 57 of 303




        Local Councils own and operate hundreds of unique camps and other properties that host
outdoor activities, educational programs, and leadership training for youth involved in BSA’s
Scouting programs. Certain Local Councils also own office buildings used for their program
staff and approximately 145 Scout Shops, which the BSA leases from these Local Councils to
sell retail merchandise and other products. Certain Local Councils also own various other
properties including vacant land and/or properties that are not in use.

        A corps of qualified and trained professional and volunteer Scouters is essential for Local
Councils to provide these services. To that end, each of the Local Councils hires a professional
Scout executive and other key staff from a pool of professionals—pre-commissioned by the
BSA—who have demonstrated the moral, educational, and emotional qualities necessary for
leadership. Those commissioned professionals and other staff members support the Local
Councils in connection with day-to-day operations, recruitment of new Chartered Organizations,
management of fundraising, maintenance of program facilities, and numerous other services.
Thousands of volunteers also donate their time and resources to support the Local Councils,
including through assistance with programming, such as unit leadership, unit activities, merit
badge colleges, youth and adult leader training and advancement opportunities, and fundraising
events.

                   b.        Chartered Organizations

        There are currently more than 41,000 Chartered Organizations in the United States. They
are typically local organizations—such as faith-based institutions, clubs, civic associations,
educational institutions, businesses, and groups of citizens—that sponsor the more than 50,000
local Scouting units throughout the country. Some Chartered Organizations are actively
involved with the units that they sponsor and encourage Scouting as a means to further in their
own mission or serve their broader communities. In addition, Chartered Organizations support
the selection of adult leaders and other volunteers, and provide meeting space to the packs and
troops that they sponsor along with storage space, use of equipment, and other monetary and
in-kind support.

        Unfortunately, relationships with some of these Chartered Organizations have
deteriorated or been terminated. For example, as of December 31, 2019, TCJC concluded its
105-year relationship as a Chartered Organization with all Scouting programs around the world,
including the BSA—which is estimated to have resulted in approximately 525,000 fewer
participants in the BSA’s Scouting programs.55

B.       Corporate Structure

         1.        Delaware BSA, LLC

        Debtor Delaware BSA, LLC (“Delaware BSA”), of which the BSA is the sole member, is
a non-profit limited liability company that was incorporated under the laws of Delaware on July
11, 2019. Delaware BSA is exempt from federal income tax under section 501(c)(3) of the
Internal Revenue Code. Delaware BSA has pledged substantially all of its assets to secure the
obligations of the BSA and Arrow under the 2019 RCF Agreement, the Prepetition Security
55
     TCJC has not indicated an intention to become a Chartered Organization with Scouting again.


                                                             50
              Case 20-10343-LSS             Doc 6418-1         Filed 09/29/21   Page 58 of 303




Agreement (2020), the 2010 Bond Agreement, and the 2012 Bond Agreement. Delaware BSA’s
principal asset is a depository account located in Delaware.

         2.       BSA Asset Management, LLC and BSA Commingled Endowment Fund, LP

        The BSA receives services from certain specialized non-Debtor Affiliates, which are
wholly-owned by, or subject to the control of, the BSA (each, a “Related Non-Debtor Entity”).
While the Local Councils facilitate the Debtors’ mission and are vital in reaching participants at
a local level, the Related Non-Debtor Entities provide specialized services under shared services
arrangements that are necessary to facilitate the BSA’s national reach, including, among other
things, investment and foundation management, management of national programs, lease
transactions, and conference and training support functions. BSA Asset Management, LLC
(“BSAAM”) is a Delaware limited liability company of which the BSA is the sole member. The
BSA receives investment management and advisory services from BSAAM, which oversees
management of the funds making up the various benefits programs and trusts of the BSA, along
with providing management and investment services for the BSA’s unrestricted endowment and
donations to the BSA. BSAAM manages the BSA’s and certain Local Councils’ investments
through the BSA Commingled Endowment Fund, LP (the “Endowment Fund”), which is a
Delaware limited partnership and investment vehicle open only to the BSA, the Local Councils,
and their affiliates for investing long-term funds. BSAAM is the general partner of the
Endowment Fund. The BSA and certain Local Councils are limited partners of the Endowment
Fund. Each limited partner receives units of partnership interest in proportion to, and in
exchange for, its financial contributions to the Endowment Fund. In addition to its role as
general partner of the Endowment Fund, BSAAM is the settlor of the BSA Endowment Master
Trust.

         3.       BSA Endowment Master Trust

        Related Non-Debtor Entity, BSA Endowment Master Trust (the “Master Trust”), is a
non-profit 501(c)(3) Delaware trust established under the laws of Delaware exclusively for the
purpose of investing funds contributed to the Endowment Fund by the BSA and participating
Local Councils. The Master Trust is a multiple pooled account trust arrangement established to
provide economies of scale and efficiency of administration to eligible Entities that elect to
invest their funds in the Master Trust. Global Trust Co. is the trustee of the Master Trust as of
the Petition Date. In addition, the Master Trust is also a limited partner of the Endowment Fund.

         4.       National Boy Scouts of America Foundation

        The Foundation, a Related Non-Debtor Entity, is a non-stock, non-profit corporation
organized under the laws of the District of Columbia and exempt from federal income taxes
under section 501(c)(3) of the Internal Revenue Code. The Foundation was formed in 1997 and
exists to help secure the future of Scouting, and partners with the Local Councils and donors by
providing support for major-gift fundraising efforts across the BSA organization.56 The balance
of major gifts net of associated liabilities at the end of 2020 totaled approximately $66 million.
The Foundation also manages the distribution of donor-advised funds such as scholarships, funds

56
     See BSA National Foundation, About Us, www.bsafoundation.org/about-us/.


                                                          51
            Case 20-10343-LSS      Doc 6418-1          Filed 09/29/21   Page 59 of 303




for rebuilding camps and high adventure facilities including after the occurrence of natural
disasters, and funding for major Scouting events such as the National Jamboree.

       5.      Learning for Life

        Related Non-Debtor Entity Learning for Life is a non-stock, non-profit corporation
organized under the laws of the District of Columbia that is exempt from federal income taxes
under section 501(c)(3) of the Internal Revenue Code. The mission of Learning for Life is to
empower students to build exceptional character and leadership skills by guiding them through
an innovative, research-based curriculum that enhances the learning experience and teaches the
skills necessary to succeed both academically and throughout their lives. Learning for Life also
administers the Exploring club career education program for young men and women. The
Exploring program teaches important life and career skills to young people from all backgrounds
through immersive career experiences and mentorship provided by thousands of local, regional
and national businesses and organizations, which offer career-specific posts or clubs that help
youth pursue their special interests, grow, and develop.

       6.      Arrow WV, Inc.

        Arrow WV, Inc. (“Arrow”) is a non-stock, non-profit corporation organized under the
laws of West Virginia that is exempt from federal income tax under section 501(c)(3) of the
Internal Revenue Code. Arrow was formed in 2009 to facilitate the acquisition and development
of the Summit. Arrow owns the real property and improvements that comprise the Summit and
leases the Summit to BSA for nominal consideration. Construction of the Summit was
accomplished with the proceeds from the 2010 Bond and the 2012 Bond to the BSA from
Fayette County, West Virginia. The bonds were purchased by JPM. The BSA provided funding
for the construction of the facility, utilizing donations and pledges to the BSA and other BSA
financial support, and the BSA provides the necessary services required to operate Summit.

       7.      Atikaki Youth Ventures Inc. and Atikokan Youth Ventures Inc.

       Related Non-Debtor Entities Atikaki Youth Ventures Inc. (“Atikaki”) and Atikokan
Youth Ventures Inc. (“Atikokan”) are non-share capital corporations formed under the laws of
Canada, with registered addresses in Winnipeg, Manitoba. Atikaki and Atikokan provide certain
services to the BSA related to the operation of Northern Tier. Atikaki maintains the Bissett,
Manitoba base for the Northern Tier high adventure facility, which offers canoe trips into the
Atikaki Provincial Park and Woodland Caribou Provincial Park. Atikokan maintains the Don
Rogert Canoe Base for the Northern Tier high adventure facility in Atikokan, Ontario, Canada,
which offers canoe trips into the Quetico and Crown Lands.

       8.      Dissolution of Inactive Entities

       As of the Petition Date, two of the Debtors’ subsidiaries—NewWorld19, LLC (“New
World”) and Texas BSA, LLC (“Texas BSA”)—had no operations or material assets and
remained inactive after the filing. Because the BSA no longer had a need to maintain NewWorld
or Texas BSA as subsidiaries, on July 16, 2020, the Debtors filed a motion to dissolve



                                                  52
               Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21           Page 60 of 303




NewWorld and Texas BSA [D.I. 1022]. On August 3, 2020, the Bankruptcy Court entered an
order authorizing the dissolution of these entities [D.I. 1063].

C.        Revenue Sources and Assets

          1.       Revenues

        As a non-profit organization, the focus of the BSA’s operations is to carry out its
charitable mission. The BSA has historically funded the work to carry out the mission, in part,
through the generation of revenue from sources such as member fees and donations.
Specifically, the BSA relies on revenue generated from membership registration fees, high
adventure facility fees, supply sales at Scout shops, on its website, and directly to Local
Councils, donor contributions, legacies and bequests, corporate sponsorships, and grants from
foundations.

       In 2019, the BSA’s total gross revenues were approximately $394 million. Of this total,
approximately 30% was attributable to supply sales, approximately 16% to membership fees,
approximately 15% to high adventure facility operations, approximately 13% to investments,
approximately 8% to contributions, approximately 8% to event fees, and approximately 10% to
other. The BSA’s estimated total 2020 gross revenues were approximately $187 million.

        Although registration and renewal numbers are not yet finalized, the Debtors believe that
Cub Scouts and Scouts BSA, in aggregate, have already met the combined retention levels as set
forth in the financial projections of approximately 650,000 and will likely exceed those levels
after unit rechartering is complete.57 Cub Scouts, including the Scoutreach program, and Scouts
BSA represent approximately 93% of youth members, and therefore are an effective indicator of
overall membership levels.

          2.       Assets

      The BSA intends to contribute the following non-cash, non-insurance assets as part of the
BSA Settlement Trust Contribution:

              The BSA’s collection of Artwork listed on Schedule 1 to the Plan, which has an
               approximate appraised value of $59.0 million, and the rights to any insurance or
               proceeds thereof with respect to missing, damaged, or destroyed Artwork, if any.
               The BSA owns over 300 pieces of artwork that has been acquired or contributed from
               various sources.

              The Warehouse and Distribution Center, which is a parcel of real property owned by
               the BSA in Charlotte, North Carolina that is used as the BSA’s main hub for
               receiving and shipping all supplies, merchandise, and apparel for Scout Shops, online
               customers, wholesale distributors, and to Local Councils. The Warehouse and
               Distribution Center has an approximate value of $11.6 million.


57
     The membership figures herein and in the Financial Projections accurately reflect the Debtors’ records and projections as of
     the date of the filing of the Disclosure Statement.


                                                               53
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21     Page 61 of 303




           Oil and Gas Interests representing mineral or royalty interests owned by the BSA of
            approximately 1,027 properties located in Alabama, Arkansas, California, Florida,
            Georgia, Illinois, Louisiana, Michigan, Mississippi, Nebraska, New Mexico, North
            Dakota, Oklahoma, Oregon, Texas, South Dakota and Wyoming. The Oil and Gas
            Interests have an approximate value of $7.6 million.

           Scouting University, which is a nearly 10,000 square foot building located on
            approximately 1.72 acres of real property in Westlake, Texas with a value of
            approximately $1.8 million. Historically, Scouting University served as a
            multipurpose facility with traditional offices located adjacent to large training
            spaces. The Debtors ceased operations at the facility prior to the Petition Date. On
            June 16, 2021, the Debtors received approval from the Bankruptcy Court to authorize
            the sale of Scouting University to a third-party purchaser for net proceeds of
            approximately $1.9 million [D.I. 5326].

       3.      Identified Property

          The Debtors believe that certain property listed on the BSA’s balance sheet (the
“Identified Property”) is legally protected under applicable laws governing charities and other
non-profit organizations and, therefore, not available to satisfy certain creditors’ Claims. The
Debtors have provided a schedule of the property the Debtors intend to retain after the Effective
Date that specifically delineates such property as Identified Property or property of the Estate
(the “Retained Property List”). The Retained Property List is appended to the Financial
Projections attached as Exhibit E-1 hereto and the Financial Projections are further described in
Article IX.E of this Disclosure Statement. The Debtors assert that the Identified Property is not
available to satisfy certain Claims against the Debtors for one or more of the following reasons:
(i) it is subject to donors’ restrictions on use and purpose; (ii) it is core to the BSA’s charitable
mission and Scouting program; (iii) it is held in an implied charitable trust; (iv) it is part of a
charitable trust that can only be used in fulfillment and furtherance of the BSA’s charitable
mission; (v) selling or liquidating the Identified Property would violate the D.C. Nonprofit
Corporation Act; (vi) selling or liquidating the Identified Property contradicts the Bankruptcy
Code’s treatment of charitable organizations; or (vii) it is otherwise not property of the estate
under applicable law.

        Specifically, it is the Debtors’ position that certain of the Identified Property was donated
with a restriction as to use or purpose rather than for general charitable purposes and is therefore,
pursuant to section 541 of the Bankruptcy Code, not property of a debtor’s estate. Moreover, to
the extent that a donor made a restricted donation, the Debtors are contractually obligated to
effectuate the donor’s intent, and selling or liquidating the Identified Property to satisfy Abuse
Claims would likely violate such intent. Even if certain Identified Property was found to be
unrestricted, both unrestricted and restricted donations made to a charity are impressed with a
charitable trust that cannot be diverted and used in contravention of the nonprofit’s charitable
mission. The same is true under the D.C. Nonprofit Corporation Act, which states that if any of
the Identified Property was donated for the nonprofit’s charitable mission, it cannot be diverted
away from its original purpose by sales, leases, repayment of debt, or other transfers of the
property.



                                                 54
               Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21            Page 62 of 303




        Additionally, it is the Debtors’ position that certain of the Identified Property is core and
indispensable to carrying out the BSA’s mission. The Identified Property not only enables the
BSA to administer programming that trains today’s youth in the values of the Scout Oath and
Law, but some of the Identified Property, such as the BSA’s high adventure facilities, animates
the purpose for which Congress originally chartered the organization. As such, it is the Debtors’
position that it cannot be available to satisfy Abuse Claims.

        Most of the Identified Property also generates revenues necessary for the BSA to carry
out its mission and it is the Debtors’ position that such property is essential to the Debtors’
ability to meet its business plan. It is likewise the Debtors’ position that the sale or liquidation
of the Identified Property runs contrary to the Bankruptcy Code’s treatment of non-profits and
contrary to case law holding that a charity may retain assets notwithstanding the lack of full
payment of its creditors since the absolute priority rule does not apply in a restructuring of a
charitable organization. Finally, JPM holds valid and properly perfected liens on certain of the
Identified Property, and JPM has not agreed to release its liens on its prepetition collateral. See
¶¶ D(viii) and D(xvii) of the Cash Collateral Order.

          The Tort Claimants’ Committee has argued that the Identified Property may be used to
satisfy Abuse Claims against the Debtors and, as described in more detail in Article V.Q.2
below, has filed an adversary complaint seeking a determination that the Identified Property is
not subject to legal restrictions and should be used to satisfy Abuse Claims (the “Restricted
Assets Adversary”). The Debtors dispute the Tort Claimants’ Committee’s causes of action
relating to the Identified Property.58 On July 16, 2021, the Court approved a stipulation with the
Tort Claimants’ Committee staying the Restricted Assets Adversary pending the outcome of the
confirmation hearing [TCC Case, D.I. 42]. The stay contemplated by such stipulation is still in
effect and shall only terminate (a) by mutual agreement or (b) upon the occurrence of any of the
following: (i) the Bankruptcy Court’s entry of an order denying the approval of the Restructuring
Support Agreement; (ii) the Tort Claimants’ Committee or Debtors’ exercise of its or their
respective rights to terminate the Restructuring Support Agreement based on the “fiduciary out”
provision of section IV.C or section V.C of the Restructuring Support Agreement, as applicable;
or (iii) the Bankruptcy Court’s entry of an order denying confirmation of the Plan.

D.        Prepetition Capital Structure

          1.        The Prepetition Debt and Security Documents

        The following is an overview of the BSA’s capital structure and approximate outstanding
obligations (collectively, the “Prepetition Obligations”) arising under the Prepetition Debt and
Security Documents as of the Petition Date, which include the following:




58
     See Article V.Q.2 herein for further detail on the adversary proceeding relating to Identified Property.


                                                                55
             Case 20-10343-LSS                 Doc 6418-1          Filed 09/29/21          Page 63 of 303




              Description                           Amount59                      Interest Rate             Maturity
 2019 RCF Agreement
                                                                                                            March 21,
       -    2019 Revolver                                                 $0         L + 125
                                                                                                             2021
     - 2019 Letters of Credit                                $61,542,720                N/A                   N/A
 2010 Credit Agreement
     - 2010 Revolver                                        $25,212,317              L + 125             March 2, 2020
     - 2010 Term Loan                                       $11,250,000              L + 100             March 2, 2022
     - 2010 Letters of Credit                               $44,299,743               N/A                    N/A
 2012 Bond Agreement                                       $145,662,101              2.94%               March 9, 2022
                                                                                                         November 5,
 2010 Bond Agreement                                         $40,137,274              3.22%
                                                                                                             2020
 Total Secured Debt                                 $328,104,15560

        Under each of the above-referenced agreements, the BSA is the borrower and JPM is the
sole secured lender or holder, as the case may be. Collectively, the Debtors’ Prepetition
Obligations totaled approximately $328,104,155 as of the Petition Date. The Prepetition
Obligations are secured by the same collateral (collectively, the “Prepetition Collateral”), which
consists of (i) a first-priority lien and security interest in the accounts (including certain property
arising out of or otherwise relating to such accounts, but excluding certain amounts payable the
source of which is certain donor-restricted funds), deposit accounts, securities accounts and
investment property (each as defined in Article 9 of the Uniform Commercial Code), and
proceeds and products of any or all of the foregoing, of the Debtors and Arrow, (ii) a security
interest and mortgage in and to (a) the BSA’s Headquarters in Texas and (b) certain of the
BSA’s high adventure facilities, including Sea Base in Florida, Philmont in New Mexico, and
Northern Tier in Minnesota, and (iii) a collateral assignment of the Arrow Intercompany Note
and Arrow Deed of Trust (which grants a security interest and mortgage in and to the Summit in
West Virginia).

        In accordance with the Cash Collateral Order, the Debtors have been authorized to pay
prepetition and postpetition interest with respect to the Prepetition Obligations.

                   a.        2010 Credit Agreement

        On August 11, 2010, the BSA entered into the 2010 Credit Agreement with JPM,
pursuant to which JPM made loans and other extensions of credit to the BSA. Arrow is a
guarantor under the facility. The 2010 Credit Agreement has been amended seven times, most
recently in conjunction with the entry into the 2019 RCF Agreement on March 21, 2019.



59
     Includes estimated amounts as of February 18, 2020. Since the Petition Date, $20,000,000 was drawn on the 2019 Letters
     of Credit (defined below), resulting in corresponding increases and decreases in the 2019 Revolver (defined below) and the
     2019 Letters of Credit, respectively.
60
     These amounts include contingent, undrawn letters of credit under the 2019 RCF Agreement and the 2010 Credit
     Agreement totaling $105,842,463.


                                                              56
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 64 of 303




        The 2010 Credit Agreement has two components, a $75,000,000 revolving credit
component (the “2010 Revolver”) and a $25,000,000 term loan component (the “2010 Term
Loan”). The 2010 Credit Agreement also allowed the BSA to request the issuance of letters of
credit by JPM (the “2010 Letters of Credit”). The 2010 Revolver matured on March 2, 2020,
while the 2010 Term Loan is scheduled to mature on March 2, 2022.

         As of the Petition Date, pursuant to the 2010 Credit Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $25,212,317 in respect of the 2010 Revolver,
$11,250,000 in respect of the 2010 Term Loan, and $44,299,743 in respect of undrawn 2010
Letters of Credit.

                      b.      2010 Bond Agreement

        On November 5, 2010, the BSA and Arrow entered into the 2010 Bond Agreement,
pursuant to which the Bond Issuer issued the Series 2010A Bonds in an aggregate principal
amount of $50,000,000 and the Series 2010B Bonds in an aggregate principal amount of
$50,000,000 (collectively, the “Series 2010 Bonds”), the proceeds of which were loaned to the
BSA. The loans from the Bond Issuer to the BSA were evidenced by that certain Promissory
Note – 2010A and that certain Promissory Note – 2010B, each executed by the BSA and payable
to the order of the Bond Issuer, each in the original principal amount of $50,000,000, and each
pledged by the Bond Issuer to JPM to secure the repayment of the Series 2010 Bonds. On
November 5, 2015, the BSA repaid the Series 2010A Bonds in full.

        As of the Petition Date, pursuant to the 2010 Bond Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $40,137,274 in respect of the remaining
outstanding Series 2010 Bonds.

                      c.      2012 Bond Agreement

        On March 9, 2012, the BSA and Arrow entered into the 2012 Bond Agreement, pursuant
to which the Bond Issuer issued the Series 2012 Bonds (the “Series 2012 Bonds”) in an
aggregate principal amount not to exceed $175,000,000, the proceeds of which were loaned to
the BSA. The loans from the Bond Issuer to the BSA were evidenced by that certain Promissory
Note – 2012, executed by the BSA and payable to the order of the Bond Issuer in the principal
amount of $175,000,000 and pledged by the Bond Issuer to JPM to secure the repayment of the
Series 2012 Bonds.

       As of the Petition Date, pursuant to the Series 2012 Bonds, the Debtors were truly, justly,
and lawfully indebted and liable to JPM for $145,662,101 in respect of the remaining
outstanding Series 2012 Bonds.

                      d.      2019 RCF Agreement

        On March 21, 2019, the BSA entered into the 2019 RCF Agreement, with Arrow as a
guarantor, pursuant to which JPM agreed to make revolving loans and other extensions of credit
to the BSA. The 2019 RCF Agreement, which matures on March 21, 2021, is a secured facility
with a revolving component (the “2019 Revolver”) and a component under which the BSA can


                                                57
          Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 65 of 303




request the issuance of letters of credit by JPM, together in a maximum amount not to exceed
$71,500,000 (the “2019 Letters of Credit”).

        As of the Petition Date, pursuant to the 2019 RCF Agreement, the Debtors were truly,
justly, and lawfully indebted and liable to JPM for $0 in respect of the 2019 Revolver and
$61,542,720 in respect of undrawn 2019 Letters of Credit.

                       e.      Prepetition Security Agreement (2019)

         The BSA’s outstanding obligations under the 2010 Credit Agreement, the 2010 Bond
Agreement, the 2012 Bond Agreement and the 2019 RCF Agreement are secured pari passu by
the “Collateral”, as defined under the Prepetition Security Agreement (2019), pursuant to which
the BSA and Arrow granted collateral to JPM, which collateral as of such date included a
first-priority lien and security interest in their accounts (including certain property arising out of
or otherwise relating to such accounts, but excluding certain amounts payable the source of
which is certain donor-restricted funds), deposit accounts, securities accounts and investment
property (each as defined in Article 9 of the Uniform Commercial Code), and proceeds and
products of any or all of the foregoing.

                       f.      Mortgages, Assignments, and Deeds of Trust

        In addition to the Prepetition Security Agreement (2019), the BSA’s outstanding
obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond
Agreement and the 2019 RCF Agreement are secured pari passu by the Florida Sea Base
Mortgage, the Florida Sea Base Assignment, the Headquarters Deed of Trust, the Headquarters
Assignment, the Northern Tier Mortgage, the Northern Tier Assignment, the Philmont
Mortgage, and the Philmont Assignment.

                       g.      Collateral Assignment of Arrow Intercompany Note and
                               Arrow Deed of Trust

       Also on March 21, 2019, the BSA executed the Arrow Collateral Assignment, pursuant
to which the BSA assigned to JPM, as collateral securing the BSA’s outstanding obligations
under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement and the
2019 RCF Agreement, its right, title and interest in and to the Arrow Intercompany Note and
Arrow Deed of Trust.

                       h.      Prepetition Security Agreement (2020)

        On February 3, 2020, in connection with a capital contribution by the BSA to Delaware
BSA, the BSA, Delaware BSA, and JPM entered into the Prepetition Security Agreement
(2020), pursuant to which Delaware BSA pledged its accounts (including certain property arising
out of or otherwise relating to such accounts, but excluding certain amounts payable the source
of which is certain donor-restricted funds), deposit accounts, securities accounts and investment
property (each as defined in Article 9 of the Uniform Commercial Code), and all proceeds and
products of any or all of the foregoing, as security for the Prepetition Obligations.




                                                  58
              Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21         Page 66 of 303




         2.        Trade Payables, Retirement Benefits, and Other Liabilities

        The BSA incurs debt with numerous vendors in connection with its ordinary course
organizational operations. In addition, the BSA is obligated to pay employment related benefits
to current and former employees, including, but not limited to, retirement benefits in connection
with (a) the Restoration Plan, a non-qualified defined benefit retirement plan under section
457(f) of the Internal Revenue Code, which provides supplemental retirement benefits to certain
current and former employees of the Debtors or Local Councils and (b) the Pension Plan, a
single-employer, qualified, defined benefit Pension Plan that is subject to the Employee
Retirement Income Security Act of 1974, as amended, and the Internal Revenue Code, of which
BSA is the sponsor.

         3.        Pension Plans

       The BSA offers the same comprehensive health and welfare and retirement benefits
available to eligible employees of the BSA to eligible full-time employees of the Local Councils
and their dependents, as well as their eligible survivors and retirees. As further described in the
Wages Motion, the BSA has historically offered two retirement plans to full-time and seasonal
employees: (1) a defined benefit pension plan, which is a qualified retirement plan subject to
sections 401(a)(17) and 415 of the Internal Revenue Code (the “Pension Plan”) and (2) a 403(b)
defined contribution retirement plan, which is available to employees of exempt organizations
and similar to a 401(k) retirement plan (the “Match Savings Plan”).
       Prior to the Petition Date, the Debtors also offered a non-qualified defined benefit
retirement plan under section 457(f) of the Internal Revenue Code, which provides supplemental
retirement benefits to certain current and former employees of the Debtors or Local Councils
(the “Restoration Plan”). Pursuant to the Plan, the Restoration Plan will be terminated and
therefore, there is no ongoing expense associated with the Restoration Plan.
        The Pension Plan was originally established by the BSA in 1938 and certain of the
full-time employees with at least one year of service and retirees participate in the Pension
Plan.61 On December 31, 2018, entry into the Pension Plan was frozen and no employees have
been permitted to become active participants under the Pension Plan after such date. On and
after January 1, 2019, the Pension Plan was amended to become a two-tiered plan. Pursuant to
the amendment, “grandfathered employees” with fifteen years of service and age plus service
equal to sixty years were permitted to continue to participate in the Pension Plan, while
“non-grandfathered employees” were automatically enrolled into the Match Savings Program.
These “grandfathered” employees participating in the Pension Plan are required to contribute
4.25% of their salary to the Pension Plan, while the BSA makes discretionary contributions. The
Pension Plan is managed by the BSA and is administered by Morneau Shepell. All eligible
employees may also enroll in the Match Savings Plan, which enables the employees to make
pre-tax deductions up to limits set by the Internal Revenue Code. The Match Savings Plan is
managed by Fidelity Workplace Services.
      The Debtors have a limited matching program under the Match Savings Plan (the
“Employer Matching Obligation”). For “grandfathered” employees receiving benefits under the

61
     Employees hired on or before May 31, 2004 working 21 or more hours per week are also eligible.


                                                             59
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 67 of 303




Pension Plan, the BSA matches 50% of employee contributions up to 6% of pay. As of the
Petition Date, with respect to “non-grandfathered” employees under the Match Savings Plan, the
BSA made an automatic contribution of 1.75% of an employee’s pay regardless of whether an
employee made an employee contribution, and matched 100% of employee contributions up to
6% of pay. The Debtors paid approximately $6.5 million in 2019 on account of the Employer
Matching Obligation.
        In August 2020, the Debtors implemented a series of changes to the two retirement
programs to bolster the strength of the Pension Plan. The Pension Plan was amended to freeze
accruals for “grandfathered” participants. The 4.25% required employee contribution ceased as
a result of this change. Simultaneously, the Match Savings Plan was amended to decrease the
Employer Matching Obligation for “non-grandfathered” participants; with respect to
“non-grandfathered” employees under the Match Savings Plan, the BSA no longer automatically
contributes 1.75% of an employee’s contributions, but rather matches 50% of employee
contributions up to 6% of pay, replacing the 100% match of up to 6% of pay previously in place.

E.     Local Councils and Chartered Organizations

        As discussed above, several organizations work together to deliver the Scouting program,
including Local Councils that are independently incorporated and chartered by the BSA and
Chartered Organizations which partner with the Local Councils to form the packs, troops, and
other units at which the program is delivered. Historically, Claims against the BSA, Local
Councils, and Chartered Organizations, including approximately 275 civil actions asserting
personal injury Claims against the BSA and certain Local Councils and Chartered Organizations
as of the Petition Date (collectively, the “Pending Abuse Actions”), generally were litigated and
administered solely by the BSA. The unique relationship between the BSA and these Entities, as
discussed above, had led the BSA to take a leading role in administering such litigation. In
practice, the BSA coordinated with Local Councils and Chartered Organizations to efficiently
respond to and manage such cases, while minimizing the risk of inconsistent treatment of actions
and survivors of Abuse.

        Although applicable Local Councils are named defendants in the Pending Abuse Actions
as well, the consistent resolution of the Pending Abuse Actions required the BSA to pay careful
attention to a wide variety of litigation matters, including, for example, responses to broad
discovery requests, the overwhelming majority of which were directed at the BSA as opposed to
Local Council or Chartered Organization defendants. Through this approach, the BSA had,
among other things, facilitated the retention of joint defense counsel, responded to the vast
majority of discovery requests, coordinated with insurance carriers, and authorized and funded
the payment of any settlement amounts related to the Pending Abuse Actions or similar,
previously resolved, Claims. Given the complexity of the issues involving the Pending Abuse
Actions, and the BSA’s central role in litigating them, prior to filing these Chapter 11 Cases, the
organization had retained national coordinating counsel to oversee the handling of Claims
against it and the Local Councils and Chartered Organizations.




                                                60
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 68 of 303




F.     Insurance Coverage for Abuse Claims

         The BSA has historically procured commercial, general-liability insurance (“CGL”)
policies from multiple insurers to protect itself from a myriad of risks, including Claims of
Abuse or sexual misconduct. These Insurance Policies date back to the 1930s and over time
came to include both primary and excess Insurance Coverage that provides substantial limits of
liability in many years, including certain primary policies that the Debtors contend are not
subject to aggregate limits, though certain insurers, including Hartford, may disagree. While the
amount of coverage remains substantial in many years, the insolvency of certain Insurance
Companies and the resolution of Abuse and other Claims have either eroded, or exhausted the
liability limits for certain Insurance Policies. In some instances, the availability of certain
Insurance Policies remains contingent upon the resolution of active pending litigation between
the BSA and some of the Insurance Companies. Nonetheless, with respect to most (if not all)
policy years, at least some level of Insurance Coverage under the CGL policies is available for
bodily injury Claims, including Claims arising out of Abuse.

        At this time, the BSA is not able to calculate the total amount of Insurance Coverage that
is available to fund Abuse Claims because of the structure of the BSA’s insurance program. As
discussed in more detail below, many of the BSA’s Insurance Policies are per-occurrence
policies, meaning that those Insurance Policies will pay up to their limits of liability for each
Abuse Claim (assuming that the Abuse Claim is valued at such an amount). Thus, the BSA
needs several data points in order to analyze the total Insurance Coverage available for Abuse
Claims, including the value of each individual Abuse Claim, the Insurance Policies that will
respond to each Abuse Claim, whether those Policies are not insolvent, exhausted or settled, and
how the Abuse Claims will be distributed among the BSA’s various Insurance Policies. As such,
the Debtors cannot calculate the total amount of insurance coverage under these Insurance
Policies absent liquidation of the Abuse Claims and allocation of those claims to the Insurance
Policies.

        The Debtors’ insurance coverage for years 2013 and later may be applicable to Abuse
Claims and Non-Abuse Litigation Claims, but there is a negligible risk that the Debtors will
exhaust all of their insurance coverage for such years on account of Non-Abuse Litigation
Claims. The Debtors have identified approximately sixty-two (62) active out of seventy-two
(72) total Non-Abuse Litigation Claims, all of which appear to have arisen in 2013 or later (to
the extent the date of the alleged incident is known). The Debtors believe that at least eleven
(11) of the active Claims will be disallowed through the Claims reconciliation process. In
addition, one (1) claim has been withdrawn, six (6) have been satisfied, and three (3) have been
disallowed as the date hereof. The Debtors have approximately $200 million of available
insurance coverage in each such year. Moreover, it is possible that a material number of these
claims will not exceed the $1 million per-occurrence limit of the primary policies issued by Old
Republic (as defined below) for the years 2013-19 or Evanston Insurance Company for
2019-20. The Old Republic primary policies have no aggregate limit; accordingly, it is the
Debtors’ position that they cannot be exhausted. As such, the Debtors do not believe that they
will use all of the post-2013 insurance coverage for Non-Abuse Litigation Claims.

      Moreover, while the BSA has substantial Insurance Coverage, especially post-1986,
some of the excess policies are implicated only where hundreds of millions of dollars of liability


                                                61
              Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21          Page 69 of 303




is incurred in a single policy year, such that, many of the excess policies may not contribute to
Abuse Claims. Additionally, many of these high limits of coverage are in the late 1990s and
2000s, years in which there are significantly fewer Abuse Claims. Lastly, the Insurance Policies
may be further limited given deductibles, exhaustion, insolvency and settled coverage. As such,
the BSA is not able to provide a specific amount of coverage available under its Insurance
Policies; however, the BSA has provided a detailed description of the Insurance Policies and the
coverage afforded.

      To the extent that non-Debtor third parties have rights under the Insurance Policies, those
non-Debtors can assert their rights against the Settlement Trust as Indirect Abuse Claims.

         1.        Overview of the BSA’s Insurance Program

Further information regarding the BSA Insurance Policies is included in Schedule 2 to the
Plan, which provides policy information concerning: (1) the issuing insurance company; (2)
policy number; (3) policy start date; (4) policy end date; (5) limits of liability; (6) aggregate
limits, if any; (7) whether there is a sexual abuse exclusion; and (8) type of evidentiary
support.62

        The type of coverage provided for by the BSA’s insurance program has varied over the
last six decades. Insurance policies have what are known as “per-occurrence limits” and
“aggregate limits.” These limits determine the amount that a policy will pay towards claims. A
per-occurrence limit is how much an insurance policy will pay for any one occurrence. An
aggregate limit determines how much an insurance policy will pay for all occurrences that result
in injury during the policy period. CertainMost of BSA Insurance Policies only havecontain
both a per-occurrence limit with noand an aggregate limit. The Debtors contend that the
aggregate limits in many of these policies are inapplicable to Abuse Claims, meaning that those
policies will respond, up to its limits, on a per-occurrence basis. Other of the BSA Insurance
Policies containCertain of the insurers have not agreed that aggregate limits meaning that once
the insurer has paid that amount towards any number of occurrences or claims, that policy is
exhausted and will no longer provide coverage for any subsequent claimsare inapplicable to
Abuse Claims.

       Between at least 1935 and 1982, the BSA acquired Insurance Policies where each Claim
of bodily injury allowed the BSA to access the per-person or per-occurrence limit of liability
under the applicable Insurance Policies.63 These per-occurrence policies generally only had
aggregate limits that pertained to products-completed operations claims.64 Therefore, the
Debtors believe that these aggregate limits, i.e., caps on the amount to be paid out, did not

62
     The Debtors have prepared this chart based on their own analysis based on information available as of September 27, 2021.
     Schedule 2 and the views expressed herein do not necessarily represent the views of, and do not bind, the Settlement
     Trustee, the Tort Claimants’ Committee, the Coalition, the Future Claimants’ Representative regarding BSA’s insurance
     program. In addition, Insurance Companies may disagree, and in some cases have expressed disagreement, with the
     Debtors’ conclusions regarding the existence or terms of the policies listed therein. This chart should not therefore be
     interpreted as an admission on the part of any Insurance Company as to the existence or terms of any policy. On the
     contrary, each Insurance Company has reserved the right to dispute the existence or terms of any policy listed.
63
     For purposes of simplicity, this analysis is limited to the BSA’s primary Insurance Policies.
64
     Not all insurers agree with this assertion. Hartford contends that certain of its policies issued to the Debtors, including
     certain years of primary coverage, include general aggregate limits that apply to all Claims, including Abuse Claims.


                                                              62
              Case 20-10343-LSS             Doc 6418-1         Filed 09/29/21        Page 70 of 303




impact claims for bodily injury (sexual-abuse claims). The Insurance Policies between 1962 and
1982 generally had a per-occurrence limit of $500,000. Beginning in 1969, the BSA also began
to procure excess Insurance Policies that provided $2 million per-occurrence in coverage on top
of the $500,000 per-occurrence primary policies. These excess policies also only contained
per-occurrence limits with no aggregate limits for sexual abuse claims.

        Although the BSA does not have copies of the Insurance Policies between 1935 and
1962, the BSA has strong secondary evidence that Insurance Policies were issued. The BSA
believes that, if forced to do so, the BSA could prove the existence of these Insurance Policies
and the insurers’ obligations. However, the insurers, mainly Century (as defined below)—the
issuer of these Insurance Policies, have disputed the existence of these Insurance Policies.
Starting in 1962, there is no dispute regarding the existence of coverage with the BSA’s insurers.

        Insurance Company of North America, now known as Century Indemnity Company
(“Century”),6465 issued primary and umbrella policies to the BSA from approximately 1935 to
1971. The Hartford Accident and Indemnity Company issued primary and some umbrella
policies to the BSA from September 21, 1971 to January 1, 1978. The Debtors believe that the
Hartford Policies issued to BSA in 1976 and 1977 have some ambiguity as to whether Chartered
Organizations are additional insureds. A complete list of Chartered Organizations is available at
https://omniagentsolutions.com/bsa-SAballots and https://omniagentsolutions.com/bsa-ballots.
Beginning in 1978, Century issued primary policies to the BSA until 1983. In addition, BSA
entered into a settlement agreement with Hartford in 2011; Hartford contends that, pursuant to
that settlement, any rights to coverage for Abuse Claims have been released.

         Beginning in 1972, the BSA began to procure additional excess insurance policies from
various insurers, including Argonaut, AIG, Hartford Accident and Indemnity Company, and
others. Because Century and Hartford Accident and Indemnity Company provided the BSA with
primary coverage with Insurance Policies containing no aggregate limits for several
decades,several decades of primary coverage under Insurance Policies for which the Debtors
believe that the aggregate limits are inapplicable. The Debtors believe that Century and Hartford
Accident and Indemnity Company have substantial insurance coverage exposure relating to the
Abuse Claims, and, as discussed above, Century has substantially more exposure for Abuse
Claims given the periods it issued Insurance Coverage to the BSA. Both Hartford and Century
have disagreed with the Debtors’ position. On May 15, 2020, Hartford filed an adversary
complaint against BSA asserting that Hartford’s coverage obligations to BSA were limited or
eliminated because Hartford had already paid the applicable limits of liability under its policies
in full. Hartford also asserted that it was relieved of any obligation under its policies because
BSA had breached its obligations under those policies. On October 16, 2020, the Bankruptcy
Court entered an order granting an agreed-upon stay of the adversary proceeding, which remains
stayed. Accordingly, Hartford’s allegations concerning the unavailability of coverage under its
policies remains unresolved.



6465
       Century is acting in these Chapter 11 Cases as successor to CCI Insurance Company, Insurance Company of North
       America. Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire Insurance Company,
       Westchester Fire Insurance Company, and Westchester Surplus Lines Insurance Company. All of these Entities are
       generally referred to as “Century” herein.


                                                          63
               Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21          Page 71 of 303




         Beginning in 1983, the BSA shifted its insurance program to Insurance Policies that
contained overall aggregate limits of liability. Unlike the per-occurrence policies, each payment
towards the settlement of a Claim erodes the Insurance Policy’s aggregate limit until it is
exhausted and no longer responds to Claims. The BSA purchased these types of Insurance
Policies from 1983 to the end of 1985. As a counterbalance to the imposition of aggregate limits,
the BSA’s towers of insurance in 1983 through 1985 included significantly higher limits of
liability and excess layers of coverage. For example, in 1983, the BSA procured excess
Insurance Policies with $50 million in aggregate limits. The excess and umbrella policies were
issued by various insurers. However, even given the high aggregate limits, a majority of the
Insurance Policies during this time period have been exhausted by pre-Petition settlements and
defense costs.

       The BSA again altered its insurance program beginning in 1986, and continuing through
2018, procuring a primary Insurance Policy and a first-layer excess Insurance Policy where the
deductible matches the Insurance Policy’s limit of liability. More specifically, between 1986
and 2002, the BSA has primary Insurance Policies with $1 million in limits of liability per year
and umbrella Insurance Policies with $1 million in limits of liability per year. Between 2002 and
2008, the BSA has primary Insurance Policies with $1 million in limits of liability per year, but
with increased umbrella obligations. And between 2008 and 2018, the BSA maintained primary
Insurance Policies with $1 million in limits of liability per year, and umbrella Insurance Policies
with $9 million in limits of liability per year. Because of the high deductibles in the 1990 to
2018 Insurance Policies, the BSA has not accessed many of the excess Insurance Policies in
those years. There are, however, a few excess Insurance Policies that have been eroded or
exhausted by pre-Petition settlements and defense costs. Nevertheless, the BSA still has
substantial excess Insurance Coverage during this time period.

        The Debtors contend6566 that their primary insurance policies at least between 1986 and
2008 have a $1 million per-occurrence deductible. The BSA’s obligation to pay the deductibles
for the Insurance Policies between 1986 and 2008 versus the Insurance Company’s obligation to
pay such deductibles is subject to the terms of such Insurance Policies. However, it is the BSA’s
and other parties’ position that when the BSA cannot or does not pay the deductible, the primary
Insurance Policies issued between 1986 and 2008 require the Insurance Company to pay.
Certain insurers believe that this is a different position than reflected by how the BSA and
certain of its primary insurers operated and performed for many years.

        A dispute exists as to whether the obligation on the primary insurer to pay the deductible
on behalf of the BSA is subject to an aggregate limit of liability. The primary insurers have
asserted that a $1 million aggregate applies to this obligation, and that, upon exhaustion, BSA
must satisfy a self-insured retention of $1 million per occurrence before triggering coverage
under the excess policies. Other insurers have asserted that the primary insurers’ obligation to
pay the deductible is not subject to any aggregate, and that the aggregate limit of liability only
applies to those damages in excess of the deductible. Several other insurers have not taken this
position. In the event that the aggregate limit of liability does apply to the payment of the
deductibles under the primary Insurance Policies, a related dispute exists as to whether the BSA

6566
       The Coalition and the Future Claimants’ Representative do not necessarily agree with all of the Debtors’ coverage positions
       with respect to the Insurance Policies.


                                                                64
                Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21          Page 72 of 303




and other insured parties can directly access the excess insurance policies issued between 1986
and 2008 or whether the BSA or other insured parties must continue to pay that deductible on an
ongoing basis for each claim.6667

        For BSA’s insurance coverage towers in the years 1988 to 2008, the BSA’s first layer
excess policies include a “Retention Endorsement – Aggregate Exhaustion” endorsement, which
states that “in the event of the exhaustion of the aggregate underlying limit of liability [of the
underlying primary policy] the Insured will retain the amount indicated below [$1,000,000 Each
Occurrence] of any claim or loss on the same basis that coverage would have been provided
under [the underlying primary policy] but for the exhaustion of any applicable aggregate.”
There is a legal dispute among the BSA and certain carriers about whether the aggregate limits
under certain primary policies apply to Abuse Claims. If the aggregate limits do apply (such that
a deductible no longer applies), the BSA and certain carriers agree that the excess carriers likely
would only be responsible for the portion of Abuse Claims that exceed the unexhausted amount
of the applicable retention. Accordingly, the retentions could limit the amount recoverable from
excess carriers.

        In 2019, the BSA again changed its insurance program to avoid the deductibles noted
above, which it has kept current and expects to continue in 2021. Throughout the years of
Scouting operations, the BSA has eroded certain of the Insurance Policies referenced above.
The BSA has also entered into settlement agreements pertaining to certain policies that may limit
the extent of coverage available.

           2.        The BSA’s Insurance Coverage for the Local Councils

Further information regarding the Local Council Insurance policies is included in
Schedule 3 to the Plan, which provides policy information concerning: (1) Local Council;
(2) the issuing insurance company; (3) policy number; (4) policy start date; (5) policy end
date; (6) limits of liability; (7) aggregate limits, if any; (8) whether there is a sexual abuse
exclusion; and (9) type of evidentiary support.6768

       As noted, the BSA operates Scouting through the Local Councils and the Chartered
Organizations. Prior to 1971, each Local Council was required to procure Insurance Policies
that would provide coverage, for among other things, the types of Abuse Claims alleged herein.

        Over the course of the Chapter 11 Cases, the Debtors and the Local Councils have gone
through extensive insurance archeology efforts and discovery to obtain evidence of policies
issued to the Local Councils prior to 1978. To date, the BSA and Local Councils have been able

6667
       Between 2008 and 2018, there is no dispute that the primary Insurance Policies between 2008 and 2018 are not subject to
       an aggregate limit of liability.

6768
       The Debtors have prepared this chart based on their own analysis based on information available as of September 27, 2021.
       Schedule 2 and the views expressed herein do not necessarily represent the views of, and do not bind, the Settlement
       Trustee, the Tort Claimants’ Committee, the Coalition, the Future Claimants’ Representative regarding BSA’s insurance
       program. In addition, Insurance Companies may disagree, and in some cases have expressed disagreement, with the
       Debtors’ conclusions regarding the existence or terms of the policies listed therein. This chart should not therefore be
       interpreted as an admission on the part of any Insurance Company as to the existence or terms of any policy. On the
       contrary, each Insurance Company has reserved the right to dispute the existence or terms of any policy listed.


                                                               65
          Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 73 of 303




to locate either copies of a number of the Insurance Policies it believes were issued to Local
Councils or secondary evidence of their existence; however, some of the secondary evidence
does not provide specific terms of the Insurance Policies, such as limits or the policy period.
Discovery is ongoing in that regard.

        From these insurance archeology efforts, the BSA and Local Councils have also learned
that several Insurance Companies issued specific Insurance Policies to the Local Councils. For
example, from 1965 to 1971, Century created an insurance program for the Local Councils.
Likewise, from 1975 to 1976, the Debtors believe that the New Hampshire Insurance Company
(“New Hampshire”) also created an insurance program through a broker, R.F. Lyons, that issued
a significant number of New Hampshire Insurance Policies to Local Councils. The Debtors
believe that New Hampshire also issued a substantial amount of Insurance Policies to Local
Council as early as the 1940s. Other insurers such as Travelers Insurance Company, Continental
Insurance Company, and Hartford also issued policies to Local Councils.

       Of the Insurance Policies that were issued specifically to Local Councils, the terms and
limits vary from Insurance Policy to Insurance Policy. For example, some Local Council
Insurance Policies only provide for $25,000 in coverage on a per-occurrence basis for Abuse
Claims while other Local Council Insurance Policies may provide up to $1 million in coverage
per-occurrence for Abuse Claims. Hartford contends some of the policies contain general
aggregate limits that limit the amount of coverage for all claims, including Abuse Claims, or
provide coverage only for specific premises, such as council office buildings. Thus, the amount
of coverage available based on the insurance policies issued to Local Councils is uncertain.

       Starting in 1971, the BSA began adding certain Local Councils as additional insureds
under its CGL policies. Then, in 1978, the BSA formalized this practice through the
implementation of a General Liability Insurance Program (“GLIP”), whereby the BSA agreed to
procure general liability insurance for all Local Councils by including them in the definition of
“Named Insured” in all of the BSA CGL Insurance Policies. Similarly, starting in 1978, the
BSA began to provide Insurance Coverage under its CGL policies to certain Chartered
Organizations.

        Schedule 3 to the Plan sets forth the various Insurance Policies that the BSA alleges
afford the Local Councils Insurance Coverage on account of Abuse Claims. Columbia Casualty
Company; The Continental Insurance Company as successor in interest to certain policies issued
by Harbor Insurance Company; The Continental Insurance Company successor by merger to
Niagara Fire Insurance Company; and The Continental Insurance Company (collectively,
“Continental Insurance Company”) disagree with Schedule 3’s allegation that certain policies
issued by Continental Insurance Company or related entities afford the Local Councils any
Insurance Coverage with respect to Abuse Claims, and Continental Insurance Company intends
to vigorously defend this position.

        National Union Fire Insurance Company of Pittsburgh, Pa. (“National Union”),
Lexington Insurance Company, Landmark Insurance Company, The Insurance Company of the
State of Pennsylvania and their affiliated entities (collectively with New Hampshire referred to
herein, the “AIG Companies”) also disagree with certain information contained in Schedule 3 to
the Plan and the Debtors’ representations that certain policies allegedly issued by an AIG


                                               66
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 74 of 303




Company or related entity afford the Local Councils any Insurance Coverage with respect to
Abuse Claims. Specifically, while Schedule 3 to the Plan identifies approximately 300 Local
Council Insurance Policies that were allegedly issued by New Hampshire and 800 Local Council
Insurance Policies that were allegedly issued by National Union, the AIG Companies have not
been able to locate full and complete copies of the vast majority of these alleged policies (the
“Alleged Lost AIG Policies”). The AIG Companies dispute whether there is conclusive
evidence of the existence, terms, and coverage of the Alleged Lost AIG Policies. The AIG
Companies dispute the existence of the Alleged Lost AIG Policies and dispute that they are
bound by the terms of any Alleged Lost AIG Policy. The AIG Companies intend to vigorously
defend this position, and the outcome of this coverage dispute—including any finding that the
Alleged Lost AIG Policies cannot be enforced, in whole or in part—may potentially reduce
coverage available under the Insurance Policies below what is currently contemplated.

        Jefferson Insurance Company of New York (“Jefferson”) also disputes the references to
insurance policies it allegedly issued to certain Local Councils as stated on Schedule 3 to the
Plan. To date, Jefferson has not located any of those alleged insurance policies. Jefferson
reserves its right to dispute issuance of each alleged insurance policy attributed to it on Schedule
3 to the Plan, as well as each of those policies’ respective limits, periods, terms, conditions and
exclusions. In addition, if any of the scheduled Jefferson policies are later proven, Jefferson
reserves its right to dispute whether coverage exists for Abuse Claims under each such policy.

        The Hartford companies (Hartford Fire Insurance Company, Hartford Accident and
Indemnity Company, Hartford Casualty Company and New England Insurance Company) also
disagree with the references to the insurance policies identified on Schedule 3. In addition to
disputing the issuance, existence and terms and conditions of the policies that BSA has alleged
through the existence of purported secondary evidence, Hartford contends that BSA has
incorrectly identified Hartford’s aggregate policy limits; in addition, some or all of the
confirmed policies by their terms do not provide coverage for Abuse Claims.

       3.      Chartered Organizations’ Rights Under the BSA Insurance Policies

        It is the BSA’s position that, starting in or around 1978, the BSA specifically included
Chartered Organizations as insureds on its Insurance Policies. While not specifically naming
Chartered Organizations, the 1976 and 1977 primary policies include “sponsors” as insureds
under the Insurance Policies. Additionally, Chartered Organizations may be insureds under the
Local Council Insurance Policies. Hartford contends that certain rights under the 1976 and 1977
policies were released as part of a 2011 settlement agreement.

       It is the BSA’s position that the BSA’s Insurance Policies prior to 1976 do not name
either Chartered Organizations or “sponsors” as insureds under the Insurance Policies. For
example, the pre-1976 insurance policies generally include an endorsement that names the
person insured under the Insurance Policies as “any employee, executive officer, trustee,
volunteer leader, boy scout leader or committee member of the National Council of the Boy
Scouts of America…” It is the BSA’s position that the endorsement was added to provide
coverage to employees, volunteers, and leaders of the BSA, not Chartered Organizations. As
such, the BSA believes that Chartered Organizations do not qualify as either an employee,
executive officer, trustee, or volunteer leader under the pre-1976 Insurance Policies. Some


                                                 67
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21    Page 75 of 303




Chartered Organizations, however, have argued that they believe Chartered Organizations are
insureds as “volunteers” under the pre-1976 Insurance Policies. The BSA disputes this
contention.

       To the extent that the Chartered Organizations have rights to the BSA’s post-1976
Insurance Policies, those rights are subject to the terms of the Insurance Policies that may have
deductible obligations (as noted above), aggregate limits, exhausted limits, settlements,
exclusions, etc.

        For example, it is the position of certain insurers that the BSA’s 1978 Insurance Policy
includes a deductible endorsement that requires a $250,000 deductible be met for each
occurrence; therefore, it is the position of certain insurers that Chartered Organizations access to
the 1978 to 1980 Insurance Policies is limited by the required deductible obligation. The
Chartered Organizations’ access to the BSA’s 1980 to 1982 Insurance Policies may likewise be
limited given that many of these policies are either insolvent, exhausted or released through
settlement. Further, the BSA’s 1983 to 1985 Insurance Policies are also subject to aggregate
limits, many of which have been substantially eroded based on pre-petition settlements and
payments.

        Additionally, in 1984, the Insurance Policies included an endorsement that expressly
provided that the Insurance Policies would be primary insurance for Chartered Organizations.
However, prior to 1984, there was no such endorsement or language in the BSA policies.
Therefore, the Debtors believe that for all pre-1984 claims, Chartered Organizations would not
have primary access to the BSA’s Insurance Policies. Certain of the Chartered Organizations
disagree with this position. It is the Debtors’ position that Chartered Organizations would
similarly be responsible for the high deductibles on all post-1986 Insurance Policies. Certain of
the Chartered Organizations disagree with this position and believe that they would not be
responsible for the payment of deductibles as a condition of obtaining Insurance Coverage.

       4.      The First Encounter Agreement and Subsequent Endorsement in the BSA
               Policies

        As noted above, Century provided the BSA with primary Insurance Coverage for several
decades. In 1996, the BSA and Century engaged in an effort to minimize disputes regarding
Insurance Coverage, specifically in regard to Abuse Claims. As a result of those discussions, on
or about May 24, 1996, the BSA and certain Century Entities executed the “Settlement
Agreement Regarding Sexual Molestation Claims.” This settlement is often referred to as the
“First Encounter Agreement” (“FEA”). For the avoidance of doubt, the FEA only applies to
Abuse Claims based on the definitions set forth therein, and neither the BSA nor Century has
contended otherwise.

        Pursuant to the FEA, the BSA and Century agreed that “the date of ‘occurrence’
pertaining to any Sexual Molestation Claim shall be the date when the first act of Sexual
Molestation took place, even if additional acts of Sexual Molestation or additional Personal
Injuries arising therefrom also occurred in subsequent policy periods; and all damages arising
out of such additional acts of Sexual Molestation or additional Personal Injuries shall be deemed
to have incurred during the policy year when the first act of Sexual Molestation took place.”


                                                 68
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 76 of 303




The BSA and Century were the only parties to the FEA, and accordingly, certain of the
Chartered Organizations have argued that the agreement as the date of “occurrence” between the
BSA and Century in the FEA does not apply to insurance rights of Chartered Organizations.
However, several of the BSA’s other Insurance Companies ascribe to this agreement and provide
coverage according to the first alleged year the Abuse occurred. Certain parties contend that the
FEA is applicable only to Century; however, the Debtors disagree as the BSA and certain of the
BSA’s Insurance Companies have adjusted Abuse Claims in a manner consistent with the FEA
since 1996.

        Beginning around 2008, the BSA’s primary and excess Insurance Policies include the
“Date of Exposure for Molestation Claims” endorsement. Similar to the FEA, the endorsement
provides that any alleged sexual molestation occurrence involving the same claimant would be
allocated to the policy year in which the first alleged act of Abuse occurred.

       5.      Prepetition Insurance Coverage Actions

        Prior to the Petition Date, the BSA’s Insurance Companies generally defended and
indemnified the BSA against Abuse Claims. In certain years in which the BSA’s Insurance
Policies were exhausted, insolvent or settled, the BSA would fund the settlement of Abuse
Claims. While the Insurance Companies reserved the right to do so with respect to many Abuse
Claims, in the last four years the BSA’s Insurance Companies have only denied coverage in
connection with a very limited number of underlying lawsuits.

        The denials related to these lawsuits prompted the following Insurance Coverage
Actions: (a) Boy Scouts of America, et al. v. Insurance Company of North America et al., Case
No. DC-18-11896, pending in the 192nd Judicial District Court of Dallas County, Texas; (b) Boy
Scouts of America, et al. v. Hartford Accident and Indemnity Co., et al., Case No. DC-18-07313,
pending in the 95th Judicial District Court of Dallas County, Texas; (c) National Surety Corp. v.
Boy Scouts of America, et al., Case No. 2017-CH-14975, pending in the Circuit Court of Cook
County, Illinois, Chancery Division. Hartford Accident and Indemnity Company also initiated
an adversary proceeding in these Chapter 11 Cases styled Hartford Accident and Indemnity Co.
and First State Ins. Co. v. Boy Scouts of America, et al., Adv. Pro. No. 20-50601 (LSS). The
majority of the Insurance Coverage Actions are currently stayed by operation of the automatic
stay; however, the parties to the Hartford Accident and Indemnity Company actions have agreed
to stay the entirety of the adversary proceeding and the corollary state court action.

        The Insurance Coverage Actions involved several of the BSA’s Insurance Companies,
including Century, Hartford Accident and Indemnity Company, National Surety Corporation
(“National Surety”) and Allianz Insurance (“Allianz”). The Insurance Companies in the
Insurance Coverage Actions asserted that the BSA and Local Councils were not entitled to
coverage for specific sexual abuse claims based on various coverage defenses, including, but not
limited to, the number of “occurrences” that were triggered by the Abuse Claims, the expected
and intended language in the Insurance Policies precluded Insurance Coverage, and that the BSA
had failed to cooperate with its Insurance Companies. The Debtors believe that such defenses or
limitations to the scope of Insurance Coverage are without merit.




                                               69
                Case 20-10343-LSS              Doc 6418-1          Filed 09/29/21          Page 77 of 303




       National Surety and Allianz believe that their coverage defenses have merit and that
coverage for sexual abuse claims against BSA will be barred by various terms, conditions,
exclusions and attachment points found in the policies and at law. In addition, National Surety
and Allianz have contested the jurisdiction of the Texas court in the Coverage Action filed by
the BSA described in (a), above. Pre-petition, the Fifth District Dallas Court of Appeals granted
National Surety and Allianz’s emergency motion for a stay of trial court proceedings and
ordered merits briefing on National Surety and Allianz’s Petition for Writ of Mandamus. In re
National Surety Corp. et al., No. 05-19-01119-CV (Tex. App. – Dallas 2019). The Petition for
Writ of Mandamus was fully briefed but not decided prior to the BSA’s bankruptcy filing.

        In the spirit of reaching consensus with the Insurance Companies, the BSA is currently
participating in mediation with its Insurance Companies to resolve certain disputes regarding the
Debtors’ rights to Insurance Coverage under the Insurance Policies.6869

        Under the Plan, the Insurance Coverage Actions (along with Insurance Actions) will be
contributed to the Settlement Trust. It is difficult to quantify the value of the Insurance
Coverage Actions and Insurance Actions as the resolution of these Actions is dependent on the
interpretation of certain terms, provisions, and exclusions in the Insurance Policies. However, if
the BSA and the Settlement Trust are successful in defeating the coverage defenses that have
been, or may be asserted in the Insurance Coverage Actions and Insurance Actions (which the
BSA believes is probable), the proceeds of these Actions could represent a substantial
contribution to the Settlement Trust.

           6.        Post-Petition Defenses Asserted by Insurance Companies

        The BSA tendered the Abuse Claims that were the subject of the Proofs of Claim to the
BSA’s Insurance Companies under the Insurance Policies. The BSA’s Insurance Companies
have challenged various aspects of the Plan and Trust Distribution Procedures and reserved
rights to deny or limit coverage relating to the Abuse Claims under the Insurance Policies on
various grounds, including but not limited to:

                    The BSA may have failed to cooperate in the defense and investigation of the
                     Abuse Claims;

                    The BSA may not settle the Abuse Claims in violation of the Voluntary Payment
                     provision under the Insurance Policies;

                    The Plan seeks to bind the Insurance Companies to certain findings, including
                     that the Trust Distribution Procedures are “fair and reasonable”;

                    That the BSA has not exhausted underlying coverage and/or applicable
                     self-insured retentions;

6869
       Pursuant to the Bankruptcy Court’s Order (I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and
       (III) Granting Related Relief [D.I. 812] entered on June 9, 2020 (the “Mediation Order”), the mediations are currently
       before the Bankruptcy Court-appointed Mediators, the Honorable Kevin Carey (Ret.), Paul Finn, and Timothy Gallagher for
       the purpose of mediating the comprehensive resolution of issues and Claims in the Chapter 11 Cases through a chapter 11
       plan.


                                                              70
            Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21   Page 78 of 303




               Certain insurance policies have been exhausted or impaired;

               Any payment obligations under the Insurance Policies are limited to the amount
                that the Settlement Trust can afford to pay, and not to the amount allowed under
                the Trust Distribution Procedures;

               Many of the Abuse Claims are not compensable under the Insurance Policies
                because of statute of limitations issues and/or because they were untimely filed;

               The BSA, Local Councils, and Chartered Organizations expected and intended
                the injuries subject to the Abuse Claims;

               The anti-assignment provisions in the Insurance Policies preclude the BSA, Local
                Councils and Chartered Organizations from assigning Debtor and non-Debtor
                insurance rights to the Trust;

               Certain of the proposed terms of the Plan and Trust Distribution Procedures
                violate the terms and conditions of the Insurance Policies, including selection of
                the proposed Settlement Trustee; the Settlement Trustee has alleged insufficient
                discretion to authorize the Settlement Trust to reduce or deny certain Abuse
                Claims; and vesting sole authority in the Settlement Trustee to evaluate and settle
                Abuse Claims without the discovery procedures or insurer participation to which
                the insurers assert they are entitled;

               The Expedited Distribution is impermissible; and

               Liberty Mutual contends that, because under the Insurance Policies it wrote, the
                deductibles and SIRs match the limits of liability, a court may rule that Liberty
                does not owe any coverage obligations to the BSA or the Settlement Trust absent
                satisfaction in full of the applicable deductible or SIR. Other parties, including
                other insurers, do not agree with Liberty’s contention. Neither the Plan nor any
                other Plan Document, including the Trust Distribution Procedures, resolves or
                seeks to resolve this issue. How deductibles and SIRs will be satisfied is a matter
                to be decided in separate coverage litigation.

The BSA strongly contests the characterization and the merits of these coverage defenses.
Further, the Debtors believe there is no merit to any contention by the BSA’s Insurance
Companies that the BSA cannot assign rights to the Insurance Policies to the Settlement Trust.
As noted above, the BSA is actively working with the Insurance Companies to resolve these
disputes.

       7.       Insurer Letters of Credit

         In connection with its insurance program, BSA posted certain letters of credit issued by
JPM to secure obligations arising under certain of BSA’s Insurance Policies (such letters of
credit, the “Insurer LCs”). Except as provided for in an Insurance Settlement Agreement, neither
any provision of the Plan nor the occurrence of the Effective Date shall alter, amend, or


                                                 71
            Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21    Page 79 of 303




otherwise impair the rights and obligations of the Debtors, Reorganized BSA, JPM, or any
applicable Insurance Company holding one or more letters of credit issued by JPM to secure
obligations arising under one or more BSA Insurance Policies. Without limiting the foregoing,
nothing in the Plan or the Confirmation Order shall preclude any such Insurance Company from
exercising any applicable rights on any such letter of credit issued, or other security provided,
for the benefit of the Insurance Company in accordance with the terms and conditions of the
documents governing such letter of credit or other security, or applying amounts therefrom to
any Claim secured by such letter of credit or other security, the Debtors, Reorganized BSA, and
JPM reserve any and all rights with respect to such Insurance Company’s exercise of any
applicable rights.

       8.      Direct Actions Against BSA Insurance Companies

        Some Abuse Claimants have objected to the Plan on the basis that, in certain
jurisdictions, claimants have direct action rights against the BSA Insurance Companies, and the
BSA cannot sell or dispose of direct actions claimants’ rights to pursue the BSA Insurance
Policies. The Debtors believe that the Bankruptcy Court can approve an injunction barring such
claims against third party insurers.

             ARTICLE IV. EVENTS LEADING TO THE CHAPTER 11 CASES

        The safety of children in its programs is the most important priority of the BSA. The
BSA today enforces a robust set of multilayered policies and procedures to protect the young
men and women involved in Scouting. These measures are informed by respected experts in the
fields of child safety, law enforcement, and child psychology. The BSA is committed to the
protection of its Scouts, and that commitment is integral to the BSA’s identity and mission as it
seeks to continue instilling values of leadership, service, and patriotism in millions of children
who participate in Scouting programs across the country.

A.     The BSA’s Prepetition Global Resolution Efforts and Prepetition Claims Against the
       BSA

        As widely reported, as of the Petition Date, the BSA was a defendant in numerous
lawsuits related to historical Abuse in its programs. Indeed, many Abuse survivors had taken
legal action against the BSA and Local Councils in the civil tort system. As explained further
below, recent changes in state statutes of limitations led to a sharp increase in the number of
Claims asserted against the BSA and placed tremendous financial pressure on the organization.
In addition to Pending Abuse Actions in state and federal courts across the United States,
attorneys for Abuse survivors had provided information regarding approximately 1,400
additional Claims not yet filed, for a total of approximately 1,700 known asserted Abuse Claims.

       In light of the increasing number of Claims asserted against the BSA, the BSA made the
decision that it could not continue to address Abuse litigation in the tort system on a
case-by-case basis. The BSA spent more than $150 million on settlements and legal and related
professional costs from 2017 to 2019 alone. In addition to the unsustainable financial cost of
continuing to engage in piecemeal litigation across the country, continuing this process would
have resulted in the risk of inconsistent judicial outcomes and inequitable treatment of survivors.


                                                72
               Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 80 of 303




For these reasons, beginning in late 2018, the BSA, with assistance of legal and financial
advisors, began to explore strategic options for achieving an equitable global resolution of Abuse
Claims.

         In connection with these strategic efforts, the BSA recognized that it would ultimately
need to structure a settlement around a plan of reorganization that provides for a channeling
injunction with respect to both current and potential Future Abuse Claims.6970 Accordingly, the
BSA determined, in consultation with its advisors, that it was necessary and appropriate to
engage an independent third-party Representative for holders of Future Abuse Claims. After
considering possible candidates for the role, the BSA selected James L. Patton, Jr. in early 2019
to serve as future claimants’ representative (the “Future Claimants’ Representative”).7071 Future
Abuse Claims include any Direct Abuse Claim against any Protected Party or Limited Protected
Party that is attributable to, arises from, is based upon, relates to, or results from, in whole or in
part, directly, indirectly, or derivatively, alleged Abuse that occurred prior to the Petition Date
but which, as of the date immediately preceding the Petition Date, was held by a Person who, as
of such date, (a) had not attained eighteen (18) years of age, or (b) was not aware of such Direct
Abuse Claim as a result of “repressed memory,” to the extent the concept of repressed memory
is recognized by the highest appellate court of the state or territory where the claim arose;
provided, however, that with respect to any Contributing Chartered Organization or Participating
Chartered Organization, the term “Future Abuse Claim” shall be limited to any Direct Abuse
Claim that satisfies either (a) or (b) and is attributable to, arises from, is based upon, relates to, or
results from, Abuse that occurred prior to the Petition Date in connection, in whole or in part,
with the Contributing Chartered Organization’s, Participating Chartered Organization’s, or its
respective personnel’s or affiliates’ involvement in, or sponsorship of, one or more Scouting
units., including any proportionate or allocable share of liability based thereon; provided further,
however, that with respect to any Participating Chartered Organization, the term “Future Abuse
Claim” shall be limited to Post-1975 Chartered Organization Abuse Claims that satisfy either (a)
or (b). For the avoidance of doubt, no Claim alleging Abuse shall be a “Future Abuse Claim”
against a Contributing Chartered Organization or a Participating Chartered Organization if such
Claim is wholly unrelated to Scouting. For the avoidance of doubt, Direct Abuse Claims include
Future Abuse Claims and their treatment under the Plan is the same.

       In addition, the BSA engaged in discussions with several groups, including an ad hoc
group of attorneys representing numerous holders of Abuse Claims advised by James Stang of
Pachulski Stang Ziehl & Jones LLP, and certain of its insurers.

       One of the strategic options that the BSA explored throughout 2019 included efforts to
reach a settlement with a substantial number of Abuse survivors that could be implemented
through a prearranged chapter 11 proceeding. Those efforts involved several meetings with
attorneys representing many Abuse survivors, including a two-day mediation in early November

6970
       Unlike a future Claim in other mass tort contexts, there is no latency period for Abuse. In the Abuse context, a future Claim
       is properly understood as a Claim related to Abuse that has already occurred but which is held by an individual who (a) has
       not attained 18 years of age, or (b) was not aware of such Abuse Claim as a result of “repressed memory,” such that he or
       she is not aware that he or she holds an Abuse Claim, to the extent the concept of repressed memory is recognized by the
       highest appellate court of the State or territory where the Claim arose.
7071
       As noted in Article V.F herein, the Bankruptcy Court appointed Mr. Patton as the Future Claimants’ Representative on
       April, 24, 2020, nunc pro tunc to the Petition Date.


                                                                 73
               Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21   Page 81 of 303




2019. The mediation was attended by a Future Claims Representative and some of the BSA’s
Insurance Companies. Unfortunately, the mediation was unsuccessful. It became apparent that
attorneys for Abuse survivors believed that certain Local Councils with significant Abuse
liabilities had significant assets that could be used to compensate survivors. Further, it became
clear that attorneys for Abuse survivors would only accept information about the nature and
extent of the BSA’s available assets if provided through a court-supervised process.
Accordingly, the BSA recognized in late 2019 that there were no meaningful prospects for a
prearranged global resolution. Under those conditions, the Debtors commenced these Chapter
11 Cases to achieve dual objectives: (a) timely and equitably compensate survivors of Abuse in
Scouting and (b) ensuring that the BSA emerges from bankruptcy with the ability to continue its
vital charitable mission.

B.         The Impact of Statutes-of-Limitation Changes on Claims against the BSA and
           Non-Debtor Stakeholders

        The number of Abuse Claims against the BSA has increased dramatically over the past
twenty years due to changes to state statutes of limitations governing Causes of Action alleging
child Abuse. Since 2002, twenty-one (21) states have enacted legislation allowing individuals to
bring Claims that would otherwise have been barred by the applicable limitations period. Most
of these jurisdictions (including California, Delaware, Georgia, Hawaii, Minnesota, New Jersey,
and North Carolina) have implemented revival windows that temporarily eliminate the civil
statutes of limitations for survivors of Abuse whose Claims have already expired. These revival
windows have allowed older survivors of child Abuse to bring lawsuits decades after the Abuse
occurred, including against private organizations, such as the BSA and Local Councils. Other
jurisdictions (including Vermont) have fully eliminated limitations periods going forward and
revived expired Abuse Claims. Additionally, more states are considering opening statute of
limitation windows, extending statutes of limitations, or even removing statutes of limitations for
survivors of child sexual Abuse.

        The trend of retroactive revisions to limitations periods for Abuse Claims accelerated in
2019, when more than a dozen states (including Arizona, California, District of Columbia,
Montana, New Jersey, New York, and North Carolina) revised their limitations periods to allow
survivors of Abuse to bring Claims that would otherwise have been time-barred. Shortly before
the Petition Date, a group of plaintiffs filed suit in the U.S. District Court for the District of
Columbia alleging that the District’s recent revival-window legislation permits plaintiffs to bring
previously time-barred Claims, regardless of where the Abuse occurred or where the plaintiff
resides.7172 In addition, prior to the Petition Date, plaintiffs began pursuing a theory that the
recently opened New Jersey statute of limitations allowed the filing of any Claim that arose prior
to 1979, regardless of where the Abuse occurred, since the BSA was headquartered in New
Jersey prior to that date, before its Headquarters moved to Irving, Texas.

        These changes in statutes of limitations have dramatically altered the legal landscape for
Abuse Claims. Specifically, the number of suits alleging Claims from earlier years that would
otherwise have been barred by the applicable limitations period has surged, which is reflected in
the filing of tens of thousands of Abuse Claims in these Chapter 11 Cases. These suits have

7172
       See Does 1-8 v. Boy Scouts of America, Case No. 20–00017 (D.D.C.).


                                                              74
               Case 20-10343-LSS                Doc 6418-1          Filed 09/29/21          Page 82 of 303




forced the BSA to look backward—past the decades of progress and leadership in youth
protection—to the mid- to late-twentieth century, when the vast majority of the Abuse in
Scouting occurred. Claims alleging Abuse within the last thirty years make up a small fraction
of total known Abuse Claims.7273 The vast majority of the Claims the BSA is now facing alleged
Abuse from the 1960s to the 1980s. Fairly compensating survivors that were abused during this
period placed tremendous financial pressure on the BSA and its local partners.

                                    ARTICLE V. THE CHAPTER 11 CASES

A.         Commencement of the Cases and First Day Relief

        On the Petition Date, the Debtors commenced the Chapter 11 Cases by filing voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. As of the date hereof, the Debtors
have continued, and will continue until the Effective Date, to operate their organization as
Debtors-in-possession pursuant to sections 1107 and 1108 of the Bankruptcy Code.

        Also on the Petition Date, the Debtors filed a number of motions seeking typical “first
day” relief in chapter 11 cases authorizing the Debtors to maintain their operations in the
ordinary course (collectively, the “First Day Motions”). This relief was designed to ensure a
seamless transition into the chapter 11 process and allow the Debtors to maintain their operations
in the ordinary course so as to function smoothly while their cases progressed. The Bankruptcy
Court granted substantially all of the relief requested in the First Day Motions and entered
various interim and final orders authorizing the Debtors to, among other things:

          Continue paying employee wages and benefits [D.I. 295];7374

          Continue the use of the Debtors’ cash management system, bank accounts, and business
           forms [D.I. 381];

          Continue the use of certain cash collateral and the granting of adequate protection with
           respect to the use of such cash collateral [D.I. 433];

          Continue customer, scout and donor programs, and honor related prepetition obligations
           [D.I. 279];

          Pay certain prepetition taxes and assessments [D.I. 366];

          Pay certain prepetition obligations for essential vendors, foreign vendors, shippers,
           warehousemen, and other Lien claimants [D.I. 275];



7273
       Of the approximately 95,200 pending or asserted Abuse Claims against the BSA, approximately 65,000 claims have
       ascertainable dates. Of the approximately 65,000 dated Claims, approximately 80% involve Claims alleging Abuse that
       occurred before 1988.
7374
       The Bankruptcy Court’s order granted the Debtors’ motion for authorization to pay prepetition wages, salaries, employee
       benefits, and other compensation and maintain employee benefits programs and pay related administrative obligations (the
       “Wages Motion”).


                                                               75
           Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 83 of 303




        Pay certain prepetition obligations under shared services arrangements with the Local
         Councils and Related Non-Debtor Entities and authorize the Debtors to continue
         performing or paying under shared services arrangements with the Local Councils and
         Related Non-Debtor Entities [D.I. 369]; and

        Establish procedures for utility providers to request adequate assurance of payment and
         to prohibit utility companies from altering or discontinuing service [D.I. 273].

B.       Procedural Motions

       The Debtors filed various motions on the Petition Date regarding procedural issues
common to chapter 11 cases of similar size and complexity. The Bankruptcy Court granted
substantially all of the relief requested in such motions and entered various orders authorizing
the Debtors to, among other things:

        Establish procedures for interim compensation and reimbursement of expenses of chapter
         11 professionals [D.I. 341], as amended by the Order Amending the Order (I) Approving
         Procedures for (A) Interim Compensation and Reimbursement of Expenses of Retained
         Professionals and (B) Expense Reimbursement for Official Committee Members and (II)
         Granting Related Relief entered by the Bankruptcy Court on August 6, 2021 [D.I. 5899];
         and

        Retain and compensate certain professionals utilized by the Debtors in the ordinary
         course of their non-profit operations [D.I. 354].

C.       Critical Vendors and Shared Services

        As described above, the Debtors filed various First Day Motions, two of which were
motions to pay prepetition Claims of critical vendors [D.I. 7] (the “Critical Vendor Motion”) and
prepetition obligations under shared services arrangements [D.I. 15] (the “Shared Services
Motion”). Pursuant to the Critical Vendor Motion, the Debtors obtained authorization to pay, in
the ordinary course of the Debtors’ non-profit operations, prepetition Claims of essential
vendors, foreign vendors, 503(b)(9) vendors, and other Lien claimants. Pursuant to the Shared
Services Motion, the Debtors obtained authorization to pay prepetition obligations under shared
organizational services agreements related to the Local Councils and Related Non-Debtor
Entities and to continue performing under such arrangements. As explained in detail in the
Shared Services Motion, the BSA provides benefits programs, liability insurance, and
administrative services to Local Councils, such as accounting, human resources, information
technology, member recruitment, fundraising, marketing, leadership training, and other related
support (the “Shared Services Arrangements”). Without these Shared Services Arrangements,
the Debtors would be incapable of providing Scouting programs nationwide and Local Councils
would be unable to operate their organization.

D.       Retention of Chapter 11 Professionals

       On March 17, 2020, the Debtors filed applications to retain (i) Sidley Austin LLP
(“Sidley Austin”), as the Debtors’ bankruptcy counsel; (ii) Morris, Nichols, Arsht & Tunnell


                                                 76
               Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21          Page 84 of 303




LLP, as the Debtors’ bankruptcy co-counsel; (iii) Alvarez & Marsal North America, LLC, as
financial advisor; (iv) Bates White, LLC, as Abuse Claims consultant (“Bates White”);
(v) KCIC, LLC, as insurance and valuation consultant; (vi) Omni Agent Solutions, as
administrative agent; (vii) Haynes and Boone, LLP, as special insurance counsel; and
(viii) Ogletree, Deakins, Nash, Smoak & Stewart, P.C., as special litigation counsel [D.I. 204,
205, 206, 207, 208, 209, 210, and 220]. In April 2020, the Bankruptcy Court entered orders
authorizing the retention of all the Debtors’ listed Estate Professionals, except for Sidley Austin
[D.I. 339, 340, 353, 355, 364, 372, and 463]. On May 29, 2020, the Bankruptcy Court issued a
bench ruling overruling the objection to the Debtors’ application to retain Sidley Austin as
bankruptcy counsel filed by Century [D.I. 755]. On June 2, 2020, the Bankruptcy Court entered
an order granting Sidley Austin’s retention [D.I. 758].7475

        Thereafter, the Debtors filed additional applications to retain (i) PricewaterhouseCoopers
LLP, as independent auditor and tax compliance services provider to the Debtors; (ii) Appraisers
of the Keys, Inc.; JFW Ranch Consulting, LLC; Hotel & Leisure Advisors; F.I. Salter, Inc.;
Dawn M. Powell Appraisals Inc.; and BW Ferguson & Associates Ltd., as appraisers with
respect to the Debtors’ four high adventure facilities, discussed in greater detail herein;
(iii) Quinn Emanuel Urquhart & Sullivan, LLP as special litigation counsel; and (iv) JLL
Valuation & Advisory Services, LLC (“JLL”) as appraiser with respect to certain Local Council
real properties [D.I. 796, 868, 1125, and 1762]. The Bankruptcy Court entered orders approving
the Debtors’ retention applications on June 24, 2020, July 8, 2020, September 18, 2020, and
December 14, 2020, respectively [D.I. 889, 984, 1343, and 1841].

         On October 22, 2020, the Debtors filed an application requesting authorization to retain
White & Case LLP (“White & Case”) as bankruptcy counsel because core members of their
restructuring team had transitioned their practices to White & Case from Sidley Austin [D.I.
1571]. The Debtors’ restructuring team who transitioned have led the Debtors’ restructuring
efforts for the past two years and are familiar with the numerous stakeholders that are actively
participating in these Chapter 11 Cases. The Bankruptcy Court entered an order authorizing the
retention of White & Case on November 8, 2020 [D.I. 1698], over the objection of Century [D.I.
1637].7576

E.         Appointment of Fee Examiner

      Given the size and complexity of the Chapter 11 Cases, on September 18, 2020, the
Bankruptcy Court entered an order appointing Justin H. Rucki of Rucki Fee Review, LLC as Fee
Examiner [D.I. 1342].


7475
       On June 11, 2020, Century filed a Notice of Appeal [D.I. 837] of the Bankruptcy Court’s order authorizing the Debtors’
       retention of Sidley Austin. On May 7, 2021, the U.S. District Court for the District of Delaware issued a final order
       affirming the Bankruptcy Court’s decision to authorize the retention of Sidley Austin [D.I. 3292] (Civil Action No.
       20-cv-798, BAP No. 20-14). On May 26, 2021 Century filed a notice of appeal to the U.S. Court of Appeals for the Third
       Circuit of the District Court’s order affirming the Bankruptcy Court’s approval of Sidley Austin’s retention [D.I. 36]
       (Appellate Case No. 21-2035). The appeal is pending.
7576
       On December 2, 2020, Century filed a Notice of Appeal [D.I. 1771] of the Bankruptcy Court’s order authorizing the
       Debtors’ retention of White & Case. The appeal was before the U.S. District Court for the District of Delaware (Civil
       Action No. 20-cv-1643, BAP No. 20-58) (the “W&C Retention Appeal”). On February 26, 2021, Century filed its
       Stipulation of Dismissal of Bankruptcy Appeal stipulating to the dismissal of the W&C Retention Appeal.


                                                              77
                Case 20-10343-LSS             Doc 6418-1          Filed 09/29/21         Page 85 of 303




F.         Appointment of Statutory Committees, Ad Hoc Committee, and Future Claimants’
           Representative

           1.        Ad Hoc Committee of Local Councils

       Prior to the Petition Date, the BSA assisted in the formation of the Ad Hoc Committee
comprised of eight Local Councils7677 of various sizes from regions across the country. The
primary purpose of the Ad Hoc Committee is to allow Local Councils to participate in
negotiations regarding a global resolution of Abuse Claims and other issues important to them,
including the treatment of their shared insurance with the BSA. The Ad Hoc Committee has also
been instrumental in coordinating the BSA’s ongoing efforts to collect and organize Local
Council asset information. The individual members of the Ad Hoc Committee are all volunteers.
The volunteer chair is Richard G. Mason of the Wachtell, Lipton, Rosen & Katz law firm. Mr.
Mason is the volunteer president of the Greater New York Council.

           2.        Unsecured Creditors Committee

       On March 5, 2020, the United States Trustee appointed the Committee of Unsecured
Trade Creditors (the “Creditors’ Committee”), which consists of five members [D.I. 141]. The
Creditors’ Committee represents the interests of all non-Abuse-related unsecured creditors,
including former employees, litigation claimants, and other non-Abuse unsecured creditors. The
members of the Creditors’ Committee are (1) Pension Benefit Guaranty Corporation, represented
by Tom Taylor; (2) Girl Scouts of the United States of America, represented by Jennifer Rochon;
(3) Roger A. Ohmstede; (4) Pearson Education, Inc., represented by Karen Abraham; and (5)
Lion Brothers Inc., represented by Susan Ganz.

           3.        Tort Claimants’ Committee

       On March 5, 2020, the United States Trustee also appointed the Tort Claimants’
Committee (together with the Creditors’ Committee, the “Committees”), which consists of nine
individual members who hold Abuse Claims against the Debtors [D.I. 142].

        To date, the Debtors have cooperated with the Committees, creditors, and other
stakeholders on complex diligence and informal discovery issues, including participation in
meet-and-confer calls, question-and-answer sessions, and the review and production of a
significant volume of responsive documents and other information.

           4.        Future Claimants’ Representative

        On March 18, 2020, the Debtors filed the Debtors’ Motion for Entry of an Order
Appointing James L. Patton, Jr., as Legal Representative for Future Claimants, Nunc Pro Tunc
to the Petition Date [D.I. 223]. On April, 24, 2020, the Bankruptcy Court appointed Mr. Patton
as the legal representative of Future Claimants [D.I. 486] (the “Future Claimants’
Representative”), nunc pro tunc to the Petition Date.

7677
       The members are: (1) Andrew Jackson Council; (2) Atlanta Area Council; (3) Crossroads of America Council; (4) Denver
       Area Council; (5) Grand Canyon Council; (6) Greater New York Councils; (7) Mid-America Council; and (8) Minsi Trails
       Council.


                                                             78
                Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21          Page 86 of 303




       On May 5, 2021, the Future Claimants’ Representative filed his Fourth Supplemental
Declaration of James L. Patton, Jr. [D.I. 3146]. The declaration provided that as the Future
Claimants’ Representative, Patton has continued to monitor any potential conflicts and remains
independent, disinterested, and without interests materially adverse to the Future Claimants.
Likewise, on May 5, 2021, Young Conaway Stargatt & Taylor, LLP filed its Third Supplemental
Declaration of Edwin J. Harron [D.I. 3147]. This declaration provides that as the legal
representative to the Future Claimants’ Representative, Edwin J. Harron has continued to
monitor any potential conflicts and remains independent, disinterested, and without interests
materially adverse to the Future Claimants.

           5.        Coalition of Abused Scouts for Justice

        On July 24, 2020, the Coalition of Abused Scouts for Justice (the “Coalition”), an ad hoc
group representing the interests of Abuse survivors, filed its Notice of Appearance and Request
for Service of Notices and Documents [D.I. 1040]. The Coalition was formed in connection with
State Court Counsel representing holders of Abuse Claims. The Coalition is made up of
approximately 18,000 Abuse survivors having signed an “Affirmative Consent” which consents
to becoming a member of the Coalition and authorizes their respective State Court Counsel to
instruct the Coalition’s professionals in connection with these Chapter 11 Cases. Additionally,
the Coalition has asserted that the State Court Counsels represent approximately 65,000 Abuse
survivors collectively and many of such additional Persons are expected to sign “Affirmative
Consents.”

        As part of their Supplement to Amended Verified Statement of the Coalition of Abused
Scouts for Justice Pursuant to Bankruptcy Rule 2019 [D.I. 1510] (the “Supplement to Amended
Verified Statement”), the Coalition acknowledged that it would not charge back the fees of the
Coalition Professionals to individual Abuse Survivors, provided, however, that the Coalition
expressly reserved its right to seek a substantial contribution claim and/or seek reimbursement
for the fees and expenses incurred by Coalition Counsel under a chapter 11 plan. The Plan
expressly provides for the reimbursement of fees and expenses incurred by the Coalition, as
contemplated under the Supplement to Amended Verified Statement. Further, nothing in the
Supplement to Amended Verified Statement was intended to prejudice or limit the Coalition’s
right to seek such claim or reimbursement. The Debtors previously requested authorization to
reimburse the Coalition Restructuring Expenses in connection with their motion to approve the
Restructuring Support Agreement, but the Bankruptcy Court declined to approve such relief at
that time and deferred the issue.7778

       On January 29, 2021, the Coalition filed a Third Amended Verified Statement of
Coalition of Abused Scouts of Justice Pursuant to Bankruptcy Rule 2019 [D.I. 1996 and 1997],
and provides information regarding its members (with certain personal information redacted),
and supplemented this third amended verified statement on May 18, 2021 [D.I. 4657, 4658].
The Coalition is represented by Monzack Mersky and Browder, P.A., and Brown Rudnick LLP.


7778
       See Aug. 19, 2021 Hr’g Tr. 28:8-28:12 (The Bankruptcy Court: “My conclusion: I have found that the entry into the RSA is
       a sound exercise of Debtor's business judgment. The parties can proceed with the RSA without the findings regarding the
       Hartford settlement agreement and fees for the coalition, or not.”).


                                                               79
                Case 20-10343-LSS                Doc 6418-1          Filed 09/29/21          Page 87 of 303




           6.        United Methodist Ad Hoc Committee7879

        In late 2020, 49 United Methodist Annual Conferences supported the formation of an ad
hoc group (the “United Methodist Ad Hoc Committee”) to advance the interests generally of
United Methodist local churches and other United Methodist organizations that serve or have
served as Chartered Organizations to the BSA. The United Methodist Ad Hoc Committee,
comprising of twelve members, has retained Bradley and Potter Anderson & Corroon LLP to
represent it in these Chapter 11 Cases. The United Methodist Ad Hoc Committee also
participates in the mediation regarding issues in connection with a global resolution of Abuse
Claims. On January 6, 2021, the United Methodist Ad Hoc Committee filed a verified statement
pursuant to Bankruptcy Rule 2019, detailing certain information relating to its members [D.I.
1901].

           7.        Roman Catholic Ad Hoc Committee7980

       The Catholic Mutual Relief Society of America (“Catholic Mutual”) filed a notice of
appearance in these Chapter 11 Cases on February 25, 2021 [D.I. 2269]. Catholic Mutual is a
non-profit corporation that operates as a self-protection fund of the Roman Catholic Church in
the United States and Canada, with 112 of the 195 United States Catholic archdioceses and
dioceses being members. On June 25, 2021, representatives of Catholic Mutual and certain of its
member dioceses and archdioceses filed the Verified Statement of the Roman Catholic Ad Hoc
Committee Pursuant to Bankruptcy Rule 2019 [D.I. 5421], disclosing that they had formed the
Roman Catholic Ad Hoc Committee to protect and advance their common interests in these
Chapter 11 Cases. The Roman Catholic Ad Hoc Committee has retained Schiff Hardin and
Potter Anderson to represent it.

G.         Filing of Schedules of Assets and Liabilities and Statements of Financial Affairs

       On February 19, 2020, the Bankruptcy Court entered an order extending the deadline by
which the Debtors must file their Schedules and Statements of Financial Affairs with the
Bankruptcy Court [D.I. 67]. In accordance with that order and pursuant to Bankruptcy Rule
1007 and Local Rule 1007-19(b), the Debtors filed their Schedules and Statements on April 8,
2020 [D.I. 375, 376, 377, and 378]. The Schedules provide summaries of the assets held by each
of the Debtors as of the Petition Date, as well as a listing of the Debtors’ liabilities, including
Secured, unsecured priority, and unsecured non-priority Claims pending against each of the
Debtors during the period prior to the Petition Date.

H.         Exclusivity

       On June 16, 2020, the Debtors sought an extension of the periods during which they may
exclusively propose and solicit acceptances of a chapter 11 plan beyond the initial 120-day and
180-day periods (together, the “Exclusive Periods”) for plan proposal and solicitation set forth in
7879
       The involvement of the United Methodist Ad Hoc Committee in these Chapter 11 Cases is not an indication that all
       Chartered Organizations with such religious affiliation are represented by, or share the views of, the United Methodist Ad
       Hoc Committee.
7980
       The involvement of the Roman Catholic Ad Hoc Committee in these Chapter 11 Cases is not an indication that all
       Chartered Organizations with such religious affiliation are represented by, or share the views of, the Roman Catholic Ad
       Hoc Committee.


                                                                80
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21    Page 88 of 303




section 1121 of the Bankruptcy Code. The Tort Claimants’ Committee and the Creditors’
Committee each filed statements in response [D.I. 915, 947]. On July 9, 2020, the Bankruptcy
Court entered an order granting the relief requested in the Debtors’ motion [D.I. 996], extending
the exclusive period for the Debtors to file and solicit votes on a chapter 11 plan by 120 days and
180 days, respectively. On October 14, 2020, the Debtors sought and obtained an unopposed
second extension of the periods during which they may exclusively propose and solicit
acceptances of a chapter 11 plan [D.I. 1519, 1606].

        On March 18, 2021, the Debtors filed a third motion to extend the period during which
they may exclusively propose a plan of reorganization and the solicitation period for acceptances
of such plan [D.I. 2411] (the “Third Exclusivity Motion”). This motion sought to extend the
Debtors’ exclusive periods to (a) file a chapter 11 plan to August 18, 2021 and (b) solicit votes
thereon to October 18, 2021. On April 1, 2021, the Tort Claimants’ Committee filed an
objection to the Third Exclusivity Motion, arguing that the exclusivity should be terminated to
permit the Tort Claimants’ Committee to propose its own plan that permits reorganization and
relies on insurance to compensate survivors, among other things [D.I. 2506]. The Tort
Claimants’ Committee also asserted that the Plan is patently unconfirmable, the Local Council
and Chartered Organization contributions are inadequate, and there is insufficient support from
survivors of Abuse.

        On April 22, 2021, the Coalition and the Future Claimants’ Representative filed a joint
objection to the Third Exclusivity Motion, asserting that they should be permitted to propose a
plan with the Tort Claimants’ Committee [D.I. 2672]. The Coalition and Future Claimants’
Representative also argued that the Plan does not equitably compensate survivors and objected
to the Hartford Settlement Contribution. The Bankruptcy Court heard argument on the Third
Exclusivity Motion at the hearing held on May 19, 2021, after which it was taken under
advisement and remains pending.

        On August 18, 2021, the Bankruptcy Court entered an order granting the relief requested
in the Debtors’ Third Exclusivity Motion, extending the exclusive period for the Debtors to file
and solicit votes on a chapter 11 plan by 152 days and 153 days, respectively [D.I. 6076].

I.     Removal

       Concurrently with the commencement of the Chapter 11 Cases, the Debtors began taking
measures to consolidate and stay all pending Abuse litigation against the BSA, Local Councils,
and Chartered Organizations. In particular, the BSA removed to federal district court (or
bankruptcy court, depending upon the applicable local rules) all Abuse Claims pending in state
courts throughout the country against the BSA and/or the Local Councils and Chartered
Organizations.

        Because there are a number of actions that name the BSA as a defendant and that allege
Claims substantially similar to those asserted in the Pending Abuse Actions (collectively, the
“Further Abuse Actions”) and dozens of additional non-Abuse actions that remain pending
against the BSA in various state courts, on May 15, 2020, the Debtors filed the Debtors’ Motion
for Entry of an Order Under 28 U.S.C. § 1452 and Fed. R. Bankr. P. 9006(b) and 9027,
Extending the Period Within which the Debtors May Remove Civil Actions and Granting Related


                                                81
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 89 of 303




Relief [D.I. 653] requesting that the deadline to remove such actions be extended to the later of:
(a) September 15, 2020; and (b) the date that is forty-five (45) days after the occurrence of the
Termination Date (as defined below). The Bankruptcy Court granted the motion on June 3, 2020
[D.I. 769].

        Subsequently, there have been multiple extensions of the removal period without
objection [D.I. 1316, 1393, 1876, 2720]. On September 23, 2021, the Bankruptcy Court granted
the Debtors’ fifth motion to extend the removal period from September 10, 2021 to the later of:
(a) January 10, 2022; and (b) the date that is forty-five (45) days after the occurrence of the
Termination Date (as defined below) [D.I. 6347].

J.     Preliminary Injunction

       On the Petition Date, the Debtors initiated an adversary proceeding by filing the Verified
Complaint for Injunctive Relief, Adv. Pro. No. 20-50527 (LSS) [A.D.I. 1 (sealed); A.D.I. 5
(redacted)] (the “Complaint”). In connection with the Complaint, the Debtors filed The BSA’s
Motion for a Preliminary Injunction Pursuant to Sections 105(a) and 362 of the Bankruptcy
Code [A.D.I. 6] (the “Preliminary Injunction Motion”).

        In the Preliminary Injunction Motion and related pleadings, the Debtors sought to extend
the automatic stay to enjoin the prosecution of the Pending Abuse Actions. The Pending Abuse
Actions comprise Claims filed in state and federal courts against the BSA, Non-Debtor Related
Entity Learning for Life, Local Councils that are separate non-profit Entities independently
incorporated under the applicable laws of their respective states, and non-Debtor Chartered
Organizations, consisting of community and religious organizations, businesses and groups of
individuals that organize Scouting units. Each of the Pending Abuse Actions alleges Abuse
arising out of the survivor’s involvement or connection with the BSA.

       As the result of an agreement reached between and among the Debtors and the
Committees, on March 30, 2020, the Bankruptcy Court entered the Consent Order Pursuant To
11 U.S.C. §§ 105(a) and 362 Granting the BSA’s Motion for a Preliminary Injunction [A.D.I.
54] and subsequent stipulations (the “Consent Order”).

        The Consent Order, among other things, stayed certain Pending Abuse Actions and
Further Abuse Actions with respect to the Debtors and other BSA Related Parties (as defined in
the Consent Order) up to and including May 19, 2020 (the “Termination Date”). The time
period from the Petition Date to and including the Termination Date, as extended from time to
time, is referred to as the “Standstill Period.” As part of the agreement with the Committees, the
Debtors agreed to provide financial and other information that the Committees had identified as
being relevant. To that end, the Debtors provided the Committees’ advisors with access to a
secure data room containing organizational documents, financial statements, shared services
agreements, documents reflecting asset and liability information, Insurance Policies, and other
relevant documents.

      In accordance with the Consent Order, the Debtors have filed amended version of
Schedule 1 to the Consent Order that include additional Further Abuse Actions subject to the
Consent Order (each, an “Amended Schedule”). Each Amended Schedule reflects the pending


                                                82
          Case 20-10343-LSS        Doc 6418-1      Filed 09/29/21   Page 90 of 303




abuse actions against non-debtor defendant(s), for which the Debtors have a record. The
Debtors have filed Amended Schedules on each of April 30, 2020 [A.D.I. 68], July 2, 2020
[A.D.I. 81], August 7, 2020 [A.D.I. 91], September 11, 2020 [A.D.I. 96], October 13, 2020
[A.D.I. 101], November 23, 2020 [A.D.I. 118], December 23, 2020 [A.D.I. 133], February 8,
2021 [A.D.I. 141], April 14, 2021 [A.D.I. 169], June 7, 2021 [A.D.I. 174]. Most recently, the
Debtors filed an Amended Schedule on August 17, 2021 [A.D.I. 189].

        Likewise, the Debtors filed amended versions of Schedule 2 to the Consent Order
identifying the then-current BSA Related Parties on August 7, 2020 [A.D.I. 92], September 25,
2020 [A.D.I. 97], December 30, 2020 [A.D.I. 135], February 8, 2021 [A.D.I. 142], April 19,
2021 [A.D.I. 171], June 7, 2021 [A.D.I. 175], and August 26, 2021 [A.D.I 191].

        On May 18, 2020, the Bankruptcy Court entered the Stipulation and Agreed Order By
and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the
Official Committee of Unsecured Creditors Extending the Termination Date of the Standstill
Period Under the Consent Order Granting the BSA’s Motion for a Preliminary Injunction
Pursuant to U.S.C. §§ 105(a) and 362 [A.D.I. 72], which extended the Termination Date and
Standstill Period up to and including June 8, 2020.

        On June 9, 2020, the Bankruptcy Court entered the Second Stipulation and Agreed Order
By and Among the Boy Scouts of America, the Official Committee of Survivors of Abuse, and the
Official Committee of Unsecured Creditors Modifying the Consent Order Granting the BSA’s
Motion for a Preliminary Injunction Pursuant to 11 U.S.C. §§ 105(A) and 362 and Further
Extending the Termination Date of the Standstill Period [A.D.I. 77], which, among other things,
further extended the Termination Date through and including November 16, 2020.

       On November 18, 2020, the Termination Date and Standstill Period were once again
extended with entry of the Order Approving Third Stipulation by and Among the Boy Scouts of
America, the Official Committee of Survivors of Abuse, and the Official Committee of Unsecured
Creditors Modifying the Consent Order Granting the BSA’s Motion for a Preliminary Injunction
Pursuant to 11 U.S.C. §§ 105(a) and 362 and Further Extending the Termination Date of the
Standstill Period [A.D.I. 116] (the “Order Approving Third Stipulation”). As a result, the
Termination Date was extended through and including March 19, 2021.

       On November 4, 2020, three plaintiffs (“Movants”) in certain state court actions
regarding Abuse Claims filed a motion to modify the preliminary injunction to permit the
Movants to proceed against certain non-debtor defendants [A.D.I. 109] (the “Motion to
Modify”). Despite not objecting initially to the entry of the Consent Order, which stayed the
Movants’ respective state court actions, the Movants argued that their Claims as against select
non-Debtor defendants could be litigated separately without affecting the BSA. On January 11,
2021, the Movants withdrew the Motion to Modify without prejudice [A.D.I. 138].

        On February 22 and 23, 2021, the Debtors filed their Motion to Extend Preliminary
Injunction Pursuant to 11 U.S.C. §§ 105(a) and 362 [A.D.I. 144] (the “Injunction Extension
Motion”) and opening brief in support of the Injunction Extension Motion [A.D.I. 145],
requesting an extension of the Termination Date to July 19, 2021.



                                              83
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 91 of 303




        On March 17, 2021, the Bankruptcy Court entered the Order Approving Fourth
Stipulation by and among the Boy Scouts of America, the Official Committee of Survivors of
Abuse, and The Official Committee Of Unsecured Creditors Modifying The Consent Order
Granting The BSA’s Motion For A Preliminary Injunction Pursuant To 11 U.S.C. §§ 105(A) And
362 And Further Extending The Termination Date Of The Standstill Period [A.D.I. 162] (the
“Order Approving Fourth Stipulation”). As a result, the Termination Date has now been
consensually extended to July 19, 2021.

        The Fourth Stipulation incorporates a disclosure and reporting protocol by which the
Local Councils will send to the BSA rosters located through a reasonable good faith search of all
rosters in the Local Councils’ possession, custody, or control that identify Abuse Survivors on a
Local Council’s claims list. Under the roster protocol, the BSA has also conducted a reasonable
good faith search of electronic registration information in its possession, custody, or control with
respect to Abuse Survivors who filed Sexual Abuse Survivor Proofs of Claim alleging Abuse
that occurred after 1999.

        On June 24, 2021, the Debtors, the Tort Claimants’ Committee, and the Creditors’
Committee entered into a fifth stipulation seeking to further extend the Termination Date up to
and including the earlier of (a) October 28, 2021, and (b) the date of the first omnibus hearing
after the Bankruptcy Court issues its decision confirming or denying confirmation of the Plan,
approval of which is pending before the Bankruptcy Court [A.D.I. 179].

K.     Mediation

        On the Petition Date, the Debtors filed the Debtors’ Motion for Entry of an Order
(I) Appointing a Judicial Mediator, (II) Referring Certain Matters to Mandatory Mediation, and
(III) Granting Related Relief [D.I. 17] (the “Mediation Motion”) requesting that the Bankruptcy
Court appoint a sitting bankruptcy judge to mediate any and all issues related to the
comprehensive resolution of Claims relating to historical acts of Abuse in the BSA’s Scouting
programs through a chapter 11 plan of reorganization, and referring such matters to mandatory
mediation. In response to a number of limited objections to the Mediation Motion filed by
various parties [D.I. 161, 164, 166, 316, 388, 617, 646, 647, 648, 650, 652, 658, 664, 710, 711,
712, 713, 756, 757, 759, 761, 762, 771, 772 and 773], the Debtors filed the Debtors’ Reply in
Support of Their Motion for Entry of an Order (I) Appointing Mediators, (II) Referring Certain
Matters to Mediation, and (III) Granting Related Relief [D.I. 782].

        On June 9, 2020, the Bankruptcy Court entered the Mediation Order described above,
appointing Judge Kevin Carey (Ret.), Mr. Paul Finn, and Mr. Timothy V.P. Gallagher as
Mediators. The Debtors subsequently successfully defended the Mediation Order against a
motion for reconsideration filed by Century, which the Bankruptcy Court denied on July 14,
2020—thereby enabling the Mediators to move forward with the substantial task of mediating
these large and complex cases. The original mediation parties consisted of (a) the Debtors; (b)
the Ad Hoc Committee; (c) the Future Claimants’ Representative; (d) the Tort Claimants’
Committee, including its members, Professionals, and the individual members’ professionals; (e)
the Creditors’ Committee, including each parties’ members, professionals, and the individual
members’ professionals; and (f) the following insurers: The Chubb Group of Insurance
Companies, The Hartford Companies, Allianz Global Risks US Insurance Company, National


                                                 84
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21     Page 92 of 303




Surety Corporation, Liberty Mutual Insurance Company, and American International Group, Inc.
Entities.

        On August 26, 2020, the Coalition moved to participate in the mediation [D.I. 1161],
arguing that the Coalition was a necessary and beneficial party to the Mediation Order and
should be permitted to participate in, and would add value to, efforts to reach a global resolution.
On September 2, 2020, various parties filed objections to the Coalition’s motion, including
Hartford Accident and Indemnity Company and certain other insurers [D.I. 1222], Allianz
Global Risks U.S. Insurance Company and National Surety Corporation [D.I. 1224], the Tort
Claimants’ Committee [D.I. 1229], and Century [D.I. 1230]. On October 23, 2020, the
Bankruptcy Court overruled these objections and entered an order allowing the Coalition to
participate in the mediation and designating the Coalition as a mediation party [D.I. 1573].

        The Debtors have subsequently engaged in extensive discussions and negotiations with
the mediation parties regarding complex legal and factual issues that must be addressed in
connection with a global resolution of Abuse Claims. Numerous additional parties have joined
the mediation subsequent to the Coalition’s designation as a mediation party. Such parties
include JPM, the Corporation of the President of TCJC, the United Methodist Ad Hoc
Committee, Agricultural Insurance Company, Aspen Insurance Holdings, Limited, AXA XL
Insurance, CNA Insurance Companies, General Star Indemnity Company, Markel Insurance
Company, Arrowood Indemnity Company, Old Republic Insurance Company, Travelers
Indemnity Company, Colony Insurance Company, Argonaut Insurance Company, Clarendon
America Insurance Company, American Zurich Insurance Company, Maryland Casualty
Company, Maryland American General Group, and American General Fire & Casualty
Company, Munich Re, Traders and Pacific Insurance Company, Endurance American Specialty
Insurance Company, and Endurance American Insurance Company, the Roman Catholic Ad Hoc
Committee, Catholic Mutual Relief Society of America, The Episcopal Church, the Domestic
and Foreign Missionary Society of the Protestant Episcopal Church in the United States of
America, Roman Catholic Diocese of Brooklyn, New York, Roman Catholic Archbishop of Los
Angeles, a corporation sole, Roman Catholic Diocese of Dallas, a Texas non-profit corporation,
Archdiocese of Galveston-Houston, and Diocese of Austin, and Zalkin Law Firm, P.C. and Pfau
Cochran Vertetis Amala PLLC. As of the filing of this Disclosure Statement, intensive formal
mediation is continuing in an effort to resolve outstanding controversies, including issues
relating to the terms of the Plan.

        On March 1, 2021, the Debtors filed the First Mediators’ Report [D.I. 2292], which
detailed that mediation had resulted in the Debtors, JPM, and the Official Committee of
Unsecured Creditors agreeing to a settlement term sheet. The JPM / Creditors’ Committee Term
Sheet is attached to the First Mediators’ Report as Exhibit A. The Tort Claimants’ Committee
filed a response on March 2, 2021 [D.I. 2297] noting that it did not consent to or agree with the
JPM / Creditors’ Committee Term Sheet attached to the First Mediators’ Report, to which the
Future Claimants’ Representative and Coalition joined [D.I. 2305, 2319].

        On April 16, 2021, the Debtors filed the Second Mediators’ Report [D.I. 2624], which
included a proposed settlement between the Debtors and Hartford. The Initial Hartford
Settlement Agreement is attached to the Second Mediators’ Report as Exhibit A. As stated in



                                                85
          Case 20-10343-LSS          Doc 6418-1       Filed 09/29/21    Page 93 of 303




the report, the Mediators remained confident that the Mediation would continue to foster
constructive discussion between and among the Debtors and other mediation parties.

       On June 3, 2021, the Debtors filed the Third Mediators’ Report [D.I. 5219], in which the
Mediators noted that while the continued mediation sessions had not yet resulted in a formal
settlement and key issues remained open, progress towards a settlement was being made. On
June 9 and June 11, 2021, the Debtors filed the Fourth Mediators’ Report and the Fifth
Mediators’ Report, respectively, pursuant to which the Mediators provided certain updates to the
Bankruptcy Court regarding upcoming hearings in light of ongoing settlement discussions [D.I.
5284, 5287].

        On September 14, 2021, the Debtors filed the Sixth Mediators’ Report, explaining,
among other things, that the Debtors, Hartford, the Future Claimants’ Representative, the
Coalition, and the Ad Hoc Committee, had agreed in principle on settlement terms that will
result in an additional $1.037 billion of cash contributions to the Settlement Trust, in addition to
the contributions of up to approximately $820 million that will be made by the Debtors and the
Local Councils [D.I. 6210].

L.     Evaluation of Estate Assets

        On June 18, 2020, the Debtors filed the Debtors’ Omnibus Application for Entry of an
Order Authorizing the Retention and Employment of Appraisers for the Debtors and Debtors in
Possession, Nunc Pro Tunc to June 18, 2020 [D.I. 868], seeking to retain five different
appraisers—Appraisers of the Keys, Inc.; Hotel & Leisure Advisors; F.I. Salter, Inc.; Dawn M.
Powell Appraisals Inc.; and BW Ferguson & Associates Ltd. (collectively, the “Appraisers”)—to
provide appraisal services for the high adventure facilities located in Florida, Minnesota, and
parts of Canada, New Mexico, and West Virginia. Due to the differences in geographic location,
property type, acreage, and land use of each high adventure facility, the Debtors retained
Appraisers for each of the following: Sea Base; Philmont and Summit; the portion of Northern
Tier located in Minnesota; the portion of Northern Tier located in Ontario, Canada; and the
remainder of Northern Tier located in Manitoba, Canada (collectively, the “Subject Properties”).
The Bankruptcy Court entered an order authorizing the retention and employment of the
Appraisers on July 8, 2020 [D.I. 984].

         Pursuant to their engagement letters, the Appraisers provided the following during their
appraisal process: (a) a highest and best use analysis, consideration, and determination of which
is a standard and requisite component of property valuation; (b) physical viewing, inspection,
and measurement of structures on the Subject Properties, observation of the condition of
improvements, characterization of land use, and consideration of other conditions of the
properties that may impact market values; (c) consideration of the number, type, sizes, uses, and
conditions of structures on the Subject Properties; (d) research and consideration of rights
restrictions and zoning restrictions on the Subject Properties; and (e) consideration of other
requirements and restrictions specific to certain of the Subject Properties, including growth
ordinance requirements, marinas draft depth and access channels, property composition,
comparable sales data, water rights, property damage, and mineral rights.




                                                 86
          Case 20-10343-LSS         Doc 6418-1       Filed 09/29/21   Page 94 of 303




        As noted above, on November 30, 2020, in connection with the Debtors’ ongoing efforts
to evaluate Estate and non-Estate assets to fund the Settlement Trust and the Plan, the Debtors
filed an application to retain JLL [D.I. 1762], which the Bankruptcy Court approved on
December 14, 2020 [D.I. 1841]. The Debtors have retained JLL to provide broker opinions of
market value, in consultation with certain of their stakeholders, of certain Local Council
properties, which are ongoing as of the date hereof. Because many Local Councils lack
significant unrestricted liquid assets, any contribution from Local Councils in the aggregate may
need to include real property and improvements as a component, and any Local Councils that
desire to participate in any potential negotiated resolution may wish to value potential real
property that they seek to contribute. The Debtors are continuing to work with JLL to appraise
approximately 300 of the approximately 1,000 Local Council real properties.

       Concurrently with the filing of the Debtors’ application to retain JLL, the Tort
Claimants’ Committee filed an application to retain CBRE, Inc. to provide desktop appraisals of
additional of the Local Council real properties described above [D.I. 1785]. The Bankruptcy
Court approved the application on December 15, 2020 [D.I. 1846]. The Debtors and the Tort
Claimants’ Committee have agreed to coordinate with respect to the appraisal of the Local
Council properties to avoid unnecessary duplication of services.

M.     Bar Dates and Body of Claims

       On the Petition Date, the Debtors filed the Debtors’ Motion, Pursuant to 11 U.S.C.
§ 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and
3003-1, for Authority to (I) Establish Deadlines for Filing Proofs of Claim, (II) Establish the
Form and Manner of Notice Thereof, (III) Approve Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Victims, and (IV) Approve Confidentiality
Procedures for Abuse Victims [D.I. 18]. On May 4, 2020, the Debtors filed the declaration of
Shannon R. Wheatman, Ph.D, in support of the Bar Date Order [D.I. 556] and the Supplement to
Debtors’ Bar Date Motion [D.I. 557], which described the Supplemental Notice Plan, to provide
extensive supplemental noticing to known and unknown survivors of Abuse.

        After extensive negotiations regarding the Bar Date Order and the noticing program with
parties in interest, on May 26, 2020, the Bankruptcy Court entered an order approving the Bar
Date Motion over the remaining objections of certain parties in interest [D.I. 695] (the “Bar Date
Order”). The Supplemental Notice Plan approved by the Bankruptcy Court was a carefully
tailored and highly negotiated multi-million dollar Bar Date noticing program, comprised of an
advertising campaign that utilized television, radio, magazines, newspapers, and online media.
As described in detail in the declarations of Dr. Wheatman, the Debtors’ primary target audience
for the Supplemental Notice Plan was men 50 years of age or older. As described in the
declaration from Dr. Wheatman regarding the implementation of the Supplemental Notice Plan
[D.I. 1758], the Debtors delivered notice of the Bar Dates to the Debtors’ primary target
audience of men 50 years of age or older with a reach (the estimated percentage of a target
audience reached through a combination of media vehicles) of 95.8%, and an average estimated




                                                87
                Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21          Page 95 of 303




frequency (the estimated average number of opportunities an audience member has to see a
notice) of 6.5 times.8081

           1.        Establishment of Bar Dates

        By the Bar Date Order, the Debtors established (a) November 16, 2020 as the last date by
which claimants could assert any prepetition Claims against the Debtors (the “Bar Date”), other
than holders of Abuse Claims, (b) November 16, 2020 as the last date by which any holder of an
Abuse Claim could assert any Claim arising from Abuse occurring prior to the Petition Date, and
(c) August 17, 2020 as the deadline for Governmental Units to assert any prepetition Claims
against the Debtors.

           2.        Non-Abuse Liabilities of the Debtors

       The Non-Abuse Claims and Non-Abuse Litigation Claims filed against the Debtors
include, but are not limited to, various employee and benefits related Claims; indemnification
Claims; non-Abuse personal injury and litigation Claims; and contract claims. In addition,
numerous Non-Abuse Claims and Non-Abuse Litigation Claims were included in the Debtors’
Schedules. The scheduled Claims fall into categories including, but not limited to, employment,
personal injury, environmental Claims, service and utility claims, trade payments, unclaimed
property, surety bonds, deferred compensation, Restoration Plan, and workers’ compensation.

        Further, the Debtors believe that they were generally current on their known prepetition
trade payables as of the Petition Date.

       Particular parties may attempt to file additional Claims notwithstanding the passage of
the Bar Dates and seek allowance of such Claims by the Bankruptcy Court to be treated as
timely filed. Additionally, claimants may amend certain existing Claims to seek increased
amounts.

           3.        Supplemental Bar Date Order

        On August 25, 2020, the Debtors filed the Debtors’ Motion Pursuant to Section 105(a) of
the Bankruptcy Code and ¶ 27 of the Bar Date Order for Entry of an Order (I) Supplementing
the Bar Date Order and (II) Granting Related Relief [D.I. 1145] (the “Supplemental Bar Date
Motion”), requesting that the Bankruptcy Court supplement the Bar Date Order to prevent
potential Abuse survivors from being misled or confused regarding the Bar Date and Claims
process. In the Supplemental Bar Date Motion and in supplemental briefing [D.I. 1260], the
Debtors alleged that certain law firms had engaged in their own false and misleading advertising
to solicit Claims from Abuse survivors, and that certain advertising contained false and
misleading statements and was inconsistent with the content approved by the Bankruptcy Court
in the Bar Date Order.

        The Coalition objected to the Supplemental Bar Date Motion [D.I. 1190, 1264], arguing
that the Debtors’ proposed supplement sought an overly-broad, content-based prior restraint of

8081
       As discussed further below, Century filed a Notice of Appeal [D.I. 803] of the Bar Date Order on June 9, 2020. The appeal
       was dismissed on March 29, 2021.


                                                                88
            Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21    Page 96 of 303




speech. After negotiations between the Debtors and the Coalition following a hearing on the
Supplemental Bar Date Motion, on September 16, 2020, the Bankruptcy Court entered an order:
(i) ruling that certain specific statements in plaintiffs’ law firm advertising regarding the
Debtors’ Chapter 11 Cases was false and misleading; (ii) directing that the false and misleading
statements be removed; (iii) directing that certain clarifying information be added to such law
firms’ advertising to prevent confusion and prejudice of sexual abuse survivors; and
(iv) approving procedures for the Debtors to seek expedited relief with respect to additional false
and misleading law firm advertising [D.I. 1331].

       4.      Claims Reconciliation and Objections

       At the time of the Bar Date, approximately 15,000 Claims (other than Direct Abuse
Claims) were timely filed on the general Claims Register.

        The Debtors continue to review and analyze the proofs of Claim filed to date, and
reconcile these Proofs of Claim with the Debtors’ scheduled Claims. On February 3, 2021, the
Debtors filed their First Omnibus (Non-Substantive) Objection to Certain (I) Exact Duplicate
Claims, (II) Amended and Superseded Claims, and (III) Incorrect Debtor Claims (Non-Abuse
Claims) [D.I. 2019], which was sustained on March 5, 2021 [D.I. 2323]; Second Omnibus
(Substantive) Objection to Certain (I) Cross-Debtor Duplicate Claims, (II) Substantive
Duplicate Claims, (III) No Liability Claims, (IV) Misclassified Claims, and (V) Reduce and
Allow Claims (Non-Abuse Claims) [D.I. 2020]; and First Notice of Satisfaction of Claims and/or
Scheduled Amounts (Non-Abuse Claims) [D.I. 2021]. The Debtors will continue to file
objections and may seek stipulations with respect to certain of these Claims.

        On March 5, 2021, the Bankruptcy Court entered the Order Sustaining Debtors’ First
Omnibus (Non-Substantive) Objection to Certain (I) Exact Duplicate Claims and (II) Amended
and Superseded Claims and (III) Incorrect Debtor Claims (Non-Abuse Claims) [D.I. 2323],
disallowing and expunging certain exact duplicate claims, and amended and superseded Proofs
of Claim. This order also reassigned certain Claims incorrectly filed against one Debtor to the
correct Debtor against whom the claims should have been asserted.

       On April 26, 2021, the Bankruptcy Court entered the Order Sustaining the Debtors’
Second Omnibus (Substantive) Objection to Certain (I) No Liability Claims, (II) Misclassified
Claims, and (III) Reduce and Allow Claims (Non-Abuse Claims) [D.I. 2686], disallowing and
expunging certain no liability claims. The order also reclassified certain misclassified claims,
which remain subject to the Debtors’ further objections on any substantive or non-substantive
grounds and further order of the court, and it reduced certain allowed claims.

       5.      Estimation of Claims

        On March 16, 2021, the Future Claimants’ Representative, the Tort Claimants’
Committee, and the Coalition filed a motion requesting binding estimation proceedings [D.I.
2391] (the “Estimation Motion”). These parties requested an estimation of aggregate liability for
Abuse Claims, using a valuation scale for different types of Abuse, on a year-by-year basis, and
identifying applicable Local Councils and Chartered Organizations. These moving parties



                                                89
          Case 20-10343-LSS          Doc 6418-1       Filed 09/29/21     Page 97 of 303




argued that this estimation would resolve the disputes with respect to the amount that should be
contributed to the Settlement Trust in order to fairly compensate Abuse Survivors. Id. at 6.

       On March 17, 2021, the Future Claimants’ Representative, the Tort Claimants’
Committee, and the Coalition filed a motion requesting that the District Court for the District of
Delaware withdraw the reference to the Bankruptcy Court [D.I. 2399] to hear the Estimation
Motion (Civil Action No. 21-cv-00392) (“Withdrawal of Reference Proceedings”), which
motion was subsequently docketed with the District Court.              The Future Claimants’
Representative, Tort Claimants’ Committee, and the Coalition requested that the reference be
withdrawn so that the District Court could conduct estimation proceedings, instead of the
Bankruptcy Court.

       On April 15, 2021, certain parties filed objections to the Estimation Motion, which
include:

               Objection of The Church of Jesus Christ of Latter-Day Saints [D.I. 2610],
                claiming that estimation of non-debtor claims is not permitted under the
                Bankruptcy Code and asserting that estimation would lead to a lengthy and
                unworkable discovery process as it relates to the non-debtors. The United
                Methodist Ad Hoc Committee joined this objection [D.I. 2681].

               Opposition of Certain Insurers [D.I. 2611], arguing that there is no basis under
                the Bankruptcy Code to conduct an estimation proceeding to determine a debtor’s
                aggregate liability for all mass-tort claims; the Estimation Motion was filed with
                the intent to prejudice insurers in state-court coverage litigation; and the proposed
                estimation procedures are improper. The following insurance companies were
                parties to this objection: First State Insurance Company; Hartford Accident and
                Indemnity Company; Twin City Fire Insurance Company; Liberty Mutual
                Insurance Company; Travelers Casualty and Surety Company; St. Paul Surplus
                Lines Insurance Company; Gulf Insurance Company; General Star Indemnity
                Company; American Zurich Insurance Company; American Guarantee and
                Liability Insurance Company; Steadfast Insurance Company; AIG Companies;
                Arrowood Indemnity Company; Allianz Global Risks US Insurance Company;
                National Surety Corporation; Interstate Fire & Casualty Company; Agricultural
                Insurance Company; Agricultural Excess and Surplus Insurance Company; Great
                American E&S Insurance Company; Clarendon America Insurance Company;
                The Continental Insurance Company; and Columbia Casualty Company.

               Debtors’ Objection [D.I. 2612], objecting to the moving parties’ proposed
                procedures. Specifically, the Debtors contend that the procedures provided in the
                Estimation Motion are unduly burdensome and neither necessary nor appropriate.
                The Debtors’ have proposed a non-binding estimation under the Plan, see Plan
                Article V.T, and that certain additional discovery and related procedures be set
                though the Debtors’ Motion For Entry of Order (I) Scheduling Certain Dates
                and Deadlines In Connection With Confirmation of the Debtors’ Plan of
                Reorganization, (II) Establishing Certain Protocols, and (III) Granting Related



                                                 90
               Case 20-10343-LSS               Doc 6418-1          Filed 09/29/21         Page 98 of 303




                     Relief [D.I. 2618].          Such motion was filed the same day as the Debtors’
                     Objection.

                    Old Republic Insurance Company’s Objection [D.I. 2613], joining the legal
                     arguments raised in the Opposition of Certain Insurers [D.I. 2611].

                    Century’s Opposition [D.I. 2614], objecting to the Estimation Motion because
                     estimation of the aggregate liability of the debtor and non-debtors is devoid of
                     any precedent; there is no basis for estimation of the Abuse Claims under the
                     Bankruptcy Code; the Estimation Motion is an improper attempt to prejudice
                     insurers in state-court coverage litigation; and the procedures proposed in the
                     Estimation Motion are improper.

        On April 15, 2021, certain insurers8182 also filed an Opposition to Motion of the
Coalition, TCC and FCR for Withdrawal of the Reference of Proceedings Involving the
Estimation of Personal Injury Claims [Withdrawal of Reference Proceedings, D.I. 14]. The
insurers argue that if estimation were to take place it should remain with the Bankruptcy Court
because it is a core proceeding, the estimation does not involve the trial of any personal injury
claims such that the Bankruptcy Court cannot estimate, and the Bankruptcy Court is the best
forum suited to decide the Estimation Motion. On April 15, 2021, the Debtors also filed an
answering brief in opposition to the motion to withdraw the reference [Withdrawal of Reference
Proceedings, D.I. 15]. The Debtors argued that the estimation contemplated in the Estimation
Motion is a core proceeding that should remain with the Bankruptcy Court. In addition, the
Debtors maintain that the Bankruptcy Court is the proper forum for estimation because it will
promote uniformity, discourage forum shopping, avoid undue delay, conserve the parties’
resources, and expedite the bankruptcy process. The Debtors argued that withdrawal of the
reference is not mandatory and that all of the factors weigh in favor of keeping proceedings
centralized before the Bankruptcy Court.
        On April 16, 2021, Century filed an Opposition to Motion of the Coalition, TCC and
FCR to Withdraw the Reference of Proceedings Involving the Estimation of Personal Injury
Claims [Withdrawal of Reference Proceedings, D.I. 17], arguing that Estimation Motion would
cause undue delay, there is no basis for estimation especially regarding claims against
non-debtors, and the Estimation Motion was not for the liquidation or estimation of particular
injury claims for the purpose of distribution.
       On April 22, 2021, the Future Claimants’ Representative, the Tort Claimants’
Committee, and the Coalition filed a reply brief in support of their motion to withdraw the
reference [Withdrawal of Reference Proceedings, D.I. 29]. The movants maintain that the

8182
       The insurers that filed the opposition are (1) First State Insurance Company, Hartford Accident and Indemnity Company
       and Twin City Fire Insurance Company, (2) Liberty Mutual Insurance Company, (3) Travelers Casualty and Surety
       Company, Inc. (f/k/a Aetna Casualty & Surety Company), St. Paul Surplus Lines Insurance Company and Gulf Insurance
       Company, (4) General Star Indemnity Company, (5) American Zurich Insurance Company, American Guarantee and
       Liability Insurance Company, and Steadfast Insurance Company, (6) AIG Companies, (7) Arrowood Indemnity Company,
       formerly known as Royal Indemnity Company, (8) Allianz Global Risks US Insurance Company, (9) National Surety
       Corporation and Interstate Fire & Casualty Company, (10) Agricultural Insurance Company, Agricultural Excess and
       Surplus Insurance Company, and Great American E&S Insurance Company, (11) Clarendon America Insurance Company,
       and (12) The Continental Insurance Company and Columbia Casualty Company.


                                                              91
               Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21          Page 99 of 303




District Court should conduct proceedings because they are non-core, other relevant factors
weigh in favor of withdrawal, and withdrawal of reference is required by the Bankruptcy Code
under the circumstances.
       On April 27, 2021, the Future Claimants’ Representative, the Tort Claimants’
Committee, and the Coalition filed a Request for Oral Argument [Withdrawal of Reference
Proceedings, D.I. 30]. To date, no District Court hearing has been scheduled.

        On May 14, 2021, the Tort Claimants’ Committee, the Coalition, and the Future
Claimants’ Representative filed an omnibus reply to Estimation Motion objections filed by the
(i) Debtors, (ii) Century Indemnity Company, (iii) certain insurers, (iv) TCJC, joined by (v) the
United Methodist Ad Hoc Committee, and (vi) Old Republic Insurance Company [D.I. 4089].
They argued the Bankruptcy Court should grant the Estimation Motion with leave for the parties
to advise the District Court of the disposition of the Estimation Motion in connection with the
District Court’s determination of the pending motion to withdraw reference. The Estimation
Motion was taken under advisement by the Bankruptcy Court at the May 19, 2021 hearing.

N.         Description of Abuse Claims and the Valuation of Abuse Claims

        During its claim reconciliation process, Bates White established that there are
approximately 82,200 unique, timely Proofs of Claims seeking personal injury damages on
account of Abuse. As described in the Bar Date Order, these Proofs of Claim relate to Abuse
associated with the BSA or Scouting, which is broadly defined to include claims against the
BSA and those against third parties such as Local Councils or organizations that sponsored a
troop or pack. Bates White estimates the value of the Abuse Claims is between $2.4 billion and
$7.1 billion.8283 To establish this value range, Bates White analyzed BSA’s historically resolved
Abuse Claims, with a focus on four factors that have affected the Claims’ settlement value: (i)
the possible monetary damages the Abuse Survivor could obtain in the tort system, (ii) the
connection to Scouting during the alleged acts, (iii) certain legal considerations regarding the
viability of the Claim, and (iv) the credibility of the Claim.

        The matrix values in the Trust Distribution Procedures and the values used to develop
Bates White’s Abuse Claim range of $2.4 billion to $7.1 billion are both based upon BSA’s
historically resolved Abuse Claims, and publicly available information related to potentially
comparable settlements.

        The actual valuation of the Abuse Claims could fall outside the estimated valuation range
of $2.4 to $7.1 billion if the actual facts regarding the Claims materially differ from the
information submitted in connection with the Proofs of Claim or the historical data used to
derive potential values related to Abuse Claims proves unreliable. For example, if more than
half of the Abuse Claims that have been identified as presumptively time-barred are, in fact, not
time barred, or if a significantly greater number of the Survivors asserting Abuse Claims
identifies their abusers as serial abusers within Scouting, the valuation could exceed $7.1

8283
       The number of unique, timely Proofs of Claim that Bates White evaluated is less than the total number of timely Proofs of
       Claim submitted in the Chapter 11 Cases because some Survivors filed multiple Proofs of Claim. The count of unique,
       timely Proofs of Claim has fallen since prior disclosures primarily because some Proofs of Claim have since been
       withdrawn or voided.


                                                               92
              Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21          Page 100 of 303




billion. In contrast, if more than half of the Abuse Claims that currently identify an abuser by
name are deemed insufficient or otherwise subject to disallowance, or if the BSA’s responsibility
for the abuse is found to be less significant than was assumed in the valuation model, the
valuation of Abuse Claims could be less than $2.4 billion.8384 The Coalition, Tort Claimants’
Committee and Future Claimants’ Representative disagree with the methodology employed by
Bates White and its estimated valuation range, and believe that the potential value of the Abuse
Claims is materially higher than $7.1 billion. Century and other Insurance Companies disagree
with the Bates White valuation of the Abuse Claims and believesbelieve the potential value is
materially lower.

       The Debtors’ estimated valuation range of $2.4 billion to $7.1 billion is based upon
current information included in the Proofs of Claim submitted to date, BSA’s historically
resolved Abuse Claims, and publicly available information related to potentially comparable
settlements. The estimated valuation range is broad due to a number of factors.

        To arrive at the valuation range, Bates White considered multiple scenarios arising from
four categories of attributes that would affect the value of the Abuse Claims: (i) those that affect
the amount of damages, (ii) those that affect the degree of accountability of the BSA based on
any alleged connection with Scouting, (iii) those that affect legal considerations regarding the
viability of the claim, and (iv) those that affect the allowance and credibility of the Abuse Claim.
While there is some variation in how Bates White tested various scenarios, all of the scenarios
are based on a frequency and severity valuation model where the number of current Abuse
Claims (frequency) alleging a particular Abuse (severity) is measured against the attributes
described above, which, when combined with historical data regarding resolution of Abuse
Claims, allows Bates White to project the value of the Claims.

        To evaluate the possible value of damages related to an Abuse Claim, Bates White
assigned a score based on the most severe Abuse alleged across all of the relevant submissions
for each Survivor using the categories specified on the Proof of Claim form. For example, in
certain scenarios, Claims were divided pursuant to the following categories, in descending order
of severity: (i) those alleging sex acts involving penetration, oral sex, or masturbation; (ii) those
alleging physical acts of groping and touching with clothing on or off; and (iii) those with
unknown or missing allegations. According to historical settlement amounts and other publicly
available data, tort claimants generally obtain higher damage recoveries based on the severity of
Abuse alleged. Additional damages were considered, and corresponding scores were assigned,
in at least some scenarios based upon a Survivor’s age at the time of the first alleged act of
Abuse and, where applicable, the number of instances of Abuse alleged in the Proof of Claim.

        To evaluate the BSA’s possible degree of liability, Bates White considered the alleged
connection to Scouting, and corresponding scores were assigned based on whether (i) the
Survivor had an affiliation with Scouting; (ii) the Survivor indicated having had another
relationship with the abuser outside of Scouting (e.g., through church or school contact); (iii) the


8384
       The valuation range reported here is based the data available as of the prior July 2, 2021. Since that time, due to
       amendments and other changes, the number of claims that are not presumptively barred and identify, by name an alleged
       abuser has risen from 14,000 to 16,600. The valuation range has not been adjusted because this increase is within the range
       contemplated in Bates White’s evaluation of the earlier data.


                                                                93
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 101 of 303




alleged abuser was an adult or minor; and (iv) the abuser is alleged to have abused others
involved in Scouting.

       To evaluate the degree of legal liability, Bates White focused on whether the claim would
be presumptively time-barred based on applicable law in the jurisdiction or jurisdictions in
which each Survivor alleges abuse.

        To evaluate the level of credible support for the Abuse Claims, Bates White examined
factors such as (i) the amount of information the Survivor provided relating to the nature of the
Abuse, (ii) whether the Survivor indicated that anyone else knew of the Abuse; (iii) whether the
Survivor named at least one abuser; and (iv) whether the Survivor indicated that the Abuse was
reported to Scouting, law enforcement, or any other party. While trying to be as comprehensive
as possible, the foregoing list of attributes is not perfect and certain Survivors may not be able to
identify their abusers. Moreover, a lack of prior reporting does not necessarily correspond to a
lack of Abuse. Accordingly, Bates White also considered simplified scenarios where such
attributes were modeled through a rejection rate (i.e., an assumption that a portion of the Claims
would be disallowed, withdrawn, or found not to meet the criteria set out to receive
compensation under the Trust Distribution Procedures related to the Settlement Trust or in the
tort system).

        All of Bates White’s valuation scenarios are based on the data currently provided in the
Proofs of Claim. To eliminate duplicative or defective Proofs of Claims, Bates White first
considered Abuse Claims that were submitted prior to the Bar Date (or properly amended
thereafter) and claimant personal identification. Specifically, for individuals who made at least
one timely submission, Bates White incorporated information from post-bar date amendments
and supplemental submissions into one Claim. Duplicate submissions from individuals
identified on the basis of certain key personal identifying information on the Proof of Claim,
including name, last four digits of Social Security Number, and birthday, were also consolidated
into one, comprehensive Claim. Withdrawn and voided Proof of Claim submissions were
removed.

        While there are approximately 82,200 unique, timely Abuse Claims, Bates White viewed
the majority of these claims as presumptively barred and many more as failing to provide key
information that Bates White concluded would be necessary to establish payment within the tort
system or potentially under the Trust Distribution Procedures and Settlement Trust Agreement.
Within this set, Bates White focused its valuation on the approximately 16,600 claims that are
not presumptively barred and identify, by name, either in full or in part, an alleged abuser.
These claims are the most similar to those that were resolved by the BSA, often in conjunction
with its Insurance Companies, prior to these Chapter 11 Cases. There are multiple reasons,
however, why the eventual number of compensable Abuse Claims could differ from this current
core Claim count.

        To determine which Claims might be presumptively time barred, Bates White analyzed
the location where the Claimant alleges the Abuse occurred and the relevant law in the
applicable state or territory. Bates White also considered the age of majority for which a Claim
is allowed in each state as compared to the Claimant’s age as of the Bar Date and whether the
last date of Abuse alleged is within the time window in which a Claim is allowed in each state.


                                                 94
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 102 of 303




For purposes of determining the applicable criteria under each state or territory, Bates White
relied upon information provided by Debtors’ defense counsel. For example, under the Bates
White evaluation, a Claim alleging Abuse that took place in New Jersey, which is currently
subject to a reviver statute under which claims are not time barred, would be considered not
presumptively barred. In contrast, a Claim alleging Abuse that took place in Pennsylvania
would not be presumptively barred for a Survivor who is 55 years old or younger, but would be
presumptively barred for a Survivor who is older than 55 years.

        The number of Abuse Claims that might not be considered presumptively barred could
grow for multiple reasons. The recorded abuse location or locations currently available in the
analytical data and used for purposes of the presumptively barred evaluation are not complete
and may be supplemented—which could lead to further Abuse Claims being removed from the
presumptively barred category. In addition, virtually all states recognize that abuse claims can
be filed after the statutory limitations period has run under select circumstances, which vary
from state to state. Over the last several years, multiple states have implemented revival
windows under which previously barred Claims were allowed to be pursued. Bates White’s
prior analysis identified the potential for more states to implement revival windows or otherwise
allow older claims as a risk factor. This risk has manifested during the pendency of these
Chapter 11 Cases in several states—Arizona, Colorado, Kentucky, Louisiana, and
Maine—which have passed legislation that would either eliminate their statute of limitations or
lengthen the window in which a Claim is allowed. Those changes, along with amendments
providing supplemental information filed by individuals who had previously already filed a
timely Proof of Claim in this matter, have resulted in an increase in the number of claims that are
not presumptively barred and identify, by name, either in full or in part, an alleged abuser as
compared to prior disclosures.

        The valuation range could change based on which Abuse Claims are allowed and
compensated in accordance with the trust distribution procedures. Bates White expects that
some portion of submitted Abuse Claims will (i) be disallowed for containing insufficient or
deficient information, (ii) not meet the criteria set out to receive compensation pursuant to the
Trust Distribution Procedures, or (iii) be withdrawn. Further, the BSA’s insurers have
questioned the validity of certain of the Abuse Claims based on the manner in which large
groups of the Abuse Claims were recruited. While Bates White attempted to account for these
issues via the implementation of various assumed claim rejection rates, the actual rejection rate
is not certain.

       The Bates White analysis of the value of the claims asserted against the BSA draws on
the BSA’s historical data related to resolutions of Abuse liability. With the shift in Survivor
behavior in the past two years—for example, the scale of the post-petition claims relative to
those BSA received pre-petition—there is significant uncertainty regarding how historical
settlements align with the currently filed Abuse Claims. In a context such as this, where
Survivor behavior has shifted, the Claims that were historically resolved may not be
representative of the Abuse Claims comprising the current population.

        Across mass torts, there is significant selection bias regarding which cases are filed
relatively early in the lifespan of the tort, when costs to plaintiffs are generally higher, and which
cases are pursued as the tort is more developed, when costs to plaintiffs are lower. The


                                                 95
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21     Page 103 of 303




significant increase in claims filed against the BSA represents a structural break in this process.
Relative to the current pool of Abuse Claims, the BSA’s historical data related to Abuse liability
resolutions was stronger on observable, and likely also unobservable, characteristics. With this
being the case, there is substantial uncertainty regarding how Claim values for the current pool
of Abuse Claims, even those with similar characteristics, such as the particular type of abuse
allegation, may differ from historical data. For example, an ongoing analysis has shown that the
majority of the BSA’s roughly 260 historical sexual abuse case resolutions over the last four
years relate to Claims that named abusers who appear multiple times in that data set. Further,
the data shows—as one would expect given that it relates to the BSA’s potential
accountability—that on average, Claims alleging Abuse against individuals who abused multiple
people in connection with Scouting were paid more than similarly situated claims for which the
alleged abuser is only identified by one individual. Within the Proof of Claim data, however, a
supermajority of the Claims name abusers who appear unique. While we have some ability to
control for this valuation factor, there are other factors that may also impact the value of the
Abuse Claims—particularly with regards to issues of credibility and accountability—which may
differ across the pools.

       The chart below provides a breakdown of the Abuse Claims. Of the approximately
82,200 unique and timely Abuse Claims, approximately 77,400 are not missing key fields. Of
these claims, approximately 27,200 are not presumptively barred by statute of limitations and
approximately 50,200 are presumptively barred by statute of limitations. Of those not
presumptively barred, approximately 16,600 named an abuser, either in full or in part.

                 Abuser Name Category                              Count

         Name Provided                                             10,498

         Partial Name Provided                                        6,107

         Physical Description Only                                    3,741

         Unknown                                                      6,856



        Additionally, attached hereto as Exhibit F are charts listing the Abuse Claims (i) by
allegation type, (ii) counts by Local Council, (iii) counts by Local Council and allegation type,
and (iv) counts by Chartered Organizations. Some parties have asserted that Bates White’s
estimated valuation range should include valuations of Abuse Claims with respect to each
individual Local Council and Chartered Organization. Without significant additional review and
analysis, however, performing such an exercise would not likely establish reliable estimates due
to the data currently available. The aggregate range of $2.4 billion to $7.1 billion is based upon
current information included in the Abuse Claim Proofs of Claim submitted to date, BSA’s
historically resolved Abuse Claims, and publicly available information related to potentially
comparable settlements. Critically, those historical BSA resolutions involved payments for
releases covering all BSA-related parties. So while that data provides an empirical foundation
for an aggregate projection of a value of the current Abuse Claims against all BSA-related


                                                96
              Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21        Page 104 of 303




parties, it does not, on its own, in many instances, provide an empirical basis upon which to
partition that aggregate value among different related parties, such as Local Councils. While it is
possible to separately identify, in many instances, which Local Council(s) and Chartered
Organization(s) may be involved with a given claim, the ability to provide a reasonable
aggregate valuation range for all 82,200 Abuse Claims combined does not necessarily translate
into a reasonable valuation for each distinct claim or with respect to each individual Local
Council or Chartered Organization. Given the number of entities involved, oftentimes with a
combination of Local Councils and Chartered Organizations, many of the potential valuation
groupings involve only a single claim or a handful of claims. Moreover, even in the case of
Local Council and Chartered Organization combinations involving sufficient numbers of claims,
additional information or analysis may be needed to separately identify which portion of the
aggregate estimate should be attributed to the BSA and which to the other related organizations.

        In addition to Direct Abuse Claims, approximately 14,000 contingent and unliquidated
indemnification and contribution Claims have been filed against the Debtors, most of which
would be included in the Class of Indirect Abuse Claims. The majority were filed by Chartered
Organizations.8485 Among others, TCJC has asserted claims for indemnification and contribution
from the BSA relating to the defense and resolution of Abuse Claims that have been and may be
asserted against TCJC in the tort system. Pursuant to the terms of the TCJC Settlement, TCJC
agreed to waive all claims against, among others, the Debtors and Reorganized BSA.

O. Future Claimants’ Representative’s Future Abuse Claims Forecast

         Ankura Consulting Group, LLC, consultant to the Future Claimants’ Representative,
(“Ankura”), currently forecasts that there willthe number of compensable Future Abuse Claims
that may be asserted against the Settlement Trust [TO COME].is approximately 11,300 or
approximately 14% of the total number of Direct Abuse Claims and the amount of the Debtors’
liability for such Future Abuse Claims is approximately $5 billion or approximately 21% of the
total value of Direct Abuse Claims as calculated by Ankura applying the procedures and criteria
set forth in the Trust Distribution Procedures dated July 2, 2021.

        The Debtors dispute the Future Claimants’ Representative’s forecast and believe that the
number and value of Future Abuse Claims and believe that that Future Abuse Claims that will be
asserted against the Settlement Trust will be substantially lower for two key reasons: (1) the
multi-million dollar advertising campaign that occurred prior to the Bar Date was highly
effective in reaching victims who came forward and filed Claims, and (2) the BSA’s
expert-informed youth protection programs, which are among the most stringent of any
youth-serving organization, have been in place during the period correlating to Future Abuse
Claims. The Bates White estimated range of $2.4 billion to $7.1 billion estimates the value of
Abuse Claims, which includes Future Abuse Claims. The Debtors believe that this is a more
accurate rangevaluation of value for all Abuse Claims, including Future Abuse Claims, and is
the better basis on which to formulate projected recoveries on account of Abuse Claims.


8485
       Certain Chartered Organizations have asserted contractual indemnity rights against the BSA for Scouting-related Abuse
       Claims. The Debtors dispute the validity of such purported indemnification Claims. While the Debtors do not believe any
       such valid indemnification Claims exist, any such purported indemnification Claims would be channeled to the Settlement
       Trust on the Effective Date.


                                                               97
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 105 of 303




P.     Assumption and Rejection of Unexpired Leases and Executory Contracts

        Since the commencement of these Chapter 11 Cases, the Debtors have strategically
reviewed their contractual obligations and sought to weed out contractual agreements that do not
provide a significant value to the Debtors’ Estates going forward. Consistent with this goal, on
March 31, 2020, the Debtors filed a motion seeking entry of an order authorizing the Debtors to
reject that certain Personal Services Agreement by and between Pearson Education, Inc.
(“Pearson”) and the BSA whereby Pearson agreed to provide various services to the BSA,
including providing publishing and communications channels, marking communications,
program materials, and saleable literature [D.I. 318]. That same day, the Debtors filed an
omnibus motion seeking authority to reject three additional Executory Contracts, including a
sublease for office space in New York, New York and a letter agreement for hotel
accommodations in connection with a regional conference the BSA had planned but was
ultimately canceled [D.I. 319]. The Bankruptcy Court entered orders approving both motions on
April 15 and 17, 2020, respectively [D.I. 440, 449].

       On June 16, 2020, the Debtors filed a motion seeking an order extending the 120-day
period for the Debtors to assume or reject Unexpired Leases of nonresidential real property by
ninety (90) days, to September 15, 2020 [D.I. 857]. On July 6, 2020, the Bankruptcy Court
entered an order granting the motion [D.I. 954].

       In June of 2020, the Debtors filed motions seeking entry of orders (a) rejecting the lease
of nonresidential real property with Dheera Limited Company, LLC effective as of June 30,
2020 [D.I. 865], and (b) rejecting an Executory Contract with Oracle America, Inc. effective as
of June 30, 2020 [D.I. 906]. The Bankruptcy Court entered orders approving both of these
motions [D.I. 981, 982].

        On August 26, 2020, the Debtors filed their first omnibus motion seeking entry of an
order approving assumption of various Unexpired Leases of nonresidential real property and
fixing the cure amount with respect thereto [D.I. 1168]. Several days later, the Debtors entered
into stipulations with lease counterparties extending the deadline to assume or reject until June
30, 2021 and filed those stipulations with the Bankruptcy Court [D.I. 1298]. On September 11,
2020, the Bankruptcy Court entered two orders approving the Debtors’ omnibus motion to
assume Unexpired Leases and extending the deadline to assume or reject to June 30, 2021 [D.I.
1310, 1311].

       On July 1, 2021, the Bankruptcy Court entered an order approving stipulations the
Debtors entered into with lease counterparties to further extend the deadline to assume or reject
Unexpired Leases to and including the earlier of: (a) the Confirmation Date; and (b) December
31, 2021 [D.I. 5464].

Q.     Stay Relief Matters

       1.      Old Republic

     On May 21, 2020, Old Republic Insurance Company filed Old Republic Insurance
Company’s Motion Pursuant to Sections 105(a) and 363 of the Bankruptcy Code and

                                               98
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 106 of 303




Bankruptcy Rule 4001 for an Order Modifying the Automatic Stay to Permit Payments of Claims
Against Non-Debtor Insureds and Related Defense Costs Under Insurance Policies [D.I. 678]
requesting entry of an order modifying the automatic stay, to the extent it applies, to allow Old
Republic and ESIS to pay losses and expenses which are incurred in conjunction with the
investigation, defense, adjustment or settlement of certain non-stayed Claims or suits on behalf
Non-Debtor Insureds under certain Old Republic Insurance Policies.

        On July 7, 2020, the Bankruptcy Court entered the Order Granting Old Republic
Insurance Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy
Rule 4001 for an Order Modifying the Automatic Stay to Permit Payments of Claims Against
Non-Debtor Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 985],
which modified the automatic stay, to the extent it applies, to allow Old Republic Insurance
Company and its Affiliates (collectively, “Old Republic”) and ESIS, Inc. (“ESIS”) to administer,
handle, provide for the payment of defense costs and to pay any judgments or settlements in
connection with Claims or Causes of Action, not subject to the automatic stay against
non-Debtor Entities that are covered by an Old Republic Primary Policy and by an Old Republic
Excess Policy. With respect to settlements or judgments against non-Debtor Entities covered by
an Old Republic Excess Policy, the automatic stay was modified to allow Old Republic and ESIS
to pay any judgments or settlements on behalf of the insured non-Debtor Entities in connection
with any Claims and Causes of Action against non-Debtor Entities pursuant to a notice protocol
set forth therein.
       2.      Evanston

       On May 22, 2020, Evanston Insurance Company filed the Evanston Insurance
Company’s Motion for Entry of an Order Pursuant to Section 362 of the Bankruptcy Code and
Bankruptcy Rule 4001, Modifying the Automatic Stay to Permit Payments of Claims Against
Non-Debtor Insured Parties and Related Defense Costs Under Insurance Policies [D.I. 686]
requesting entry of an order modifying the automatic stay, to the extent it applies, to allow
Evanston to pay losses and expenses which are incurred in conjunction with the investigation,
defense, adjustment, or settlement of certain non-stayed Claims or suits on behalf Non-Debtor
Insureds under certain Evanston Insurance Policies.

        On July 8, 2020, the Bankruptcy Court entered the Order Granting Evanston Insurance
Company’s Motion Pursuant to Section 362 of the Bankruptcy Code and Bankruptcy Rule 4001
for an Order Modifying the Automatic Stay to Permit Payments of Claims Against Non-Debtor
Insured Parties and Related Defense Costs under Insurance Policies [D.I. 987], which modified
the automatic stay to allow Evanston to pay any judgments or settlements in connection with any
Non-Stayed Claims against Non-Debtor Insureds pursuant to a notice protocol set forth therein.
R.     Other Litigation

       1.      Trademark Action

        On November 6, 2018, Girl Scouts of the United States of America (“GSUSA”) filed a
complaint in the United States District Court for the Southern District of New York, Case No.
18-cv-10287, against the BSA, alleging trademark infringement, dilution and tortious
interference in connection with the BSA welcoming female members in into its youth programs

                                               99
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 107 of 303




(the “Trademark Action”). On February 18, 2020, the Debtors filed these Chapter 11 Cases,
thereby staying the Trademark Action. On March 10, 2020, GSUSA filed a motion for relief
from stay to resume prosecution of the Trademark Action [D.I. 155], and on April 24, 2020, the
Bankruptcy Court entered an order granting limited relief from the stay [D.I. 485]. Pursuant to
the order, the stay relief period ended on July 22, 2020 with respect to the Trademark Action.
The BSA and GSUSA were unable to reach a resolution, and on July 23, 2020, the automatic
stay was lifted to permit the Trademark Action to proceed. On September 18, 2020 the
Bankruptcy Court entered an order authorizing the retention and employment of Quinn Emanuel
Urquhart & Sullivan, LLP as special litigation counsel to the Debtors pursuant to section 327(e)
of the Bankruptcy Code, nunc pro tunc to August 1, 2020, to represent the Debtors in the
Trademark Action [D.I. 1343].

         The Trademark Action remains ongoing, and the Debtors believe that they have
sufficient insurance to cover any and all remaining defense costs and liability that may arise in
connection therewith. Specifically, the Debtors have three policies that remain available: (1) a
primary Directors and Officers Liability insurance policy issued by RSUI; (2) an umbrella
Directors and Officer Liability policy issued by Markel; and (3) a cyber-insurance policy issued
by Beazley. The RSUI policy has aggregate limits of liability of $10 million, of which
approximately $5 million in limits are remaining. The Markel policy has aggregate limits of
liability of $10 million, which is fully available. And the Beazley policy has aggregate limits of
liability of $15 million, of which approximately $10 million in limits are remaining. RSUI and
Beazley are presently providing the BSA coverage for its defense counsel.

       2.      Adversary Proceedings and Appeals

        On May 15, 2020, Hartford Accident and Indemnity Company and First State Insurance
Company (“Hartford and State”) filed an adversary complaint against the Debtors, certain Local
Councils, and other insurers seeking declaratory judgment and contribution relating to Claims
for Insurance Coverage for all underlying Abuse Claims against BSA and certain of its Local
Councils (Adv. Pro. No. 20-50601). On August 14, 2020, the Debtors and the named Local
Councils filed a motion to dismiss Hartford and State’s adversary proceeding [D.I. 22]. The
Debtors subsequently successfully negotiated a stay of the entirety of the Hartford and State
adversary proceeding.

       On June 9, 2020, Century filed an appeal (Civil Action No. 20-cv-00774) (the “Century
Bar Date Appeal”) of the Bar Date Order, alleging that the Proof of Claim form for Abuse
claimants approved in the Bar Date Order was not properly before the Bankruptcy Court and was
not designed to elicit sufficient information to establish the prima facie validity of Claims. On
June 22, 2020, the Debtors filed a motion to dismiss the Century Bar Date Appeal [Century Bar
Date Appeal, D.I. 4], and additionally prepared and filed extensive briefing in support of the
motion to dismiss. On March 29, 2021, the District Court entered an order dismissing Century’s
appeal and closing the case [D.I. 2466]. The District Court concurrently issued a Memorandum
Opinion [D.I. 2466-1], finding that the Bar Date Order is interlocutory and does not otherwise
warrant immediate review under 28 U.S.C. § 1292(b).

      On January 8, 2021, the Tort Claimants’ Committee filed the Restricted Assets
Adversary (the “TCC Case”) (Adv. Pro. No. 21-50032), seeking a determination that


                                               100
                Case 20-10343-LSS             Doc 6418-1           Filed 09/29/21         Page 108 of 303




approximately $667 million of the Debtors’ total approximately $1 billion in assets are not
restricted and, as such, that they should be available to satisfy creditors’ Claims [D.I. 1913].8586
The Tort Claimants’ Committee alleged that the Debtors failed to show that there are any
specific donation-related restrictions or others on the assets that would make the assets
unavailable to satisfy creditor Claims. Further, the Tort Claimants’ Committee asserted that the
Debtors failed to trace the restricted assets that were commingled with unrestricted assets and to
demonstrate that those assets were not used, spent, or transferred.

        On April 14, 2021, the Bankruptcy Court issued an Order Approving Stipulation for
Further Extension of Time [TCC Case, D.I. 13], extending the day in which the Debtors must
answer, or otherwise respond to the complaint.8687 On April 23, 2021, JPM filed a Motion to
Intervene [TCC Case, D.I. 15], arguing that its rights may be affected by the adversary
proceeding because some, if not all, of the disputed property is its prepetition collateral. On
April 26, 2021, the Debtors filed its Answer to the Tort Claimants’ Committee’s Complaint for
Declaratory Judgment [TCC Case, D.I. 16], explaining that the complaint fails to state a cause of
action on which relief can be granted. The answer also explains that the identified property is
not property of the estate, and is not available for distribution to general unsecured creditors. On
April 27, 2021, JPM filed a Corporate Ownership Statement Pursuant to Federal Rule of
Bankruptcy Procedure 7007.1 [TCC Case, D.I. 17]. On May 14, 2021, JPM filed a certification
of counsel regarding the motion to intervene, stating that JPM has prepared a revised proposed
order in response to informal comments received from the Tort Claimants’ Committee; JPM also
requested the Bankruptcy Court enter the revised proposed order granting the motion to
intervene without further notice or hearing [TCC Case, D.I. 22].

        On July 16, 2021, the Bankruptcy Court approved a stipulation with the Tort Claimants’
Committee staying the Restricted Assets Adversary pending the outcome of the confirmation
hearing [TCC Case, D.I. 42]. The stay contemplated by such stipulation is still effect and shall
only terminate (a) by mutual agreement or (b) upon the occurrence of any of the following: (i)
the Bankruptcy Court’s entry of an order denying the approval of the Restructuring Support
Agreement; (ii) the Tort Claimants’ Committee or Debtors’ exercise of its or their respective
rights to terminate the Restructuring Support Agreement based on the “fiduciary out” provision
of section IV.C or section V.C of the Restructuring Support Agreement, as applicable; or (iii);
the Bankruptcy Court’s entry of an order denying confirmation of the Plan.

           3.        Rule 2004 Exam Motions

       On September 29, 2020, the Tort Claimants’ Committee filed the Motion of the Official
Tort Claimants’ Committee Pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1 for an
Order Authorizing the Issuance of Subpoenas for Discovery from Debtors and Certain Local
Councils [D.I. 1379] (the “TCC 2004 Motion”), requesting entry of an order authorizing the Tort
Claimants’ Committee to issue subpoenas to and directing discovery from the Debtors, Ad Hoc
Committee Members, and the Local Council listed on Exhibit B thereto. The Debtors, the Ad
Hoc Committee, and various Local Councils objected to the TCC 2004 Motion, and the Tort
8586
       The Debtors are contributing substantial assets to the BSA Settlement Trust Contribution, above those which were
       previously proposed at the time this action was filed, in order to resolve any and all disputes regarding the Debtors’
       designation of assets as “restricted” or “core,” including the claims asserted in this action.
8687
       The Bankruptcy Court retained jurisdiction over this adversary proceeding (Adv. Pro. No. 21-50032).


                                                             101
              Case 20-10343-LSS                Doc 6418-1            Filed 09/29/21         Page 109 of 303




Claimants’ Committee ultimately withdrew the TCC 2004 Motion on November 25, 2020 [D.I.
1735].

        On January 22, 2021, Hartford Accident and Indemnity Company, First State Insurance
Company and Twin City Fire Insurance Company (collectively, “Hartford et al.”), and Century
filed Hartford and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery
and (II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus
Objections [D.I. 1972] (the “Hartford and Century’s Rule 2004 Motion”), which requested entry
of an order (i) authorizing Hartford et al. and Century to serve subpoenas, written discovery,
including interrogatories and document requests, and deposition notices pursuant to Rule 2004
on a sampling of Persons who have filed Abuse Claims in these Chapter 11 Cases and (ii)
providing relief from the requirements of Local Rule 3007-1(f) to permit (but not require) parties
in interest in these Chapter 11 Cases to file omnibus Claim objections raising common legal
issues to multiple Claims and that may, most efficiently, be subject to resolution if heard
together.

       On January 22, 2021, Hartford et al. and Century also filed Hartford and Century’s
Motion for Entry of an Order Authorizing Filing Under Seal of Certain Documents Relating to
Hartford and Century’s Motion for an Order (I) Authorizing Certain Rule 2004 Discovery and
(II) Granting Leave from Local Rule 3007-1(f) to Permit the Filing of Substantive Omnibus
Objections [D.I. 1973] (“Motion to Seal”), which requested entry of an order (i) authorizing
Hartford et al. and Century to file under seal certain portions of Hartford and Century’s Rule
2004 Motion and certain supporting documents (the “Supporting Documents”); (ii) directing that
information contained in the redacted portions of Hartford and Century’s Rule 2004 Motion and
the Supporting Documents (collectively, the “Confidential Information”) shall remain under seal
and confidential pursuant the Bar Date Order [D.I. 695] (entered by the Bankruptcy Court on
May 26, 2020) and shall not be made available to anyone, except to the Bankruptcy Court, the
Office of the United States Trustee for the District of Delaware, and the Permitted Parties (as
defined in the Bar Date Order); and (iii) granting related relief.

       On January 25, 2021, Agricultural Insurance Company filed a joiner in support of
Hartford and Century’s Rule 2004 Motion [D.I. 1979]. On February 2, 2021, Hartford et al. and
Century filed a revised proposed redacted version of their Rule 2004 Motion, which resolved the
U.S. Trustee’s informal comments to Hartford and Century’s Motion to Seal [D.I. 2007]. On
February 2, 2021, Travelers Casualty and Surety Company, Inc., St. Paul Surplus Lines
Insurance Company, and Gulf Insurance Company filed a joinder in support of Hartford and
Century’s Rule 2004 Motion [D.I. 2008] with several other parties subsequently filing
joinders.8788



8788
       The following parties also filed joinders in support of Hartford and Century’s Rule 2004 Motion: (a) Allianz Global Risks
       U.S. Insurance Company, National Surety Corporation, and Interstate Fire & Casualty Company [D.I. 2026]; (b) Columbia
       Casualty Company, The Continental Insurance Company as successor in interest to certain policies issued by Harbor
       Insurance Company, The Continental Insurance Company successor by merger to Niagara Fire Insurance Company, and
       The Continental Insurance Company [D.I. 2065]; (c) National Union Fire Insurance Company of Pittsburgh, Pa., Lexington
       Insurance Company, Landmark Insurance Company, The Insurance Company of the State of Pennsylvania, and their
       affiliated entities (collectively, “AIG”) [D.I. 2070]; (d) General Star Indemnity Company [D.I. 2136]; and (e) Liberty
       Mutual Insurance Company, together with its affiliates and subsidiaries [D.I. 2168].


                                                               102
               Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 110 of 303




        On February 5, 2021, the Coalition filed an objection to Hartford and Century’s Rule
2004 Motion, asserting: (I) there is no evidence that the law firms violated Rule 9011 or
committed fraud, (II) claim discovery is premature, (III) the insurers lack standing to seek Rule
2004 discovery, (IV) the insurers failed to establish good cause for the proposed discovery, (V)
signing a Proof of Claim does not constitute a privilege waiver or make an attorney a fact
witness, and (VI) the insurers’ request for discovery is designed to prevent a reorganization [D.I.
2043].8889 That same day, Claimant 40573 similarly filed an objection to Hartford and Century’s
Rule 2004 Motion, stating that Claimant 40573 has a legitimate, timely submitted Claim and that
the proposed discovery instruments are redundant of the Claim form [D.I. 2066]. Claimants
known by Claim numbers 18867, 43995, and 50263, also filed an objection to Hartford and
Century’s Rule 2004 Motion stating, among other things, that while Rule 2004 discovery may be
justified in instances where claimants provided inadequate information, these three claimants
already provided, under penalty of perjury, the same information sought in the insurers’
proposed discovery [D.I. 2085].

        On February 5, 2021, claimants 3675, 18787, 28206, 32230, 38281, 48081, 48446,
60443, and 63751, by and through their undersigned counsel (the “PCVA Claimants”), filed an
objection to Hartford and Century’s Rule 2004 Motion on the ground that (1) the insurers failed
to meet and confer before filing their motion, (2) they fail to establish good cause for their
requested Rule 2004 examinations, and (3) during a meet and confer that took place after they
filed their motion, the insurers agreed to narrow the scope of their requested Rule 2004
examinations [D.I. 2088]. Subsequently, claimant 5502 [D.I. 2099] and claimant 54540 [D.I.
2107] filed joinders to the PCVA Claimants’ objection. On February 16, 2021, the PCVA
Claimants withdrew their objection to Hartford and Century’s Rule 2004 Motion after the
movants agreed to withdraw their motion as to the PCVA Claimants [D.I. 2212].

        On February 5, 2021, claimants represented by the law firm of Crew Janci LLP objected
to Hartford and Century’s Rule 2004 Motion on the grounds that (1) the movants failed to meet
and confer before filing the motion; (2) the requested discovery is overly broad by design; (3)
the requested discovery is unduly burdensome and seeks information that is largely duplicative
of that already provided; and (4) the requested discovery is inappropriate because of underlying
pending litigation [D.I. 2092]. On February 16, 2021, the claimants represented by Crew Janci
LLP withdrew their objection [D.I. 2205].

        Also on February 5, 2021, Andrews & Thornton, Attorneys at Law (“A&T”) and ASK
LLP (“ASK”) filed a motion seeking entry of an order (i) authorizing A&T and ASK to file
under seal certain portions of their objection to Hartford and Century’s Rule 2004 Motion; (ii)
directing that information contained in the redacted portions of the objection remain under seal
and confidential pursuant to the terms of the Bar Date Order; and (iii) granting related relief [D.I.
2083].

        On February 11, 2021, Century filed a sealed declaration of Erich J. Speckin, who was
retained by Century to examine the handwriting and signatures on the Proofs of Claim submitted

8889
       On February 5, 2021, there were numerous joinders to the Coalition’s objection filed by various law firms and claimants
       [D.I. 2054, D.I. 2060, D.I. 2062, D.I. 2069, D.I. 2074, D.I. 2077, D.I. 2078, D.I. 2079, D.I. 2080, D.I. 2081, D.I. 2082, D.I.
       2084, D.I. 2087, D.I. 2089, D.I. 2090, D.I. 2091, D.I. 2093, D.I. 2094, D.I. 2098, D.I. 2101, D.I. 2102, D.I. 2108, and D.I.
       2117].


                                                                 103
         Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21   Page 111 of 303




by claimants in these Chapter 11 Cases [D.I. 2175]. Mr. Speckin indicated, among other things,
that for some claimants, the claimant signature in the Proof of Claims does not match the
claimant’s signature found in public records. Id. at 5. On February 11, 2021, Hartford et al. and
Century also filed Insurers’ Reply Brief in Support of Motion for an Order Authorizing Rule
2004 Discovery of Certain Proofs of Claim [D.I. 2180]. Among other things, the reply stated
that insurers have standing to seek discovery under Rule 2004, and discovery is necessary for
Confirmation. That same day, the Coalition filed a supplement to its objection to Hartford and
Century’s Rule 2004 Motion, asserting that the insurers refuse to disclose the Claims
information they already possess and the insurers do not have a statistical model that would
permit them to draw inferences on the entire pool of Abuse Claims [D.I. 2184].

        On February 15, 2021, the Coalition filed a motion to authorize the Coalition to file a Sur
Reply for the limited purpose of addressing the new legal argument and factual representations
and omissions raised in the Insurers’ Reply Brief in Support of Motion for an Order Authorizing
Rule 2004 Discovery of Certain Proofs of Claim [D.I. 2196]. The D. Miller & Associates PLLC
[D.I. 2197], Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C. [D.I. 2201], and Timothy
D. Kosnoff, Esquire [D.I. 2207], filed joinders to the Coalition’s motion to file a Sur Reply to the
insurers’ reply brief.

       On February 16, 2021, Timothy D. Kosnoff, Esquire filed a motion to strike Insurers’
Reply Brief in Support of Motion for an Order Authorizing Rule 2004 Discovery of Certain
Proofs of Claim, stating the reply brief contains arguments and factual material that should have
been included in their original motion [D.I. 2204]. On the same day, Century et al. and Hartford
filed an opposition to Timothy Kosnoff’s (i) motion to strike insurer’s reply brief and (ii)
Sur-Reply in support of objection to insurers’ motion to authorize Rule 2004 discovery of certain
Proofs of Claim [D.I. 2230]. Century et al. and Hartford’s opposition asserts that Mr. Kosnoff’s
brief does not offer facts to challenge Mr. Erich J. Speckin’s conclusions regarding Proofs of
Claim and Mr. Speckin is a competent and skilled forensics practitioner, who is a qualified
witness [D.I. 2230].

        On February 16, 2021, Century et al. filed a declaration of Larry F. Stewart, an expert
retained by Century et al., in support of the motion for discovery under Rule 2004, which stated
that Mr. Stewart has observed numerous irregularities in thousands of Proofs of Claim regarding
their creation and has found thousands of examples of incorrect forms that require additional
scrutiny, before deeming them authentic [D.I. 2232].

        On February 19, 2021, the Bankruptcy Court entered an order authorizing Century et al.
and Hartford’s motion to file under seal certain documents relating to the motion for an order (I)
authorizing certain Rule 2004 discovery and (II) granting leave from local Rule 3007-1(f) to
permit the filing of substantive omnibus objections [D.I. 2247].

        On March 4, 2021, Century et al. and Hartford filed a statement regarding the plan and
pending Rule 2004 motions [D.I. 2316], stating that the discovery the insurers seek will shed
light on the increase in pending Abuse Claims and, by allowing all parties to uncover the facts,
pave the way toward building consensus. On March 8, 2021, Allianz Global Risks U.S.
Insurance Company, National Surety Corporation, and Interstate Fire & Casualty Company filed



                                                104
              Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21         Page 112 of 303




a joinder to Century and Hartford’s Statement Regarding the Recently-Filed Plan of
Reorganization and Pending Rule 2004 Motions [D.I. 2331].

        On March 17, 2021, the Bankruptcy Court took under advisement the insurers’ sealed
motion for an order authorizing Rule 2004 discovery of certain Proofs of Claims [D.I. 1974,
1975], and Century et al. and Hartford’s sealed motion for an order (I) authorizing certain Rule
2004 discovery and (II) granting leave from local Rule 3007-1(f) to permit the filing of
substantive omnibus objections [D.I. 1971, 1972]. See Mar. 17, 2021 Hr’g Tr. 51:9–52:13. On
August 30, 2021, the Bankruptcy Court denied the certain insurers’ motion seeking discovery of
individual claimants. See Aug. 30, 2021 Hr’g Tr. 43:2–46:9. The Bankruptcy Court permitted
depositions of the claims aggregators listed in the later-filed sealed Rule 2004 motion. Id. at
46:10–46:21. On September 9, 2021, the Bankruptcy Court entered an order incorporating the
August 30, 2021 ruling and granting the later-filed discovery motion in part. See Order Granting
In Part Insurers’ Motion for an Order Authorizing Certain Rule 2004 Discovery [D.I. 6184].

           4. Rule 2019 Motions

         On August 24, 2020, the Coalition filed a motion requesting authorization to redact and
file under seal certain information in connection with its Rule 2019 statement (the “2019
Motion”) [D.I. 1144]. Two days later, Century and Hartford filed a joint motion to compel the
Coalition to submit disclosures required by Bankruptcy Rule 2019 (the “Joint Motion to
Compel”) [D.I. 1164].8990 On September 4, 2020, the Coalition filed an omnibus reply to the
various objections in support of its 2019 Motion, arguing that it had disclosed its authorizing
documents as required by Rule 2019(c)(4) and was not required to produce 12,000 engagement
letters in order to comply with Rule 2019(c)(4) [D.I. 1257]. At the September 9, 2020 hearing,
the Bankruptcy Court granted in part and denied in part the Coalition’s 2019 Motion, and
required that all relevant Rule 2019 information in the Coalition’s statement be filed in an
unredacted form, except for the personally identifiable information of the Abuse victims.9091

       On October 7, 2020, the Coalition filed an amended Rule 2019 statement and
supplemental brief in support of its 2019 Motion [D.I. 1429, 1432]. Additionally, on the same
day, the Court entered an Order Granting in Part and Continuing in Part Motion of the
Coalition of Abused Boy Scouts for Justice for (I) an Order Authorizing the Coalition to File
Under Seal Exhibit A to the Amended 2019 Statement and (II) Approving the Sufficiency of the
Amended 2019 Statement [D.I. 1435]. The order authorized the Coalition to file Exhibit A of its
amended 2019 statement with the personally identifiable information filed under seal; however,
the Coalition shall provide copies of the personally identifiable information to certain parties,
such as the U.S. Trustee, Century, Hartford, and others, upon request.

        On October 13, 2020, the Coalition filed a supplement to its amended Rule 2019
statement and, on October 23, 2020, the Court entered an Order Approving the Adequacy and
Sufficiency of the Amended Verified Rule 2019 Statement Filed by the Coalition for Abused

8990
       Numerous parties filed joinders to the Joint Motion to Compel and objections to the Coalition’s 2019 Motion, including
       Allianz, the Tort Claimants’ Committee, and the U.S. Trustee [D.I. 1177, 1218, 1219, 1220, 1223, 1224, 1227, 1228, 1248,
       1261, 1499].
9091
       Transcript of Hearing at 122:12-25, 123:1-22, In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-10343
       (LSS) (Bankr. D. Del. Sept. 9, 2020) [D.I. 1307].


                                                              105
              Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21        Page 113 of 303




Scouts for Justice [D.I. 1510, 1572]. On October 29, 2020, the Coalition filed its Final Redacted
Version of Revised Exhibit A to the Second Amended Rule 2019 Statement [D.I. 1600].
Thereafter, on January 29, 2021, the Coalition filed its Third Amended Verified Statement
pursuant to Rule 2019 [D.I. 1996].

        On February 3, 2021, Century filed a motion to compel both the Coalition and Abused in
Scouting to submit supplemental Rule 2019 disclosures (the “Century Motion”) [D.I. 2030]. On
the same day, Hartford also filed a motion to compel Abused in Scouting to submit the
disclosures required by Rule 2019 (the “Hartford Motion”) [D.I. 2028]. On February 10, 2021,
Abused in Scouting filed an omnibus response to the Century Motion and Hartford Motion,
arguing that Abused in Scouting is a “collaboration of law firms promoting a message” and is
not required to submit disclosure pursuant to Rule 2019 [D.I. 2143]. On May 18, 2021, the
Coalition filed a supplement to its third amended Rule 2019 statement and its Final Redacted
Version of Supplement to Third Amended Verified Statement [D.I. 4657, 4658].

        At the July 29, 2021 hearing, the Court ordered Abused in Scouting to file a Rule 2019
statement to disclose whom they represent, and on August 9, 2021 the Court issued its Order
Granting (I) Hartford Accident and Indemnity Company, First State Insurance Company and
Twin City Fire Insurance Company’s Motion to Compel Abused in Scouting and Kosnoff Law
PLLC to Submit Rule 2019 Disclosures; and (II) Century’s Motion to Compel Abused in
Scouting, Kosnoff Law PLLC and the Coalition to Submit the Disclosures Required by Federal
Rule of Bankruptcy Procedure 2019 [D.I. 5902]. On August 9, 2021, Abused in Scouting filed its
Verified Statement of Abused in Scouting Pursuant to Rule of Bankruptcy Procedure 2019,
explaining that Abused in Scouting is a cooperative effort by three law firms (i.e., Kosnoff Law,
PLLC; AVA Law Group, Inc. and Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C.) to
act as co-counsel for the claimants who have engaged them in the Chapter 11 Cases [D.I. 5917,
5923]. Abused in Scouting’s Rule 2019 verified statement disclosed that the three law firms
represent 15,103 Abuse Survivors, of which 3,054 are also members of the Coalition. That same
day, Kosnoff Law, PLLC (“Kosnoff Law”) filed its Verified Statement of Kosnoff Law, PLLC
Pursuant to Rule of Bankruptcy Procedure 2019 [D.I. 5919, 5924]. In its Rule 2019 verified
statement, Kosnoff Law disclosed that it represents 15,103 Abuse Survivors, of which 3,054 are
also members of the Coalition.

           5. Personal Injury Settlement Motions

        The Debtors filed motions for entry of orders approving various settlements in
connection with personal injury and wrongful death actions (the “Personal Injury
Settlements”)9192 and lifting the automatic stay, to the extent necessary, to permit payments of
the settlement amount by applicable insurance. The Bankruptcy Court entered orders approving
the settlement agreements, and modifying the automatic stay of 11 U.S.C. § 362(a) for the



9192
       These include, but are not limited to, approving Qian Settlement Agreement [D.I. 1123], Wilson Settlement Agreement
       [D.I. 1596], Worley Settlement Agreement [D.I. 1598], Gordon Settlement Agreement [D.I. 1880], Henderson Settlement
       Agreement [D.I. 1881], Neyrey Settlement Agreement [D.I. 1986], Lehr Settlement Agreement [D.I. 6348], Romero
       Settlement Agreement [D.I. 6351], and Knight Settlement Agreement [D.I. 6350], and to lift the automatic stay, to the
       extent necessary, to permit payments of the settlement amount by applicable insurance.


                                                             106
              Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 114 of 303




parties to consummate the settlement agreements [D.I. 1292, 1842, 1843, 1942, 1949, 2309,
6350, 6351].

S.       Material Settlements and Resolutions

       In addition to the agreement by the Debtors to make the BSA Settlement Trust
Contribution to the Settlement Trust and the agreement of the Local Councils to make the Local
Council Settlement Contribution to the Settlement Trust, each as described fully above, the
following settlements are incorporated into the Plan.

         1.      JPM / Creditors’ Committee Settlement

        As of the filing of this Disclosure Statement, the Plan (as further described in Article VI
of this Disclosure Statement and Article V.S of the Plan), effectuates a settlement among (i) the
Debtors, (ii) the Creditors’ Committee, and (iii) JPM (the “JPM / Creditors’ Committee
Settlement”). The JPM / Creditors’ Committee Settlement represents a good-faith agreement
negotiated at arm’s length that provides significant value to the holders of Convenience Claims,
General Unsecured Claims, and Non-Abuse Litigation Claims and provides the Debtors with
more favorable terms under the amended and restated debt facilities provided by JPM on and
after the Effective Date under the Restated Debt and Security Documents.

        Specifically, the JPM / Creditors’ Committee Settlement provides, among other things,
the following terms with respect to general unsecured creditors (other than Abuse Claims):

        General Unsecured Claims (other than Abuse Claims), which are held by creditors who
         are core to the Debtors’ mission or creditors whose Claims, if Allowed, were incurred in
         furtherance of the Debtors’ mission, shall be classified into three Classes: (i) General
         Unsecured Claims; (ii) Convenience Claims; and (iii) Non-Abuse Litigation Claims;
         Cash under the Plan to satisfy Allowed General Unsecured Claims and Convenience
         Claims will be made from Cash relating to the BSA’s core assets.

        Holders of Allowed General Unsecured Claims (including holders of Claims under the
         Restoration Plan, the Deferred Compensation Plan, holders of trade Claims, and holders
         of Rejection Damages Claims) will receive, on account of such Claims, their Pro Rata
         Share of the Core Value Cash Pool, which shall be funded by reorganized BSA in four
         semi-annual installments of $6,250,000, beginning 180 days after the Effective Date and
         concluding two years after the Effective Date. Any Cash remaining in the Core Value
         Cash Pool after all Allowed General Unsecured Claims have been satisfied in full, shall
         be first used to fund any shortfall in payments from the BSA’s available insurance and
         co-liable non-Debtors on account of any Non-Abuse Litigation Claims, and then be
         transferred to and vest in Reorganized BSA.

        Holders of General Unsecured Claims or Non-Abuse Litigation Claims (subject to
         Article IV.B.4 of the Plan, as applicable, including first seeking to recover from
         insurance, and having exhausted all remedies with respect to such applicable insurance
         policy) that have an Allowed Claim of $50,000 or less and shall become Convenience
         Class Claims, which are paid by Reorganized BSA in full, using Cash on hand, on the


                                                107
         Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 115 of 303




       Effective Date of the Plan or, if such Claim becomes allowed after the Effective Date, as
       soon as reasonably practicable after Allowance. Any holder of a General Unsecured
       Claim or Non-Abuse Litigation Claim that is Allowed in an amount greater than $50,000
       may elect to have its claim treated as a Convenience Claim and receive payment of
       $50,000 in Cash in full and final satisfaction of such Claim.

      Holders Non-Abuse Litigation Claims will, upon the liquidation of such Non-Abuse
       Litigation Claim following the Effective Date, be satisfied from the BSA’s available
       insurance and from any non-Debtor party or parties that may be determined to be
       co-liable with the Debtors on account of such Non-Abuse Litigation Claim and as
       provided for in Article IV.D.3 of the Plan, as applicable. No holder of an allowed
       Non-Abuse Litigation Claim shall be entitled to recover from the Core Value Cash Pool
       on account of such Claim, unless and until all allowed General Unsecured Claims have
       been paid in full. Solely, in the event any Non-Abuse Litigation Claim is not covered by
       applicable BSA Insurance Policies or there is a shortfall in BSA’s applicable insurance
       for such Non-Abuse Litigation Claim, following the exhaustion of remedies with respect
       to applicable insurance and any co-liable non-Debtor, in the case of the holder of an
       Allowed Non-Abuse Claim that is a Claim for personal injury or wrongful death, the
       terms and conditions of Article IV.D.3 of the Plan (as applicable), the holder of an
       Allowed Non-Abuse Litigation Claim may elect to have such Claim treated as a
       Convenience Claim and receive Cash in an amount equal to the lesser of (a) the amount
       of its Allowed Non-Abuse Litigation Claim and (b) $50,000.

      A Creditor Representative, to be selected by the Creditors’ Committee with the consent
       of the Debtors shall be appointed to assist with the reconciliation of General Unsecured
       Claims.

      The Pension Plan shall continue to be maintained, sponsored, and assumed.

       The JPM / Creditors’ Committee Settlement also provides, among other things, the
following terms with respect to JPM:

      JPM will enter into amended and Restated Debt and Security Documents on the Effective
       Date in principal amounts equal to the amounts of unpaid principal and accrued interest
       and fees as of the Effective Date and containing substantially the same terms as the
       Prepetition Debt and Security Documents, except that:

          o The maturity date on the principal under the amended and restated 2010 Bond
            Documents and the 2012 Bond Documents was extended to ten (10) years after
            the Effective Date and the Debtors were given a two (2) year payment holiday
            such that monthly principal installments for the first two (2) years are deferred
            until maturity;

          o The maturity date on the principal under the amended and restated 2010 Credit
            Facility Documents and the 2019 RCF Documents (with the revolving credit
            facilities under each being frozen and termed out under the amended and Restated
            Debt and Security Documents) was extended to ten (10) years after the Effective


                                              108
              Case 20-10343-LSS                Doc 6418-1            Filed 09/29/21         Page 116 of 303




                     Date and the Debtors were given a two (2) year payment holiday such that
                     monthly principal installments for the first two (2) years are deferred until
                     maturity;

                o Pursuant to the amended and Restated Debt and Security Documents, the
                  principal amounts payable will be reduced, on a pro rata basis amongst the
                  facilities, by an amount equal to the Unrestricted Cash and Investments, if any,
                  that have been remitted to JPM under the Excess Cash Sweep (as described
                  below); and

                o Beginning on December 31 two (2) years after the Effective Date and continuing
                  each successive calendar year the calendar year that is immediately prior to the
                  calendar year of the Maturity Date, Reorganized BSA shall remit to JPM
                  twenty-five percent (25%) of its Unrestricted Cash and Investments in excess of
                  $75,000,000, if any, as of such date with the payment due within 45 days (the
                  “Excess Cash Sweep”), and JPM shall apply any such amounts on a Pro Rata
                  basis to the unpaid principal balances under the amended and Restated Debt and
                  Security Documents. However, no payments shall be made on account of the
                  Excess Cash Sweep until the last Distribution is made on account of General
                  Unsecured Claims two years after the Effective Date.9293

          JPM was also granted Allowed Claims in the following amounts, plus any accrued but
           unpaid interest and reasonable fees and expenses as of the Effective Date to the extent
           not paid pursuant to the Cash Collateral Order:

                o on account of the 2010 Credit Facility Claims, an aggregate principal amount not
                  less than $80,762,060 (including $44,299,743 of undrawn amounts under letters
                  of credit issued under the 2010 Credit Facility Documents);

                o on account of the 2019 RCF Claims, an aggregate principal amount not less than
                  $61,542,720 (including $41,542,720 of undrawn amounts under letters of credit
                  issued under the 2019 RCF Documents);

                o on account of the 2010 Bond Claims, an aggregate principal amount not less than
                  $40,137,274; and

                o on account of the 2012 Bond Clams, an aggregate principal amount not less than
                  $145,662,101.

       In exchange for the agreements in the JPM / Creditors’ Committee Settlement, the
following term are also provided:

          Certain releases, including with respect to JPM as well as Debtor releases of all
           preference and other avoidance action Claims against holders of General Unsecured
           Claims and Convenience Claims.

9293
       Pursuant to the Debtors’ Financial Projections, no payments are expected through 2025.


                                                               109
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 117 of 303




      The Creditors’ Committee’s agreement to not seek standing, or otherwise pursue any
       prepetition avoidance-related Claim that could be asserted on behalf of the Debtors’
       Estates against JPM or others, or to challenge the allowance of certain of the Claims of
       JPM.

       2.      Restructuring Support Agreement

       The Debtors and RSA Supporting Parties entered into the Restructuring Support
Agreement pursuant to which the parties thereto agreed to take certain actions to support the
prosecution and consummation of the Plan on the material terms and conditions set forth in the
Restructuring Support Agreement. As described above, the Restructuring Support Agreement
expired by its own terms on August 27, 2021. However, the material terms and provisions of the
term sheet attached to the Restructuring Support Agreement have been incorporated into the
Plan.

       In summary, the following are incorporated in the Plan pursuant to the term sheet
attached to the now expired Restructuring Support Agreement:

       (a)     the BSA agreed to contribute all Unrestricted Cash and Investments, which are
               forecast to total approximately $60 million subject to variance based on the
               Effective Date and the BSA’s cash flow performance up to and including the
               Effective Date, to the Settlement Trust;
       (b)     the BSA agreed to contribute the BSA Settlement Trust Note to the Settlement
               Trust, which will provide a second-lien security interest in the principal amount
               of $80 million;
       (c)     the BSA agreed to contribute the Artwork, with a mutually agreed value of $59
               million, to the Settlement Trust;
       (d)     the BSA agreed to contribute an estimated $11.6 million from sale-leaseback of
               the Warehouse and Distribution Center to the Settlement Trust;
       (e)     the BSA agreed to contribute the Oil and Gas Interests, at a mutually agreed value
               of $7.6 million, to the Settlement Trust;
       (f)     the BSA agreed to contribute the $1.902 million of net proceeds from the sale of
               Scouting University to the Settlement Trust;
       (g)     the Local Councils agreed to contribute at least $600 million to the Settlement
               Trust, comprised of $300 million of cash, $200 million of property, and a $100
               million interest-bearing variable-payment obligation note formed through a
               special purpose vehicle; and
       (h)     the BSA agreed to make certain other non-monetary commitments related to its
               Youth Protection programs and discovery support.
        The Property Contribution shall be structured as follows. The relevant Local Councils
shall agree to (a) retain title to the property (and pay insurance, property taxes, other associated
ownership costs and any yet unremoved debt), subject to, at the election, cost, and expense of the

                                                110
              Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 118 of 303




Settlement Trust, a mortgage in favor of the Settlement Trust, (b) post the property for sale
within thirty days following the Effective Date, (c) present any written sale offer to the
Settlement Trust for approval, (d) present to the Settlement Trust for its review and approval all
final proposed terms of any sale and purchase offers (including price, timing and other terms)
(“Proposed Final Terms”); provided that if any Proposed Final Terms would impose additional
costs on the Local Council and the Settlement Trust accepts such Proposed Final Terms, at the
Local Council’s option any such additional costs shall be deducted from the proceeds or paid by
the Settlement Trust, and not by the Local Council,9394 (e) remit the proceeds of the sale to the
Settlement Trust at closing net of posting/listing/marketing fees, escrow fees, sales commissions,
and other typical costs of sale.9495

         The Settlement Trust may review the marketing and sales efforts undertaken by the Local
Council and request that the Local Council make changes to such marketing and sales efforts as
are appropriate and lawful; provided that any costs associated with such changes will be paid, at
the option of the Local Council, by the Settlement Trust or out of the proceeds of any sale. If the
Settlement Trust is unsatisfied with the sales and marketing effort, the Settlement Trust shall
have the right to require the Local Council to promptly transfer the property to the Settlement
Trust by quitclaim deed. If there is a shortfall or surplus of net proceeds as compared to
Appraised Value, the Settlement Trust shall bear the risk of the shortfall and keep the surplus. If
the property is not sold on or before the third anniversary of the Effective Date, the Local
Council and the Settlement Trust each shall have the right to require the prompt transfer of the
property to the Settlement Trust by quitclaim deed. If the Local Council receives a cash offer for
the property the value of which is at least equal to its Appraised Value, the Settlement Trust shall
accept the offer if no superior offer is made within thirty days (or, if a lesser time is specified in
an offer received, then such lesser time) or accept a quitclaim deed for the property. The
Debtors have also included appropriate provisions in the Plan to eliminate any transfer tax
liabilities of the Settlement Trust per section 1146(a) of the Bankruptcy Code.

        On the Effective Date, at the request of the Ad Hoc Committee, solely to facilitate
payments from the LC Reserve Account, the DST shall be established as of the Effective Date
pursuant to the terms of the Plan, and the DST shall issue the DST Note in favor of the
Settlement Trust in the principal amount of $100 million. Local Councils shall make monthly
contributions into an account (and any replacement thereof) owned by the DST (the “LC
Reserve Account”) in an amount equal to the Required Percentage of the Local Councils’
respective payrolls. Until the DST Note is extinguished, the LC Reserve Account shall be used
only to fund contributions to the Pension Plan in accordance with the next sentence and, to the
extent of any excess, to pay any Payment Amounts due under the DST Note. If at any time
(including the end of any Plan Year) (a) the present value of the accumulated benefits for the
Pension Plan, as determined in accordance with the requirements set forth in the definition of
“Excess Balance” below for the most recently ended Plan Year, exceeds (b) the market value of
the assets of the Pension Plan (clause (a) minus clause (b) being the “Shortfall Amount”), funds

9394
       By way of non-exclusive example, if the Proposed Final Terms requires the Local Council to retrofit a water system and the
       Settlement Trust accepts the Proposed Final Terms, the costs of the retrofit will, at the Local Council’s option be paid (or
       reimbursed) out of the sale proceeds or paid by the Settlement Trust.
9495
       For the avoidance of doubt, the proceeds of the sale shall be first applied to any debt or liens remaining on the property,
       which debt shall have already been reflected in the Appraised Value of the property as described below.



                                                                111
                 Case 20-10343-LSS               Doc 6418-1            Filed 09/29/21          Page 119 of 303




in the LC Reserve Account will be deposited into the Pension Plan up to the lesser of the Local
Councils’ collective pro rata share of the Shortfall Amount or the balance in the LC Reserve
Account.

        The DST Note shall be: (i) interest bearing at a rate of 1.5% per annum from the
Effective Date and without recourse except as to the LC Reserve Account; (ii) secured by a lien
on the LC Reserve Account; (iii) payable on each Payment Date in an amount equal to the
applicable Payment Amount; and (iv) prepayable in whole or in part at any time without
premium or penalty. The unpaid balance of the DST Note (if any) remaining on the Payment
Date that is the fifteenth anniversary of the First Payment Date (the “DST Note Maturity Date”)
shall be automatically extinguished and shall be considered forgiven and satisfied after giving
effect to any required payment on such date. Other than the lien on the LC Reserve Account, the
Settlement Trust shall have no other recourse for payment under the DST Note.

            3.        Hartford Insurance Settlement Agreement

       On September 14, 2021, the Debtors, Hartford, the Ad Hoc Committee, the Future
Claimants’ Representative, and Coalition, with the support of certain State Court Counsel,
agreed in principle on settlement terms as memorialized in the Hartford Insurance Settlement
Agreement,9596 the approval of which is incorporated into the Plan. Subject to approval of the
Hartford Insurance Settlement Agreement and to its terms and conditions, the Hartford
Insurance Settlement Agreement will supersede the Initial Hartford Settlement Agreement.

        On April 15, 2021, the Debtors entered into the Initial Hartford Settlement Agreement,
which was opposed by the Coalition, Tort Claimants’ Committee, Future Claimants’
Representative, and certain holders of Direct Abuse Claims and their respective representatives.
Among other things, the Initial Hartford Settlement Agreement provided that Hartford would
make a contribution of up to $650 million to the Settlement Trust for the payment of Abuse
Claims. In return, the Initial Hartford Settlement Agreement provided, in pertinent part, for (i)
the Debtors’ sale of the Hartford Policies to Hartford free and clear of the interests of all third
parties, including any additional or other named insureds under the Hartford Policies, with such
interests to be channeled to the Settlement Trust; (ii) the release of claims against Hartford by
the Debtors and Local Councils; and (iii) the channeling of all present and future claims against
Hartford relating to its provision of insurance coverage for Abuse Claims to the Settlement
Trust.

       The Debtors believed that the Initial Hartford Settlement Agreement was fair and
reasonable and was in the best interests of their estates at the time they entered into the
agreement. After the announcement of the Initial Hartford Settlement Agreement on April 16,
2021, the Tort Claimants’ Committee, Coalition, and Future Claimants’ Representative
expressed vehement opposition to the settlement in numerous filings, statements and
appearances before the Bankruptcy Court. Although the Debtors were hopeful that continued
mediation sessions would result in a resolution of the issues between Hartford, on the one hand,

9596
       The “Hartford Insurance Settlement Agreement” means such settlement terms as memorialized in the term sheet appended
       to the Sixth Mediators’ Report [D.I. 6210] filed on September 14, 2021, as such terms may be subsequently set forth in
       greater detail in a definitive written settlement agreement that is consistent with such term sheet and executed by all of the
       parties thereto and any additional joining parties and that will be included in the Plan Supplement.


                                                                 112
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 120 of 303




and the Tort Claimants’ Committee, Coalition, and Future Claimants’ Representative, on the
other, after six weeks of additional mediation, the parties had not wavered in their opposition to
the Initial Hartford Settlement Agreement. On June 9, 2021, the Debtors and Ad Hoc
Committee received a letter from the Coalition, Tort Claimants’ Representative, and Future
Claimants’ Representative informing the Debtors that the holders of Abuse Claims whom they
represent would not support—and would affirmatively vote to reject—any plan of reorganization
that includes the terms of the Initial Hartford Settlement Agreement, under any circumstances.

        In light of the opposition to the Initial Hartford Settlement Agreement, it appeared to the
Debtors that a plan of reorganization would not be confirmed to the extent it included the Initial
Hartford Settlement Agreement unless modifications were made to the Initial Hartford
Settlement Agreement that were agreeable to the representatives of the majority of holders of
Direct Abuse Claims. Accordingly, the Debtors filed the RSA Motion seeking entry of an order
authorizing entry into the Restructuring Support Agreement, and also determining that the
Debtors had no obligation to seek approval of, and had no obligations under, the Initial Hartford
Settlement Agreement. As discussed above, while granting the RSA Motion in part, the
Bankruptcy Court declined to make the Debtors’ requested determination with respect to the
Initial Hartford Settlement Agreement.

       Without a clear path for removing the Initial Hartford Settlement Agreement from the
Plan, the Debtors, the Ad Hoc Committee, Hartford, the Coalition, the Future Claimants’
Representative and the Tort Claimants’ Committee continued to engage in mediated negotiations
regarding the terms of a settlement with Hartford that would be acceptable to the parties. On
August 27, 2021, during those negotiations, the Restructuring Support Agreement expired in
accordance with its terms.

        These further mediation sessions produced an agreement in principle on new settlement
terms (the Hartford Insurance Settlement Agreement) with Hartford that is supported by the
Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative, and State
Court Counsel. Those terms and conditions are set forth in the Hartford Insurance Settlement
Agreement, which is incorporated into the Plan. The terms of the Hartford Insurance Settlement
Agreement are summarized below and in the term sheet appended to the Sixth Mediators’ Report
[D.I. 6210] filed on September 14, 2021, which remains subject to definitive documentation in a
definitive written settlement agreement that is consistent with such term sheet and executed by
all of the parties thereto and any additional joining parties (and which will be attached to the
Plan as Exhibit I-1 following such execution and will also be included in the Plan Supplement).
In the event of any inconsistency, the terms set forth in the Hartford Insurance Settlement
Agreement (including as set forth in any such definitive written settlement agreement) shall
control over the summary of those terms set forth herein.

                       a.     BSA/Hartford Background

         Hartford issued primary and certain umbrella policies to the BSA for the period from
September 21, 1971 to January 1, 1978. Prior to the Petition Date, the BSA and Hartford were
engaged in litigation over the scope of coverage provided under the Hartford Policies. In that
litigation, Hartford raised a number of defenses that, if successful, would substantially reduce or
even eliminate coverage for the Abuse Claims, including that the BSA has breached conditions


                                                113
              Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21         Page 121 of 303




to coverage; that the Abuse Claims arise out of a single occurrence under applicable law, which
Hartford believes is New Jersey law under its primary policies; and that the BSA and the Local
Councils expected or intended the injuries for which they seek coverage.

        Hartford has also contended, outside of litigation, that the BSA’s access to certain of its
policies is significantly limited, including that the BSA released and extinguished its primary
policies for January 1, 1976 to January 1, 1978 through a prepetition settlement; that it has no
coverage obligations for Abuse Claims that are barred by the applicable statute of limitations;
and that at least one of the Hartford primary policies has an applicable aggregate limit for Abuse
Claims.

       While the Debtors dispute many, if not all, of those contentions, continuing to litigate
against Hartford would not only drain the Debtors’ limited resources but could also create a
substantial risk that Hartford would ultimately pay significantly less toward Abuse Claims than
it would under the Hartford Insurance Settlement Agreement—and some risk that Hartford
would pay nothing.

       The resolution of the coverage dispute reflected in the Hartford Insurance Settlement
Agreement was the product of extensive, arm’s-length negotiations between the Debtors, the Ad
Hoc Committee, the Coalition, the Future Claimants’ Representative, State Court Counsel, and
Hartford, with the active assistance of the Mediators. It represents a good-faith settlement and
compromise of complex disputes and will avoid the costs, risks, uncertainty, and delay
associated with protracted litigation, while providing payment on account of Abuse Claims.

      A summary of the key terms and conditions of the Hartford Insurance Settlement
Agreement, which has been incorporated into the Plan, is set forth below:

                               b.       The Hartford Settlement Contribution and Release Date9697

        The Hartford Insurance Settlement Agreement provides for a total contribution of $787
million to the Settlement Trust (the “Hartford Settlement Contribution”) in exchange for
treatment as a Settling Insurance Company under the Plan, including all benefits afforded
Protected Parties with respect to the Channeling Injunction. On (or as soon as reasonably
practicable after) the Effective Date of the Plan, Hartford shall make the Hartford Settlement
Contribution in the following manner: (i) pay $137 million to the Settlement Trust (the “Initial
Payment”) and (ii) transfer $650 million into an interest-bearing escrow account (the “Additional
Payment”), which shall be released to the Settlement Trust on the Release Date (defined below).

        Hartford shall pay the Initial Payment to the Settlement Trust on, or as soon as
reasonably practicable after, the date all conditions to the effectiveness of the Plan have been
satisfied (including the entry of the Confirmation Order and Affirmation Order, which
Confirmation Order shall not be subject to any stay and shall be in full force and effect) and the
Effective Date of the Plan has occurred.


9697
       In the event of a conflict between the summary herein, on the one hand, and the terms and conditions of the Hartford
       Insurance Settlement Agreement Term Sheet or the Plan, on the other hand, the terms of the Hartford Insurance Settlement
       Agreement Term Sheet or the Plan shall control.


                                                              114
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 122 of 303




         Additionally, on (or as soon as reasonably practicable after) the Effective Date, Hartford
shall also pay the Additional Payment into an escrow account (the “Escrow Account”), to be
administered by an independent escrow agent. The Additional Payment (and all income earned
thereon minus (a) the fees of the escrow agent, and (b) any taxes that are payable and other costs
of the Escrow Account, which amounts in (a) and (b) shall be paid from the corpus of the
Escrow Account (such income (or loss) minus such amounts, the “Net Income”)) shall remain in
the Escrow Account until the Confirmation Order shall become final and no longer subject to
any further appeal or petition for rehearing or certiorari (“Final and Non-Appealable”), on which
date the Additional Payment, plus any Net Income, shall be released from the Escrow Account to
the Trust (the “Release Date”); provided, however, that, at its election, Hartford may authorize
the payment of the Additional Payment directly to the Settlement Trust on the Effective Date or
may authorize the release of the Additional Payment (and any Net Income) from the Escrow
Account to the Trust at any time thereafter before the Confirmation Order becomes Final and
Non-Appealable, in which event the date on which Hartford authorizes the payment or release of
the Additional Payment to the Settlement Trust shall be the Release Date. The Settlement Trust
will have investment discretion with respect to the Additional Payment while it is in the Escrow
Account, subject to Hartford’s reasonable approval of the investment protocol under which the
Additional Payment may be invested by the Settlement Trust; provided, however, that the
Settlement Trust will bear all risks associated with any such investment of the Additional
Payment and that no loss or failure to achieve desired investment returns on the Additional
Payment while it is in the Escrow Account shall require Hartford to increase the Settlement
Amount it is paying (or increase the amount of BSA’s contribution to the Settlement Trust);
provided further, however, that the Debtors, Reorganized BSA, the Local Councils and
Chartered Organizations shall have no liability or obligations to Hartford or the Settlement Trust,
the Settlement Trust shall have no liability or obligations to Hartford, and Hartford shall have no
liability or obligations to the Settlement Trust (or any other party to the Hartford Insurance
Settlement Agreement), whatsoever for any loss or failure to achieve desired investment returns
on the Additional Payment while it is in the Escrow Account.

         Certain parties may contend that the Hartford Insurance Settlement Agreement impairs
other of the BSA’s Insurance Companies’ contribution rights; the BSA disagrees. Most of the
Abuse Claims that involve alleged Abuse during the years Hartford provided insurance coverage
to the BSA do not involve alleged Abuse during the years other insurers provided insurance
coverage to the BSA. Some of the other insurers assert that only policies in effect at the time of
the first instance of Abuse are implicated by the Abuse Claims. And, for the vast majority of the
years Hartford provided the BSA Insurance Coverage, the Insurance Companies will not have
contribution claims against Hartford as Hartford provided both the primary and excess Insurance
Policies that would be implicated by the Abuse Claims.

                      c.      Hartford Administrative Expense Claim

        The Hartford Insurance Settlement Agreement provides that, in accordance with the Plan,
and in compromise of its claims and in consideration of the releases and other consideration it is
providing, Hartford shall be granted an allowed administrative expense claim in the amount of
$2 million (the “Hartford Administrative Expense Claim”) on account of Hartford’s alleged
damages under or relating to the Initial Hartford Settlement Agreement. The Debtors shall pay
the Hartford Expense Administrative Claim in full in cash to Hartford on, or as soon as


                                               115
              Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21        Page 123 of 303




reasonably practicable after, the Effective Date. Fifty percent ($1 million) of the Hartford
Administrative Expense Claim shall be treated as an administrative expense claim in the
calculation of the Net Unrestricted Cash and Investments under the Plan; the other fifty percent
shall reduce the Unrestricted Cash and Investments otherwise reserved for Reorganized BSA
upon emergence from bankruptcy on the Effective Date.

        In addition, if the Debtors (1) exercise a Fiduciary Out (as defined below), (2) do not
seek confirmation of the Plan or to have the Plan become effective, or (3) do not take all
reasonable actions to defend Confirmation of the Plan against any appeals or other challenges
(whether the Debtors take any such action before or after the Effective Date) (each of the actions
or inactions referenced in clauses (1)–(3), a “Specified Action”), Hartford may assert, and other
parties to the Hartford Insurance Settlement Agreement and State Court Counsel agree not to
object to the assertion by Hartford of, an administrative expense claim, which shall be reserved
for prior distributions to unsecured creditors, in addition to the Hartford Administrative Expense
Claim, of $23.61 million (the “Agreed Amount” with such claim being the “Hartford Additional
Administrative Expense Claim”);9798 provided, however, that if the occurrence of a Specified
Action is due to the enactment of congressional legislation prohibiting non-debtor releases, the
parties to the Hartford Insurance Settlement Agreement and State Court Counsel agree that
Hartford may not assert the Additional Hartford Administrative Claim. If BSA takes a Specified
Action, Hartford shall not seek any claim other than the Hartford Administrative Expense Claim
(and the Hartford Administrative Claim), and shall not seek the Hartford Additional
Administrative Expense Claim in an amount greater than the Agreed Amount, and other parties
to the Hartford Insurance Settlement Agreement and State Court Counsel shall not object to the
Hartford Additional Administrative Expense Claim or argue that it should be allowed in an
amount less than the Agreed Amount unless they reasonably contend that no Specified Action
has occurred. Upon the Effective Date, Hartford shall release the Debtors from any
administrative expense claim arising out of the Debtors’ failure to seek approval of the Initial
Hartford Settlement Agreement other than (1) the Hartford Administrative Claim and (2) in the
event that BSA exercises a Fiduciary Out or takes another Specified Action, the Hartford
Additional Administrative Expense Claim. Said release shall survive any Reversal (as defined
below) and any termination of the Hartford Insurance Settlement Agreement. BSA shall, prior to
exercising a Fiduciary Out, timely consult with the Coalition and Future Claimants’
Representative.

                              d.        Termination of Initial Hartford Settlement Agreement

       Upon the Effective Date, and upon payment by the Debtors of the Hartford
Administrative Expense Claim, the Initial Hartford Settlement Agreement shall be deemed
terminated, null, void and of no further force and effect; provided, however, that in the event that
BSA exercises its Fiduciary Out (defined below) or takes another Specified Action (as defined
below), the Initial Hartford Settlement Agreement shall remain in effect solely to the extent
necessary to permit Hartford to assert its Additional Administrative Claim, as further described
below.

9798
       The Hartford Additional Administrative Expense Claim of $23.61 million which specifically relates to Hartford’s alleged
       damages under or relating to the Initial Hartford Settlement Agreement, represents 3% of the $787 million Hartford
       Settlement Contribution.


                                                              116
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 124 of 303




                      e.      Sale of Hartford Policies

        On the Release Date, in exchange for and upon receipt of the Additional Payment by the
Settlement Trust, the Hartford Policies shall be sold by the Debtors and their Estates to Hartford,
free and clear of all interests of the Estates and any person or entity other than the Estates,
pursuant to sections 363, 1123 and/or 1141 of the Bankruptcy Code, under the Plan, provided
that the rights, if any, of Chartered Organizations under the Hartford Policies shall be treated
under the Plan in accordance with sections 363 and 1141 of the Bankruptcy Code and other
applicable law. Without limiting the foregoing, although the parties to the Hartford Insurance
Settlement Agreement do not believe that such sale would constitute a violation of the automatic
stay of any Chartered Organization that is a debtor in bankruptcy and that asserts an interest in
one or more Hartford Policies, to the extent the Bankruptcy Court (or other court with
jurisdiction) determines that the sale would constitute such a violation, then the parties to the
Hartford Insurance Settlement Agreement shall seek a determination from the Bankruptcy Court
that they may proceed with the sale or relief from such stay to effectuate the sale of the Hartford
Policies.

                      f.      Release by Hartford

        Upon the Release Date, and following its receipt of payment in full of the Hartford
Administrative Expense Claim, Hartford shall release the Debtors, Reorganized BSA, Related
Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the Future Claimants’ Representative, the Coalition and the Settlement
Trust from all Causes of Action and Claims relating to (1) Abuse Insurance Policies, (2) the
Debtors’ bankruptcy proceedings, (3) the Plan, (4) the Initial Hartford Settlement Agreement, (5)
the 2010 BSA-Hartford settlement agreement, (6) the 2011 BSA-Hartford settlement agreement,
(7) (a) Abuse Claims against the Protected Parties and (b) Post-1975 Chartered Organization
Abuse Claims against the Limited Protected Parties, and/or (8) any Claims asserted by Hartford
against the Debtors or any of the Releasing Parties (as defined below), or by the Debtors or any
of the Releasing Parties against Hartford, in the Debtors’ Chapter 11 Cases; provided, however,
that the foregoing release by Hartford of the Limited Protected Parties in clause (1) of the
foregoing shall apply only with respect to Abuse Insurance Policies that are the subject of the
Participating Chartered Organization Insurance Assignment. Nothing with respect to the
foregoing releases precludes Hartford from enforcing the terms of the Hartford Insurance
Settlement Agreement and the Plan.

                      g.      Release of Hartford

        Upon the Release Date, the Debtors, Reorganized BSA, Related Non-Debtor Entities,
Local Councils, other Protected Parties, Limited Protected Parties, Settling Insurance
Companies, the Future Claimants’ Representative, the Coalition and the Settlement Trust (the
“Releasing Parties”) shall release Hartford from all Causes of Action and Claims relating to (1)
Abuse Insurance Policies, (2) the Debtors’ bankruptcy proceeding, (3) the Debtors’ Plan, (4) the
Initial Hartford Settlement Agreement, (5) the 2010 BSA-Hartford settlement agreement, (6) the
2011 BSA-Hartford settlement agreement, (7) (a) Abuse Claims against the Protected Parties and
(b) Post-1975 Chartered Organization Abuse Claims against the Limited Protected Parties,
and/or (8) any Claims asserted by Hartford against the Debtors or any of the Releasing Parties,


                                                117
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 125 of 303




or by the Debtors or any of the Releasing Parties against Hartford, in the Debtors’ Chapter 11
Cases; provided, however, that the foregoing release by the Limited Protected Parties of Hartford
in clause (1) of the foregoing shall apply only with respect to Abuse Insurance Policies that are
the subject of the Participating Chartered Organization Insurance Assignment. In addition, the
Trust Distribution Procedures will require, as a condition to receive payment from the Settlement
Trust, that the Abuse Claim holder be deemed to have given a release in favor of Hartford. If
another Settling Insurance Company receives broader releases of Causes of Action and Claims
under its Abuse Insurance Policies than those provided to Hartford in the Hartford Insurance
Settlement Agreement or Plan, then Hartford shall receive the benefit of those broader releases
with respect to Causes of Action and Claims under Abuse Insurance Policies issued by Hartford.

                       h.     Chartered Organizations

         Under the Plan, the Debtors, the Coalition, the Future Claimants’ Representative and the
Settlement Trust shall secure an assignment to the Settlement Trust of, or otherwise resolve to
the satisfaction of the parties to the Hartford Insurance Settlement Agreement, Chartered
Organizations’ rights or claims to coverage under Abuse Insurance Policies issued by Hartford.
The Debtors, the Coalition and the Future Claimants’ Representative shall use their best efforts
to settle with the Chartered Organizations.

                       i.     Judgment Reduction

        In the event that any other insurer obtains a judicial determination or binding arbitration
award that it is entitled to obtain a sum certain from Hartford as a result of a Cause of Action for
contribution, subrogation, indemnification or other similar Cause of Action against Hartford for
Hartford’s alleged share or equitable share, or to enforce subrogation rights, if any, of the
defense and/or indemnity obligation for any Abuse Claim or for any Cause of Action released in
the Hartford Insurance Settlement Agreement, the Settlement Trust shall voluntarily reduce its
judgment or Cause of Action against, or settlement with, such other insurer(s) to the extent
necessary to eliminate such contribution, subrogation, indemnification or other similar Cause of
Action against Hartford. To ensure that such a reduction is accomplished, Hartford shall be
entitled to assert such paragraph in the Hartford Insurance Settlement Agreement as a defense to
any action against it for any such portion of the judgment or Cause of Action and shall be
entitled to have the court or appropriate tribunal issue such orders as are necessary to effectuate
the reduction to protect Hartford from any liability for the judgment or Cause of Action.

                       j.     Fiduciary Obligations of the Debtors and the Future
                              Claimants’ Representative

        Notwithstanding anything in the Hartford Insurance Settlement Agreement to the
contrary, no term or condition of the Hartford Insurance Settlement Agreement shall require the
Debtors or the Future Claimants’ Representative to take or refrain from taking any action that it
determines in good faith would be inconsistent with its fiduciary duties under applicable law (the
right to take or refrain from taking such any action, a “Fiduciary Out”); provided, however, that
the Debtors and the Future Claimants’ Representative each understands that the Tort Claimants’
Committee is not a party to the Hartford Insurance Settlement Agreement and that the Tort
Claimants’ Committee may object to the Hartford Insurance Settlement Agreement and to the


                                                118
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 126 of 303




Plan and that the Debtors and the Future Claimants’ Representative nevertheless believe that
entering into the Hartford Insurance Settlement Agreement is an appropriate exercise of their
respective fiduciary duty.

                      k.      Effect of Reversal of Confirmation Order Following the
                              Effective Date

        In the event that the Confirmation Order is reversed or vacated on appeal following the
Effective Date, such that the Release Date does not occur (a “Reversal”), the parties to the
Hartford Insurance Settlement Agreement and State Court Counsel agree that Hartford shall (a)
nevertheless be entitled to retain the $2 million to be paid to it in respect of the Hartford
Administrative Expense Claim and (b) be entitled to a credit against any liability Hartford may
have under any Abuse Insurance Policies issued to the Debtors or any Local Council, which
credit shall be equal to the amount of the Initial Payment plus, if Hartford has authorized the
payment or release of the Additional Payment to the Settlement Trust, the amount of the
Additional Payment (the “Credit”); provided, however, that if Hartford has not authorized the
payment or release of the Additional Payment, then the Additional Payment and all Net Income
accrued thereon in the Escrow Account (or, if there is a loss as a result of investment of the
Additional Payment, then the funds remaining in the Escrow Account) shall be released from the
Escrow Account to Hartford promptly following the Reversal (or any exercise of a Fiduciary Out
by the Debtors or the occurrence of a Specified Action). The parties to the Hartford Insurance
Settlement Agreement and State Court Counsel have agreed to cooperate in good faith to ensure
that Hartford may obtain the benefit of the Hartford Administrative Expense Claim and the
Credit. The foregoing provisions of Hartford Insurance Settlement Agreement shall survive any
Reversal, any exercise of any Fiduciary Out, and any termination of the Hartford Insurance
Settlement Agreement.

                      l.      Other Provisions of the Hartford Insurance Settlement
                              Agreement

        Pursuant to the Hartford Insurance Settlement Agreement, Hartford agreed to refrain
from objecting to the Plan, the Disclosure Statement, the Solicitation Procedures, the Settlement
Trust Agreement, or the Trust Distribution Procedures (and to withdraw any pending objections)
as well as the findings and orders included in the expired Restructuring Support Agreement so
long as it is included as a Settling Insurance Company and Protected Party under the Plan and
this Disclosure Statement and the Plan are otherwise consistent with the terms of the Hartford
Insurance Settlement Agreement. Hartford’s agreement not to object to such findings and orders
does not indicate Hartford’s support for such findings and orders; rather, Hartford will be treated
as a Settling Insurance Company and Protected Party under the Plan, and as a result, it takes no
position on such findings and orders or on the Trust Distribution Procedures.

                      m.      Channeling Injunction and Releases in Favor of Hartford as a
                              Settling Insurance Company and Protected Party under the
                              Plan

       Hartford will be a Settling Insurance Company and a Protected Party under the Plan and
will be provided all benefits and protections afforded to Settling Insurance Companies and


                                               119
                Case 20-10343-LSS            Doc 6418-1          Filed 09/29/21       Page 127 of 303




Protected Parties, including (a) the Channeling Injunction set forth in Article X.F of the Plan,
which will permanently enjoin any person or entity from asserting any Abuse Claim against
Hartford and will channel all such present and future Abuse Claims against Hartford to the
Settlement Trust, and (b) the Releases and related Injunction set forth in Articles X.J and Article
X.L of the Plan, which will (i) provide releases of certain claims against Hartford by the Debtors
and their Estates and by holders of Abuse Claims, and (ii) permanently enjoin all holders of
claims released under Article X.J of the Plan from asserting such released claims against
Hartford. The Channeling Injunction and the Releases and related Injunction set forth in
Articles X.F, X.J, and X.L of the Plan are further described in Article VI.Q of this Disclosure
Statement.

           4.       TCJC Settlement Agreement9899

                             a.       BSA/TCJC Background

        Historically, the TCJC and the BSA shared a close and long-standing relationship in
Scouting. TCJC had been an important Chartered Organization and partner of the BSA until
December 31, 2019, when TCJC concluded its 105-year relationship as a Chartered Organization
with all Scouting programs around the world, including the BSA. Since 1959, TCJC’s
participation in Scouting steadily increased until the termination of its affiliation with the BSA.
For at least a part of the time during which TCJC was a Chartered Organization, it shared certain
co-insurance rights with the BSA under the BSA’s Insurance Policies, as described in greater
detail above. TCJC has asserted indemnification claims against the Debtors for liabilities
incurred prior to the Petition Date in a liquidated amount of over $62 million and has asserted
unliquidated indemnification claims against the Debtors for Abuse Claims that may be asserted
against TCJC.

         Of the more than 82,200 unique timely Direct Abuse Claims filed in these Chapter 11
Cases, the Debtors have identified approximately 7,700 such claims that could potentially be
attributable to TCJC’s involvement with Scouting. The 7,700 claims initially identified by the
Debtors included (i) approximately 2,850 such claims that directly identify TCJC, (ii)
approximately 650 such claims that contain information tied to other Abuse Claims attributable
to TCJC, and (iii) approximately 4,200 such claims relating to Local Councils with more than
fifty percent (50%) of their membership historically comprised of TCJC members. The Debtors’
process for identifying these 7,700 claims involved identifying information included on the face
of the timely filed Direct Abuse Claims that could potentially relate to or implicate TCJC.

        TCJC fundamentally disagrees with the number of potentially TCJC-related claims
asserted by the Debtors. Upon receiving the 7,700 claims and related data, TCJC asserts that it
performed an extensive and thorough statistical sampling analysis. This analysis involved a
methodical review of the claims and underlying facts instead of focusing solely on
facially-present criteria or key terms. As a result of this analysis, TCJC reached the conclusion
that the vast majority of the 7,700 claims identified by the Debtors were invalid as to TCJC
based on a variety of factors. Namely, TCJC reviewed the 7,700 claims for duplicates, whether
any of the claims were previously settled, whether there was a legitimate connection to TCJC,
9899
       Capitalized terms used but not defined in this summary shall have the meanings ascribed to such terms in the TCJC
       Settlement Agreement or the Plan, as applicable.


                                                           120
               Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21         Page 128 of 303




whether the claims were barred by statutes of limitations, whether the claims should be covered
by insurance, and whether the alleged perpetrator is or was affiliated with TCJC, among other
factors. Out of the 7,700 claims identified by the Debtors, TCJC’s analysis found that only 324
claims may potentially have value in the tort system.

        Based on this analysis, TCJC engaged in significant negotiation and routinely exchanged
information with the Debtors, the Coalition, the Tort Claimants’ Committee, the Future
Claimants’ Representative, the Ad Hoc Committee, and other mediation parties, with the
assistance of the Court-approved Mediators. In addition to sharing the results and underlying
data of the aforementioned analysis conducted by TCJC, TCJC also provided the relevant
mediation parties with an overview of its historical settlements and an analysis relating to
potential tort system values for certain Direct Abuse Claims. As a result of these negotiations
within the context of mediation, and based upon the extensive work performed by TCJC, the
parties arrived at the TCJC Settlement, the terms of which are described herein.

        The Coalition and the Tort Claimants’ Committee believe that holders of Abuse Claims
have valuable Claims against the TCJC; however, as noted above, TCJC has significant and
potentially meritorious defenses to Abuse Claims that pose impediments to obtaining recoveries
on behalf of holders of Abuse Claims. As previously stated, TCJC maintains that the vast
majority of the claims identified by the Debtors have no connection to TCJC or are invalid for
other reasons. Additionally, TCJC predominantly participated in Scouting in states that
currently have “closed” statutes of limitation, such as Utah, but also participated in Scouting in
other states with different statutes of limitation. The Settlement Trust would necessarily expend
significant time and Settlement Trust assets pursuing such Claims against TCJC. Moreover, as a
Chartered Organization, TCJC was a beneficiary under the BSA Insurance Policies since 1976,
and TCJC asserts that it is a beneficiary of BSA Insurance Policies issued prior to 1976 and of
Local Council Insurance Policies. TCJC has also filed various objections99100 to the Disclosure
Statement, further highlighting the fact that TCJC holds valuable claims against the insurance
companies arising under the BSA Insurance Policies and the Local Council Insurance Policies,
as well as contractual indemnity rights against BSA and certain Local Councils arising from
Scouting-related Claims. Additionally, TCJC’s alleged indemnification claims could, if allowed,
potentially reduce any recoveries on account of such Abuse Claims. Further, the cooperation of
TCJC is critical to accessing important and valuable insurance rights. Pursuant to the TCJC
Settlement, the Settlement Trust’s access to recoveries from TCJC will be immediate and will
provide $250 million of additional Cash to the Settlement Trust as set forth in the TCJC
Settlement, as opposed to lengthy litigation that would otherwise be necessary to obtain
recoveries. There is also a substantial risk that TCJC would ultimately pay significantly less
toward Abuse Claims than it would under the TCJC Settlement Agreement. As such, by virtue

99100
        See Objection of The Church of Jesus Christ of Latter-day Saints, a Utah Corporation Sole, to Debtors’ Motion for Entry of
        an Order (I) Approving the Disclosure Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and
        Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices,
        (V) Establishing Certain Deadlines in Connection with Approval of the Disclosure Statement and Confirmation of the Plan,
        and (VI) Granting Related Relief filed on May 6, 2021 [D.I. 3263]; Supplemental Objection of The Church of Jesus Christ
        of Latter-day Saints, a Utah Corporation Sole, to Debtors’ Motion for Entry of an Order (I) Approving the Disclosure
        Statement and the Form and Manner of Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving
        Forms of Ballots, (IV) Approving Form, Manner, and Scope of Confirmation Notices, (V) Establishing Certain Deadlines in
        Connection with Approval of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief filed
        on August 16, 2021 [D.I. 6009].


                                                                121
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 129 of 303




of TCJC’s thorough analyses shared with all relevant parties in Mediation, TCJC maintains that
not only is the TCJC Settlement fully supported by the facts underlying the claims, in addition to
historical settlement values, the TCJC Settlement also represents a significant premium above
what the facts support.

        The resolution of the liability dispute reflected in the TCJC Settlement Agreement was
the product of extensive, good faith and arm’s-length negotiations among the Debtors, the
Coalition, the Future Claimants’ Representative, State Court Counsel, TCJC, and other
mediation parties with the active assistance of the Court-appointed Mediators. The TCJC
Settlement represents a good-faith settlement and compromise of complex disputes and will
avoid the costs, risks, uncertainty, and delay associated with protracted litigation, while
providing payment on account of Abuse Claims. The Debtors, Coalition and Future Claimants
Representative fully support the TCJC Settlement and recommend that holders of Abuse Claims
vote in favor of this Plan which incorporates the TCJC Settlement, among other resolutions. The
terms of the TCJC Settlement are summarized in the term sheet appended to the Sixth Mediators’
Report [D.I. 6210] filed on September 14, 2021 and below. In the event of any inconsistency,
the terms set forth in the TCJC Settlement shall control over the summary of those terms set
forth herein.

                       b.     TCJC Settlement Terms

          The TCJC Settlement constitutes a compromise and settlement of all TCJC Abuse
Claims, the TCJC Claims, and disputes relating to the Plan, including, among other things, the
TCJC Insurance Rights. Pursuant to the TCJC Settlement Agreement, “TCJC Abuse Claims”
refers to any Abuse Claim in connection, in whole or in part, with TCJC’s involvement in, or
sponsorship of, one or more Scouting units (including any Claim that has been asserted or may
be amended to assert in a proof of claim alleging abuse, whether or not timely filed, in the
Chapter 11 Cases) while “TCJC Claims” all Causes of Action and Claims relating to (1) Abuse
Claims, (2) the Chapter 11 Cases, (3) the Plan, and/or (4) any Claims that were or could have
been asserted by TCJC against the Debtors or the other Releasing Parties, including any Indirect
Abuse Claims. “TCJC Insurance Rights” refers to all of TCJC’s its rights, titles, privileges,
interests, claims, demands or entitlements, as of the Effective Date, to any proceeds, payments,
benefits, Causes of Action, choses in action, defense, or indemnity, now existing or hereafter
arising, accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
undisputed, fixed or contingent, arising under or attributable to: (i) the Abuse Insurance Policies,
the Abuse Insurance Coverage, the Insurance Settlement Agreements, and claims thereunder and
proceeds thereof; (ii) the Insurance Actions; and (iii) the Insurance Action Recoveries. As a
condition to payment from the Settlement Trust, the holder of an Abuse Claim shall be required
to execute a full and complete written release in favor of all Contributing Chartered
Organizations with respect to his Abuse Claim, including, as a condition to receiving any
proceeds from the TCJC Settlement Contribution, a full and complete written release in favor of
TCJC.

        On the date that the Confirmation Order and Affirmation Order become Final Orders,
TCJC will (i) contribute $250 million in Cash from the escrow described below to the Settlement
Trust, and (ii) consent to the waiver, release, and expungement of the TCJC Claims and agree
not to assert any claim against, among others, the Debtors, Reorganized BSA or the Settlement


                                                122
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 130 of 303




Trust. Additionally, on the Effective Date of the Plan, TCJC will deposit $250 million in Cash
into escrow and consent, pursuant to the Plan, to the assignment and transfer by the Debtors, the
Local Councils, and any other co-insureds of any and all rights, titles, privileges, interests,
claims, demands or entitlements, as of the Effective Date, to any proceeds, payments, benefits,
Causes of Action, choses in action, defense, or indemnity, now existing or hereafter arising,
accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed or undisputed,
fixed or contingent, arising under or attributable to: (i) the Abuse Insurance Policies, the Abuse
Insurance Coverage, the Insurance Settlement Agreements, and claims thereunder and proceeds
thereof; (ii) the Insurance Actions; and (iii) the Insurance Action Recoveries. TCJC will further
agree to transfer and assign the TCJC Insurance Rights to the Settlement Trust.

        In exchange for TCJC’s contributions to the Settlement Trust described above, TCJC will
(i) become a Protected Party under the Plan, with all the benefits and protections of the
Channeling Injunction. Pursuant to the Channeling Injunction, any claim that is attributable to,
arises from, is based upon, relates to, or results from, an Abuse Claim in connection, in whole or
in part, with TCJC’s involvement in, or sponsorship of, one or more Scouting units, including
any Claim that has been asserted or may be amended to assert in a proof of claim. TCJC Abuse
Claims shall be permanently channeled to the Settlement Trust under the Plan and such TCJC
Abuse Claim shall thereafter be asserted exclusively against the Settlement Trust, and may not
proceed in any manner against TCJC in any forum whatsoever, including any state, federal, or
non-U.S. court or any administrative or arbitral forum, and are required to pursue such TCJC
Abuse Claim solely against the Settlement Trust, and shall be processed, liquidated, and paid in
accordance with the terms, provisions, and procedures of the Settlement Trust Documents.

       TCJC will receive, at minimum, equivalent legal protections (including releases,
findings, indemnities, and injunctions, and any other relevant terms of orders in connection with
the Plan or any settlement related to the Plan) and treatment of the TCJC Abuse Claims as
provided to any other non-Debtor Protected Party (other than the limited indemnity provided to
Local Councils).

                       c.     Settlement Trust Enforcement of Channeling Injunction

        In the event that any litigation asserting a TCJC Abuse Claim is filed naming TCJC as a
defendant in violation of the terms of the Confirmation Order, the Settlement Trust shall, at the
request of TCJC, promptly appear (1) before the Bankruptcy Court to obtain entry of an order
enforcing the Channeling Injunction and (2) in such litigation and seek the dismissal of the case.
Under no circumstances shall the Settlement Trust be required to reimburse or indemnify TCJC
for any claims, liabilities, losses, actions, suits, proceedings, third-party subpoenas, damages,
costs, and expenses, including any liabilities related to, arising out of, or in connection with any
TCJC Abuse Claim.

                       d.     Waiver and Release of TCJC Claims

       Future Claimants’ Representative On the date that the Confirmation Order and Affirmation
Order become Final Orders, TCJC shall waive and release the Debtors, Reorganized BSA, Related
Non-Debtor Entities, Local Councils, other Protected Parties, Limited Protected Parties, Settling
Insurance Companies, the Future Claimants’ Representative, the Coalition, and the Settlement Trust


                                                123
          Case 20-10343-LSS          Doc 6418-1         Filed 09/29/21    Page 131 of 303




(the “Releasing Parties”) from all Causes of Action and Claims relating to TCJC Claims; provided,
however, that the Indirect Abuse Claims (Claim Nos. 1248 and 12530) filed by TCJC relating to the
payment of costs to defend and resolve Abuse Claims shall be subordinated and not otherwise
receive distributions until the date that the Confirmation Order and Affirmation Order become Final
Orders. TCJC agrees to not file or assert any claim against the Settlement Trust, the Debtors or
Reorganized BSA arising from any act or omission of the Debtors on or prior to the date that the
Confirmation Order and Affirmation Order become Final Orders except in accordance with the Plan.
        On the date that the Confirmation Order and Affirmation Order become Final Orders, the
Debtors, Reorganized BSA, Related Non-Debtor Entities, Local Councils, other Protected Parties,
Limited Protected Parties, Settling Insurance Companies, the Future Claimants’ Representative, the
Coalition, the Settlement Trust, and all parties that accept the Plan, or do not accept the Plan and do
not opt-out of releases, shall waive and release TCJC from all TCJC Claims. The Debtors,
Reorganized BSA, Related Non-Debtor Entities, Local Councils, other Protected Parties, Limited
Protected Parties, Settling Insurance Companies, the Future Claimants’ Representative, the
Coalition, and the Settlement Trust agree to not file or assert any claim against TCJC arising from
any act or omission of TCJC on or prior to the date that the Confirmation Order and Affirmation
Order become Final Orders except in accordance with the Plan.
                        e.      Release of Claims Against Settling Insurance Companies

        TCJC will release all Settling Insurance Companies from all Causes of Action relating to
Abuse Insurance Policies issued by such Settling Insurance Companies. All Settling Insurance
Companies will also release TCJC from all claims against TCJC relating to Abuse Insurance Policies
issued by such Settling Insurance Companies.
                        f.      Consent Rights

        TCJC will have consent rights with respect to any modifications to the Plan, the
Settlement Trust Documents, and the Confirmation Order relating to the Channeling Injunction,
releases by holders of Abuse Claims, and related definitional terms including, for the avoidance
of doubt, “Abuse,” “Abuse Claim,” and “Protected Parties,” but only to the extent that such
modifications would affect TCJC.
                        g.      Other Provisions of the TCJC Settlement Agreement

        So long as TCJC is included as a Protected Party and the Disclosure Statement and the
Plan are otherwise consistent with the terms of the TCJC Settlement Agreement, TCJC shall
support, and shall not object to, the approval of the Disclosure Statement, the confirmation of the
Plan, and the approval of the Plan Documents, including the Settlement Trust Agreement and the
Trust Distribution Procedures.

                        h.      Fiduciary Obligations of the Debtors, the Tort Claimants’
                                Committee and the Future Claimants’ Representative

       Notwithstanding anything in the TCJC Settlement Agreement to the contrary, no term or
condition of the TCJC Settlement Agreement shall require the Debtors or the Future Claimants’
Representative to take or refrain from taking any action that either party determines in good faith
would be inconsistent with their fiduciary duties under applicable law.


                                                  124
           Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 132 of 303




T.       TCC / FCR Joint Standing Motion

         On March 12, 2021, the Tort Claimants’ Committee and Future Claimants Representative
filed a joint motion (the “TCC / FCR Joint Standing Motion”), which requested standing for the
Tort Claimants’ Committee and Future Claimants’ Representative to prosecute the following
claims on behalf of the Debtors’ bankruptcy estate: (1) declaratory judgment that the
Intercompany Note be characterized as an equity or capital contribution made by BSA to Arrow
or, in the alternative, an order avoiding certain transfers made under the Intercompany Note by
BSA to Arrow; (2) declaratory judgment that certain property of the Debtors is not subject to the
liens or security interests granted to the prepetition lender, JPM; (3) avoidance of certain
unperfected liens and security interests asserted by JPM against certain property of the Debtors;
and (4) an order reversing certain components of the Debtors’ Final Cash Collateral Order [D.I.
2364].

        On April 29, 2021, JPM and the Debtors filed an objection to the TCC / FCR Joint
Standing Motion [D.I. 2732, 2733], which the Creditors’ Committee joined on a limited basis
[D.I. 2737]. On May 27, 2021, the Bankruptcy Court entered an order adjourning the TCC /
FCR Joint Standing Motion to consideration after the conclusion of the Confirmation Hearing
[D.I. 5073].

U.       Other Relevant Filings & Hearings

        On March 4, 2021, Century and Hartford filed Century and Hartford’s Statement
         Regarding the Recently-Filed Plan of Reorganization and Pending Rule 2004 Motions
         [D.I. 2316], stating that the plan has not garnered sufficient support.

        On March 8, 2021, Allianz Insurers’ filed a joinder in support of Century and Hartford’s
         statement regarding the plan and pending Rule 2004 Motions [D.I. 2331].

        On March 16, 2021, the Tort Claimants’ Committee filed the Official Tort Claimants’
         Committee’s Case Status Report [D.I. 2388], outlining issues that it informally objected
         to with respect to the Debtors’ proposed plan. Through the status report, the Tort
         Claimants’ Committee also asserted that various issues should be further addressed
         including, among other things, claims of the estate; restricted assets; Local Councils; and
         Chartered Organizations.

        On April 9, 2021, the Tort Claimants’ Committee filed its second case status report,
         detailing, among other things, pending contested matters and unresolved issues [D.I.
         2566]. The Tort Claimants’ Committee stated that judicial resolution of issues might be
         necessary to reach a consensual plan and reiterated its assertion that the Tort Claimants’
         Committee should be permitted the opportunity to propose its own plan of reorganization
         in addition to the Debtors’ Plan. Id. at 7.


        On April 9, 2021, Century filed a motion to adjourn the Disclosure Statement hearing
         scheduled for April 29, 2021, to a later date after the Debtors file the Settlement Trust



                                                 125
                Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21        Page 133 of 303




             Agreement and Trust Distribution Procedures [D.I. 2568] (the “Century Motion to
             Adjourn”).100101

            On April 12, 2021, the Bankruptcy Court held a status conference regarding, among other
             things, the status of Mediation, the Plan and Disclosure Statement, and the Century
             Motion to Adjourn. At that time, the Bankruptcy Court continued the hearing to approve
             the Disclosure Statement to May 19, 2021.

            On April 23, 2021, the Coalition, the Future Claimants’ Representative, and the Tort
             Claimants’ Committee filed two notices of discovery on Century and Hartford [D.I.
             2682, 2683] (the “Century Discovery Request” and “Hartford Discovery Request,”
             respectively).

            On May 5, 2021, Century filed a Motion to Amend the Court’s Order (I) Approving
             Procedures for (A) Interim Compensation and Reimbursement of Retained Professionals
             and (B) Expense Reimbursement for Official Committee Members and (II) Granting
             Related Relief [D.I. 3161], to which the Debtors and the Tort Claimants’ Committee have
             filed responses proposing certain modifications to the relief requested by Century. On
             August 6, 2021, the Bankruptcy Court amended the order approving procedures for
             interim compensation and reimbursement of expenses of chapter 11 professionals [D.I.
             5899].

                                   ARTICLE VI. OVERVIEW OF THE PLAN

A.           General

        This Article of the Disclosure Statement summarizes certain relevant provisions of the
Plan. The confirmation of a plan of reorganization is the principal objective of a chapter 11 case.
A plan of reorganization sets forth the means for treating claims against, and equity interests in,
a debtor. Confirmation of a plan of reorganization by a bankruptcy court makes it binding on the
debtor, any person or Entity acquiring property under the plan, and any creditor of, or equity
interest holder in, the debtor, whether or not such creditor or equity interest holder has accepted
the plan or received or retains any property under the plan. Subject to certain limited exceptions
and other than as provided in a plan itself or in a confirmation order, a confirmation order
discharges the debtor from any debt that arose prior to the date of confirmation of the plan of
reorganization.

       Pursuant to Article V of the Plan, on or after the Confirmation Date, the Debtors shall be
empowered and authorized to take or cause to be taken, prior to the Effective Date, all actions
consistent with the Plan as may be necessary or appropriate to enable them to implement the
provisions of the Plan before, on, or after the Effective Date, including the creation of the
Settlement Trust and the preparations for the transfer of the Settlement Trust Assets to the
Settlement Trust.


100101
             Clarendon American Insurance Company (“Clarendon”) and Travelers Casualty and Surety Company joined Century’s
         motion to adjourn. Id. at 1 n.2. Clarendon formally filed a joinder to Century’s motion on April 12, 2021 [D.I. 2572].


                                                               126
              Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 134 of 303




    YOU SHOULD READ THE PLAN IN ITS ENTIRETY BEFORE VOTING TO
ACCEPT OR REJECT THE PLAN.

B.       Distributions

        One of the key concepts under the Bankruptcy Code is that only Claims and interests that
are “allowed” may receive distributions under a chapter 11 plan. This term is used throughout
the Plan and the descriptions below. In general, an Allowed Claim means that the Debtors agree,
or if there is a dispute, the Bankruptcy Court determines, that the Claim (other than an Abuse
Claim), and the amount thereof, is in fact a valid obligation of the Debtors. Similarly, with
respect to Abuse Claims, such Claims will be channeled to, as well as allowed and resolved by,
the Settlement Trust in accordance with the Trust Distribution Procedures. A detailed discussion
of the treatment and anticipated means of satisfaction for each Class of Allowed Claims and the
Class of Abuse Claims that are channeled to the Settlement Trust and allowed pursuant to terms
of the Trust Distribution Procedures is set forth in Article VII of this Disclosure Statement.

C.       Treatment of Unclassified Claims

         The treatment of unclassified Claims are as follows:

     Class      Designation          Treatment under the Plan               Impairment and
                                                                           Entitlement to Vote
 N/A          Administrative Each holder of an Allowed                  Unimpaired
              Expense Claims Administrative Expense Claim shall
                               receive payment of Cash in an amount Not Entitled to Vote
                               equal to the unpaid portion of such     (Presumed to Accept)
                               Allowed Administrative Expense Claim.
 N/A          Professional Fee Each holder of an Allowed Professional Unimpaired
              Claims           Fee Claim shall receive payment in Cash
                               from funds held in the Professional Fee Not Entitled to Vote
                               Reserve.                                (Presumed to Accept)
 N/A          Priority Tax     Each holder of an Allowed Priority Tax Unimpaired
              Claims           Claim shall receive Cash in an amount
                               equal to such Allowed Priority Tax      Not Entitled to Vote
                               Claim.                                  (Presumed to Accept)

         1.        Administrative Expense Claims Generally

        Except to the extent that a holder of an Allowed Administrative Expense Claim agrees to
less favorable treatment with respect to such Allowed Administrative Expense Claim, each
holder of an Allowed Administrative Expense Claim (other than Professional Fee Claims, which
are governed by Article II.A.2 of the Plan) shall receive, on account of and in full and complete
settlement, release and discharge of, and in exchange for, such Claim, payment of Cash in an
amount equal to the unpaid portion of such Allowed Administrative Expense Claim, or such
amounts and on other such terms as may be agreed to by the holders of such Claims, on or as
soon as reasonably practicable after the later of: (a) the Effective Date; (b) the first Business Day


                                                 127
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 135 of 303




after the date that is thirty (30) calendar days after the date such Administrative Expense Claim
becomes an Allowed Administrative Expense Claim; (c) such other date(s) as such holder and
the Debtors or Reorganized BSA shall have agreed; or (d) such other date ordered by the
Bankruptcy Court; provided, however, that Allowed Administrative Expense Claims that arise in
the ordinary course of the Debtors’ non-profit operations during the Chapter 11 Cases may be
paid by the Debtors or Reorganized BSA in the ordinary course of operations and in accordance
with the terms and conditions of the particular agreements governing such obligations, course of
dealing, course of operations, or customary practice. Notwithstanding anything to the contrary
in the Plan or in the Cash Collateral Order, no Claim on account of any diminution in the value
of the Prepetition Secured Parties’ interests in the Prepetition Collateral (including Cash
Collateral) (as each such capitalized term is defined in the Cash Collateral Order) from and after
the Petition Date shall be Allowed unless such Claim is Allowed by a Final Order of the
Bankruptcy Court. The Hartford Administrative Claim shall be an Allowed Administrative
Expense Claim and shall be paid in full in cash to Hartford on, or as soon as reasonably
practicable after, the Effective Date.

     HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS THAT ARE REQUIRED
TO, BUT DO NOT, FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH
ADMINISTRATIVE EXPENSE CLAIMS BY THE ADMINISTRATIVE CLAIMS BAR
DATE SHALL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
ASSERTING SUCH ADMINISTRATIVE EXPENSE CLAIMS AGAINST THE
DEBTORS OR THEIR PROPERTY, AND SUCH ADMINISTRATIVE EXPENSE
CLAIMS SHALL BE DEEMED DISCHARGED AS OF THE EFFECTIVE DATE.

       2.      Professional Fee Claims

   (a) Final Fee Applications. All Professionals or other Persons requesting the final
       Allowance and payment of compensation and/or reimbursement of expenses pursuant to
       sections 328, 330, 331 and/or 503(b) or under Article V.T of the Plan, for services
       rendered during the period from the Petition Date to and including the Effective Date
       shall file and serve final applications for Allowance and payment of Professional Fee
       Claims on counsel to the Debtors and the United States Trustee no later than the first
       Business Day that is forty-five (45) days after the Effective Date. Objections to any
       Professional Fee Claim must be filed and served on Reorganized BSA and the applicable
       Professional within twenty-one (21) calendar days after the filing of the final fee
       application that relates to the Professional Fee Claim (unless otherwise agreed by the
       Debtors or Reorganized BSA, as applicable, and the Professional requesting Allowance
       and payment of a Professional Fee Claim). The Fee Examiner shall continue to act in its
       appointed capacity unless and until all Professional Fee Claims have been approved by
       order of the Bankruptcy Court, and Reorganized BSA shall be responsible to pay the fees
       and expenses incurred by the Fee Examiner in rendering services after the Effective Date.

   (b) Professional Fee Reserve. On the Effective Date, the Debtors shall establish and fund the
       Professional Fee Reserve with Cash in an amount equal to the Professional Fee Reserve
       Amount plus a reasonable cushion amount determined by the Debtors. Funds held in the
       Professional Fee Reserve shall not be considered property of the Debtors’ Estates,
       Reorganized BSA, the Settlement Trust, or the Core Value Cash Pool. Professional Fees


                                               128
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 136 of 303




       owing on account of Allowed Professional Fee Claims shall be paid in Cash from funds
       held in the Professional Fee Reserve as soon as reasonably practicable after such
       Professional Fee Claims are Allowed by a Final Order of the Bankruptcy Court or
       authorized to be paid under the Compensation Procedures Order; provided, however, that
       Reorganized BSA’s obligations with respect to Allowed Professional Fee Claims shall
       not be limited by or deemed limited to the balance of funds held in the Professional Fee
       Reserve. To the extent the funds held in the Professional Fee Reserve are insufficient to
       satisfy the Allowed Professional Fee Claims in full, each holder of an Allowed
       Professional Fee Claim shall have an Allowed Administrative Expense Claim for any
       deficiency, which shall be satisfied in accordance with Article II.A.2 of the Plan. No
       Liens, Claims, interests, charges, or other Encumbrances or liabilities of any kind shall
       encumber the Professional Fee Reserve in any way. When all Allowed Professional Fee
       Claims have been paid in full, amounts remaining in the Professional Fee Reserve, if any,
       shall be transferred to the Settlement Trust.

   (c) Professional Fee Reserve Amount. To be eligible for payment for Accrued Professional
       Fees incurred up to and including the Effective Date, Professionals shall estimate their
       Accrued Professional Fees as of the Effective Date and deliver such estimate to the
       Debtors at least five (5) Business Days prior to the anticipated Effective Date, and
       Coalition Professionals shall provide the Debtors a reasonable estimate of total Coalition
       Restructuring Expenses in accordance with Article V.T of the Plan. If a Professional or
       Coalition Professional does not provide such estimate, the Debtors may estimate the
       unbilled fees and expenses of such Professional or Coalition Professional. The total
       amount so estimated will constitute the Professional Fee Reserve Amount, provided that
       such estimate will not be considered an admission or limitation with respect to the fees
       and expenses of such Professional or Coalition Professional.

   (d) Post-Effective Date Fees and Expenses. From and after the Effective Date, any
       requirement that Professionals comply with sections 327 through 331 or 1103 of the
       Bankruptcy Code in seeking retention or compensation for services rendered after such
       date shall terminate, and Professionals may be employed and paid in the ordinary course
       of operations without any further notice to or action, order, or approval of the Bankruptcy
       Court. The reasonable and documented fees and expenses incurred by the Professionals
       to the Creditors’ Committee after the Effective Date until the complete dissolution of the
       Creditors’ Committee for all purposes in accordance with Article X.R of the Plan will be
       paid by Reorganized BSA in the ordinary course of business (and not later than thirty
       (30) days after submission of invoices).

       3.      Priority Tax Claims

        Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less
favorable treatment, each holder of an Allowed Priority Tax Claim shall receive on account of
and in full and complete settlement, release and discharge of, and in exchange for, such Allowed
Priority Tax Claim, at the sole option of the Debtors or Reorganized BSA, as applicable:
(1) Cash in an amount equal to such Allowed Priority Tax Claim on or as soon as reasonably
practicable after the later of (a) the Effective Date, to the extent such Claim is an Allowed
Priority Tax Claim on the Effective Date; (b) the first Business Day after the date that is thirty


                                               129
             Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 137 of 303




(30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax
Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the ordinary
course as such obligation becomes due; provided, however, that the Debtors reserve the right to
prepay all or a portion of any such amounts at any time under this option without penalty or
premium; or (2) regular installment payments in Cash of a total value, as of the Effective Date of
the Plan, equal to the Allowed amount of such Claim over a period ending not later than five
years after the Petition Date.

D.        Classification of Claims and Interests Summary

        The Plan is being proposed as a joint plan of reorganization of the Debtors for
administrative purposes only and constitutes a separate chapter 11 plan of reorganization for
each Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with
respect to the Classes of Claims or Interests set forth in the Plan.

       The Plan establishes a comprehensive classification of Claims and Interests. The table
below summarizes the classification, treatment, voting rights, and Claims and Interests, by Class,
under the Plan.

   Class Designation1011                       Treatment under the Plan                               Impairment and
                02                                                                                   Entitlement to Vote
   1          Other                Each holder of an Allowed Other Priority        Unimpaired
              Priority             Claim shall receive: (i) payment in Cash in an
              Claims               amount equal to such Allowed Other Priority     Not Entitled to Vote
                                   Claim; or (ii) satisfaction of such Allowed     (Presumed to Accept)
                                   Other Priority Claim in any other manner that
                                   renders the Allowed Other Priority Claim
                                   Unimpaired, including Reinstatement.
   2          Other                Each holder of an Allowed Other Secured         Unimpaired
              Secured              Claim shall receive: (i) payment in Cash in an
              Claims               amount equal to the Allowed amount of such      Not Entitled to Vote
                                   Claim; (ii) satisfaction of such Other Secured  (Presumed to Accept)
                                   Claim in any other manner that renders the
                                   Allowed Other Secured Claim Unimpaired,
                                   including Reinstatement; or (iii) return of the
                                   applicable collateral in satisfaction of the
                                   Allowed amount of such Other Secured Claim.
   3A         2010 Credit          Each holder of an Allowed 2010 Credit Facility Impaired
              Facility             Claim shall receive a Claim under the Restated
              Claims               Credit Facility Documents in an amount equal Entitled to Vote
                                   to the amount of such holder’s Allowed 2010
                                   Credit Facility Claim.
101102
       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
       Class.
101102
       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
       Class.


                                                               130
       Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 138 of 303




Class Designation1011          Treatment under the Plan                  Impairment and
         02                                                             Entitlement to Vote
3B      2019 RCF    Each holder of an Allowed 2019 RCF Claim            Impaired
        Claims      shall receive a Claim under the Restated Credit
                    Facility Documents in an amount equal to the        Entitled to Vote
                    amount of such holder’s Allowed 2019 RCF
                    Claim.
4A      2010 Bond   Each holder of an Allowed 2010 Bond Claim           Impaired
        Claims      shall receive a Claim under the Restated 2010
                    Bond Documents in an amount equal to the            Entitled to Vote
                    amount of such holder’s Allowed 2010 Bond
                    Claim.
4B      2012 Bond   Each holder of an Allowed 2012 Bond Claim           Impaired
        Claims      shall receive a Claim under the Restated 2012
                    Bond Documents in an amount equal to the            Entitled to Vote
                    amount of such holder’s Allowed 2012 Bond
                    Claim.
5       Convenience Each holder of an Allowed Convenience Claim         Impaired
        Claims      shall receive Cash in an amount equal to 100%
                    of such holder’s Allowed Convenience Claim.         Entitled to Vote
6       General     Each holder of an Allowed General Unsecured         Impaired
        Unsecured   Claim shall receive, subject to the holder’s
        Claims      ability to elect Convenience Claim treatment        Entitled to Vote
                    on account of the Allowed General Unsecured
                    Claim, its Pro Rata Share of the Core Value
                    Cash Pool up to the full amount of such
                    Allowed General Unsecured Claim in the
                    manner described in Article VII of the Plan.
7       Non-Abuse Each holder of an Allowed Non-Abuse                   Impaired
        Litigation  Litigation Claim shall, subject to (i) the
        Claims      holder’s ability to elect Convenience Claim         Entitled to Vote
                    treatment as provided in the following sentence
                    and (ii) the terms and conditions of Article
                    IV.D.3 of the Plan (as applicable), retain the
                    right to recover up to the amount of such
                    holder’s Allowed Non-Abuse Litigation Claim
                    from (x) available insurance coverage or the
                    proceeds of any Insurance Policy, including
                    any Abuse Insurance Policy or Non-Abuse
                    Insurance Policy, (y) applicable proceeds of
                    any Insurance Settlement Agreements, and (z)
                    co-liable non-debtors (if any) or their insurance
                    coverage. Solely to the extent that the holder
                    of an Allowed Non-Abuse Litigation Claim
                    fails to recover in full from the foregoing

                                          131
           Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21        Page 139 of 303




   Class Designation1011                    Treatment under the Plan                            Impairment and
              02                                                                               Entitlement to Vote
                          sources on account of such Allowed Claim
                          after exhausting its remedies in respect thereof,
                          such holder may elect to have the unsatisfied
                          portion of its Allowed Claim treated as an
                          Allowed Convenience Claim and receive cash
                          in an amount equal to the lesser of (a) the
                          amount of the unsatisfied portion of the
                          Allowed Non-Abuse Litigation Claim and (b)
                          $50,000.
   8      Direct Abuse Pursuant to the Channeling Injunction set forth Impaired
             Claims102103 in Article X.F of the Plan, each holder of a
                          Direct Abuse Claim shall have such holder’s       Entitled to Vote
                          Direct Abuse Claim against the Protected
                          Parties (and each of them) permanently
                          channeled to the Settlement Trust, and such
                          Direct Abuse Claim shall thereafter be asserted
                          exclusively against the Settlement Trust and
                          processed, liquidated, and paid in accordance
                          with the terms, provisions, and procedures of
                          the Settlement Trust Documents.

                                Pursuant to the Channeling Injunction set forth
                                in Article X.F of the Plan, each holder of a
                                Post-1975 Chartered Organization Abuse
                                Claim shall have such holder’s Post-1975
                                Chartered Organization Abuse Claim against
                                the Limited Protected Parties (and each of
                                them) permanently channeled to the Settlement
                                Trust, and such Post-1975 Chartered
                                Organization Abuse Claim shall thereafter be
                                asserted exclusively against the Settlement
                                Trust and processed, liquidated, and paid in
                                accordance with the terms, provisions, and
                                procedures of the Settlement Trust Documents.
   9      Indirect Abuse                                                                       Impaired

                                                                                               Entitled to Vote




102103
         Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.


                                                           132
                Case 20-10343-LSS                Doc 6418-1            Filed 09/29/21         Page 140 of 303




   Class Designation1011                          Treatment under the Plan                            Impairment and
                    02                                                                               Entitlement to Vote
                    Claims103104 Pursuant to the Channeling Injunction set forth
                                 in Article X.F of the Plan, each holder of an
                                 Indirect Abuse Claim shall have such holder’s
                                 Indirect Abuse Claim against the Protected
                                 Parties (and each of them) permanently
                                 channeled to the Settlement Trust, and such
                                 Indirect Abuse Claim shall thereafter be
                                 asserted exclusively against the Settlement
                                 Trust and processed, liquidated, and paid in
                                 accordance with the terms, provisions, and
                                 procedures of the Settlement Trust Documents.

                                      Pursuant to the Channeling Injunction set forth
                                      in Article X.F of the Plan, each holder of a
                                      Post-1975 Chartered Organization Abuse
                                      Claim shall have such holder’s Post-1975
                                      Chartered Organization Abuse Claim against
                                      the Limited Protected Parties (and each of
                                      them) permanently channeled to the Settlement
                                      Trust, and such Post-1975 Chartered
                                      Organization Abuse Claim shall thereafter be
                                      asserted exclusively against the Settlement
                                      Trust and processed, liquidated, and paid in
                                      accordance with the terms, provisions, and
                                      procedures of the Settlement Trust Documents.
     10           Interests in        Interests in Delaware BSA shall be deemed       Impaired
                  Delaware            cancelled without further action by or order of
                  BSA                 the Bankruptcy Court and shall be of no further Not Entitled to Vote
                                      force or effect, whether surrendered for        (Deemed to Reject)
                                      cancellation or otherwise.

E.           Treatment of Claims and Interests

             Holders of Claims and Interests shall receive the treatment as set forth below:




103104
              Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
         reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable
         non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in
         the nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any
         indemnification, reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement,
         insurance policy, program agreement or contract.


                                                                 133
     Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21    Page 141 of 303




1.      Class 1—Other Priority Claims

        (i)     Classification: Class 1 consists of all Other Priority Claims.

        (ii)    Treatment: Except to the extent that a holder of an Allowed Other Priority
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction of such Allowed Other Priority Claim, at the sole option of
                Reorganized BSA: (i) each such holder shall receive payment in Cash in
                an amount equal to such Allowed Other Priority Claim, payable on or as
                soon as reasonably practicable after the last to occur of (x) the Effective
                Date, (y) the date on which such Other Priority Claim becomes an
                Allowed Other Priority Claim, and (z) the date on which the holder of
                such Allowed Other Priority Claim and the Debtors or Reorganized BSA,
                as applicable, shall otherwise agree in writing; or (ii) satisfaction of such
                Allowed Other Priority Claim in any other manner that renders the
                Allowed Other Priority Claim Unimpaired, including Reinstatement.

        (iii)   Voting: Class 1 is Unimpaired, and each holder of an Other Priority Claim
                is conclusively presumed to have accepted the Plan pursuant to section
                1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
                Claims are not entitled to vote to accept or reject the Plan, and the votes of
                such holders will not be solicited with respect to Other Priority Claims.

2.      Class 2—Other Secured Claims

        (i)     Classification: Class 2 consists of all Other Secured Claims. To the extent
                that Other Secured Claims are Secured by different collateral or different
                interests in the same collateral, such Claims shall be treated as separate
                subclasses of Class 2 for purposes of voting to accept or reject the Plan
                and receiving Plan Distributions under the Plan.

        (ii)    Treatment: Except to the extent that a holder of an Allowed Other Secured
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction of such Allowed Other Secured Claim, each holder of an
                Allowed Other Secured Claim will receive, at the sole option of
                Reorganized BSA: (i) Cash in an amount equal to the Allowed amount of
                such Claim, including the payment of any interest required to be paid
                under section 506(b) of the Bankruptcy Code, payable on or as soon as
                reasonably practicable after the last to occur of (x) the Effective Date,
                (y) the date on which such Other Secured Claim becomes an Allowed
                Other Secured Claim, and (z) the date on which the holder of such
                Allowed Other Secured Claim and the Debtors or Reorganized BSA, as
                applicable, shall otherwise agree in writing; (ii) satisfaction of such Other
                Secured Claim in any other manner that renders the Allowed Other
                Secured Claim Unimpaired, including Reinstatement; or (iii) return of the
                applicable collateral on the Effective Date or as soon as reasonably



                                         134
     Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 142 of 303




                practicable thereafter in satisfaction of the Allowed amount of such Other
                Secured Claim.

        (iii)   Voting: Class 2 is Unimpaired, and each holder of an Other Secured
                Claim is conclusively presumed to have accepted the Plan pursuant to
                section 1126(f) of the Bankruptcy Code. Therefore, holders of Other
                Secured Claims are not entitled to vote to accept or reject the Plan, and the
                votes of such holders will not be solicited with respect to Other Secured
                Claims.

3.      Class 3A—2010 Credit Facility Claims

        (i)     Classification: Class 3A consists of all 2010 Credit Facility Claims.

        (ii)    Allowance: On the Effective Date, all 2010 Credit Facility Claims shall be
                deemed fully Secured and Allowed pursuant to section 506(a) of the
                Bankruptcy Code, and not subject to any counterclaim, defense, offset, or
                reduction of any kind, in an aggregate amount not less than $80,762,060
                (including $44,299,743 of undrawn amounts under letters of credit issued
                under the 2010 Credit Facility Documents provided such letters of credit
                are drawn on or before the Effective Date) plus any accrued but unpaid
                interest and reasonable fees and expenses as of the Effective Date to the
                extent not paid pursuant to the Cash Collateral Order. Because all 2010
                Credit Facility Claims are deemed fully Secured, there are no unsecured
                2010 Credit Facility Claims, and the holders of such Claims do not have
                or hold any Class 6 Claims against the Debtors on account of any 2010
                Credit Facility Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Credit
                Facility Claim agrees to less favorable treatment of such Claim, in full and
                final satisfaction, settlement, release, and discharge of, and in exchange
                for an Allowed 2010 Credit Facility Claim, each holder of an Allowed
                2010 Credit Facility Claim shall receive a Claim under the Restated Credit
                Facility Documents in an amount equal to the amount of such holder’s
                Allowed 2010 Credit Facility Claim.

        (iv)    Voting: Class 3A is Impaired, and each holder of an Allowed 2010 Credit
                Facility Claim is entitled to vote to accept or reject the Plan.

4.      Class 3B—2019 RCF Claims

        (i)     Classification: Class 3B consists of all 2019 RCF Claims.

        (ii)    Allowance: On the Effective Date, all 2019 RCF Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount not less than $61,542,720 (including
                $41,542,720 of undrawn amounts under letters of credit issued under the

                                         135
     Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 143 of 303




                2019 RCF Documents provided such letters of credit are drawn on or
                before the Effective Date) plus any accrued but unpaid interest and
                reasonable fees and expenses as of the Effective Date to the extent not
                paid pursuant to the Cash Collateral Order. Because all 2019 RCF Claims
                are deemed fully Secured, there are no unsecured 2019 RCF Claims, and
                the holders of such Claims do not have or hold any Class 6 Claims against
                the Debtors on account of any 2019 RCF Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2019 RCF
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2019 RCF Claim, each holder of an Allowed 2019 RCF Claim
                shall receive a Claim under the Restated Credit Facility Documents in an
                amount equal to the amount of such holder’s Allowed 2019 RCF Claim.

        (iv)    Voting: Class 3B is Impaired, and each holder of an Allowed 2019 RCF
                Claim is entitled to vote to accept or reject the Plan.

5.      Class 4A—2010 Bond Claims

        (i)     Classification: Class 4A consists of all 2010 Bond Claims.

        (ii)    Allowance: On the Effective Date, all 2010 Bond Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount of not less than $40,137,274 plus any
                accrued but unpaid interest and reasonable fees and expenses as of the
                Effective Date to the extent not paid pursuant to the Cash Collateral
                Order. Because all 2010 Bond Claims are deemed fully Secured, there are
                no unsecured 2010 Bond Claims, and the holders of such Claims do not
                have or hold any Class 6 Claims against the Debtors on account of any
                2010 Bond Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2010 Bond
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2010 Bond Claim, each holder of an Allowed 2010 Bond Claim
                shall receive a Claim under the Restated 2010 Bond Documents in an
                amount equal to the amount of such holder’s Allowed 2010 Bond Claim.

        (iv)    Voting: Class 4A is Impaired, and each holder of an Allowed 2010 Bond
                Claim is entitled to vote to accept or reject the Plan.

6.      Class 4B—2012 Bond Claims

        (i)     Classification: Class 4B consists of all 2012 Bond Claims.




                                        136
     Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 144 of 303




        (ii)    Allowance: On the Effective Date, all 2012 Bond Claims shall be deemed
                fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
                Code, and not subject to any counterclaim, defense, offset, or reduction of
                any kind, in an aggregate amount of not less than $145,662,101 plus any
                accrued but unpaid interest and reasonable fees and expenses as of the
                Effective Date to the extent not paid pursuant to the Cash Collateral
                Order. Because all 2012 Bond Claims are deemed fully Secured, there are
                no unsecured 2012 Bond Claims, and the holders of such Claims do not
                have or hold any Class 6 Claims against the Debtors on account of any
                2012 Bond Claims.

        (iii)   Treatment: Except to the extent that a holder of an Allowed 2012 Bond
                Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction, settlement, release, and discharge of, and in exchange for an
                Allowed 2012 Bond Claim, each holder of an Allowed 2012 Bond Claim
                shall receive a Claim under the Restated 2012 Bond Documents in an
                amount equal to the amount of such holder’s Allowed 2012 Bond Claim.

        (iv)    Voting: Class 4B is Impaired, and each holder of an Allowed 2012 Bond
                Claim is entitled to vote to accept or reject the Plan.

7.      Class 5—Convenience Claims

        (i)     Classification: Class 5 consists of all Convenience Claims.

        (ii)    Treatment: In full and final satisfaction, settlement, release, and discharge
                of, and in exchange for, an Allowed Convenience Claim, each holder of an
                Allowed Convenience Claim shall receive, on the Effective Date or within
                thirty (30) days following the date that such Convenience Claim becomes
                Allowed (if such Claim becomes Allowed after the Effective Date), each
                holder of an Allowed Convenience Claim shall receive Cash in an amount
                equal to 100% of such holder’s Allowed Convenience Claim.

        (iii)   Voting: Class 5 is Impaired, and each holder of a Convenience Claim is
                entitled to vote to accept or reject the Plan.

8.      Class 6—General Unsecured Claims

        (i)     Classification: Class 6 consists of all General Unsecured Claims.

        (ii)    Treatment: Except to the extent that a holder of an Allowed General
                Unsecured Claim agrees to less favorable treatment of such Claim, in
                exchange for full and final satisfaction, settlement, release, and discharge
                of, and in exchange for, such Allowed General Unsecured Claim, each
                holder of an Allowed General Unsecured Claim shall receive, subject to
                the holder’s ability to elect Convenience Claim treatment on account of
                the Allowed General Unsecured Claim, its Pro Rata Share of the Core


                                         137
     Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 145 of 303




                Value Cash Pool up to the full amount of such Allowed General
                Unsecured Claim in the manner described in Article VII of the Plan.

        (iii)   Voting: Class 6 is Impaired, and each holder of a General Unsecured
                Claim is entitled to vote to accept or reject the Plan.

9.      Class 7—Non-Abuse Litigation Claims

        (iv)    Classification: Class 7 consists of all Non-Abuse Litigation Claims.

        (v)     Treatment: Except to the extent that a holder of an Allowed Non-Abuse
                Litigation Claim agrees to less favorable treatment of such Claim, in full
                and final satisfaction, settlement, release, and discharge of, and in
                exchange for, each Allowed Non-Abuse Litigation Claim, each holder
                thereof shall, subject to (i) the holder’s ability to elect Convenience Claim
                treatment as provided in the following sentence and (ii) the terms and
                conditions of Article IV.D.3 of the Plan (as applicable), retain the right to
                recover up to the amount of such holder’s Allowed Non-Abuse Litigation
                Claim from (x) available insurance coverage or the proceeds of any
                Insurance Policy, including any Abuse Insurance Policy or Non-Abuse
                Insurance Policy, (y) applicable proceeds of any Insurance Settlement
                Agreements, and (z) co-liable non-debtors (if any) or their insurance
                coverage. Solely to the extent that the holder of an Allowed Non-Abuse
                Litigation Claim fails to recover in full from the foregoing sources on
                account of such Allowed Claim after exhausting its remedies in respect
                thereof, such holder may elect to have the unsatisfied portion of its
                Allowed Claim treated as an Allowed Convenience Claim and receive
                cash in an amount equal to the lesser of (a) the amount of the unsatisfied
                portion of the Allowed Non-Abuse Litigation Claim and (b) $50,000.

        (vi)    Voting: Class 7 is Impaired, and each holder of a Non-Abuse Litigation
                Claim is entitled to vote to accept or reject the Plan.

10.     Class 8—Direct Abuse Claims

        (i)     Classification: Class 8 consists of all Direct Abuse Claims.

        (ii)    Treatment:

                a. The Settlement Trust shall receive, for the benefit of holders of Abuse
                   Claims, the BSA Settlement Trust Contribution, the Local Council
                   Settlement Contribution, the Contributing Chartered Organization
                   Settlement Contribution, the Participating Chartered Organization
                   Settlement Contribution, the Hartford Settlement Contribution (subject
                   to the terms and conditions set forth in the Hartford Insurance
                   Settlement Agreement), and the proceeds of any other applicable
                   Insurance Settlement Agreements. In addition, each holder of a
                   properly completed non-duplicative proof of claim asserting a Direct

                                         138
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 146 of 303




            Abuse Claim who filed such Claim by the Bar Date or was permitted
            by a Final Order of the Bankruptcy Court to file a late claim may,
            following the Effective Date elect on his or her Ballot receive an
            Expedited Distribution, subject to criteria set forth in the Trust
            Distribution Procedures, elect to receive an Expedited Distribution in
            exchange for providing a full and final release in favor of the
            Settlement Trust, the Protected Parties, and the Chartered
            Organizations. The Settlement Trust shall make the Expedited
            Distributions on one or more dates occurring on or as soon as
            reasonably practicable after the latest to occur of (a) the Effective
            Date, (b) the date the applicable holders of Direct Abuse Claims who
            have elected to receive an Expedited Distribution have satisfied the
            criteria set forth in the Trust Distribution Procedures, and (bc) the date
            upon which the Settlement Trust has sufficient Cash to fund the full
            amount of the Expedited Distributions while retaining sufficient Cash
            reserves to fund applicable Settlement Trust Expenses, as determined
            by the Settlement Trustee.

         b. As of the Effective Date, the Protected Parties’ liability for all Direct
            Abuse Claims shall be assumed in full by the Settlement Trust without
            further act, deed, or court order and shall be satisfied solely from the
            Settlement Trust as set forth in the Settlement Trust Documents.
            Pursuant to the Channeling Injunction set forth in Article X.F of the
            Plan, each holder of a Direct Abuse Claim shall have such holder’s
            Direct Abuse Claim against the Protected Parties (and each of them)
            permanently channeled to the Settlement Trust, and such Direct Abuse
            Claim shall thereafter be asserted exclusively against the Settlement
            Trust and processed, liquidated, and paid in accordance with the terms,
            provisions, and procedures of the Settlement Trust Documents.
            Holders of Direct Abuse Claims shall be enjoined from prosecuting
            any outstanding, or filing any future, litigation, Claims, or Causes of
            Action arising out of or related to such Direct Abuse Claims against
            any of the Protected Parties and may not proceed in any manner
            against any of the Protected Parties in any forum whatsoever,
            including any state, federal, or non-U.S. court or any administrative or
            arbitral forum, and are required to pursue such Direct Abuse Claims
            solely against the Settlement Trust as provided in the Settlement Trust
            Documents.

         c. As of the Effective Date, the Limited Protected Parties’ liability for all
            Post-1975 Chartered Organization Abuse Claims shall be assumed in
            full by the Settlement Trust without further act, deed, or court order
            and shall be satisfied solely from the Settlement Trust as set forth in
            the Settlement Trust Documents. Pursuant to the Channeling
            Injunction set forth in Article X.F of the Plan, each holder of a
            Post-1975 Chartered Organization Abuse Claim shall have such
            holder’s Post-1975 Chartered Organization Abuse Claim against the

                                  139
  Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 147 of 303




                 Limited Protected Parties (and each of them) permanently channeled
                 to the Settlement Trust, and such Post-1975 Chartered Organization
                 Abuse Claim shall thereafter be asserted exclusively against the
                 Settlement Trust and processed, liquidated, and paid in accordance
                 with the terms, provisions, and procedures of the Settlement Trust
                 Documents. Holders of Post-1975 Chartered Organization Abuse
                 Claims shall be enjoined from prosecuting any outstanding, or filing
                 any future, litigation, Claims, or Causes of Action arising out of or
                 related to such Post-1975 Chartered Organization Abuse Claim against
                 any of the Limited Protected Parties and may not proceed in any
                 manner against any of the Limited Protected Parties in any forum
                 whatsoever, including any state, federal, or non-U.S. court or any
                 administrative or arbitral forum, and are required to pursue such
                 Post-1975 Chartered Organization Abuse Claims solely against the
                 Settlement Trust as provided in the Settlement Trust Documents.

              d. For the avoidance of doubt, the Protected Parties shall include: (a) the
                 Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities;
                 (d) the Local Councils; (e) the Contributing Chartered Organizations,
                 including TCJC; (f) the Settling Insurance Companies, including
                 Hartford; and (g) all of such Persons’ Representatives. The Limited
                 Protected Parties shall include the Participating Chartered
                 Organizations.

      (iii)   Voting: Class 8 is Impaired, and each holder of a Direct Abuse Claim is
              entitled to vote to accept or reject the Plan.

11.   Class 9—Indirect Abuse Claims

      (i)     Classification: Class 9 consists of all Indirect Abuse Claims.

      (ii)    Treatment:

              a. As of the Effective Date, the Protected Parties’ liability for all Indirect
                 Abuse Claims shall be assumed in full by the Settlement Trust without
                 further act, deed, or court order and shall be satisfied solely from the
                 Settlement Trust as set forth in the Settlement Trust Documents solely
                 to the extent that an Indirect Abuse Claim has not been deemed
                 withdrawn with prejudice, irrevocably waived, released and expunged
                 in connection with the Local Council Settlement Contribution, the
                 Contributing Chartered Organization Trust Contribution, the
                 Participating Chartered Organization Trust Contribution, or the
                 Hartford Insurance Settlement Agreement. Pursuant to the Channeling
                 Injunction set forth in Article X.F of the Plan, each holder of an
                 Indirect Abuse Claim shall have such holder’s Indirect Abuse Claim
                 against the Protected Parties (and each of them) permanently
                 channeled to the Settlement Trust, and such Indirect Abuse Claim


                                       140
Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 148 of 303




              shall thereafter be asserted exclusively against the Settlement Trust
              and processed, liquidated, and paid in accordance with the terms,
              provisions, and procedures of the Settlement Trust Documents.
              Holders of Indirect Abuse Claims shall be enjoined from prosecuting
              any outstanding, or filing any future, litigation, Claims, or Causes of
              Action arising out of or related to such Abuse Claims against any of
              the Protected Parties and may not proceed in any manner against any
              the Protected Parties in any forum whatsoever, including any state,
              federal, or non-U.S. court or any administrative or arbitral forum, and
              are required to pursue such Indirect Abuse Claims solely against the
              Settlement Trust as provided in the Settlement Trust Documents.

           b. As of the Effective Date, the Limited Protected Parties’ liability for all
              Post-1975 Chartered Organization Abuse Claims shall be assumed in
              full by the Settlement Trust without further act, deed, or court order
              and shall be satisfied solely from the Settlement Trust as set forth in
              the Settlement Trust Documents. Pursuant to the Channeling
              Injunction set forth in Article X.F of the Plan, each holder of a
              Post-1975 Chartered Organization Abuse Claim shall have such
              holder’s Post-1975 Chartered Organization Abuse Claim against the
              Limited Protected Parties (and each of them) permanently channeled
              to the Settlement Trust, and such Post-1975 Chartered Organization
              Abuse Claim shall thereafter be asserted exclusively against the
              Settlement Trust and processed, liquidated, and paid in accordance
              with the terms, provisions, and procedures of the Settlement Trust
              Documents. Holders of Post-1975 Chartered Organization Abuse
              Claims shall be enjoined from prosecuting any outstanding, or filing
              any future, litigation, Claims, or Causes of Action arising out of or
              related to such Post-1975 Chartered Organization Abuse Claims
              against any of the Limited Protected Parties and may not proceed in
              any manner against any the Limited Protected Parties in any forum
              whatsoever, including any state, federal, or non-U.S. court or any
              administrative or arbitral forum, and are required to pursue such
              Post-1975 Chartered Organization Abuse Claims solely against the
              Settlement Trust as provided in the Settlement Trust Documents.

           c. For the avoidance of doubt, the Protected Parties shall include: (a) the
              Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities;
              (d) the Local Councils; (e) the Contributing Chartered Organizations,
              including TCJC; (f) the Settling Insurance Companies, including
              Hartford; and (g) all of such Persons’ Representatives. The Limited
              Protected Parties shall include the Participating Chartered
              Organizations.

   (iii)   Voting: Class 9 is Impaired, and each holder of an Indirect Abuse Claim is
           entitled to vote to accept or reject the Plan.



                                    141
            Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 149 of 303




HOLDERS OF ABUSE CLAIMS (OTHER THAN FUTURE ABUSE CLAIMS) WERE
REQUIRED TO SUBMIT A PROOF OF CLAIM ON OR BEFORE THE ABUSE
CLAIMS BAR DATE IN ACCORDANCE WITH THE BAR DATE ORDER. HOLDERS
OF ABUSE CLAIMS MAY ALSO BE REQUIRED TO SUBMIT ADDITIONAL
DOCUMENTATION REGARDING SUCH CLAIMS IN ACCORDANCE WITH THE
TRUST DOCUMENTS.
       12.     Class 10—Interests in Delaware BSA

               (i)     Classification: Class 10 consists of all Interests in Delaware BSA.

               (ii)    Treatment: On the Effective Date, Interests in Delaware BSA shall be
                       deemed cancelled without further action by or order of the Bankruptcy
                       Court and shall be of no further force or effect, whether surrendered for
                       cancellation or otherwise.

               (iii)   Voting: Class 10 is Impaired, and each holder of an Interest in Delaware
                       BSA shall be conclusively deemed to have rejected the Plan pursuant to
                       section 1126(g) of the Bankruptcy Code. Therefore, holders of Interests
                       in Delaware BSA are not entitled to vote to accept or reject the Plan, and
                       the votes of such holders will not be solicited with respect to Interests in
                       Delaware BSA.

F.     Elimination of Vacant Classes

       Any Class of Claims against or Interests in the Debtors that, as of the commencement of
the Confirmation Hearing, does not have at least one holder of a Claim or Interest that is
Allowed in an amount greater than zero for voting purposes shall be considered vacant, deemed
eliminated from the Plan for purposes of voting to accept or reject the Plan, and disregarded for
purposes of determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code
with respect to that Class.

G.     Cramdown

        If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does not
vote to accept the Plan, the Debtors may (a) seek Confirmation of the Plan under section 1129(b)
of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms hereof
and the Bankruptcy Code. If a controversy arises as to whether any Claims are, or any class of
Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

H.     Means for Implementation of the Plan

       1.      Operations of the Debtors between Confirmation and the Effective Date

        The Debtors shall continue to operate as debtors and debtors in possession during the
period from the Confirmation Date to the Effective Date.



                                                142
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21    Page 150 of 303




       2.      BSA Governance Documents

        From and after the Effective Date, Reorganized BSA shall be governed pursuant to the
BSA Charter and the Amended BSA Bylaws. The Amended BSA Bylaws shall contain such
provisions as are necessary to satisfy the provisions of the Plan, subject to further amendment
thereof after the Effective Date, as permitted by applicable law. Under the BSA Charter, the
BSA has no power to issue certificates of stock, its object and purpose being solely of a
charitable character and not for pecuniary profit; accordingly, the requirement of section
1123(a)(6) does not apply to the BSA.

       3.      Continued Legal Existence of BSA

         The BSA shall continue to exist on and after the Effective Date, with all of the powers it
is entitled to exercise under applicable law and pursuant to the BSA Charter and the Amended
BSA Bylaws, subject to further amendment of the Amended BSA Bylaws after the Effective
Date, as permitted by applicable law.

       4.      Reorganized BSA’s Directors and Senior Management

        Pursuant to section 1129(a)(5) of the Bankruptcy Code, to the extent that there are
anticipated changes in Reorganized BSA’s directors and officers, the Debtors will identify any
such changes in the Plan Supplement. On and after the Effective Date, the Amended BSA
Bylaws, as such may be amended thereafter from time to time, shall govern the designation and
election of directors of Reorganized BSA.

       5.      Dissolution of Delaware BSA

       On the Effective Date, Delaware BSA’s members, directors, officers and employees shall
be deemed to have resigned, and Delaware BSA shall be deemed to have dissolved for all
purposes and be of no further legal existence under any applicable state or federal law, without
the need for any further action or the filing of any plan of dissolution, notice, or application with
the Secretary of State of the State of Delaware or any other state or government authority, and
without the need to pay any franchise or similar taxes to effectuate such dissolution. Any
Allowed Claims against Delaware BSA will be treated as set forth in Article III.B of the Plan.

       6.      Due Authorization

        As of the Effective Date, all actions contemplated by the Plan that require corporate
action of the Debtors, or either of them, including actions requiring a vote of the National
Executive Board or the National Executive Committee of the BSA or the sole member of
Delaware BSA, and execution of all documentation incident to the Plan, shall be deemed to have
been authorized, approved, and, to the extent taken prior to the Effective Date, ratified in all
respects without any requirement of further action by the Bankruptcy Court, members, officers,
or directors of the Debtors, Reorganized BSA, or any other Person.




                                                143
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 151 of 303




       7.      Cancellation of Interests

       As of the Effective Date, in accordance with Article III.B.12 of the Plan, Interests in
Delaware BSA shall be deemed cancelled without further action by or order of the Bankruptcy
Court and shall be of no further force or effect.

       8.      Restatement of Indebtedness

        Except as otherwise provided in the Plan, or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, and subject to the
treatment afforded to holders of Allowed Claims in Class 3A, 3B, 4A, or 4B under Article III of
the Plan, on the Effective Date, all Prepetition Debt and Security Documents, including all
agreements, instruments, and other documents evidencing or issued pursuant to the 2010 Credit
Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the 2012 Bond
Documents, or any indebtedness or other obligations thereunder, and any rights of any holder in
respect thereof, shall be deemed amended and restated in the form of the Restated Debt and
Security Documents on the terms set forth herein.

        Any provision in any document, instrument, lease, or other agreement that causes or
effectuates, or purports to cause or effectuate, a default, termination, waiver, or other forfeiture
of, or by, the Debtors as a result of the satisfactions, Injunctions, Releases, Discharges and other
transactions provided for in the Plan shall be deemed null and void and shall be of no force or
effect. Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the
obligation of the Debtors or any of their counterparties under any Executory Contract or
Unexpired Lease to the extent such Executory Contract or Unexpired Lease has been assumed
by the Debtors pursuant to a Final Order of the Bankruptcy Court, including the Confirmation
Order.

       9.      Cancellation of Liens

       Except as otherwise provided in the Plan, on the Effective Date, any Lien securing any
Allowed Secured Claim (other than a Lien securing any Allowed Secured Claim that is
Reinstated pursuant to the Plan, including, for avoidance of doubt, the liens securing the
Restated Debt and Security Documents) shall be deemed released and the holder of such
Allowed Secured Claim shall be authorized and directed to release any collateral or other
property of any Debtor (including any cash collateral) held by such holder and to take such
actions as may be requested by the Debtors (or Reorganized BSA, as the case may be) to
evidence the release of such Lien, including the execution, delivery, and filing or recording of
such releases as may be requested by the Debtors (or Reorganized BSA, as the case may be).

       10.     Effectuating Documents and Further Transactions

        The Chief Executive Officer and President, the Chief Financial Officer, and the General
Counsel of the BSA are authorized to execute, deliver, file or record such contracts, instruments,
releases, indentures, and other agreements or documents and take or direct such actions as may
be necessary or appropriate to effectuate and further evidence the terms and conditions of the



                                                144
         Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 152 of 303




Plan in the name of and on behalf of Reorganized BSA, without the need for any approvals,
authorizations, actions, or consents except for those expressly required pursuant to the Plan.

       11.    Sources of Consideration for Plan Distributions

       Distributions under the Plan shall be funded from the following sources:

              1.     the Debtors shall fund Distributions on account of and satisfy Allowed
                     General Unsecured Claims exclusively from the Core Value Cash Pool;

              2.     the Settlement Trust shall fund distributions on account of and satisfy
                     compensable Abuse Claims in accordance with the Trust Distribution
                     Procedures from (a) the BSA Settlement Trust Contribution, (b) the Local
                     Council Settlement Contribution, (c) the Contributing Chartered
                     Organization Settlement Contribution, (d) the Participating Chartered
                     Organization Settlement Contribution, (e) the Hartford Settlement
                     Contribution, and (f) any and all funds, proceeds or other consideration
                     contributed to the Settlement Trust under the terms of any Insurance
                     Settlement Agreement;

              3.     the Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
                     2010 Bond Claims, and 2012 Bond Claims in accordance with the terms
                     of the Restated 2010 Bond Documents, the Restated 2012 Bond
                     Documents and the Restated Credit Facility Documents, as applicable;
                     and

              4.     the Debtors shall fund Distributions on account of and satisfy all other
                     Allowed Claims with Unrestricted Cash and Investments on hand on or
                     after the Effective Date in accordance with the terms of the Plan and the
                     Confirmation Order.

       12.    Calculation of Minimum Unrestricted Cash and Investments

      The minimum amount of Unrestricted Cash and Investments to be retained by
Reorganized BSA on the Effective Date shall be:

              1.     $25,000,000 if the Effective Date occurs on or before September 30, 2021;

              2.     $37,000,000 if the Effective Date occurs on or after October 1, 2021 but
                     before November 1, 2021;

              3.     $36,000,000 if the Effective Date occurs on or after November 1, 2021 but
                     before December 1, 2021;

              4.     $40,000,000 if the Effective Date occurs on or after December 1, 2021 but
                     before January 1, 2022;




                                              145
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 153 of 303




               5.      $57,000,000 if the Effective Date occurs on or after January 1, 2022 but
                       before February 1, 2022;

               6.      $41,000,000 if the Effective Date occurs on or after February 1, 2022 but
                       before March 1, 2022;

               7.      $55,000,000 if the if the Effective Date occurs on or after March 1, 2022
                       but before April 1, 2022; and

               8.      $54,000,000 if the Effective Date occurs on or after April 1, 2022.

Without limiting the foregoing, in accordance with the Hartford Insurance Settlement Agreement
and the Allowance of the Hartford Administrative Expense Claim under the Plan, the Net
Unrestricted Cash and Investments shall be reduced on a dollar-for-dollar basis equal to fifty
percent (50%) of the Allowed Hartford Administrative Expense Claim, or $1,000,000.

       13.     Resolution of Abuse Claims

         All Abuse Claims shall be channeled to and resolved by the Settlement Trust in
accordance with the Trust Distribution Procedures; provided, that any Non-Settling Insurance
Company may, subject to Article X.M of the Plan, raise any valid Insurance Coverage Defense
in response to a demand by the Settlement Trust, including any right of such Non-Settling
Insurance Company to assert any defense that could, but for the Settlement Trust’s assumption
of the liabilities, obligations, and responsibilities of the Protected Parties for Abuse Claims, have
been raised by the Debtors or other applicable Protected Party with respect to such Claim.

      If the Plan is confirmed, the Plan shall provide for the global resolution of Abuse
Claims against the Debtors, Related Non-Debtor Entities, Local Councils, Contributing
Chartered Organizations, Settling Insurance Companies, and their respective
Representatives.

       14.     Funding by the Settlement Trust

        The Settlement Trust shall have no obligation to fund costs or expenses other than those
set forth in the Plan or the Settlement Trust Documents, as applicable.

       15.     Core Value Cash Pool

        Reorganized BSA shall deposit Cash into the Core Value Cash Pool by making four
semi-annual installment payments equal to $6,250,000. Reorganized BSA shall make the first
deposit six (6) months after the Effective Date; the second installment on the first anniversary
after the Effective Date; the third installment eighteen (18) months after the Effective Date; and
the fourth installment on the second anniversary of the Effective Date.

       16.     Creditor Representative; Disbursing Agent

      The Creditor Representative shall be appointed as of the Effective Date. The Creditor
Representative shall be responsible for assisting Reorganized BSA and its professionals in their


                                                146
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 154 of 303




efforts to efficiently reconcile Convenience Claims, General Unsecured Claims, and Non-Abuse
Litigation Claims. The identity of the Creditor Representative shall be determined by the
Creditors’ Committee, with the consent of the Debtors (such consent not to be unreasonably
withheld). The Debtors or Reorganized BSA, as applicable, will use commercially reasonable
efforts to assist the Creditor Representative in reconciling Convenience Claims, General
Unsecured Claims, and Non-Abuse Litigation Claims on or before the applicable Claims
Objection Deadline. The reasonable fees and actual and necessary costs and expenses of the
Creditor Representative shall be paid by Reorganized BSA up to the Creditor Representative Fee
Cap, and Reorganized BSA shall have no obligation to compensate or reimburse the costs or
expenses of the Creditor Representative beyond the amount of the Creditor Representative Fee
Cap. The Disbursing Agent shall have the rights, powers and responsibilities provided in Article
VII of the Plan. The reasonable fees and actual and necessary costs and expenses of the
Disbursing Agent, if any, shall be paid by Reorganized BSA.

       17.     Residual Cash in Core Value Cash Pool

       To the extent any Cash remains in the Core Value Cash Pool after all Allowed General
Unsecured Claims have been satisfied in full, such remaining Cash shall: (1) first, on account of
any Allowed Non-Abuse Litigation Claims that shall not have elected to be treated as an
Allowed Convenience Claim under Article III.B.9 of the Plan to satisfy any deficiency in
payments of such Allowed Claims (a) from available insurance coverage, including Abuse
Insurance Policies and Non-Abuse Insurance Policies, (b) from applicable proceeds of any
Insurance Settlement Agreements, and (c) from co-liable non-debtors (if any) or their insurance
coverage; (2) second, to pay interest to holders of Allowed General Unsecured Claims in
accordance with Article VII.L of the Plan; and (3) third irrevocably re-vest in Reorganized BSA.

       18.     Compromise and Settlement of Claims, Interests, and Controversies

        Pursuant to section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019
and in consideration for the distributions and other benefits provided under the Plan and the Plan
Documents, as of the Effective Date, the provisions of the Plan, including the Abuse Claims
Settlement, the Hartford Insurance Settlement, the JPM / Creditors’ Committee Settlement, the
TCJC Settlement, and the Settlement of Restricted and Core Asset Disputes set forth in Article
V.S of the Plan, shall constitute good-faith compromises and settlements of Claims, Interests,
and controversies among the parties thereto relating to the contractual, legal, equitable and
subordination rights that holders of Claims or Interests may have with respect to any Claim or
Interest under the Plan or any Distribution to be made on account of an Allowed Claim. The
Plan shall be deemed a motion, proposed by the Debtors and joined by the parties to the Abuse
Claims Settlement, the Hartford Insurance Settlement Agreement, the JPM / Creditors’
Committee Settlement, the TCJC Settlement, and the Settlement of Restricted and Core Asset
Disputes, respectively, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise and settlement of all such Claims, Interests, and
controversies among the parties thereto, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and holders of
such Claims and Interests, and is fair, equitable and reasonable.




                                               147
Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 155 of 303




   1.      Abuse Claims Settlement. The treatment provided for Abuse Claims,
   including Post-1975 Chartered Organization Abuse Claims, under the Plan
   incorporates and reflects a proposed compromise and settlement of all Scouting
   Released Claims, including all Abuse Claims against the Protected Parties and all
   Post-1975 Chartered Organization Abuse Claims against the Limited Protected
   Parties (the “Abuse Claims Settlement”), and the Plan constitutes a request for the
   Bankruptcy Court to authorize and approve the Abuse Claims Settlement. The
   following constitute the provisions and conditions of the Abuse Claims
   Settlement:
          a.      Local Council Settlement Contribution. The Local Councils shall
   make, cause to be made, or be deemed to have made, as applicable, the Local
   Council Settlement Contribution, as set forth in Exhibit F of the Plan and as
   defined in the Plan, meaning:
                (i)      the contributions to the Settlement Trust by the Local
          Councils, as set forth in Exhibit F to the Plan;

                  (ii)    to the maximum extent under applicable law, any and all of
          the Local Councils’ rights, titles privileges, interests, claims, demands or
          entitlements, as of the Effective Date, to any proceeds, interest, claims,
          demands or entitlements, as of the Effective Date, to any proceeds,
          payments, benefits, Causes of Action, choses in action, defense, or
          indemnity, now existing or hereafter arising, accrued or unaccrued,
          liquidated or unliquidated, matured or unmatured, disputed or undisputed,
          fixed or contingent, arising under or attributable to: (i) the BSA Insurance
          Policies, the Insurance Coverage, the Insurance Settlement Agreements,
          and claims thereunder and proceeds thereof (but not the policies
          themselves); (ii) the Insurance Actions; and (iii) the Insurance Action
          Recoveries; provided, however, that the transfer set forth in the Plan will
          not include the Local Council Reserved Rights;

                  (iii)  to the maximum extent permitted under applicable law, any
          and all of the Local Councils’ rights, titles, privileges, interests, claims,
          demands or entitlements, as of the Effective Date, to any proceeds,
          payments, benefits, Causes of Action, choses in action, defense, or
          indemnity, now existing or hereafter arising, accrued or unaccrued,
          liquidated or unliquidated, matured or unmatured, disputed or undisputed,
          fixed or contingent, arising under or attributable to: (i) the Local Council
          Insurance Policies, the Insurance Coverage, the Insurance Settlement
          Agreements, and claims thereunder and proceeds thereof; (ii) the
          Insurance Actions; and (iii) the Insurance Action Recoveries; provided,
          however, that the transfer set forth in the Plan will not include the Local
          Council Reserved Rights;

                 (iv)   the waiver, release, and expungement from the Claims
          Register of any and all Claims that have been asserted in the Chapter 11
          Cases by or on behalf of any Local Council, including any Indirect Abuse

                                   148
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 156 of 303




         Claims, without any further notice to or action, order or approval of the
         Bankruptcy Court, and the agreement of each Local Council not to file or
         assert any Claim or Claims against the Debtors or Reorganized BSA
         arising from any act or omission of the Debtors on or prior to the
         Confirmation Date;

                (v)     the Local Councils’ Settlement Trust Causes of Action; and

                (vi)   the assignment of any and all Perpetrator Indemnification
         Claims held by the Local Councils.

                  (vii) Further, if a Local Council is unable to transfer its rights,
         titles, privileges, interests, claims, demands or entitlements, as of the
         Effective Date, to any proceeds, payments, benefits, Causes of Action,
         choses in action, defense, or indemnity, now existing or hereafter arising,
         accrued or unaccrued, liquidated or unliquidated, matured or unmatured,
         disputed or undisputed, fixed or contingent, arising under or attributable to
         (i) the Abuse Insurance Policies, the Insurance Settlement Agreements,
         and claims thereunder and proceeds thereof; (ii) Insurance Actions, and
         (iii) the Insurance Action Recoveries (the “Local Council Insurance
         Rights”), then the Local Council shall, at the sole cost and expense of the
         Settlement Trust: (a) take such actions reasonably requested by the
         Settlement Trustee to pursue any of the Local Council Insurance Rights
         for the benefit of the Settlement Trust; and (b) promptly transfer to the
         Settlement Trust any amounts recovered under or on account of any of the
         Local Council Insurance Rights; provided, however, that while any such
         amounts are held by or under the control of any Local Council, such
         amounts shall be held for the benefit of the Settlement Trust.




                                  149
Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 157 of 303




           b.       Contributing Chartered Organization Settlement Contribution.
   The Contributing Chartered Organizations, including TCJC, shall make, cause to
   be made, or be deemed to have made, as applicable, the Contributing Chartered
   Organization Settlement Contribution, including the TCJC Settlement
   Contribution. If a Contributing Chartered Organization is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, if any, as of
   the Effective Date, to any proceeds, payments, benefits, Causes of Action, choses
   in action, defense, or indemnity, now existing or hereafter arising, accrued or
   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
   and proceeds thereof, (ii) the Insurance Actions, and (iii) the Insurance Action
   Recoveries (the “Contributing Chartered Organization Insurance Rights”), then
   the Contributing Chartered Organization shall, at the sole cost and expense of the
   Settlement Trust: (a) take such actions reasonably requested by the Settlement
   Trustee to pursue any of the Contributing Chartered Organization Insurance
   Rights for the benefit of the Settlement Trust; and (b) promptly transfer to the
   Settlement Trust any amounts recovered under or on account of any of the
   Contributing Chartered Organization Insurance Rights; provided, however, that
   while any such amounts are held by or under the control of any Contributing
   Chartered Organization, such amounts shall be held for the benefit of the
   Settlement Trust.

           c.       Participating Chartered Organization Settlement Contribution.
   The Participating Chartered Organizations shall make, cause to be made, or be
   deemed to have made, as applicable, the Participating Chartered Organization
   Settlement Contribution. In addition, to the extent that the Settlement Trust’s
   allowance of a particular Abuse Claim results in an Allowed Claim Amount (as
   defined in the Trust Distribution Procedures) for such Claim that exceeds the
   available limits of the Abuse Insurance Policies potentially applicable to such
   Claim, then, with respect to Post-1975 Chartered Organization Abuse Claims, the
   Settlement Trust shall have the right to assert a claim against applicable
   Participating Chartered Organizations solely to the extent and availability of such
   Participating Chartered Organizations’ own liability insurance (or, if permitted by
   applicable law, directly against such liability insurance), in all cases without
   recourse to any non-insurance assets of such Participating Chartered
   Organizations. If a Participating Chartered Organization is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, if any, as of
   the Effective Date, to any proceeds, payments, benefits, Causes of Action, choses
   in action, defense, or indemnity, now existing or hereafter arising, accrued or
   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, (excluding the Chartered Organization Reserved Policies), the
   Insurance Settlement Agreements, and claims thereunder and proceeds thereof,
   (ii) the Insurance Actions, and (iii) the Insurance Action Recoveries (the
   “Participating Chartered Organization Insurance Rights”), then the Participating
   Chartered Organization shall, at the sole cost and expense of the Settlement Trust:

                                    150
Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 158 of 303




   (a) take such actions reasonably requested by the Settlement Trustee to pursue
   any of the Participating Chartered Organization Insurance Rights for the benefit
   of the Settlement Trust; and (b) promptly transfer to the Settlement Trust any
   amounts recovered under or on account of any of the Participating Chartered
   Organization Insurance Rights; provided, however, that while any such amounts
   are held by or under the control of any Participating Chartered Organization, such
   amounts shall be held for the benefit of the Settlement Trust.

           d.     Claims Deemed Withdrawn with Prejudice. On the Effective Date,
   any and all Claims that have been asserted in the Chapter 11 Cases by or on
   behalf of any Local Council, Participating Chartered Organization, Contributing
   Chartered Organization, or Settling Insurance Company shall be deemed
   withdrawn with prejudice and irrevocably waived, released and expunged from
   the Claims Register without any further notice to or action, order, or approval of
   the Bankruptcy Court, except that any withdrawal, waiver, release or
   expungement of any Claims asserted by Hartford or TCJC shall be governed by
   the terms and conditions of the Hartford Insurance Settlement Agreement and the
   TCJC Settlement Agreement, respectively. Further, no Local Council,
   Participating Chartered Organization, Contributing Chartered Organization, or
   Settling Insurance Company shall file or assert any Claim or Claims against the
   Debtors or Reorganized BSA arising from any act or omission of the Debtors
   prior to the Confirmation Date, except as provided otherwise in the Hartford
   Insurance Settlement Agreement (including with respect to the Hartford
   Additional Administrative Expense Claim, if applicable).

           e.      Entitlement to Become a Protected Party. Notwithstanding
   anything to the contrary set forth in the Plan or any other document filed with the
   Bankruptcy Court: (i) no Local Council shall be treated as a Protected Party under
   the Plan if any part of the Cash or Property Contribution (as defined on Exhibit F
   of the Plan) components of the Local Council Settlement Contribution is not
   contributed to the Settlement Trust on the Effective Date as described on Exhibit
   F of the Plan, it being understood that the Property contribution shall be deemed
   to have been contributed on the Effective Date for Purposes of this provision
   when all individual Local Councils that are to make a Property Contribution have
   provided a notice of intent to contribute property to the Settlement Trust in
   accordance with the terms of the Property Contribution set forth on Exhibit F of
   the Plan; (ii) no Contributing Chartered Organization shall be treated as a
   Protected Party under the Plan until its Contributing Chartered Organization
   Settlement Contribution shall have been made; (iii) no Settling Insurance
   Company shall be treated as a Protected Party under the Plan until such Settling
   Insurance Company shall have made its contribution to the Settlement Trust
   pursuant to an Insurance Settlement Agreement, except that Hartford shall be
   treated as a Settling Insurance Company and Protected Party upon the payment of
   the Initial Payment to the Settlement Trust and the payment of the Additional
   Payment into the Escrow Account (as such capitalized terms are defined in the
   Hartford Insurance Settlement Agreement); and (iv) no Participating Chartered



                                   151
                Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21         Page 159 of 303




                       Organization shall be treated as a Protected Party solely based on the
                       Participating Chartered Organization Insurance Assignment.

                                f.     Entitlement to Become a Limited Protected Party.
                       Notwithstanding anything to the contrary set forth in the Plan or any other
                       document filed with the Bankruptcy Court, no Chartered Organization shall be
                       treated as a Limited Protected Party under the Plan if it objects to Confirmation of
                       the Plan or informs Debtors’ counsel in writing on or before the deadline to object
                       to Confirmation of the Plan that it does not wish to make the Chartered
                       Organization Insurance Assignment.          Notwithstanding the foregoing, no
                       Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date
                       (including the Archbishop of Agaña, a Corporation Sole), shall be treated as a
                       Participating Chartered Organization unless it advises Debtors’ counsel in writing
                       that it wishes to make the Chartered Organization Insurance Assignment.

                     2.             The JPM / Creditors’ Committee Settlement. The treatment
             provided for under the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF
             Claims, Allowed 2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience
             Claims, Allowed General Unsecured Claims, and Allowed Non-Abuse Litigation Claims,
             together with the terms and conditions of the JPM / Creditors’ Committee Term Sheet,
             reflects a proposed compromise and settlement by and among the Debtors, the Creditors’
             Committee and JPM (the “JPM / Creditors’ Committee Settlement”).104105 The following
             constitutes the provisions and conditions of the JPM / Creditors’ Committee Settlement:
                               a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019
                       RCF Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit
                       Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                       Claims shall be Allowed in the amounts set forth in Article III.B of the Plan and
                       receive the treatment afforded to such Claims thereunder. The Debtors
                       acknowledge and agree that the Claims held by JPM (the 2010 Credit Facility
                       Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond
                       Claims), are core to the Debtors’ charitable mission and were incurred in
                       furtherance of the Debtors’ charitable mission.

                               b.    Treatment of Convenience Claims, General Unsecured Claims, and
                       Non- Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
                       and Non-Abuse Litigation Claims shall receive the treatment afforded to such
                       Claims under Article III.B of the Plan. The Debtors acknowledge and agree that
                       General Unsecured Claims, Convenience Claims, and Non-Abuse Litigation
                       Claims are held by creditors who are core to the Debtors’ charitable mission or
                       creditors whose Claims in such Classes, if Allowed, were incurred in furtherance
                       of the Debtors’ charitable mission; accordingly, payments by Reorganized BSA
                       under the Plan on account of such Allowed Claims, if applicable, will be made
                       from Cash relating to Reorganized BSA’s core assets.

104105
              In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and conditions
         of the JPM / Creditors’ Committee Term Sheet, on the other hand, the terms of the Plan shall control.


                                                                  152
  Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 160 of 303




              c.      Challenge Period. As of the Effective Date, (i) the Challenge
       Period (as defined in the Cash Collateral Order) shall be deemed to have expired
       with respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the
       Cash Collateral Order) and other admissions, agreements and releases set forth in
       the Cash Collateral Order shall be final and binding on the Creditors’ Committee.
       The ability of any other party to bring a Challenge Proceeding (as defined in the
       Cash Collateral Order) shall be governed by the terms and conditions of the Cash
       Collateral Order.

         3.     Settlement of Restricted and Core Asset Disputes.       As a proposed
compromise and settlement of any and all disputes concerning the Debtors’ restricted
and/or core assets, including the claims asserted in the complaint filed by the Tort
Claimants’ Committee in the adversary proceeding entitled Official Tort Claimants’
Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of America
and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of Restricted
and Core Asset Disputes”), the Debtors shall: (a) reduce the minimum amount of
Unrestricted Cash and Investments to be retained by Reorganized BSA on the Effective
Date from $75,000,000 to $25,000,000 (subject to potential variance as set forth in
Article V.M of the Plan); and (b) issue the BSA Settlement Trust Note to the Settlement
Trust as of the Effective Date in accordance with Article V.X of the Plan. As further
consideration in connection with the Settlement of Restricted and Core Asset Disputes,
the Debtors have agreed under the Plan to: (i) fund the Core Value Cash Pool, in the
amount of $25,000,000; and (ii) make the BSA Settlement Trust Contribution, including
all of the Net Unrestricted Cash and Investments. The proceeds of the Foundation Loan,
in the amount of $42,800,000 (which Reorganized BSA will use exclusively for working
capital and general corporate purposes), will permit the Debtors to contribute to the
Settlement Trust a substantial amount of core value consideration in Cash on the
Effective Date.

         4.     Hartford Insurance Settlement Agreement. The Plan incorporates the
Hartford Insurance Settlement Agreement, which, upon its execution by all of the parties
thereto, shall be filed with the Plan Supplement and is attached to the Plan as Exhibit I-1,
and the Plan shall constitute a motion by the Debtors for the Bankruptcy Court to
approve the proposed compromises and settlements and sale of the Hartford Policies set
forth in the Hartford Insurance Settlement Agreement (the “Hartford Insurance
Settlement”), pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the
Bankruptcy Code and Bankruptcy Rule 9019, including approval of (i) the Hartford
Insurance Settlement Agreement, (ii) the sale by the Debtors, their Estates, and the
purchase by Hartford, of the Hartford Policies, free and clear of all Interests of any
Person or Entity (as such terms are defined in the Hartford Insurance Settlement
Agreement; for the avoidance of doubt, the term “Interests” as used in Article V.S.4 of
the Plan shall have the meaning given to the term “Interests” in the Hartford Insurance
Settlement Agreement, rather than as such term is defined in Article I of the Plan),
provided that the Interests, if any, of Chartered Organizations under the Hartford Policies
shall, to the extent such Chartered Organizations are not beneficiaries of the Channeling
Injunction, attach to the proceeds of the sale of the Hartford Policies, (iii) the settlement,
compromise and release of the Hartford Released Claims (as defined in the Hartford

                                         153
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 161 of 303




       Insurance Settlement Agreement) as provided in the Hartford Insurance Settlement
       Agreement, and (iv) the Allowance of the Hartford Administrative Expense Claim. The
       Confirmation Order shall constitute the Bankruptcy Court’s approval of such motion
       pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code and
       Bankruptcy Rule 9019 and Allowance of the Hartford Administrative Expense Claim and
       shall include findings of fact and conclusions of law pertaining to such approval, in form
       and substance acceptable to Hartford, including findings and conclusions designating
       Hartford as a good-faith purchaser of the Hartford Policies.

              5.      TCJC Settlement. The Plan incorporates the TCJC Settlement Agreement,
       which, upon its execution by all of the parties thereto, shall be filed with the Plan
       Supplement and attached to the Plan as Exhibit J-1, and the Plan shall constitute a motion
       by the Debtors for the Bankruptcy Court to approve the proposed compromises and
       settlements set forth in the TCJC Settlement Agreement (the “TCJC Settlement”)
       pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, including,
       as provided in the TCJC Settlement Agreement, payment of the TCJC Settlement
       Contribution to the Settlement Trust as a compromise and settlement of all TCJC Abuse
       Claims, TCJC Claims, and disputes relating to the Plan, including the TCJC Insurance
       Rights (as such terms are defined in the TCJC Settlement Agreement). The Confirmation
       Order shall constitute the Bankruptcy Court’s approval of such motion pursuant to
       section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall include
       findings of fact and conclusions of law pertaining to such approval, in form and
       substance acceptable to TCJC.

       19.     Payment of Coalition Restructuring Expenses

        On or as soon as reasonably practicable after the Effective Date, Reorganized BSA shall
reimburse state court counsel for amounts they have paid to the Coalition Professionals for,
and/or pay the Coalition Professionals for amounts payable by state court counsel but not yet
paid to Coalition Professionals for, reasonable, documented, and contractual professional
advisory fees and expenses incurred by the Coalition Professionals (the “Coalition Restructuring
Expenses”) from the Coalition’s inception up to and including the Effective Date, up to a
maximum amount equal to (a) $950,000 per month for the period from August 16, 2021 up to
and including the Effective Date (pro-rated for any partial month), plus (b) $10,500,000;
provided, however, that, without limiting the foregoing, under no circumstance shall the Debtors
or Reorganized BSA have any obligation to (i) pay or reimburse the Coalition, any of its
members, or any Persons affiliated with the Coalition for any costs, fees or expenses other than
the Coalition Restructuring Expenses or (ii) pay or reimburse any Coalition Restructuring
Expenses that constitute transaction, success or similar contingent fees. The Coalition shall
provide the Debtors a reasonable estimate of the total Coalition Restructuring Expenses as of the
Effective Date no later than the date that is five (5) Business Days before the anticipated
Effective Date. Notwithstanding anything to the contrary in the Plan, Coalition Restructuring
Expenses shall be subject to the terms of Article II.A.2 of the Plan, with the following
modifications: (x) Coalition Professionals shall comply with the procedures and processes set
forth in Article II.A.2 of the Plan by filing final fee application(s), which, for attorneys or law
firms who are Coalition Professionals, shall include time entry detail, which may be redacted for
privilege; and (y) payment or reimbursement of Coalition Restructuring Expenses shall be


                                                154
          Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 162 of 303




subject to the review and procedure of the Fee Examiner. For the avoidance of doubt, the
Coalition Professionals shall not be considered retained professionals of the Debtors, the
Creditors’ Committee, the Tort Claimants’ Committee, or the Future Claimants’ Representative,
and the retention of the Coalition Professionals shall not have been required to satisfy the
standards for retention set forth in sections 327, 328 or 1103 of the Bankruptcy Code.

       20.     Good-Faith Compromise and Settlement

         The Plan (including its incorporation of the Abuse Claims Settlement, the Hartford
Insurance Settlement, the JPM / Creditors’ Committee Settlement, the TCJC Settlement, and the
Settlement of Restricted and Core Asset Disputes), the Plan Documents, and the Confirmation
Order constitute a good-faith compromise and settlement of Claims, Interests and controversies
based upon the unique circumstances of these Chapter 11 Cases, and none of the foregoing
documents, the Disclosure Statement, or any other papers filed in furtherance of Confirmation,
nor any drafts of such documents, may be offered into evidence or deemed as an admission in
any context whatsoever beyond the purposes of the Plan, in any other litigation or proceeding,
except as necessary, and as admissible in such context, to enforce their terms before the
Bankruptcy Court or any other court of competent jurisdiction. The Plan, the Abuse Claims
Settlement, the Hartford Insurance Settlement, the JPM / Creditors’ Committee Settlement, the
TCJC Settlement, the Settlement of Restricted and Core Asset Disputes, the Plan Documents,
and the Confirmation Order will be binding as to the matters and issues described therein, but
will not be binding with respect to similar matters or issues that might arise in any other
litigation or proceeding in which none of the Debtors, Reorganized BSA, the Protected Parties,
or the Settlement Trust is a party.

       21.     Restated Debt and Security Documents

        On the Effective Date, the Prepetition Debt and Security Documents shall be amended
and restated in the form of the Restated Debt and Security Documents, and Reorganized BSA,
JPM and Arrow shall, and shall be authorized, to execute, deliver and enter into the Restated
Debt and Security Documents as of such date, in principal amounts equal to the Allowed
amounts set forth in Article III.B.3, Article III.B.4, Article III.B.5, and Article III.B.6 of the Plan
without the need for any further corporate action or any further notice to or order of the
Bankruptcy Court. The Debtors or Reorganized BSA, as applicable, JPM, and Arrow shall take
all actions necessary to continue the Debtors’ obligations under the Prepetition Debt and
Security Documents, as amended and restated by the Restated Debt and Security Documents and
to give effect to the Restated Debt and Security Documents, including surrendering any debt
instruments or securities that are no longer applicable under the Restated Debt and Security
Documents to the Debtors or Reorganized BSA. Entry of the Confirmation Order shall be
deemed approval of the JPM Exit Fee, and Reorganized BSA is authorized and directed to pay
the JPM Exit Fee to JPM on the Effective Date

       Except as otherwise modified by the Restated Debt and Security Documents, all Liens,
mortgages and security interests securing the obligations arising under the Restated Debt and
Security Documents that were collateral securing the Debtors’ obligations under the Prepetition
Debt and Security Documents as of the Petition Date are unaltered by the Plan, and all such
Liens, mortgages and security interests are reaffirmed and perfected with respect to the Restated


                                                 155
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 163 of 303




Debt and Security Documents to the same extent, in the same manner and on the same terms and
priorities as they were under the Prepetition Debt and Security Documents, except as the
foregoing may be modified pursuant to the Restated Debt and Security Documents. All Liens
and security interests granted and continuing pursuant to the Restated Debt and Security
Documents shall be (a) valid, binding, perfected, and enforceable Liens and security interests in
the personal and real property described in and subject to such documents, with the priorities
established in respect thereof under applicable non-bankruptcy law; (b) granted in good faith and
deemed not to constitute a fraudulent conveyance or fraudulent transfer; and (c) not otherwise
subject to avoidance, recharacterization, or subordination (whether equitable, contractual or
otherwise) under any applicable law. The Debtors, Reorganized BSA, Arrow, and JPM are
authorized to make, and to the extent required by the Restated Debt and Security Documents, the
Debtors, Reorganized BSA, Arrow will make, all filings and recordings, and obtain all
governmental approvals and consents necessary (but otherwise consistent with the consents and
approvals obtained in connection with the Prepetition Debt and Security Documents) to
establish, attach and perfect such Liens and security interests under any applicable law (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation
Order and any such filings, recordings, approvals, and consents shall not be required), and will
thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties. For
purposes of all mortgages and deposit account control agreements that secured the obligations
arising under the Prepetition Debt and Security Documents, the Restated Debt and Security
Documents are deemed an amendment and restatement of the Prepetition Debt and Security
Documents, and such mortgages and control agreements shall survive the Effective Date, shall
not be cancelled, and shall continue to secure Reorganized BSA’s obligations under the Restated
Debt and Security Documents, except as expressly set forth therein.

              1.     The definitive terms of the Restated Debt and Security Documents shall
       be (x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’
       Committee, and (z) substantially the same as the Prepetition Debt and Security
       Documents, except that, as to be specified in the Restated Debt and Security Documents:




                                               156
Case 20-10343-LSS    Doc 6418-1        Filed 09/29/21   Page 164 of 303




   a.    the maturity dates under the Restated 2010 Bond Documents, the Restated
         2012 Bond Documents, and the Restated Credit Facility Documents will
         be the Restated Maturity Date;

         b.     principal under the Restated 2010 Bond Documents and the
                Restated 2012 Bond Documents shall be payable in monthly
                installments, in the same monthly amounts as the prepetition
                periodic amortization amounts, beginning on the date that is two
                (2) years after the Effective Date and ending on the Restated
                Maturity Date; provided, that the scheduled principal amounts
                payable under the Restated 2010 Bond Documents and the
                Restated 2012 Bond Documents shall be reduced, on a pro rata
                basis, by an amount equal to the Excess Cash and Investments, if
                any, that are remitted to JPM under the Excess Cash Sweep;

   c.    interest under the Restated 2010 Bond Documents and the Restated 2012
         Bond Documents shall be payable in monthly installments, at the currently
         applicable existing rates in the 2010 Bond Documents and the 2012 Bond
         Documents, beginning on the date that is one month after the Effective
         Date and ending on the Restated Maturity Date;
   d.    principal under the Restated Credit Facility Documents shall be payable in
         quarterly installments, set at 1/40th of the outstanding balance on the
         Effective Date, beginning on the date that is two (2) years after the
         Effective Date and ending on the Restated Maturity Date; provided, that
         the principal amounts payable under the Restated Credit Facility
         Documents shall be reduced, on a pro rata basis, by an amount equal to the
         Excess Cash and Investments, if any, that are remitted to JPM under the
         Excess Cash Sweep;
   e.    interest under the Restated Credit Facility Documents shall be payable in
         quarterly installments at the applicable existing rates in the Prepetition
         Debt and Security Documents, beginning on the date that is three (3)
         months after the Effective Date and ending on the Restated Maturity Date;
   f.    all of the obligations of Reorganized BSA under the Restated Debt and
         Security Documents shall be secured by first-priority liens on and security
         interests in all of the assets of Reorganized BSA;
   g.    all of the obligations of Reorganized BSA under the Restated Debt and
         Security Documents shall be guaranteed by Arrow; and
   h.    beginning on December 31 of the calendar year that is two (2) years after
         the Effective Date and continuing on December 31 of each successive
         calendar year until December 31 of the calendar year that is immediately
         prior to the calendar year of the Restated Maturity Date, Reorganized
         BSA shall remit to JPM, as soon as reasonably practicable but in no case
         later than thirty (30) days of such date, twenty-five percent (25%) of the


                                 157
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 165 of 303




                       Excess Cash and Investments in excess of $75,000,000, if any, as of such
                       date, measured on a pro forma basis after having given effect to the
                       principal payment, if any, due on February 15 of the following year under
                       the BSA Settlement Trust Note, if applicable (the “Excess Cash Sweep”),
                       and JPM shall apply any such amounts on a pro rata basis to the unpaid
                       principal balances under the Restated Debt and Security Documents. For
                       the avoidance of doubt, no payments shall be made on account of the
                       Excess Cash Sweep until the last Distribution is made on account of
                       Allowed General Unsecured Claims.
                       2.      Except as provided for in an Insurance Settlement Agreement,
               neither any provision of the Plan nor the occurrence of the Effective Date shall
               alter, amend, or otherwise impair the rights and obligations of the Debtors,
               Reorganized BSA, JPM, or any applicable Insurance Company holding one or
               more letters of credit issued by JPM to secure obligations arising under one or
               more BSA Insurance Policies. Without limiting the foregoing, nothing in the Plan
               or the Confirmation Order shall preclude any such Insurance Company from
               exercising any applicable rights on any such letter of credit issued, or other
               security provided, for the benefit of the Insurance Company in accordance with
               the terms and conditions of the documents governing such letter of credit or other
               security, or applying amounts therefrom to any Claim secured by such letter of
               credit or other security, and the Debtors, Reorganized BSA, and JPM reserve any
               and all rights with respect to such Insurance Company’s exercise of any
               applicable rights.
       22.     Foundation Loan

        On the Effective Date, the Foundation Loan Agreement and any applicable collateral and
other loan documents governing the Foundation Loan shall be executed and delivered, and
Reorganized BSA shall be authorized to execute, deliver and enter into, the Foundation Loan
Agreement and related documentation governing the Foundation Loan without the need for any
further corporate action or any further notice to or order of the Bankruptcy Court.

       As of the Effective Date, upon the granting of Liens in accordance with the Foundation
Loan Agreement and any applicable collateral and other loan documents governing the
Foundation Loan, all of the Liens and security interests granted thereunder (a) shall be deemed
to have been granted, (b) shall be legal, binding, automatically perfected, non-avoidable, and
enforceable Liens on, and security interests in, the applicable collateral as of the Effective Date
in accordance with the respective terms of the Foundation Loan Agreement and related
documentation, subject to the Liens and security interests set forth in the Restated Debt and
Security Documents, as permitted under the Foundation Loan Agreement and related
documentation. All Liens and security interests granted pursuant to the Foundation Loan
Agreement and related documentation shall be (i) valid, binding, perfected, and enforceable
Liens and security interests in the personal and property described in and subject to such
documents, with the priorities established in respect thereof under applicable non-bankruptcy
law; (ii) granted in good faith and deemed not to constitute a fraudulent conveyance or
fraudulent transfer; and (c) not otherwise subject to avoidance, recharacterization, or


                                                158
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 166 of 303




subordination (whether equitable, contractual or otherwise) under any applicable law. The
Debtors, Reorganized BSA, Arrow WV, Inc., and the Foundation are authorized to make, and to
the extent contemplated by the Foundation Loan Agreement and related documentation, the
Debtors, Reorganized BSA, Arrow WV, Inc. will make, all filings and recordings, and obtain all
governmental approvals and consents necessary to establish, attach and perfect such Liens and
security interests under any applicable law (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order and any such filings, recordings,
approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of
such Liens and security interest to third parties.

       23.     BSA Settlement Trust Note

        On the Effective Date, Reorganized BSA shall execute, issue and deliver the BSA
Settlement Trust Note to the Settlement Trust and execute and deliver any related documentation
governing the BSA Settlement Trust Note, including any related security agreement, without the
need for any further corporate action or any further notice to or order of the Bankruptcy Court.
The BSA Settlement Trust Note will commence on the Effective Date and will be due ninety-one
(91) days after the date that is ten (10) years after the Effective Date and shall bear interest from
the Effective Date at a rate of 5.5% per annum, payable semi-annually, subject to a
payment-in-kind election for the eighteen (18) months immediately following the Effective Date.
The obligations of Reorganized BSA under the BSA Settlement Trust Note shall be secured by
second-priority liens on and security interests in inventory, accounts receivable (except the
Arrow Intercompany Note), Cash and the Headquarters. Principal under the BSA Settlement
Trust Note shall be payable in annual installments due on February 15 of each year during the
term of the BSA Settlement Trust Note, commencing on February 15 of the second year
following the Effective Date. Such annual principal payments shall be equal to the sum of the
following calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number of
Youth Members as of December 31 of the preceding year up to the forecasted number of Youth
Members for such year as set forth in the Debtors’ five-year business plan; plus (c) $50
multiplied by the aggregate number of High Adventure Base Participants during the preceding
calendar year; plus (d) $50 multiplied by the aggregate number of Youth Members in excess of
the forecasted number of Youth Members for such year, excluding the portion of the excess that
is comprised of members under the ScoutReach program, as set forth in the Debtors’ five-year
business plan; plus (e) $150 multiplied by the aggregate number of High Adventure Base
Participants, excluding those attending events with a registration fee of less than $300 (e.g., for
non-typical High Adventure Base activities), in excess of the forecasted number of High
Adventure Base Participants for such year as set forth in the Debtors’ five-year business plan.
The forecasted numbers of Youth Members and High Adventure Base Participants referenced in
clauses (b), (d) and (e) of the foregoing sentence are included in the Financial Projections
attached to the Disclosure Statement. The forecast for years after 2025 shall be deemed to be the
forecast for calendar year 2025. The BSA Settlement Trust Note may be prepaid at any time
without penalty.




                                                159
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 167 of 303




       24.     DST

        The DST shall be established on the Effective Date in accordance with the DST
Agreement. The purposes of the DST shall be to: (1) issue the DST Note to the Settlement Trust
as of the Effective Date; (2) collect, manage and invest Cash contributed by Local Councils on a
monthly basis to an account (and any replacement thereof) owned by the DST in accordance
with the DST Note Mechanics; and (3) make annual payments (a) to the Pension Plan or (b)
toward principal and interest on the DST Note, as determined in accordance with the DST Note
Mechanics and the DST Agreement. In the event of a conflict between the terms or provisions
of the Plan and the DST Agreement, the terms of the Plan shall control.

       25.     Pension Plan

       No provision contained in the Plan, Confirmation Order, the Bankruptcy Code (including
section 1141 of the Bankruptcy Code), or any other document filed or order entered in the
Chapter 11 Cases shall be construed to exculpate, discharge, release or relieve the Debtors, the
Local Councils, or any other party, in any capacity, from any liability or responsibility to any
Person with respect to the Pension Plan under any law, governmental policy, or regulatory
provision. The Pension Plan shall not be enjoined or precluded from enforcing any such liability
or responsibility as a result of any of the provisions of the Plan (including those provisions
providing for exculpation, satisfaction, release and discharge of Claims against the Debtors), the
Confirmation Order, the Bankruptcy Code (including section 1141 of the Bankruptcy Code), or
any other document filed or order entered in the Chapter 11 Cases. The Settlement Trust shall
not have any liability to any Person on account of the Pension Plan, including liability as a
member of a “Controlled Group” as defined in 29 U.S.C. § 1301(a)(14)(A) or on any other basis
whatsoever.

        As of the Effective Date, Reorganized BSA shall assume and continue the Pension Plan
to the extent of its obligations under the Pension Plan and applicable law, including, as
applicable, (1) satisfaction of the minimum funding requirements under 26 U.S.C. §§ 412 and
430 and 29 U.S.C. §§ 1082 and 1083, (2) payment of all required Pension Benefit Guaranty
Corporation premiums in accordance with 29 U.S.C. §§ 1306 and 1307, and (3) administration
of the Pension Plan in all material respects in accordance with the applicable provisions of the
Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301 et seq., and
the Internal Revenue Code. Notwithstanding the foregoing, Reorganized BSA reserves all of its
rights under the Pension Plan. All Proofs of Claim filed by the Pension Benefit Guaranty
Corporation with respect to the Pension Plan shall be deemed withdrawn on the Effective Date.

       26.     Single Satisfaction of Allowed General Unsecured Claims

        In no event shall any holder of an Allowed General Unsecured Claim recover more than
the full amount of its Allowed General Unsecured Claim from the Core Value Cash Pool, and to
the extent that the holder of an Allowed General Unsecured Claim has received, or in the future
receives, payment on account of such Allowed General Unsecured Claim from a party that is not
a Debtor or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value Cash
Pool any Distribution held by or transferred to such holder to the extent the holder’s total



                                               160
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 168 of 303




recovery on account of its Allowed General Unsecured Claim from the third party and from the
Core Value Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim.

       27.     Exemption from Certain Transfer Taxes and Recording Fees

       To the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code
and applicable law, any transfers of property pursuant to the Plan, including any transfers to the
Settlement Trust by the Debtors, the Local Councils, the Contributing Chartered Organizations,
and the Settling Insurance Companies, and payments by Reorganized BSA to or from the Core
Value Cash Pool, shall not be taxed under any law imposing a stamp tax or similar tax.

       28.     Non-Monetary Commitments

       The Debtors shall take the following actions to promote healing and reconciliation and to
continue the Debtors’ efforts to prevent Abuse from occurring in Scouting in the future:




                                               161
Case 20-10343-LSS     Doc 6418-1       Filed 09/29/21   Page 169 of 303




   a.    The Debtors shall form a committee (the “Child Protection Committee”)
         of members from the BSA, Local Councils, the Tort Claimants’
         Committee, and the Coalition (including survivors). The functions of the
         Child Protection Committee include the following:

         (i)    No later than six months after the Effective Date, the BSA will
                present to the Committee on the BSA’s current Youth Protection
                Program (the “Youth Protection Program”). The BSA will report
                to the Child Protection Committee regarding the Youth Protection
                Program and any changes thereto on an annual basis for a period of
                three years following the Effective Date.

         (ii)   Following that presentation, the BSA and Child Protection
                Committee will work with an entity engaged by the BSA that is
                selected with the consultation of the Child Protection Committee
                that is not currently affiliated with the BSA to evaluate the Youth
                Protection Program (the “Evaluating Entity”). The Evaluating
                Entity will have expertise in the prevention of youth sexual abuse.

                (A)    Any evaluation will be comprehensive in nature and
                       include input from current BSA volunteers and
                       professionals, survivors of sexual abuse while involved
                       with Scouting, the members of the Child Protection
                       Committee, and the Evaluating Entity.

                (B)    The Evaluating Entity will report to the Child Protection
                       Committee assessing the current Youth Protection Program
                       and make specific recommendations for reasonable
                       improvements to the Youth Protection Program that may
                       include mechanisms for the elimination of abuse and
                       accurate and annual reporting regarding the results of the
                       Youth Protection Program, including confirmed instances
                       of sexual abuse that is made available to the public (the
                       “Prospective Reporting”).

                (C)    The BSA will engage with the Evaluating Entity, and the
                       Child Protection Committee, and will take appropriate
                       steps as necessary to improve the Program. Changes to the
                       Youth Protection Program will be reported on the BSA’s
                       Youth Protection Program website and training will be
                       reasonably adjusted to reflect changes.




                                 162
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 170 of 303




                      (iii)   The BSA will propose and the Child Protection Committee will
                              consider a protocol for the review and publication of information
                              in the Volunteer Screening Database and the Prospective
                              Reporting, which will take into account factors including: (i) the
                              desire to make public credibly identified perpetrators of sexual
                              abuse in Scouting; (ii) adequate protections for survivor identities;
                              (iii) consideration regarding the protection of third parties,
                              including survivor family members and volunteers; (iv) a
                              notification process regarding any publication; (v) issues related to
                              privacy and liability related to publication; and (vi) the potential
                              appointment or retention of an appropriate neutral party to
                              supervise the evaluation and review of the Volunteer Screening
                              Database (the “Neutral Supervisor”). If the BSA and Child
                              Protection Committee are unable to reach an agreement on the
                              above protocol, the Neutral Supervisor shall mediate the dispute to
                              resolution. In accordance with the process outlined above,
                              information from the Volunteer Screening Database and
                              Prospective Reporting shall be published annually after agreement
                              among the parties or determination by the Neutral Supervisor.

                      (iv)    After consultation and recommendations from the Evaluating
                              Entity, the Child Protection Committee may propose and the BSA
                              will in good faith consider other issues relating to child protection,
                              including: (i) special BSA Scouting programs for survivors; and
                              (ii) participation and leadership in a comprehensive reporting
                              program to include other youth-serving organizations.

                      (v)     The BSA will engage with the Child Protection Committee and
                              consider all appropriate measures proposed by the Child Protection
                              Committee to improve transparency and accountability with
                              respect to any future instances of sexual abuse, including the
                              dissemination of information relating to abuse statistics, consistent
                              with practices of other youth-serving organizations, including what
                              information may be publically available on the BSA’s website.

I.     Vesting of Assets in the Reorganized BSA

        In accordance with Article X.A of the Plan, and except as explicitly provided in the Plan
(including with respect to the Core Value Cash Pool and the Restated Debt and Security
Documents), on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the Bankruptcy
Code, all property comprising the Estates, other than the BSA Trust Contributions, shall vest in
each respective Reorganized Debtor free and clear of all Liens, Claims, interests, charges, other
Encumbrances and liabilities of any kind unless expressly provided by the Plan or the
Confirmation Order. On and after the Effective Date, each Reorganized BSA may continue is
operations and may use, acquire, or dispose of property, and compromise or settle any Claims,




                                               163
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 171 of 303




Interests, or Causes of Action without supervision or approval of the Bankruptcy Court and free
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules.

J.     Retention of Certain Causes of Action

        In accordance with section 1123(b)(3) of the Bankruptcy Code and Article XI.B of the
Plan, subject to the transfer of the Debtors’ Settlement Trust Causes of Action to the Settlement
Trust under Article IV.D of the Plan and the Debtors’ and their Estates’ Release of certain Estate
Causes of Action under Article X.J of the Plan, all Causes of Action that a Debtor may hold
against any Person shall vest in Reorganized BSA on the Effective Date. Thereafter, subject to
Article IV.D and Article X.J of the Plan, Reorganized BSA shall have the exclusive right,
authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action, whether
arising before or after the Petition Date, and to decline to do any of the foregoing without the
consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court. No Person may rely on the absence of a specific reference in the Plan or the
Disclosure Statement to any specific Cause of Action as any indication that the Debtors or
Reorganized BSA, as applicable, will not pursue any and all available Causes of Action. The
Debtors or Reorganized BSA, as applicable, expressly reserve all rights to prosecute any and all
Causes of Action against any Person, except as otherwise expressly provided in the Plan, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel,
issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or laches, shall
apply to any Cause of Action upon, after, or as a consequence of Confirmation or the occurrence
of the Effective Date.

K.     Compensation and Benefits Programs

        Other than those Compensation and Benefits Programs assumed by the Debtors prior to
entry of the Confirmation Order, if any, all of the Compensation and Benefits Programs entered
into before the Petition Date and not since terminated shall be deemed to be, and shall be treated
as though they are, Executory Contracts under the Plan. Entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of Reorganized BSA’s assumption and continued
maintenance and sponsorship of each of such Compensation and Benefits Plan under sections
365 and 1123 of the Bankruptcy Code, and the Debtors’ and Reorganized BSA’s obligations
under the Compensation and Benefits Programs shall survive and remain unaffected by entry of
the Confirmation Order and be fulfilled in the ordinary course of the Debtors’ and Reorganized
BSA’s non-profit operations. Compensation and Benefits Programs assumed by the Debtors
prior to entry of the Confirmation Order shall continue to be fulfilled in the ordinary course of
the Debtors’ non-profit operations from and after the date of any order of the Bankruptcy Court
authorizing the assumption of such Compensation and Benefits Program. All Claims filed on
account of an amounts asserted to be owed under Compensation and Benefits Programs shall be
deemed satisfied and expunged from the Claims Register as of the Effective Date without any
further notice to or action, order, or approval of the Bankruptcy Court.




                                               164
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 172 of 303




L.     Restoration Plan and Deferred Compensation Plan

        On the Effective Date the Restoration Plan and the Deferred Compensation Plan shall be
terminated and, to the extent applicable, shall be deemed rejected by Reorganized BSA pursuant
to section 365 of the Bankruptcy Code and Article VI of the Plan. Claims arising from the
Debtors’ rejection of the Restoration Plan and the Deferred Compensation Plan shall be treated
as General Unsecured Claims hereunder. Holders of Allowed Claims arising from such rejection
shall be entitled to a recovery from the Core Value Cash Pool in accordance with the applicable
terms of the Plan.

M.     Workers’ Compensation Programs

        As of the Effective Date, the Debtors and the Reorganized BSA shall continue to honor
their obligations under: (a) all applicable workers’ compensation laws in all applicable states;
and (b) the Workers’ Compensation Program. All Proofs of Claims on account of the Workers’
Compensation Program shall be deemed withdrawn automatically and without any further notice
to or action, order, or approval of the Bankruptcy Court; provided, however, that nothing in the
Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses,
Causes of Action, or other rights under applicable non-bankruptcy law with respect to the
Workers’ Compensation Programs; provided further, however, that nothing in the Plan shall be
deemed to impose any obligations on the Debtors or their Insurance Companies in addition to
what is provided for under the terms of the Workers’ Compensation Programs and applicable
state law.

N.     Treatment of Executory Contracts and Unexpired Leases

       1.      Assumption and Rejection of Executory Contracts and Unexpired Leases

       As set forth in Article VI of the Plan, on the Effective Date, except as otherwise provided
in the Plan, all Executory Contracts and Unexpired Leases shall be deemed assumed by
Reorganized BSA without the need for any further notice to or action, order, or approval of the
Bankruptcy Court under sections 365 or 1123 of the Bankruptcy Code, except for Executory
Contracts or Unexpired Leases:

               a.     that are identified on the Rejected Contracts and Unexpired Leases
                      Schedule;

               b.     that previously expired or terminated pursuant to their terms;

               c.     that the Debtors have previously assumed or rejected pursuant to a Final
                      Order of the Bankruptcy Court;

               d.     that are the subject of a motion to reject that remains pending as of the
                      Effective Date;

               e.     as to which the effective date of rejection will occur (or is requested by
                      the Debtors to occur) after the Effective Date; or



                                               165
         Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21   Page 173 of 303




               f.      as to which the Debtors or Reorganized BSA, as applicable, determine, in
                       the exercise of their reasonable business judgment, that the Cure Amount,
                       as determined by a Final Order or as otherwise finally resolved, would
                       render assumption of such Executory Contract or Unexpired Lease
                       unfavorable to Debtors or Reorganized BSA;

provided that the Debtors reserve the right to seek enforcement of an assumed or assumed and
assigned Executory Contract or Unexpired Lease following the Confirmation Date, including
seeking an order of the Bankruptcy Court rejecting such Executory Contract or Unexpired Lease
for cause.
        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court
approving the assumption or rejection, as applicable, of Executory Contracts or Unexpired
Leases pursuant to the Plan, pursuant to sections 365 and 1123 of the Bankruptcy Code. Except
as otherwise set forth in the Plan, the assumption or rejection of an Executory Contract or
Unexpired Lease pursuant to the Plan shall be effective as of the Effective Date; provided, that
the rejection of an Unexpired Lease shall be effective as of the later of: (a) the Effective Date;
and (b) the date on which the leased premises are unconditionally surrendered to the non-Debtor
counterparty to the rejected Unexpired Lease. Reorganized BSA is authorized to abandon any
De Minimis Assets at or on the premises subject to an Unexpired Lease that is rejected pursuant
to the Plan, and the non-Debtor counterparty to such Unexpired Lease may dispose of any such
De Minimis Assets remaining at or on the leased premises on the applicable lease rejection date.

        Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or a Final
Order of the Bankruptcy Court shall re-vest in and be fully enforceable by Reorganized BSA in
accordance with its terms, except as such terms may have been modified by the provisions of the
Plan, the Confirmation Order, or any Final Order of the Bankruptcy Court authorizing and
providing for its assumption. Any motions to assume Executory Contracts or Unexpired Leases
pending on the Effective Date shall be subject to approval by a Final Order on or after the
Effective Date but may be withdrawn, settled, or otherwise prosecuted by Reorganized BSA.

       Any monetary defaults under each Executory Contract and Unexpired Lease to be
assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy
Code, by payment of the Cure Amount in Cash on the Effective Date or in the ordinary course of
the Debtors’ or Reorganized BSA’s non-profit operations, subject to the limitation described in
the Plan.

        Except as otherwise provided in the Plan, the Debtors shall, on or before the date of filing
of the Plan Supplement, cause Cure and Assumption Notices to be served on affected
counterparties to Executory Contracts and Unexpired Leases to be assumed pursuant to the Plan.
Any objection by a non-Debtor counterparty to an Executory Contract or Unexpired Lease to the
assumption, assumption and assignment, the related Cure Amount, or adequate assurance, must
be filed, served, and actually received by the Debtors on or prior to the deadline for filing
objections to the Plan (or such later date as may be provided in the applicable Cure and
Assumption Notice); provided, that each counterparty to an Executory Contract or Unexpired
Lease (a) that the Debtors later determine to assume or (b) as to which the Debtors modify the
applicable Cure Amount, must object to the assumption or Cure Amount, as applicable, by the


                                                166
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 174 of 303




earlier of (i) fourteen (14) days after the Debtors serve such counterparty with corresponding
Cure and Assumption Notice; and (ii) the Confirmation Hearing. Any counterparty to an
Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption of any Executory Contract or Unexpired Lease shall be forever barred,
estopped, and enjoined from contesting the Debtors’ assumption of the applicable
Executory Contract or Unexpired Lease and from requesting payment of a Cure Amount
that differs from the amounts paid or proposed to be paid by the Debtors or Reorganized
BSA, in each case without the need for any objection by the Debtors or Reorganized BSA
or any further notice to or action, order, or approval of the Bankruptcy Court.
Reorganized BSA may settle any dispute regarding a Cure Amount without any further
notice to or action, order, or approval of the Bankruptcy Court.

        To the maximum extent permitted by law, to the extent any provision in any Executory
Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the Plan restricts or
prevents, or purports to restrict or prevent, or is breached or would be deemed breached by, the
assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any change of control or similar provision), then such provision shall be deemed
preempted and modified such that neither the Debtors’ assumption or assumption and
assignment of the Executory Contract or Unexpired Lease nor any of the transactions
contemplated by the Plan shall entitle the non-debtor counterparty to terminate or modify such
Executory Contract or Unexpired Lease or to exercise any other purported default-related rights
thereunder.

        The Debtors’ assumption or assumption and assignment of any Executory Contract
or Unexpired Lease pursuant to the Plan or otherwise, and payment of any applicable
Cure Amount in accordance with the procedures set forth in Article VI.C of the Plan, shall
result in the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any
assumed, or assumed and assigned, Executory Contract or Unexpired Lease at any time
prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11
Cases, including pursuant to the Confirmation Order, shall be deemed Disallowed and
expunged as of the later of: (a) the date of entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such assumption; (b) the effective date of
such assumption; or (c) the Effective Date, in each case without the need for any objection
by the Debtors or Reorganized BSA or any further notice to or action, order, or approval
of the Bankruptcy Court.

        In the event of a timely filed objection regarding: (1) a Cure Amount; (2) the ability of
Reorganized BSA or any assignee to provide adequate assurance of future performance within
the meaning of section 365 of the Bankruptcy Code under the Executory Contract or Unexpired
Lease to be assumed; or (3) any other matter pertaining to assumption or the requirements of
section 365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by a Final Order of the
Bankruptcy Court (which may be the Confirmation Order) or as may be agreed upon by the
Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory Contract or
Unexpired Lease. The Debtors or Reorganized BSA, applicable, shall pay the applicable Cure


                                               167
            Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 175 of 303




Amount as soon as reasonably practicable after entry of a Final Order resolving such dispute and
approving such assumption, or as may otherwise be agreed upon by the Debtors or Reorganized
BSA, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. To the
extent that a dispute regarding the applicable Cure Amount is resolved or determined
unfavorably to the Debtors, the Debtors may, in their discretion, reject the applicable Executory
Contract or Unexpired Lease after such determination, which rejection shall supersede, nullify,
and render of no force or effect any earlier assumption or assumption and assignment. Under no
circumstances shall the status of payment of a Cure Amount required by section 365(b)(1) of the
Bankruptcy Code following the entry of a Final Order resolving the dispute and approving the
assumption prevent or delay implementation of the Plan or the occurrence of the Effective Date.

       2.      Rejection Damages Claims

        Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim
for Rejection Damages Claims, if any, shall be filed within thirty (30) days after the latest to
occur of: (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such rejection; (2) the effective date of the rejection of such Executory
Contract or Unexpired Lease; or (3) the Effective Date (as applicable, the “Rejection Damages
Bar Date”). Claims arising from the rejection of an Executory Contract or an Unexpired Lease
shall be classified as General Unsecured Claims and subject to the provisions of Article VII of
the Plan and the applicable provisions of the Bankruptcy Code and the Bankruptcy Rules. Any
holder of a Rejection Damages Claim that is required to file a Proof of Claim in
accordance with Article VI.B of the Plan but fails to do so on or before the Rejection
Damages Bar Date shall not be treated as a creditor with respect to such Claim for the
purposes of voting or Distributions, and such Rejection Damages Claim shall be
automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors, their Estates, Reorganized BSA, or its or their respective property, whether by
setoff, recoupment, or otherwise, without the need for any objection by the Debtors or
Reorganized BSA or further notice to, or action, order, or approval of the Bankruptcy
Court, and such Rejection Damages Claim shall be deemed fully satisfied, released, and
discharged.

       3.      Contracts and Leases Entered into After the Petition Date

        Contracts and leases entered into after the Petition Date by the BSA, including any
Executory Contracts and Unexpired Leases assumed by BSA, will be performed by the BSA or
Reorganized BSA in the ordinary course of its charitable non-profit operations. Accordingly,
such contracts and leases (including any assumed Executory Contract and Unexpired Leases)
shall survive and remain unaffected by entry of the Confirmation Order.

       4.      Insurance Policies

        Notwithstanding anything to the contrary herein, all Insurance Policies issued or entered
into prior to the Petition Date shall not be considered Executory Contracts and shall neither be
assumed nor rejected by the Debtors; provided, however, that to the extent any Insurance Policy
is determined to be an Executory Contract, then, subject to Article IV.V of the Plan, and
notwithstanding anything contained in the Plan to the contrary, the Plan will constitute a motion


                                               168
            Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 176 of 303




to assume such Insurance Policy and pay all future obligations, if any, in respect thereof and,
subject to the occurrence of the Effective Date, the entry of the Confirmation Order will
constitute approval of such assumption pursuant to section 365(a) of the Bankruptcy Code and a
finding by the Bankruptcy Court that each such assumption is in the best interests of the Debtors,
their respective Estates and all parties in interest. Unless otherwise determined by the
Bankruptcy Court pursuant to a Final Order or agreed by the parties thereto prior to the Effective
Date, no payments are required to cure any defaults of any Debtor existing as of the
Confirmation Date with respect to any Insurance Policy; and prior payments for premiums or
other charges made prior to the Petition Date under or with respect to any Insurance Policy shall
be indefeasible. Moreover, as of the Effective Date, all payments of premiums or other charges
made by the Debtors on or after the Petition Date under or with respect to any Insurance Policy
shall be deemed to have been authorized, approved, and ratified in all respects without any
requirement of further action by the Bankruptcy Court. Notwithstanding anything to the
contrary contained herein, Confirmation shall not discharge, impair or otherwise modify any
obligations assumed by the foregoing assumption, and each such obligation shall be deemed and
treated as an Executory Contract that has been assumed by the Debtors under the Plan as to
which no Proof of Claim need be filed.

        Notwithstanding anything to the contrary contained in the Plan, entry of the Confirmation
Order shall not discharge, impair, or otherwise modify any indemnity obligations assumed as a
result of the foregoing assumption of the Insurance Policies that are D&O Liability Insurance
Policies (and related documents), and each such indemnity obligations will be deemed and
treated as an Executory Contract that has been assumed by the Reorganized Debtors under the
Plan as to which no Proof of Claim need be filed.

        Other than the permissibility of the Insurance Assignment, or as otherwise provided in
the Bankruptcy Code, applicable law, the findings made by the Bankruptcy Court in the
Confirmation Order or the findings made by the District Court in the Affirmation Order, the
rights and obligations of the parties under the Insurance Policies, including the question of
whether any breach has occurred, shall be determined under applicable law.

       5.      Gift Annuity Agreements and Life-Income Agreements

       The Gift Annuity Agreements and Life-Income Agreements shall be deemed to be, and
shall be treated as though they are, Executory Contracts under the Plan, and entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’ assumption
of each of such Executory Contract.

       6.      Modifications, Amendments, Supplements, Restatements, or Other Agreements

       Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that
is assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and
Executory Contracts and Unexpired Leases related thereto, if any, including easements, licenses,
permits, rights, privileges, immunities, options, rights of first refusal, and any other interests,
unless the Debtors reject or repudiate any of the foregoing agreements. Modifications,
amendments, and supplements to, or restatements of, prepetition Executory Contracts and


                                                169
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 177 of 303




Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

       7.      Reservation of Rights

       Neither the inclusion of any Executory Contract or Unexpired Lease on the Schedules, a
Cure and Assumption Notice, or the Rejected Executory contracts and Unexpired Leases
Schedule, nor anything contained in any Plan Document, shall constitute an admission by the
Debtors that a contract or lease is in fact an Executory Contract or Unexpired Lease or that
Reorganized BSA has any liability thereunder. If there is a dispute as of the Confirmation Date
regarding whether a contract or lease is or was executory or unexpired at the time of assumption,
the Debtors, or, after the Effective Date, Reorganized BSA, shall have thirty (30) days following
entry of a Final Order resolving such dispute to alter their treatment of such contract or lease,
including by rejecting such contract or lease nunc pro tunc to the Confirmation Date.

O.     Provisions Governing Distributions

       1.      Applicability

       None of the terms or provision of Article VII of the Plan shall apply to Abuse Claims,
which shall be exclusively processed, liquidated and paid by the Settlement Trust in accordance
with the Settlement Trust Documents.

       2.      Distributions Generally

       The Disbursing Agent shall make all Distributions to appropriate holders of Allowed
Claims in accordance with the terms of the Plan.

       3.      Distributions on Account of Certain Claims Allowed as of the Effective Date

       Except as otherwise provided in the Plan, on or as soon as practicable after the Effective
Date, the Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed
Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims,
Allowed Other Secured Claims, and Allowed Convenience Claims.

       4.      Distributions on Account of Allowed General Unsecured Claims

        On each Distribution Date, the Disbursing Agent shall Distribute to each holder of an
Allowed General Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the
total balance of the Core Value Cash Pool as of such date, less (2) the balance of the Disputed
Claims Reserve.

       5.      Distributions on Account of Disputed Claims Allowed After the Effective Date

       Distributions on account of any Disputed Claim shall be made to the extent such Claim is
Allowed in accordance with the provisions of Article VIII of the Plan. Except as otherwise
provided in the Plan, the Confirmation Order, another order of the Bankruptcy Court, or as


                                               170
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 178 of 303




agreed to by the relevant parties, Distributions under the Plan on account of Disputed Claims
that become Allowed after the Effective Date shall be made as soon as practicable after the
Disputed Claim becomes an Allowed Claim.

       6.      Rights and Powers of Disbursing Agent

       The Disbursing Agent shall make all Distributions to the appropriate holders of Allowed
Claims in accordance with the terms of the Plan, including Article VII of the Plan. Except as
otherwise ordered by the Bankruptcy Court, the Disbursing Agent shall not be required to give
any bond or surety or other security for the performance of its duties.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under the Plan; (b)
make all Distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing
Agent to be necessary and proper to implement the provisions hereof. The Disbursing Agent
may request an expedited determination of taxes under section 505(b) of the Bankruptcy Code
for all returns for all taxable periods through the date on which final Distributions are made.

       7.      Delivery of Distributions and Undeliverable or Unclaimed Distributions

               (a)     Claims Record Date. As of the close of business on the Claims Record
       Date, the various transfer registers for each of the Classes of Claims as maintained by the
       Debtors or their agents shall be deemed closed for purposes of determining whether a
       holder of such a Claim is a record holder entitled to a Distribution under the Plan, and
       there shall be no further changes in the record holders or the permitted designees with
       respect to such Claims. The Debtors or Reorganized BSA, as applicable, shall have no
       obligation to recognize any transfer or designation of such Claims occurring after the
       close of business on the Claims Record Date. With respect to payment of any Cure
       Amounts or assumption disputes, neither the Debtors nor Reorganized BSA shall have
       any obligation to recognize or deal with any party other than the non-Debtor party to the
       applicable Executory Contract or Unexpired Lease as of the close of business on the
       Claims Record Date, even if such non-Debtor party has sold, assigned, or otherwise
       transferred its Claim for a Cure Amount.
              (b)     Delivery of Distributions. If a Person holds more than one Claim in any
       one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
       into one Claim and one Distribution will be made with respect to the aggregated Claim.
               (c)    Special Rules for Distributions to Holders of Disputed Claims. Except as
       otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial
       payments and no partial Distributions shall be made with respect to a Disputed Claim
       until all such disputes in connection with such Disputed Claim have been resolved by
       settlement or Final Order; and (b) any Person that holds both an Allowed Claim and a
       Disputed Claim shall not receive any Distribution on account of the Allowed Claim
       unless and until all objections to the Disputed Claim have been resolved by settlement or
       Final Order or the Disputed Claims have been Allowed or expunged. Any Distributions

                                               171
            Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 179 of 303




       arising from property Distributed to holders of Allowed Claims in a Class and paid to
       such holders under the Plan shall also be paid, in the applicable amounts, to any holder of
       a Disputed Claim in such Class that becomes an Allowed Claim after the date or dates
       that such Distributions were earlier paid to holders of Allowed Claims in such Class.
       8.      Undeliverable and Non-Negotiated Distributions

               (a)     Undeliverable Distributions. If any Distribution to a holder of an Allowed
       Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be
       made to such holder unless and until Reorganized BSA is notified in writing of such
       holder’s then-current address or other necessary information for delivery, at which time
       such previously undeliverable Distribution shall be made to such holder within ninety
       (90) days of receipt of such holder’s then-current address or other necessary information;
       provided, however, that any such undeliverable Distribution shall be deemed unclaimed
       property under section 347(b) of the Bankruptcy Code at the expiration of 180 days after
       the date of the initial attempted Distribution. After such date, all unclaimed property or
       interests in property shall revert to Reorganized BSA automatically and without the need
       for any notice to or further order of the Bankruptcy Court (notwithstanding any
       applicable non-bankruptcy escheatment, abandoned, or unclaimed property laws to the
       contrary), and the right, title, and interest of any holder to such property or interest in
       property shall be discharged and forever barred; provided, that Distributions made from
       the Core Value Cash Pool and returned as undeliverable shall revert to the Core Value
       Cash Pool.
              (b)     Non-Negotiated Distributions. If any Distribution to a holder of an
       Allowed Claim is not negotiated for a period of 180 days after the Distribution, then such
       Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy
       Code and re-vest in Reorganized BSA or re-vest in the Core Value Cash Pool if such
       Distribution was made from the Core Value Cash Pool. After such date, all
       non-negotiated property or interests in property shall revert to Reorganized BSA
       automatically and without the need for any notice to or further order of the Bankruptcy
       Court (notwithstanding any applicable non-bankruptcy escheatment, abandoned, or
       unclaimed property laws to the contrary), and the right, title, and interest of any holder to
       such property or interest in property shall be discharged and forever barred.
       9.      Manner of Payment under the Plan

       Except as otherwise specifically provided in the Plan, at the option of Reorganized BSA,
any Cash payment to be made hereunder may be made by a check or wire transfer or as
otherwise required or provided in applicable agreements or customary practices of Reorganized
BSA.

       10.     Satisfaction of Claims

       Except as otherwise specifically provided in the Plan, any Distributions to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.



                                                172
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 180 of 303




       11.     Minimum Cash Distributions

        Reorganized BSA shall not be required to make any Distribution of Cash less than
twenty dollars ($20) to any holder of an Allowed Claim; provided, however, that if any
Distribution is not made pursuant to Article VII.K of the Plan, such Distribution shall be added
to any subsequent Distribution to be made on behalf of the holder’s Allowed Claim.

       12.     Postpetition Interest

        Except as provided in the Cash Collateral Order or in the following sentence, interest
shall not accrue on Impaired Claims; no holder of an Impaired Claim shall be entitled to interest
accruing on or after the Petition Date on any such Impaired Claim, and interest shall not accrue
or be paid on any Disputed Claim in respect of the period from the Petition Date to the date a
Distribution is made thereon if and after such Disputed Claim becomes an Allowed Claim.
Notwithstanding the foregoing, each holder of an Allowed General Unsecured Claim shall
accrue interest on the Allowed amount of such Claim at the federal judgment rate applicable on
the Effective Date; provided, that such interest shall be payable to each such holder only from
the Core Value Cash Pool and only to the extent that the Core Value Cash Pool shall have been
sufficient: (1) first, to satisfy the full amount of all Allowed General Unsecured Claims; and
(2) second, on account of any Allowed Non-Abuse Litigation Claims that shall not have elected
to be treated as an Allowed Convenience Claim under Article III.B.9 of the Plan, to satisfy any
deficiency in payments of such Allowed Claims (a) from available insurance coverage, including
Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from applicable proceeds of
any Insurance Settlement Agreements, and (c) from co-liable non-debtors (if any) or their
insurance coverage. Neither the Debtors nor Reorganized BSA shall have any independent
obligation to pay interest for or on account of any Allowed General Unsecured Claims other than
from the Core Value Cash Pool in accordance with the terms of Article VII.L of the Plan.

       13.     Setoffs

        The Debtors and Reorganized BSA may, pursuant to the applicable provisions of the
Bankruptcy Code, or applicable non-bankruptcy law, set off against any applicable Allowed
Claim (before any Distribution is made on account of such Claim) any and all claims, rights,
Causes of Action, debts or liabilities of any nature that the Debtors or Reorganized BSA may
hold against the holder of such Allowed Claim; provided, however, that the failure to effect such
a setoff shall not constitute a waiver or release of any such claims, rights, Causes of Action,
debts or liabilities.

       14.     Claims Paid or Payable by Third Parties

               (a)     Claims Paid by Third Parties. A Claim shall be reduced in full, and such
       Claim shall be Disallowed without an objection to such Claim having to be filed and
       without any further notice to or action, order, or approval of the Bankruptcy Court, to the
       extent that the holder of such Claim receives payment in full on account of such Claim
       from a party that is not a Debtor or Reorganized BSA. To the extent a holder of a Claim
       receives a Distribution on account of such Claim and receives payment from a party that
       is not a Debtor or Reorganized BSA on account of such Claim, such holder shall repay,


                                               173
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 181 of 303




       return, or deliver any Distribution held by or transferred to such holder to Reorganized
       BSA to the extent the holder’s total recovery on account of such Claim from the third
       party and under the Plan exceeds the amount of such Claim as of the date of any such
       Distribution under the Plan.
                (b)    Non-Abuse Litigation Claims Payable from Insurance. Subject to Article
       IV.D.3 of the Plan, no Distributions under the Plan shall be made on account of any
       Allowed Non-Abuse Litigation Claim that is payable pursuant to an Insurance Policy
       until the holder of such Allowed Non-Abuse Litigation Claim has exhausted all remedies
       with respect to such insurance policy, including pursuing such insurance through
       litigation and obtaining entry of a final, non-appealable order. To the extent that one or
       more of the Insurance Companies satisfies in full or in part an Allowed Non-Abuse
       Litigation Claim, then immediately upon such satisfaction, the portion of the Claim so
       satisfied may be expunged from the Claims Register by the Notice and Claims Agent
       without an objection to such Claim having to be filed and without any further notice to or
       action, order, or approval of the Bankruptcy Court.
       15.     Compliance with Tax Requirements and Allocations

        In connection with the Plan and all Distributions hereunder, the Disbursing Agent shall
comply with all tax withholding and reporting requirements imposed on them by any federal,
state or local taxing authority, and all Distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, the Disbursing Agent shall be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including liquidating a portion of the
Distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding Distributions pending receipt of information necessary to facilitate such
Distributions including tax certification forms, or establishing any other mechanisms it believes
are reasonable and appropriate.

        For tax purposes, Distributions in full or partial satisfaction of Allowed Claims shall be
allocated first to the principal amount of Allowed Claims, with any excess allocated to unpaid
interest that accrued on such Claim.

P.     Procedures for Resolving Contingent, Unliquidated, and Disputed Claims

       1.      Applicability

        All Disputed Claims against the Debtors, other than Administrative Expense Claims,
shall be subject to the provisions of Article VIII of the Plan. All Administrative Expense Claims
shall be determined and, if Allowed, paid in accordance with Article II of the Plan. None of the
terms or provision of Article VIII of the Plan shall apply to Abuse Claims, which shall be
exclusively processed, liquidated and paid by the Settlement Trust in accordance with the
Settlement Trust Documents.




                                                174
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 182 of 303




       2.      Allowance of Claims

       After the Effective Date, Reorganized BSA shall have and retain any and all rights and
defenses that the Debtors, or either of them, had with respect to any Claim immediately before
the Effective Date. Except as expressly provided in the Plan or in any order entered in the
Chapter 11 Cases before the Effective Date (including the Confirmation Order), no Claim shall
become an Allowed Claim unless and until such Claim becomes Allowed by Final Order of the
Bankruptcy Court or by agreement between the Debtors or Reorganized BSA, on the one hand,
and the holder of such Claim, on the other.

       3.      Claims Administration Responsibilities

               (a)    Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (1) to file, withdraw, or litigate
       to judgment objections to Claims; (2) to settle or compromise any Disputed Claim
       without any further notice to or action, order, or approval by the Bankruptcy Court; and
       (3) to administer and adjust the Claims Register to reflect any such settlements or
       compromises without any further notice to or action, order, or approval by the
       Bankruptcy Court.
              (b)    Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,
       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection
       Deadline.
       4.      Estimation of Claims

        The Debtors (before the Effective Date) or Reorganized BSA (on and after the Effective
Date) may at any time request that the Bankruptcy Court estimate any Disputed Claim pursuant
to section 502(c) of the Bankruptcy Code regardless of whether an objection was previously
filed with the Bankruptcy Court with respect to such Claim or whether the Bankruptcy Court has
ruled on any such objection, and the Bankruptcy Court shall retain jurisdiction to estimate any
Claim at any time during litigation concerning any objection to such Claim, including during the
pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any Disputed Claim, that estimated amount will constitute either the Allowed amount
of such Claim or a maximum limitation on such Claim against any Person. If the estimated
amount of a Claim constitutes a maximum limitation on such Claim, the Debtors (before the
Effective Date) or Reorganized BSA (on and after the Effective Date) may elect to pursue any
supplemental proceedings to object to any ultimate Distribution on such Claim. All of the
objection, estimation, settlement, and resolution procedures set forth in the Plan are cumulative
and not necessarily exclusive of one another. Claims may be estimated and subsequently
compromised, objected to, settled, withdrawn, or resolved by any mechanism approved by the
Bankruptcy Court.




                                               175
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 183 of 303




       5.      No Distributions Pending Allowance

       No Distributions or other consideration shall be paid with respect to any Claim that is a
Disputed Claim unless and until all objections to such Disputed Claim are resolved and such
Disputed Claim becomes an Allowed Claim by Final Order of the Bankruptcy Court or
agreement between the Debtors or Reorganized BSA, on the one hand, and the holder of such
Claim, on the other.

       6.      Distributions After Allowance

       To the extent that a Disputed Claim (or a portion thereof) becomes an Allowed Claim,
Distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan.

       7.      Disputed Claims Reserve

      The provisions of Article VIII.G of the Plan apply only to the extent that any General
Unsecured Claims remain Disputed as of any Distribution Date.

               (a)     If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent
       with the foregoing. The Disputed Claims Reserve shall be responsible for payment, out
       of the assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed
       Claims Reserve or its assets.
               (b)     The Debtors or Reorganized BSA, as applicable, with the consent of the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted
       amount of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b)
       the amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of
       the Bankruptcy Code or (ii) Article VIII.D of the Plan if, after the Effective Date, a
       motion is filed by Reorganized BSA to estimate such Claim; (c) the amount otherwise
       agreed to by the Debtors (or Reorganized BSA, if after the Effective Date) and the
       holders of such Disputed General Unsecured Claims; or (d) any amount otherwise
       approved by the Bankruptcy Court. Upon each Distribution Date, Reorganized BSA
       shall deposit into the Disputed Claims Reserve an amount of Cash equal to the amount
       sufficient to make the Distributions to which holders of Disputed General Unsecured
       Claims would be entitled under the Plan as of the applicable Distribution Date if the
       Disputed General Unsecured Claims were Allowed Claims as of such date.




                                               176
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 184 of 303




                (c)     If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable taxes
       imposed thereon or otherwise payable by the Disputed Claims Reserve.
              (d)     If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from
       the Disputed Claims Reserve and placed in the Core Value Cash Pool, which Cash shall
       then be unreserved and unrestricted, and which shall be available for Distribution to
       holders of Allowed General Unsecured Claims.
              (e)      If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be placed in the Core
       Value Cash Pool and distributed Pro Rata to all holders of Allowed General Unsecured
       Claims on the next Distribution Date (or, if all Disputed General Unsecured Claims are
       resolved after the final Distribution Date, as soon as practicable thereafter).
       8.      Adjustment to Claims Register without Objection

        Any duplicate Proof of Claim that has been paid or satisfied, or any Proof of Claim that is
clearly marked as amended or superseded by a subsequently filed Proof of Claim that remains on
the Claims Register, may be adjusted or expunged on the Claims Register by the Notice and
Claims Agent at the direction of Reorganized BSA upon stipulation between the parties in
interest without an objection having to be filed and without any further notice to or action, order,
or approval of the Bankruptcy Court.

       9.      Time to File Objections to Claims

       Any objections to Claims must be filed on or before the applicable Claims Objection
Deadline, as such deadline may be extended from time to time. The expiration of the Claims
Objection Deadline shall not limit or affect the Debtors’ or Reorganized BSA’s rights to dispute
Claims asserted in the ordinary course of the Debtors or Reorganized BSA’s non-profit
operations other than through a Proof of Claim.

       10.     Treatment of Untimely Claims

       Except as provided herein or otherwise agreed, any and all creditors that have filed
Proofs of Claim after the applicable Bar Date shall not be treated as a creditor with respect to
such Claim for the purposes of voting and distribution.




                                                177
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21    Page 185 of 303




Q.     Discharges, Channeling Injunction, Releases, Exculpations and Injunctions; Survival of
       Indemnification and Exculpation Obligations

       1.      Discharge

               a.      Discharge of the Debtors

         Except as expressly provided in the Plan or the Confirmation Order, the treatment of
Claims under the Plan shall be in exchange for, and in complete satisfaction, settlement,
discharge, termination and release of, all Claims and Interests of any nature whatsoever against
or in the Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date, and, as of the
Effective Date, each of the Debtors shall be deemed discharged and released, and each holder of
a Claim or Interest and any successor, assign, and Affiliate of such holder shall be deemed to
have forever waived, discharged and released each of the Debtors, to the fullest extent permitted
by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and
liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code, based upon
any act, omission, transaction, occurrence, or other activity of any nature that occurred prior to
the Effective Date, in each case whether or not (a) a Proof of Claim based upon such debt is filed
or deemed filed under section 501 of the Bankruptcy Code, (b) a Claim based upon such debt is
Allowed under section 502 of the Bankruptcy Code, (c) a Claim based upon such debt is or has
been Disallowed by order of the Bankruptcy Court, or (d) the holder of a Claim based upon such
debt is deemed to have accepted the Plan. Notwithstanding the foregoing, nothing in Article X.E
of the Plan shall be construed to modify, reduce, impair or otherwise affect the ability of any
holder of an Allowed Non-Abuse Litigation Claim to recover on account of such Allowed Claim
in accordance with Article III.B.9 and Article IV.D.3 of the Plan.

               b.      Discharge Injunction

        From and after the Effective Date, except as expressly provided in the Plan or the
Confirmation Order, all holders of Claims or Interests of any nature whatsoever against or in the
Debtors or any of their assets or properties based upon any act, omission, transaction,
occurrence, or other activity of any nature that occurred prior to the Effective Date that are
discharged pursuant to the terms of the Plan shall be precluded and permanently enjoined from
taking any of the following actions on account of, or on the basis of, such discharged Claims and
Interests: (a) commencing or continuing any action or other proceeding of any kind against the
Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;
(b) enforcing, attaching, collecting, or recovering by any manner or means of judgment, award,
decree or other against the Debtors, Reorganized BSA, the Settlement Trust, or its or their
respective property; (c) creating, perfecting or enforcing any Lien or Encumbrance of any kind
against the Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property;
or (d) commencing or continuing any judicial or administrative proceeding, in any forum and in
any place in the world, that does not comply with or is inconsistent with the provisions of the
Plan or the Confirmation Order. The foregoing injunction shall extend to the successors and
assigns of the Debtors (including Reorganized BSA) and its and their respective properties and
interests in property. In accordance with the foregoing, except as expressly provided in the Plan
or the Confirmation Order, the Confirmation Order shall be a judicial determination of discharge


                                                178
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 186 of 303




or termination of all Claims, Interests and other debts and liabilities against or in the Debtors
pursuant to sections 105, 524 and 1141 of the Bankruptcy Code, and such discharge shall void
any judgment obtained against the Debtors at any time to the extent such judgment relates to a
discharged Claim or Interest.

       2.      Channeling Injunction

               a.     Terms

                      (i)    Notwithstanding anything to the contrary in the Plan, to
       preserve and promote the settlements contemplated by and provided for in the Plan,
       including the Abuse Claims Settlement, the Hartford Insurance Settlement, and the
       TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
       Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as
       described in Article X of the Plan, pursuant to the exercise of the equitable
       jurisdiction and power of the Bankruptcy Court and the District Court under
       section 105(a) of the Bankruptcy Code, (a) the sole recourse of any holder of an
       Abuse Claim against a Protected Party on account of such Abuse Claim shall be to
       and against the Settlement Trust pursuant to the Settlement Trust Documents, and
       such holder shall have no right whatsoever at any time to assert such Abuse Claim
       against any Protected Party or any property or interest in property of any Protected
       Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
       Organization Abuse Claim against a Limited Protected Party on account of such
       Post-1975 Chartered Organization Abuse Claim shall be to and against the
       Settlement Trust pursuant to the Settlement Trust Documents, and such holder
       shall have no right whatsoever at any time to assert such Post-1975 Chartered
       Organization Abuse Claim against any Limited Protected Party or any property or
       interest in property of any Limited Protected Party; accordingly, on and after the
       Effective Date, all Persons that have held or asserted, currently hold or assert, or
       that may in the future hold or assert, any Abuse Claim against the Protected
       Parties, or any of them, or any Post-1975 Chartered Organization Abuse Claim
       against the Limited Protected Parties, or any of them, shall be permanently and
       forever stayed, restrained and enjoined from taking any action for the purpose of
       directly, indirectly, or derivatively collecting, recovering, or receiving payment,
       satisfaction, or recovery from any Protected Party with respect to any such Abuse
       Claim or from any Limited Protected Party with respect to any such Post-1975
       Chartered Organization Abuse Claim, other than from the Settlement Trust
       pursuant to the Settlement Trust Documents, including:

                              1.     commencing, conducting, or continuing, in any manner,
               whether directly, indirectly, or derivatively, any suit, action, or other
               proceeding of any kind (including a judicial, arbitration, administrative, or
               other proceeding) in any forum in any jurisdiction around the world against
               or affecting any Protected Party or Limited Protected Party or any property
               or interest in property of any Protected Party or Limited Protected Party;




                                               179
        Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 187 of 303




                           2.      enforcing,   levying,   attaching    (including   any
             prejudgment attachment), collecting or otherwise recovering, by any manner
             or means, either directly or indirectly, any judgment, award, decree, or
             order against or affecting any Protected Party or Limited Protected Party or
             any property or interest in property of any Protected Party or Limited
             Protected Party;

                            3.     creating, perfecting, or otherwise enforcing in any
             manner, whether directly or indirectly, any Encumbrance of any kind
             against any Protected Party or Limited Protected Party or any property or
             interest in property of any Protected Party or Limited Protected Party;

                           4.      asserting, implementing or effectuating any setoff, right
             of reimbursement, subrogation, indemnity, contribution, reimbursement, or
             recoupment of any kind, in any manner, directly or indirectly, against any
             obligation due to any Protected Party or Limited Protected Party or any
             property or interest in property of any Protected Party or Limited Protected
             Party; or

                           5.     taking any act in any manner, and in any place
             whatsoever, that does not conform to, or comply with, the provisions of the
             Plan Documents or the Settlement Trust Documents or with regard to any
             matter that is within the scope of the matters designated by the Plan to be
             subject to resolution by the Settlement Trust, except in conformity and
             compliance with the Settlement Trust Documents with respect to any such
             Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

                    b.     Reservations

      Notwithstanding anything to the contrary in Article X.F of the Plan, the Channeling
Injunction shall not enjoin:




                                           180
            Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 188 of 303




                      (i)    the rights of holders of Abuse Claims or Post-1975 Chartered
       Organization Abuse Claims to assert such Abuse Claims solely against the
       Settlement Trust in accordance with the Trust Distribution Procedures, including
       the ability to pursue the Settlement Trust in the tort system as described in Article
       XII of the Trust Distribution Procedures;

                    (ii)  the rights of holders of Abuse Claims to assert such Abuse
       Claims against anyone other than a Protected Party or, in the case of Post-1975
       Chartered Organization Abuse Claims, against anyone other than a Limited
       Protected Party;

                    (iii)  prior to the date that an Entity (other than an Insurance
       Company) becomes a Protected Party under Article IV.I of the Plan, the right of
       holders of Abuse Claims to assert such Abuse Claims against such Entity;

                     (iv)   prior to the date that a Chartered Organization becomes a
       Limited Protected Party under Article IV.J of the Plan, the right of holders of
       Post-1975 Chartered Organization Abuse Claims to assert such Abuse Claims
       against such Entity;

                    (v)     the rights of holders of Abuse Claims that are not Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against any
       Limited Protected Party (unless such Limited Protected Party becomes a Protected
       Party under Article IV.I of the Plan);

                      (vi)  the right of any Person to assert any Claim, debt, obligation or
       liability for payment of Settlement Trust Expenses solely against the Settlement
       Trust in accordance with the Settlement Trust Documents;

                     (vii) the Settlement Trust from enforcing its rights under the Plan
       and the Settlement Trust Documents; or

                     (viii) the rights of the Settlement Trust to prosecute any action
       against any Non-Settling Insurance Company based on or arising from Abuse
       Insurance Policies that are not the subject of an Insurance Settlement Agreement,
       subject to any Insurance Coverage Defenses.


       3.      Provisions Relating to Channeling Injunction

               a.     Modifications

        Subject to post-Effective Date settlements between the Settlement Trustee and Chartered
Organizations or Insurance Companies under the applicable provisions of Article IV of the Plan,
there can be no modification, dissolution, or termination of the Channeling Injunction, which
shall be a permanent injunction.




                                              181
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 189 of 303




               a.     Non-Limitation.

       Nothing in the Plan or the Settlement Trust Documents shall or shall be construed in any
way to limit the scope, enforceability, or effectiveness of the Channeling Injunction or the
Settlement Trust’s assumption of all liability with respect to Abuse Claims.

               b.     Bankruptcy Rule 3016 Compliance

        The Debtors’ compliance with the requirements of Bankruptcy Rule 3016 shall not
constitute or be deemed to constitute an admission that the Plan provides for an injunction
against conduct not otherwise enjoined under the Bankruptcy Code.

               c.     Enforcement

        Any Protected Party or Limited Protected Party may enforce the Channeling Injunction
as a defense to any Claim brought against such Protected Party or Limited Protected Party that is
enjoined under the Plan as to such Protected Party or Limited Protected Party and may seek to
enforce such injunction in a court of competent jurisdiction.

               d.     Contribution Claims

        If a Non-Settling Insurance Company asserts that it has rights, whether legal, equitable,
contractual, or otherwise, of contribution, indemnity, reimbursement, subrogation or other
similar claims directly or indirectly arising out of or in any way relating to such Non-Settling
Insurance Company’s payment of loss on behalf of one or more of the Debtors in connection
with any Abuse Claim against a Settling Insurance Company (collectively, “Contribution
Claims”), (a) such Contribution Claims may be asserted as a defense or counterclaim against the
Settlement Trust in any Insurance Action involving such Non-Settling Insurance Company, and
the Settlement Trust may assert the legal or equitable rights (if any) of the Settling Insurance
Company, and (b) to the extent such Contribution Claims are determined to be valid, the liability
(if any) of such Non-Settling Insurance Company to the Settlement Trust shall be reduced by the
amount of such Contribution Claims.

               e.     No Duplicative Recovery

       In no event shall any holder of an Abuse Claim or a Post-1975 Chartered Organization
Abuse Claim be entitled to receive any duplicative payment, reimbursement, or restitution from
any Protected Party or Limited Protected Party under any theory of liability for the same loss,
damage, or other Claim that is reimbursed by the Settlement Trust or is otherwise based on the
same events, facts, matters, or circumstances that gave rise to the applicable Abuse Claim or
Post-1975 Chartered Organization Abuse Claim.

               f.     District Court Approval

      The Debtors shall seek entry of the Affirmation Order, which shall approve (a) the
Channeling Injunction and the Settlement Trust’s assumption of all liability with respect to




                                               182
            Case 20-10343-LSS    Doc 6418-1        Filed 09/29/21   Page 190 of 303




Abuse Claims and (b) the releases by holders of Abuse Claims for the benefit of the Protected
Parties and the Limited Protected Parties, each as set forth in Article X of the Plan.

       4.      Insurance Entity Injunction

               a.    Purpose

       To facilitate the Insurance Assignment, protect the Settlement Trust, and preserve
the Settlement Trust Assets, pursuant to the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, the
Bankruptcy Court shall issue the injunction set forth in Article X.H of the Plan (the
“Insurance Entity Injunction”); provided, however, that the Insurance Entity Injunction is
not issued for the benefit of any Insurance Company, and no Insurance Company is a
third-party beneficiary of the Insurance Entity Injunction, except as otherwise specifically
provided in any Insurance Settlement Agreement.

               b.    Terms Regarding Claims against Insurance Companies

        Subject to the terms of Article X.E and Article X.F of the Plan, and except for any
Chartered Organization that is not a Participating Chartered Organization or a
Contributing Chartered Organization, all Persons that have held or asserted, that hold or
assert, or that may in the future hold or assert any claim or cause of action (including any
Abuse Claim or any claim for or respecting any Settlement Trust Expense) against any
Insurance Company based upon, attributable to, arising out of, or in any way connected
with any Abuse Insurance Policy, whenever and wherever arising or asserted, whether in
the United States of America or anywhere else in the world, whether sounding in tort,
contract, warranty, or any other theory of law, equity, or admiralty, shall be stayed,
restrained, and enjoined from taking any action for the purpose of directly or indirectly
collecting, recovering, or receiving payments, satisfaction, or recovery with respect to any
such claim or cause of action, including:

                      (i)     commencing, conducting, or continuing, in any manner,
       directly or indirectly, any suit, action, or other proceeding of any kind (including a
       judicial, arbitration, administrative, or other proceeding) in any forum with respect
       to any such claim, demand, or cause of action against any Insurance Company, or
       against the property of any Insurance Company, with respect to any such claim,
       demand, or cause of action (including, for the avoidance of doubt, directly pursuing
       any suit, action, or other proceeding with respect to any such claim, demand, or
       cause of action against any Insurance Company);

                     (i)    enforcing, levying, attaching, collecting, or otherwise
       recovering, by any means or in any manner, whether directly or indirectly, any
       judgment, award, decree, or other order against any Insurance Company, or
       against the property of any Insurance Company, with respect to any such claim or
       cause of action;

                     (ii)  creating, perfecting, or enforcing in any manner, directly or
       indirectly, any Lien or Encumbrance against any Insurance Company, or the

                                             183
         Case 20-10343-LSS        Doc 6418-1       Filed 09/29/21   Page 191 of 303




       property of any Insurance Company, with respect to any such claim or cause of
       action; and

                     (iii)   except as otherwise specifically provided in the Plan, asserting
       or accomplishing any setoff, right of subrogation, indemnity, contribution, or
       recoupment of any kind, directly or indirectly, against any obligation of any
       Insurance Company, or against the property of any Insurance Company, with
       respect to any such claim or cause of action;

provided, however, that: (i) the injunction set forth in Article X.H of the Plan shall not
impair in any way any (a) actions brought by the Settlement Trust against any
Non-Settling Insurance Company, (b) actions brought by Local Councils in connection
with any Local Council Reserved Rights, (c) actions brought by holders of Non-Abuse
Litigation Claims consistent with Article IV.D.3 of the Plan, (d) the rights, if any, of any
Chartered Organization that is not a Participating Chartered Organization under any
Chartered Organization Reserved Policy, or (e) the rights of any co-insured of the Debtors
(x) under any Non-Abuse Insurance Policy and (y) as specified under any Final Order of
the Bankruptcy Court approving an Insurance Settlement Agreement; and (ii) the
Settlement Trust shall have the sole and exclusive authority at any time to terminate, or
reduce or limit the scope of, the injunction set forth in Article X.H of the Plan with respect
to any Non-Settling Insurance Company, in accordance with the Settlement Trust
Documents, upon express written notice to such Non-Settling Insurance Company, except
that the Settlement Trust shall not have any authority to terminate, reduce or limit the
scope of the injunction herein with respect to any Settling Insurance Company so long as,
but only to the extent that, such Settling Insurance Company complies fully with its
obligations under any applicable Insurance Settlement Agreement.
              c.     Reservations

       Notwithstanding anything to the contrary in Article X.H of the Plan, the Insurance
Entity Injunction shall not enjoin:

                      (i)   the rights of any Person to the treatment accorded them under
       the Plan, as applicable, including the rights of holders of Abuse Claims to assert
       such Claims, as applicable, in accordance with the Trust Distribution Procedures,
       and the rights of holders of Non-Abuse Litigation Claims to assert such Claims, as
       applicable in accordance with Article IV.D.3 of the Plan;

                     (ii)   the rights of any Person to assert any claim, debt, obligation,
       cause of action or liability for payment of Settlement Trust Expenses against the
       Settlement Trust;

                     (iii)   the rights of the Settlement Trust to prosecute any action
       based on or arising from Abuse Insurance Policies;




                                             184
            Case 20-10343-LSS    Doc 6418-1        Filed 09/29/21   Page 192 of 303




                    (iv)   the rights of any Person to assert or prosecute (i) an Abuse
       Claim against any Entity other than a Protected Party, or (ii) a Post-1975 Chartered
       Organization Abuse Claim against any Entity other than a Limited Protected Party;

                     (v)     the rights of the Settlement Trust to assert any claim, debt,
       obligation, cause of action or liability for payment against an Insurance Company
       based on or arising from the Abuse Insurance Policies; or

                     (vi)  the rights of any Insurance Company to assert any claim, debt,
       obligation, cause of action or liability for payment against any Non-Settling
       Insurance Company.

       5.      Injunction Against Interference with Plan

      Upon entry of the Confirmation Order, all holders of Claims and Interests shall be
precluded and enjoined from taking any actions to interfere with the implementation and
consummation of the Plan.

       6.      Releases

               a.     Releases by the Debtors and the Estates of the Released Parties

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Released Parties to facilitate and
implement the reorganization of the Debtors and settlements embodied in the Plan,
including the Abuse Claims Settlement, the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, the Debtors, Reorganized BSA, and the Estates shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Estate Causes of
Action that do not constitute Settlement Trust Causes of Action, any and all other Claims,
Interests, obligations, rights, demands, suits, judgments, damages, debts, remedies, losses
and liabilities of any nature whatsoever (including any derivative claims or Causes of
Action asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the
Estates), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Estates, their respective assets and properties, the
Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated by the Plan, the business or contractual arrangements
between one or both of the Debtors and any Released Party, the restructuring of any Claim
or Interest that is treated by the Plan before or during the Chapter 11 Cases, any of the
Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford Insurance


                                             185
         Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 193 of 303




Settlement, the TCJC Settlement, or any related agreements, instruments, and other
documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and
shall not be construed to: (a) release any Released Party from Causes of Action arising out
of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; or (b) release any post-Effective
Date obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan.

              b.     Releases by the Debtors and the Estates of Certain Avoidance Actions

       As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, including the service of Creditors’ Committee and its members in
their respective capacities as such in facilitating and implementing the reorganization of
the Debtors, as an integral component of the Plan, the Debtors, Reorganized BSA, and the
Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all holders of General Unsecured
Claims, Non-Abuse Litigation Claims, and Convenience Claims of and from any and all
Avoidance Actions.

              c.     Releases by the Debtors and the Estates of the Local Councils, the
                     Contributing Chartered Organizations, and the Participating
                     Chartered Organizations

       In furtherance of the Abuse Claims Settlement, on the Effective Date, for good and
valuable consideration, the adequacy of which is hereby confirmed, the Debtors, on their
own behalf and as representatives of their respective Estates, and Reorganized BSA, are
deemed to irrevocably and unconditionally, fully, finally, and forever waive, release,
acquit, and discharge each and all of the Local Councils, the Contributing Chartered
Organizations and the Participating Chartered Organizations of and from any and all
claims, causes of action, suits, costs, debts, liabilities, obligations, dues, sums of money,
accounts, reckonings, bonds, bills, covenants, contracts, controversies, agreements,
promises, damages, judgments, executions and demands whatsoever, of whatever kind or
nature (including those arising under the Bankruptcy Code), whether known or unknown,
suspected or unsuspected, in law or in equity, which the Debtors, their Estates, or
Reorganized BSA have, had, may have, or may claim to have: (a) against any of the Local
Councils and Contributing Chartered Organizations with respect to any Abuse Claims and
(b) against any of the Participating Chartered Organizations with respect to any Post-1975
Chartered Organization Abuse Claims (collectively, the “Scouting Released Claims”).




                                             186
         Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 194 of 303




              d.      Releases by Holders of Abuse Claims

        As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, pursuant to section
1123(b) of the Bankruptcy Code, for good and valuable consideration, the adequacy of
which is hereby confirmed, including the service of the Protected Parties and the Limited
Protected Parties to facilitate and implement the reorganization of the Debtors, including
the settlements embodied in the Plan, including the Abuse Claims Settlement and the
Settlement, as an integral component of the Plan, and except as otherwise expressly
provided in the Plan or the Confirmation Order, to the maximum extent permitted under
applicable law, as such law may be extended subsequent to the Effective Date, all holders of
Abuse Claims shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever discharge and release: (a) each and all of the
Protected Parties and their respective property and successors and assigns of and from all
Abuse Claims and any and all Claims and Causes of Action whatsoever, whether known or
unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, whether for tort, fraud, contract, veil
piercing or alter-ego theories of liability, successor liability, contribution, indemnification,
joint liability, or otherwise, arising from or related in any way to such Abuse Claims; and
(b) each and all of the Limited Protected Parties and their respective property and
successors and assigns of and from all Post-1975 Chartered Organization Abuse Claims
and any and all Claims and Causes of Action whatsoever, whether known or unknown,
asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter
arising, in law, equity, or otherwise, whether for tort, fraud, contract, veil piercing or
alter-ego theories of liability, successor liability, contribution, indemnification, joint
liability, or otherwise, arising from or related in any way to such Post-1975 Chartered
Organization Abuse Claims; provided, however, that the releases set forth in Article X.J.3
of the Plan shall not, and shall not be construed to: (i) release any Protected Party or
Limited Protected Party from Causes of Action arising out of, or related to, any act or
omission of a Released Party that is a criminal act or that constitutes fraud, gross
negligence or willful misconduct; (ii) release any post-Effective Date obligations of any
Person under the Plan Documents or any document, instrument, or agreement executed to
implement the Plan; or (iii) modify, reduce, impair or otherwise affect the ability of any
holder of an Abuse Claim to recover on account of such Claim in accordance with Article
III.B.10 or Article III.B.11 of the Plan, as applicable.

              e.      Releases by Holders of Claims

       As of the Effective Date, except for the rights that remain in effect from and after
the Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement,
the Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of
the Plan, and except as otherwise expressly provided in the Plan or the Confirmation
Order, to the maximum extent permitted under applicable law, as such law may be
extended subsequent to the Effective Date, all Releasing Claim holders shall, and shall be


                                              187
         Case 20-10343-LSS       Doc 6418-1       Filed 09/29/21   Page 195 of 303




deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and forever
release and discharge each and all of the Released Parties of and from any and all Claims,
Interests, obligations, rights, demands, suits, judgments, damages, debts, remedies, losses
and liabilities of any nature whatsoever (including any derivative claims or Causes of
Action asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the
Estates), whether liquidated or unliquidated, fixed or contingent, matured or unmatured,
known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity,
contract, tort or otherwise, based on or relating to, or in any manner arising from, in whole
or in part, any act, omission, transaction, event, or other circumstance taking place or
existing on or before the Effective Date (including before the Petition Date) in connection
with or related to the Debtors, the Estates, their respective assets and properties, the
Chapter 11 Cases, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated by the Plan, the business or contractual arrangements
between one or both of the Debtors and any Released Party, the restructuring of any Claim
or Interest that is treated by the Plan before or during the Chapter 11 Cases, any of the
Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford Insurance
Settlement, the TCJC Settlement, or any related agreements, instruments, and other
documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing; provided, however, that the releases set
forth in Article X.J.4 of the Plan shall not, and shall not be construed to: (a) release any
Released Party from Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct; (b) release any post-Effective Date obligations of any Person under the Plan
Documents or any document, instrument, or agreement executed to implement the Plan; or
(c) modify, reduce, impair, or otherwise affect the ability of any holder of an Allowed
Non-Abuse Litigation Claim to recover on account of such Allowed Claim in accordance
with Article III.B.9 of the Plan. Notwithstanding the foregoing or anything to the contrary
herein, (i) with respect to holders of Allowed General Unsecured Claims or Allowed
Non-Abuse Litigation Claims, nothing in the Plan or the release set forth in Article X.J.4 of
the Plan shall, or shall be construed to, release any claims or Causes of Action against any
Local Council, Chartered Organization (other than a Contributing Chartered
Organization), or Non-Settling Insurance Company (subject to Article IV.D.3) and (ii)
nothing the Plan or the release set forth in Article X.J.4 of the Plan shall, or shall be
construed to, release any claims or Causes of action asserted by Century Indemnity
Company against Sidley Austin related to Sidley Austin’s representation of the Debtors
prior to the Petition Date.

                     f.     Releases Among Contributing Chartered Organizations and
                            Settlement Parties

        In furtherance of the Abuse Claims Settlement, as of the date that the Confirmation
Order and Affirmation Order become Final Orders, except for the rights that remain in
effect from and after the Effective Date to enforce the Plan, the Confirmation Order, and

                                            188
         Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 196 of 303




the terms of the TCJC Settlement Agreement, for good and valuable consideration, the
adequacy of which is hereby confirmed, each of the Contributing Chartered Organizations,
including TCJC, shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever release and discharge the Debtors, Reorganized
BSA, the Related Non-Debtor Entities, the Local Councils, the other Protected Parties, the
Limited Protected Parties, the Settling Insurance Companies, including Hartford, the
Future Claimants’ Representative, the Coalition, the Settlement Trust, and each of its and
their respective Representatives (collectively, the “Settlement Parties”), of and from any
and all Claims, Interests, obligations, rights, demands, suits, judgments, damages, debts,
remedies, losses and liabilities of any nature whatsoever (including any derivative claims or
Causes of Action asserted or that may be asserted on behalf of the Debtors, Reorganized
BSA, or the Estates), whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, contract, tort or otherwise, based on or relating to, or in any manner arising
from, in whole or in part, any act, omission, transaction, event, or other circumstance
taking place or existing on or before the date that the Confirmation Order and Affirmation
Order become Final Orders (including before the Petition Date) in connection with or
related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims
relating to the Debtors or the Related Non-Debtor Entities that were or could have been
asserted by the Contributing Chartered Organizations against the Settlement Parties or
any of them.

        In furtherance of the Abuse Claims Settlement, as of the date that the Confirmation
Order and Affirmation Order become Final Orders, except for the rights that remain in
effect from and after the Effective Date to enforce the Plan, the Confirmation Order, and
the terms of the TCJC Settlement Agreement, for good and valuable consideration, the
adequacy of which is hereby confirmed, each of the Settlement Parties shall, and shall be
deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and forever
release and discharge each of the Contributing Chartered Organizations, including TCJC,
of and from any and all Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever, whether
liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in
part, any act, omission, transaction, event, or other circumstance taking place or existing
on or before the date that the Confirmation Order and Affirmation Order become Final
Orders (including before the Petition Date) in connection with or related to (i) Abuse
Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims relating to the Debtors
or the Related Non-Debtor Entities that were or could have been asserted by the
Settlement Parties against the Contributing Chartered Organizations or any of them.




                                             189
            Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 197 of 303




                      g.     Releases Relating to Settling Insurance Companies.

      The releases of Settling Insurance Companies and certain other parties, and the
releases by Settling Insurance Companies, each as set forth in the Insurance Settlement
Agreements, including the Hartford Insurance Settlement Agreement, are incorporated
by reference as if fully set forth hereinin the Plan.

       7.      Exculpation

       From and after the Effective Date, none of the Exculpated Parties shall have or
incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance occurring on or before the Effective
Date in connection with, relating to or arising out of the Chapter 11 Cases, the negotiation
of the Plan Documents, JPM / Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and
implementation of the Plan or the property to be Distributed under the Plan, or the
management or operation of the Debtors (except for any liability that results primarily
from such Exculpated Party’s gross negligence, bad faith or willful misconduct). In all
respects, each and all such Exculpated Parties shall be entitled to rely upon the advice of
counsel with respect to their duties and responsibilities under, or in connection with, the
matters referenced in the preceding sentence. Notwithstanding the foregoing or any
provision of the Plan to the contrary, Sidley Austin shall not be an Exculpated Party with
respect to any Claims that Century asserts against Sidley Austin related to Sidley Austin’s
representation of the Debtors prior to the Petition Date.

       8.      Injunctions Related to Releases and Exculpation

               a.     Injunction Related to Releases

       As of the Effective Date, all holders of Claims that are the subject of Article X.J of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Released Party or its property or successors or assigns on
account of or based on the subject matter of such Claims, whether directly or indirectly,
derivatively or otherwise: (a) commencing, conducting or continuing in any manner,
directly or indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment,
award, decree, or other order; (c) creating, perfecting or in any way enforcing in any
matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in
any manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan;
provided, however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and
shall not be construed to, enjoin any holder of a Claim that is the subject of Article X.J of
the Plan from taking any action arising out of, or related to, any act or omission of a


                                              190
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 198 of 303




Released Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct.

               b.      Injunction Related to Exculpation

       As of the Effective Date, all holders of Claims that are the subject of Article X.K of
the Plan are, and shall be, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever stayed, restrained, prohibited, barred and enjoined from taking any of the
following actions against any Exculpated Party on account of or based on the subject
matter of such Claims, whether directly or indirectly, derivatively or otherwise:
(a) commencing, conducting or continuing in any manner, directly or indirectly, any suit,
action or other proceeding (including any judicial, arbitral, administrative or other
proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
attachment), collecting, or in any way seeking to recover any judgment, award, decree, or
other order; (c) creating, perfecting or in any way enforcing in any matter, directly or
indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under
Article X.E of the Plan or released under Article X.J of the Plan; provided, however, that
the injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action
arising out of, or related to, any act or omission of a Exculpated Party that is a criminal act
or that constitutes fraud, gross negligence or willful misconduct.

R.     Reservation of Rights

       Notwithstanding any other provision of the Plan to the contrary, no provision of Article
X of the Plan shall be deemed or construed to satisfy, discharge, release or enjoin claims by the
Settlement Trust, the Reorganized BSA, or any other Person, as the case may be, against (1) the
Settlement Trust for payment of Abuse Claims in accordance with the Trust Distribution
Procedures, (2) the Settlement Trust for the payment of Settlement Trust Expenses, or (3) any
Insurance Company that has not performed under an Insurance Policy or an Insurance Settlement
Agreement.

S.     Disallowed Claims

        On and after the Effective Date, the Debtors and Reorganized BSA shall be fully and
finally discharged of any and all liability or obligation on any and all Disallowed Claims, and
any order Disallowing a Claim that is not a Final Order as of the Effective Date solely because
of a Person’s right to move for reconsideration of such order pursuant to section 502 of the
Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless become and be deemed to be a
Final Order on the Effective Date.

T.     No Successor Liability

        Except as otherwise expressly provided in the Plan, Reorganized BSA does not, pursuant
to the Plan or otherwise, assume, agree to perform, pay or indemnify any Person, or otherwise
have any responsibility for any liabilities or obligations of the Debtors relating to or arising out

                                                191
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 199 of 303




of the operations of or assets of the Debtors, whether arising prior to, on or after the Effective
Date. Neither the Debtors, Reorganized BSA, nor the Settlement Trust is, or shall be deemed to
be, a successor to any of the Debtors by reason of any theory of law or equity (except as
otherwise provided in Article IV.C of the Plan), and none shall have any successor or transferee
liability of any kind or character; provided, however, that Reorganized BSA and the Settlement
Trust shall assume and remain liable for their respective obligations specified in the Plan and the
Confirmation Order.

U.     Indemnities

       1.      Indemnification Obligations

         Notwithstanding anything in the Plan to the contrary, each Indemnification Obligation
shall be assumed by Reorganized BSA effective as of the Effective Date, pursuant to sections
365 and 1123 of the Bankruptcy Code or otherwise, except for any Indemnification Obligation
that is or is asserted to be owed to or for the benefit of any Perpetrator. Subject to the foregoing
sentence, each Indemnification Obligation shall remain in full force and effect, shall not be
modified, reduced, discharged, impaired, or otherwise affected in any way, and shall survive
Unimpaired and unaffected, irrespective of when such obligation arose. For the avoidance of
doubt, Article VI.J of the Plan affects only the obligations of the Debtors and Reorganized BSA
with respect to any Indemnification Obligations owed to or for the benefit of past and present
directors, officers, employees, attorneys, accountants, investment bankers, and other
professionals and agents of the Debtors, and shall have no effect on nor in any way discharge or
reduce, in whole or in part, any obligation of any other Person owed to or for the benefit of such
directors, officers, employees, attorneys, accountants, investment bankers, and other
professionals and agents of the Debtors.

        All Proofs of Claim filed on account of an Indemnification Obligation to a current or
former director, officer, or employee shall be deemed satisfied and expunged from the Claims
Register as of the Effective Date to the extent such Indemnification Obligation is assumed (or
honored or reaffirmed, as the case may be) pursuant to the Plan, without any further notice to or
action, order, or approval of the Bankruptcy Court.

       2.      Prepetition Indemnification and Reimbursement Obligations

        The respective obligations of the Debtors to indemnify and reimburse Persons who are or
were directors, officers or employees of the Debtors on the Petition Date or at any time thereafter
up to and including the Effective Date, against and for any obligations pursuant to the bylaws,
applicable state or non-bankruptcy law, or specific agreement or any combination of the
foregoing, shall, except with respect to any Perpetrator: (a) survive Confirmation of the Plan and
remain unaffected thereby; (b) be assumed by Reorganized BSA as of the Effective Date; and (c)
not be discharged under section 1141 of the Bankruptcy Code, irrespective of whether
indemnification or reimbursement is owed in connection with any event occurring before, on or
after the Petition Date. In furtherance of, and to implement the foregoing, as of the Effective
Date, Reorganized BSA shall obtain and maintain in full force insurance for the benefit of each
and all of the above-indemnified directors, officers and employees, at levels no less favorable



                                                192
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 200 of 303




than those existing as of the date of entry of the Confirmation Order, and for a period of no less
than three (3) years following the Effective Date.

       3.      Plan Indemnity

        In addition to the matters set forth above and not by way of limitation thereof,
Reorganized BSA shall indemnify and hold harmless all Persons who are or were officers or
directors of the Debtors on the Petition Date or at any time thereafter up to and including the
Effective Date on account of and with respect to any claim, cause of action, liability, judgment,
settlement, cost or expense (including attorneys’ fees) on account of claims or Causes of Action
threatened or asserted by any third party against such officers or directors that seek contribution,
indemnity, equitable indemnity, or any similar claim, based upon or as the result of the assertion
of primary claims against such third party by any representative of the Debtors’ Estates.

       4.      Limitation on Indemnification

        Notwithstanding anything to the contrary set forth in the Plan or elsewhere, neither the
Debtors, Reorganized BSA, the Local Councils, nor the Contributing Chartered Organizations,
as applicable, shall be obligated to indemnify or hold harmless any Person for any claim, cause
of action, liability, judgment, settlement, cost or expense that results primarily from (i) such
Person’s bad faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

V.     The Official Committees and the Future Claimants’ Representative

        Except as otherwise described in the Settlement Trust Documents with respect to the
Future Claimants’ Representative, the Official Committees and the Future Claimants’
Representative shall continue in existence until the Effective Date, and after the Effective Date
for the limited purposes of: prosecuting requests for payment of Professional Fee Claims for
services rendered and reimbursement of expenses incurred prior to the Effective Date. The
Debtors shall pay the reasonable fees and actual and necessary expenses incurred by the Official
Committees and the Future Claimants’ Representative up to the Effective Date, and after the
Effective Date solely for the purposes set forth in the preceding sentence, in accordance with the
Compensation Procedures Order, the Fee Examiner Order, and the terms of the Plan, including
Article II of the Plan. As of the Effective Date, the members of the Creditors’ Committee shall
be released and discharged from all further authority, duties, responsibilities, liabilities, and
obligations involving the Chapter 11 Cases. Upon the closing of the Chapter 11 Cases, the
Official Committees shall be dissolved. Neither the Debtors nor Reorganized BSA have any
obligation to pay fees or expenses of any Professional retained by the Official Committees or the
Future Claimants’ Representative that are earned or incurred before the Effective Date to the
extent such fees or expenses (or any portion thereof) qualify as Settlement Trust Expenses, in
which case such fees and expenses (or the applicable portion thereof) shall be paid by the
Settlement Trust in accordance with the Settlement Trust Documents.

W.     Retention of Jurisdiction

       Until the Chapter 11 Cases are closed, the Bankruptcy Court shall retain the fullest and
most extensive jurisdiction that is permissible, including the jurisdiction necessary to ensure that
the purposes and intent of the Plan are carried out. Except as otherwise provided in the Plan or

                                                193
                  Case 20-10343-LSS               Doc 6418-1           Filed 09/29/21          Page 201 of 303




the Settlement Trust Agreement, the Bankruptcy Court shall retain jurisdiction to hear and
determine all Claims against and Interests in the Debtors, and to adjudicate and enforce the
Insurance Actions, the Settlement Trust Causes of Action, and all other Causes of Action which
may exist on behalf of the Debtors. Nothing contained herein shall prevent Reorganized BSA or
the Settlement Trust, as applicable, from taking such action as may be necessary in the
enforcement of any Estate Cause of Action, Insurance Action, Settlement Trust Cause of Action,
or other Cause of Action which the Debtors have or may have and which may not have been
enforced or prosecuted by the Debtors, which actions or other Causes of Action shall survive
Confirmation of the Plan and shall not be affected thereby except as specifically provided herein.
Nothing contained herein concerning the retention of jurisdiction by the Bankruptcy Court shall
be deemed to be a finding or conclusion that (1) the Bankruptcy Court in fact has jurisdiction
with respect to any Insurance Action, (2) any such jurisdiction is exclusive with respect to any
Insurance Action, or (3) abstention or dismissal of any Insurance Action pending in the
Bankruptcy Court or the District Court as an adversary proceeding is or is not advisable or
warranted, so that another court can hear and determine such Insurance Action(s). Any court
other than the Bankruptcy Court that has jurisdiction over an Insurance Action shall have the
right to exercise such jurisdiction.105106

             1.        General Retention

         Following Confirmation of the Plan, the administration of the Chapter 11 Cases will
continue until the Chapter 11 Cases are closed by a Final Order of the Bankruptcy Court. The
Bankruptcy Court shall also retain jurisdiction for the purpose of classification of any Claims
and the re-examination of Claims which have been Allowed for purposes of voting, and the
determination of such objections as may be filed with the Bankruptcy Court with respect to any
Claims. The failure by the Debtors or Reorganized BSA to object to, or examine, any Claim for
the purposes of voting, shall not be deemed a waiver of the rights of the Debtors, Reorganized
BSA, or the Settlement Trust, as the case may be, to object to or reexamine such Claim in whole
or part.

             2.        Specific Purposes

        In addition to the foregoing, the Bankruptcy Court shall retain jurisdiction, as enumerated
in Article XI.C of the Plan, over all matters arising out of, or relating to, the Chapter 11 Cases
and the Plan, including jurisdiction to:

                       (a)       modify the Plan after Confirmation pursuant to the provisions of the
                                 Bankruptcy Code and the Bankruptcy Rules;

                       (b)       correct any defect, cure any omission, reconcile any inconsistency or
                                 make any other necessary changes or modifications in or to the Plan, the
                                 Trust Documents or the Confirmation Order as may be necessary to carry
                                 out the purposes and intent of the Plan, including the adjustment of the
                                 date(s) of performance in the Plan in the event the Effective Date does not

105106
              The Allianz Insurers and certain other Insurance Companies contest the Debtors’ retention of jurisdiction provisions
         under Article VI(w) of the Disclosure Statement and Article XI of the Plan that purport to provide the Bankruptcy Court or
         the District Court with jurisdiction over the Insurance Coverage Actions.


                                                                 194
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 202 of 303




         occur as provided herein so that the intended effect of the Plan may be
         substantially realized thereby;

   (c)   assure performance by the Settlement Trust and the Disbursing Agent of
         their respective obligations to make distributions under the Plan;

   (d)   enforce and interpret the terms and conditions of the Plan, the Plan
         Documents, the Settlement Trust Documents, the DST Agreement, and
         any Insurance Settlement Agreements;

   (e)   enter such orders or judgments, including injunctions (a) as are necessary
         to enforce the title, rights and powers of Reorganized BSA, and the
         Settlement Trust, (b) to execute, implement, or consummate the provisions
         of the Plan, the Confirmation Order, and all contracts, instruments,
         releases and other agreements or documents created in connection with
         the Plan or the Confirmation Order, and (c) as are necessary to enable
         holders of Claims to pursue their rights against any Person that may be
         liable therefor pursuant to applicable law or otherwise;

   (f)   hear and determine any and all motions, adversary proceedings, contested
         or litigated matters, and any other matters and grant or deny any
         applications involving the Debtors that may be pending on the Effective
         Date (which jurisdiction shall be non-exclusive as to any such non-core
         matters);

   (g)   hear and determine any motions or contested matters involving taxes, tax
         refunds, tax attributes, tax benefits and similar or related matters,
         including contested matters arising on account of transactions
         contemplated by the Plan, or relating to the period of administration of the
         Chapter 11 Cases;

   (h)   hear and determine all applications for compensation of Professionals and
         reimbursement of expenses under sections 328, 330, 331, or 503(b) of the
         Bankruptcy Code;

   (i)   hear and determine any Causes of Action arising during the period from
         the Petition Date to the Effective Date, or in any way related to the Plan or
         the transactions contemplated hereby, against the Debtors, Reorganized
         BSA, the Settlement Trust, the DST, and their respective Representatives;

   (j)   determine any and all motions for the rejection, assumption or assignment
         of Executory Contracts or Unexpired Leases and the Allowance of any
         Claims resulting therefrom;

   (k)   hear and determine such other matters and for such other purposes as may
         be provided in the Confirmation Order;




                                  195
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 203 of 303




   (l)   hear and determine the Allowance and/or Disallowance of any Claims,
         including Administrative Expense Claims, against or Interests in the
         Debtors or their Estates, including any objections to any such Claims or
         Interests, and the compromise and settlement of any Claim, including
         Administrative Expense Claims, against or Interest in the Debtors or their
         Estates;

   (m)   hear and resolve disputes concerning any reserves under the Plan or the
         administration thereof;

   (n)   hear and determine all questions and disputes regarding title to the assets
         of the Debtors or their Estates, or the Settlement Trust;

   (o)   enter and implement such orders as are necessary or appropriate if the
         Confirmation Order is for any reason or in any respect modified, stayed,
         reversed, revoked or vacated, or if distributions pursuant to the Plan or
         under the Settlement Trust Documents are enjoined or stayed;

   (p)   hear and determine all questions and disputes regarding, and to enforce,
         the Abuse Claims Settlement;

   (q)   hear and determine the Insurance Actions, any Settlement Trust Cause of
         Action and any similar claims, Causes of Action or rights of the
         Settlement Trust to construe and take any action to enforce any Abuse
         Insurance Policy, and to issue such orders as may be necessary for the
         execution, consummation and implementation of any Abuse Insurance
         Policy, and to determine all questions and issues arising thereunder;
         provided, that such retention of jurisdiction shall not constitute a waiver of
         any right of a Non-Settling Insurance Company to seek to remove or
         withdraw the reference of any Insurance Action filed after the Effective
         Date;

   (r)   hear and determine any other matters related hereto, including the
         implementation and enforcement of all orders entered by the Bankruptcy
         Court in the Chapter 11 Cases;

   (s)   resolve any disputes concerning whether a Person had sufficient notice of
         the Chapter 11 Cases, the Disclosure Statement, any solicitation
         conducted in connection with the Chapter 11 Cases, the Bar Date
         established in the Chapter 11 Cases, or any deadline for responding or
         objecting to a Cure Amount, in each case, for the purpose of determining
         whether a Claim or Interest is discharged hereunder or for any other
         purpose;

   (t)   enter in aid of implementation of the Plan such orders as are necessary,
         including the implementation and enforcement of the Injunctions,



                                  196
Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 204 of 303




          Releases, and Discharges described in the Plan, including the Channeling
          Injunction;

   (u)    hearing a petition for relief by a Specified Person or any other party in
          interest in the event that a court or tribunal hearing an Abuse Cause of
          Action fails to apply the judgment reduction provisions of Article X.N of
          the Plan;

   (v)    approve any Post-Effective Date Chartered Organization Settlement and
          determine the adequacy of notice of a motion by the Settlement Trustee to
          approve such a settlement;

   (w)    approve any extension of the Insurance Settlement Period, approve any
          Post-Effective Date Insurance Settlement and determine the adequacy of
          notice of a Post-Effective Date Insurance Settlement provided by the
          Settlement Trustee;

   (x)    hear and determine any questions and disputes pertaining to, and to
          enforce, the Abuse Claims Settlement, including the Local Council
          Settlement Contribution, the Contributing Chartered Organization
          Settlement Contribution, including the TCJC Settlement Contribution, the
          Participating Chartered Organization Settlement Contribution, and the
          Hartford Settlement Contribution;

   (y)    hear and determine any questions and disputes pertaining to, and to
          enforce, the JPM / Creditors’ Committee Settlement;

   (z)    hear and determine any questions and disputes pertaining to, and to
          enforce, the Hartford Insurance Settlement;

   (aa)   hear and determine any questions and disputes pertaining to, and to
          enforce, the TCJC Settlement;

   (bb)   hear and determine all questions and disputes regarding matters pertaining
          to the DST Agreement;

   (cc)   enter a Final Order or decree concluding or closing the Chapter 11 Cases;
          and

   (dd)   to enter and implement such orders as may be necessary or appropriate if
          any aspect of the Plan, the Settlement Trust, or the Confirmation Order is,
          for any reason or in any respect, determined by a court to be inconsistent
          with, to violate, or insufficient to satisfy any of the terms, conditions, or
          other duties associated with any Abuse Insurance Policies; provided,
          however, that (a) such orders shall not impair the Insurance Coverage
          Defenses or the rights, claims, or defenses, if any, of any Insurance
          Company that are set forth or provided for in the Plan, the Plan
          Documents, the Confirmation Order, or any other Final Orders entered in

                                   197
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21    Page 205 of 303




                       the Debtors’ Chapter 11 Cases, (b) this provision does not, in and of itself,
                       grant this Court jurisdiction to hear and decide disputes arising out of or
                       relating to the Abuse Insurance Policies, and (c) all interested parties,
                       including any Insurance Company, reserve the right to oppose or object to
                       any such motion or order seeking such relief.

        As of the Effective Date, notwithstanding anything in Article XI of the Plan to the
contrary, the Restated Debt and Security Documents and any documents related thereto shall be
governed by the jurisdictional provisions thereof and the Bankruptcy Court shall not retain
jurisdiction with respect thereto.

       3.      Courts of Competent Jurisdiction

        To the extent that the Bankruptcy Court is not permitted under applicable law to preside
over any of the foregoing matters, the reference to the “Bankruptcy Court” in Article XI of the
Plan shall be deemed to be replaced by the “District Court.” If the Bankruptcy Court abstains
from exercising, or declines to exercise, jurisdiction or is otherwise without jurisdiction over any
matter arising out of the Plan, such abstention, refusal, or failure of jurisdiction shall have no
effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by any other court
having competent jurisdiction with respect to such matter.

X.     Miscellaneous Provisions

       1.      Closing of Chapter 11 Cases

        After each Chapter 11 Case has been fully administered, Reorganized BSA shall file with
the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order
of the Bankruptcy Court to close such Chapter 11 Case.

       2.      Amendment or Modification of the Plan

               (a)     Plan Modifications. Subject to the terms of the JPM / Creditors’
       Committee Term Sheet, the Debtors reserve the right, in accordance with the Bankruptcy
       Code and the Bankruptcy Rules, to amend or modify the Plan prior to the entry of the
       Confirmation Order, including amendments or modifications to satisfy section 1129(b) of
       the Bankruptcy Code, and after entry of the Confirmation Order, the Debtors may, upon
       order of the Bankruptcy Court, amend, modify or supplement the Plan in the manner
       provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law,
       in each case without additional disclosure pursuant to section 1125 of the Bankruptcy
       Code unless section 1127 of the Bankruptcy Code requires additional disclosure. In
       addition, after the Confirmation Date, so long as such action does not materially and
       adversely affect the treatment of holders of Allowed Claims pursuant to the Plan, the
       Debtors may remedy any defect or omission or reconcile any inconsistencies in the Plan
       or the Confirmation Order with respect to such matters as may be necessary to carry out
       the purposes or effects of the Plan, and any holder of a Claim that has accepted the Plan
       shall be deemed to have accepted the Plan as amended, modified, or supplemented. All
       amendments to the Plan (a) must be reasonably acceptable to JPM and the Creditors’
       Committee to the extent they pertain to the treatment of the 2010 Credit Facility Claims,

                                                198
            Case 20-10343-LSS       Doc 6418-1         Filed 09/29/21   Page 206 of 303




       the 2019 RCF Claims, the 2010 Bond Claims, or the 2012 Bond Claims (in the case of
       JPM) or Convenience Claims, General Unsecured Claims, or Non-Abuse Litigation
       Claims (in the case of the Creditors’ Committee), (b) shall not be inconsistent with the
       terms of the Hartford Insurance Settlement Agreement, and (c) shall not be inconsistent
       with the terms of the TCJC Settlement Agreement. The designation of Chartered
       Organizations as Contributing Chartered Organizations or Participating Chartered
       Organizations and the designation of Non-Settling Insurance Companies as Settling
       Insurance Companies after the Effective Date in accordance with Article IV.I, Article
       IV.J, or Article IV.K of the Plan shall not be a modification or amendment to the Plan
       and instead is an act that may be done to effectuate the terms of the Plan.
              (b)     Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.
       3.      Revocation or Withdrawal of the Plan

        The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date.
If the Plan has been revoked or withdrawn prior to the Effective Date, or if Confirmation of the
Plan or the occurrence of the Effective Date does not occur, then: (1) the Plan shall be null and
void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing
or limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption of
executory contracts or unexpired leases affected by the Plan, and any document or agreement
executed pursuant to the Plan, including the Settlement Trust Documents, shall be deemed null
and void (except that the Hartford Insurance Settlement Agreement shall remain in full force and
effect to the extent provided in such agreement in accordance with its terms); and (3) nothing
contained in the Plan shall (i) constitute a waiver or release of any Claim against, or any Interest
in, the Debtors or any other Person; (ii) prejudice in any manner the rights of the Debtors or any
other Person; or (iii) constitute an admission of any sort by the Debtors or any other Person.

       4.      Request for Expedited Determination of Taxes

        The Debtors and Reorganized BSA, as applicable, shall have the right to request an
expedited determination under section 505(b) of the Bankruptcy Code with respect to tax returns
filed, or to be filed, for any and all taxable periods ending after the Petition Date to and including
the Effective Date.

       5.      Non-Severability of Plan Provisions

         If, before the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors, shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired or invalidated by such holding, alteration, or

                                                 199
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 207 of 303




interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (1) valid and enforceable pursuant to its terms, (2) integral to
the Plan and may not be deleted or modified without the consent of the Debtors or Reorganized
BSA (as the case may be), and (3) nonseverable and mutually dependent.

       6.      Notices

        All notices, requests, and demands to or upon the Debtors or Reorganized BSA to be
effective shall be in writing (including by email transmission) and, unless otherwise expressly
provided herein, shall be deemed to have been duly given or made when actually delivered,
addressed as follows:

                     Boy Scouts of America
                     1325 W. Walnut Hill Lane
                     Irving, Texas 75015
                     Attn: Steven McGowan, General Counsel
                     Email: Steve.McGowan@scouting.org

                     with copies to:

                     White & Case LLP
                     1221 Avenue of the Americas
                     New York, New York 10020
                     Attn: Jessica C. Lauria
                     Email: jessica.lauria@whitecase.com

                     – and –

                     White & Case LLP
                     111 South Wacker Drive, Suite 5100
                     Chicago, Illinois 60606
                     Attn: Michael C. Andolina
                     Matthew E. Linder
                     Email: mandolina@whitecase.com
                            mlinder@whitecase.com

                     – and –

                     Morris, Nichols, Arsht & Tunnell LLP
                     1201 North Market Street, 16th Floor
                     P.O. Box 1347
                     Wilmington, Delaware 19899-1347
                     Attn: Derek C. Abbott
                     Email: dabbott@morrisnichols.com




                                               200
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 208 of 303




       7.      Notices to Other Persons

        After the occurrence of the Effective Date, Reorganized BSA has authority to send a
notice to any Person providing that to continue to receive documents pursuant to Bankruptcy
Rule 2002, such Person must file a renewed request to receive documents pursuant to
Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not file such a renewed
request and shall continue to receive documents without any further action being necessary.
After the occurrence of the Effective Date, Reorganized BSA is authorized to limit the list of
Persons receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those
Persons that have filed such renewed requests.

       8.      Governing Law

       Except to the extent that the Bankruptcy Code or other federal law is applicable, or to the
extent an exhibit hereto or a schedule in the Plan Supplement or any other Plan Document
provides otherwise, the rights, duties, and obligations arising under the Plan shall be governed
by, and construed and enforced in accordance with, the laws of the State of Delaware, without
giving effect to the principles of conflict of laws thereof; provided, however, that governance
matters relating to Reorganized BSA shall be governed by the laws of the District of Columbia.

       9.      Immediate Binding Effect

       Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the
occurrence of the Effective Date, the terms of the Plan (including the Plan Supplement) shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of any
Person named or referred to in the Plan and the successors and assigns of such Person.

       10.     Timing of Distributions or Actions

       In the event that any payment, Distribution, act or deadline under the Plan is required to
be made or performed or occurs on a day that is not a Business Day, then such payment,
Distribution, act or deadline shall be deemed to occur on the next succeeding Business Day, but
if so made, performed or completed by such next succeeding Business Day, shall be deemed to
have been completed or to have occurred as of the required date.

       11.     Deemed Acts

       Whenever an act or event is expressed under the Plan to have been deemed done or to
have occurred, it shall be deemed to have been done or to have occurred by virtue of the Plan or
the Confirmation Order without any further act by any Person.

       12.     Entire Agreement

       The Plan Documents set forth the entire agreement and undertakings relating to the
subject matter thereof and supersede all prior discussions, negotiations, understandings and
documents. No Person shall be bound by any terms, conditions, definitions, warranties,
understandings, or representations with respect to the subject matter hereof, other than as



                                               201
          Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 209 of 303




expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed to
by the affected parties in writing.

       13.     Plan Supplement

        Any and all exhibits, lists, or schedules referred to herein but not filed with the Plan shall
be contained in the Plan Supplement to be filed with the Clerk of the Bankruptcy Court prior to
the Confirmation Hearing on the Plan, and such Plan Supplement is incorporated into and is part
of the Plan as if set forth in full herein. The Plan Supplement will be available for inspection in
the office of the Clerk of the Bankruptcy Court during normal court hours, at the website
maintained by the Notice and Claims Agent (https://omniagentsolutions.com/BSA), and at the
Bankruptcy Court’s website (ecf.deb.uscourts.gov).

       14.     Withholding of Taxes

        The Disbursing Agent, the Settlement Trust or any other applicable withholding agent, as
applicable, shall withhold from any assets or property distributed under the Plan any assets or
property which must be withheld for foreign, federal, state and local taxes payable with respect
thereto or payable by the Person entitled to such assets to the extent required by applicable law.

       15.     Payment of Quarterly Fees

        All Quarterly Fees due and payable prior to the Effective Date shall be paid on or before
the Effective Date. The Reorganized Debtors shall pay all such fees that arise after the Effective
Date, but before the closing of the Chapter 11 Cases, and shall comply with all applicable
statutory reporting requirements.

       16.     Effective Date Actions Simultaneous

       Unless the Plan or the Confirmation Order provides otherwise, actions required to be
taken on the Effective Date shall take place and be deemed to have occurred simultaneously, and
no such action shall be deemed to have occurred prior to the taking of any other such action.

       17.     Consent to Jurisdiction

        Upon default under the Plan, Reorganized BSA, the Settlement Trust, the Settlement
Trustee, the Official Committees, the Future Claimants’ Representative, and the Protected
Parties, or any successor thereto, respectively, consent to the jurisdiction of the Bankruptcy
Court, and agree that it shall be the preferred forum for all proceedings relating to any such
default.

       18.     Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4)

        If the Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to further extend the deadline for assuming or rejecting Unexpired Leases
under section 365(d)(4) of the Bankruptcy Code.




                                                 202
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 210 of 303




            ARTICLE VII. THE SETTLEMENT TRUST AND TRUST DISTRIBUTION
                                   PROCEDURES

A.     The Settlement Trust

       1.      Establishment and Purpose of the Settlement Trust

       The Settlement Trust shall be established on the Effective Date. The Settlement Trust
shall be administered and implemented by the Settlement Trustee as provided in the Trust
Documents. The purposes of the Settlement Trust shall be to assume liability for all Abuse
Claims, to hold, preserve, maximize and administer the Settlement Trust Assets, and to direct the
processing, liquidation and payment of all compensable Abuse Claims in accordance with the
Settlement Trust Documents. The Settlement Trust Assets include (i) the BSA Settlement Trust
Contribution; (ii) the Local Council Settlement Contribution; (iii) the Chartered Organization
Settlement Contribution; and (iv) any and all other funds, proceeds or other consideration
otherwise contributed to the Settlement Trust pursuant to the Plan or the Confirmation Order or
other Final Order of the Bankruptcy Court.

       The Settlement Trust shall resolve Abuse Claims in accordance with the Settlement Trust
Documents in a fair, consistent, equitable manner, and on a pro rata basis, in compliance with
the terms of the Settlement Trust Documents and to the extent of available Settlement Trust
Assets. From and after the Effective Date, the Abuse Claims shall be channeled to the
Settlement Trust pursuant to the Channeling Injunction set forth in Article X.F of the Plan and
may be asserted only and exclusively against the Settlement Trust.

       In the event of any ambiguity or conflict between the terms of the Settlement Trust
Agreement or any related document required or provided for under the Settlement Trust
Documents (other than the Confirmation Order), on the one hand, and the terms of the Plan and
the Confirmation Order, on the other hand, the terms of the Plan and the Confirmation Order
shall control, notwithstanding that the Settlement Trust Agreement and related documents
required or provided for under the Settlement Trust Documents may be incorporated in or
annexed to the Plan or the Confirmation Order.

       2.      Transfer of Claims to the Settlement Trust

       On the Effective Date or as otherwise provided herein, and without further action of any
Person, the Settlement Trust shall assume the liabilities, obligations, and responsibilities,
financial or otherwise, of (a) the Protected Parties for all Abuse Claims and (b) the Limited
Protected Parties for all Post-1975 Chartered Organization Abuse Claims. These assumptions by
the Settlement Trust shall not affect (i) the application of the Discharge Injunction or the
Channeling Injunction or (ii) any Non-Settling Insurance Company’s obligation under any
Abuse Insurance Policy or applicable law.

       Except as otherwise expressly provided in the Plan, the Settlement Trust Agreement, or
the Trust Distribution Procedures, the Settlement Trust shall have control over the Settlement
Trust Causes of Action and the Insurance Actions, and the Settlement Trust shall thereby
become the estate representative pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with
the exclusive right (except as otherwise provided in Article IV.D.4 of the Plan) to enforce each

                                              203
            Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21    Page 211 of 303




of the Settlement Trust Causes of Action and the Insurance Actions, and the proceeds of the
recoveries on any of the Settlement Trust Causes of Action or the Insurance Actions shall be
deposited in and become the property of the Settlement Trust, and the Settlement Trust shall
have the right to enforce the Plan and any of the other Plan Documents (including the Document
Agreement) according to their respective terms, including the right to receive the Settlement
Trust Assets as provided in the Plan; provided, however, that (a) the Settlement Trust shall have
no other rights against the Protected Parties except to enforce the Plan and any of the other Plan
Documents; (b) the Settlement Trust shall have no other rights against the Limited Protected
Parties with respect to Post-1975 Chartered Organization Abuse Claims; (c) the Settlement Trust
Causes of Action, the Insurance Actions, and the Participating Chartered Organization Insurance
Actions shall not include any Claims or Interests fully and finally released, compromised, or
settled pursuant to the Plan or any Plan Documents, or any Claims against Hartford released,
compromised and settled under the Hartford Insurance Settlement Agreement; and (d) for the
avoidance of doubt, the Settlement Trust Causes of Action, the Insurance Actions, and the
Participating Chartered Organization Insurance Actions do not include any rights of the
Protected Parties or the Limited Protected Parties arising under the Channeling Injunction or any
of the Injunctions, Releases, or Discharges granted under the Plan and the Confirmation Order.

       3.      Transfer of Settlement Trust Assets to the Settlement Trust

        On the Effective Date, subject to Article IV.D.2 of the Plan, all right, title, and interest in
and to the Settlement Trust Assets and any proceeds thereof shall be automatically, and without
further act or deed, transferred to, vested in, and assumed by the Settlement Trust free and clear
of all Encumbrances or Claims or other interests of any Person, subject to the Channeling
Injunction and other provisions of the Plan. Notwithstanding the foregoing, the Settlement Trust
shall satisfy, to the extent required under applicable law and in accordance with the Trust
Distribution Procedures, any retrospective premiums and self-insured retentions arising out of
any Abuse Claims under the Abuse Insurance Policies. The Debtors and the Local Councils
shall establish an appropriate escrow mechanism to ensure that the Cash to be paid to the
Settlement Trust by Local Councils on the Effective Date can be paid in a timely manner.

         To the extent any of the Settlement Trust Assets are not transferred to the Settlement
Trust by operation of law on the Effective Date pursuant to the Plan, then when such assets
accrue or become transferable subsequent to the Effective Date, they shall automatically and
immediately transfer to the Settlement Trust free and clear of all Encumbrances and Claims or
other interests of any Person, subject to the Channeling Injunction and other provisions of the
Plan. To the extent any Artwork is not physically transferred to the Settlement Trust on the
Effective Date, the Debtors or Reorganized BSA and the Settlement Trust shall mutually agree
on the terms of the storage and subsequent physical transfer thereof. For the avoidance of doubt,
title to the Artwork (and the risk of loss thereof) will transfer to the Settlement Trust on the
Effective Date. To the extent that any action of a Protected Party or Limited Protected Party is
required to effectuate such transfer, such Protected Party or Limited Protected Party shall
promptly transfer, assign, and contribute, such remaining Settlement Trust Assets to the
Settlement Trust. In the event a Protected Party or Limited Protected Party breaches any
obligation contained in this section, the Settlement Trust will have no adequate remedy at law
and shall be entitled to preliminary and permanent declaratory and injunctive relief. Article
IV.D.2 of the Plan applies, without limitation, to (a) that portion of the Local Council Settlement


                                                 204
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 212 of 303




Contribution required to be contributed to the Settlement Trust after the Effective Date and (b)
the transfer to the Settlement Trust of the Warehouse and Distribution Center, subject to the
Leaseback Requirement.

       4.      The Settlement Trust Distribution Procedures

        On the Effective Date, the Settlement Trust shall implement the applicable Trust
Distribution Procedures in accordance with the terms of the Settlement Trust Agreement. From
and after the Effective Date, the Settlement Trustee shall have the authority to administer,
amend, supplement, or modify the Trust Distribution Procedures solely in accordance with the
terms thereof and the Settlement Trust Agreement.

       5.      Post-Effective Date Contributing Chartered Organizations

        Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Chartered Organization that is not a Contributing Chartered Organization as of the Effective
Date may become a Protected Party if the Bankruptcy Court, after notice and an opportunity for
parties in interest to be heard, approves a settlement agreement between such Chartered
Organization and the Settlement Trustee (a “Post-Effective Date Chartered Organization
Settlement”). After the Effective Date, the Settlement Trustee shall have the exclusive authority
to seek approval of a Post-Effective Date Chartered Organization Settlement. Upon the
Bankruptcy Court’s entry of a Final Order approving a Post-Effective Date Chartered
Organization Settlement, Exhibit D of the Plan shall be amended by the Settlement Trustee to
include such Chartered Organization, and such Chartered Organization (and any related Persons
or Representatives, as applicable) shall be deemed to be a Contributing Chartered Organization
and a Protected Party for all purposes hereunder. A list of Chartered Organizations that may
potentially become Contributing Chartered Organization may be accessed at
https://omniagentsolutions.com/bsa-SAballots.

        Any Chartered Organization that becomes a Protected Party in accordance with Article
IV.I of the Plan shall have all of the rights, remedies and obligations of a Protected Party under
the Plan, including under the Channeling Injunction, notwithstanding that such Chartered
Organization was not a Protected Party under the Plan as of the Effective Date.

       6.      Post-Effective Date Participating Chartered Organizations

        Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Chartered Organization that is not a Participating Chartered Organization as of the Effective
Date may become a Participating Chartered Organization by agreement with the Settlement
Trustee and without further order of the Bankruptcy Court; provided, however, that the
Settlement Trustee shall file a notice with the Bankruptcy Court within thirty (30) days of
entering into any agreement with a Chartered Organization that deems such Chartered
Organization to be a Limited Protected Party, together with an amendment to Exhibit K of the
Plan removing such Chartered Organization from the list of Chartered Organizations that are not
Participating Chartered Organizations.

       Any Chartered Organization that becomes a Limited Protected Party in accordance with
Article IV.J of the Plan shall have all of the rights, remedies and obligations of a Limited

                                               205
                  Case 20-10343-LSS             Doc 6418-1           Filed 09/29/21         Page 213 of 303




Protected Party under the Plan, including under the Limited Channeling Injunction,
notwithstanding that such Chartered Organization was not a Limited Protected Party under the
Plan as of the Effective Date.

             7.        Post-Effective Date Settling Insurance Companies

       Notwithstanding any present exclusionary language in the Plan, after the Effective Date,
any Insurance Company that is a Non-Settling Insurance Company may, within twelve (12)
months of the Effective Date (the “Insurance Settlement Period”), enter into an Insurance
Settlement Agreement with the Settlement Trustee (a “Post-Effective Date Insurance
Settlement”); provided, however, that the Settlement Trustee shall file a notice with the
Bankruptcy Court within thirty (30) days of entering into any such Post-Effective Date Insurance
Settlement, together with an amendment to Exhibit I of the Plan including such Post-Effective
Date Insurance Settlement, and such Insurance Company (and any related Persons or
Representatives, as applicable) shall be deemed to be a Settling Insurance Company and a
Protected Party for all purposes hereunder. The Post-Effective Date Insurance Settlement and
amendment shall be deemed binding and effective absent objection by any Person within fifteen
(15) calendar days. The Settlement Trustee shall have the sole discretion, upon order of the
Bankruptcy Court, to extend the Insurance Settlement Period.

        Any Insurance Company that becomes a Protected Party in accordance with Article IV.K
of the Plan shall have all of the rights, remedies and obligations of a Protected Party under the
Plan, including under the Channeling Injunction, notwithstanding that such Insurance Company
was not a Protected Party under the Plan as of the Effective Date.

             8.        The Settlement Trust Agreement

       The Settlement Trust is formed through the Settlement Trust Agreement, executed by and
between BSA, the Settlement Trustee, the Future Claimants’ Representative, the Delaware
Trustee, and the STAC.106107 The Settlement Trust Agreement describes and dictates the
purpose, scope, function, and funding of the Settlement Trust. Namely, the Settlement Trust
Agreement provides that the Settlement Trust is (i) to assume all liability for the Channeled
Claims, (ii) administer the Channeled Claims and (iii) make distributions to holders of
compensable Abuse Claims, in each case in accordance with the Trust Distributions Procedures
for Abuse Claims. Settlement Trust Agreement § 1.2. The Settlement Trust Agreement
provides that the Settlement Trust will be funded through irrevocable transfers of the Trust
Assets. Id. § 1.3.

       To operate the Settlement Trust, the Settlement Trust Agreement appoints a Settlement
Trustee and enumerates the Settlement Trustee’s powers, duties, and limitations. These include,
among others: the power to administer the Trust, the Trust Assets, and any other amounts to be
received under the terms of the Trust Documents in accordance with the purposes set forth in the
Settlement Trust Agreement and in the manner described by the Trust Documents; the power to
take any and all actions that in the judgment of the Settlement Trustee are necessary or advisable

106107
              Capitalized terms used but not defined in this section have the meanings ascribed to them in the Settlement Trust
         Agreement. In the event of any discrepancy between this summary and the Settlement Trust Agreement, the Settlement
         Trust Agreement shall control in all respects.


                                                               206
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 214 of 303




to fulfill the purposes of the Trust, including, without limitation, each power expressly granted in
the Settlement Trust Agreement, and any power reasonably incidental thereto and any trust
power permitted under the laws of the State of Delaware; take any and all actions appropriate or
necessary in order to carry out the terms of the Trust Documents; and except as otherwise
expressly provided in the Trust Documents, exercise any other powers now or hereafter
conferred upon or permitted to be exercised by a trustee under the laws of the State of Delaware.
Settlement Trust Agreement § 2.1. The Settlement Trustee is required under the Settlement
Trust Agreement to consult with a Settlement Trust Advisory Committee (“STAC”) and the
Future Claimants’ Representative on certain matters set forth in the Settlement Trust Agreement.
The Settlement Trustee shall also obtain the consent of the STAC and the Future Claimants’
Representative prior to taking action with respect to certain matters. Id. § 2.1(g).

        In line with the Settlement Trust’s objective, the Settlement Trust Agreement mandates
that the Settlement Trust qualify as a “qualified settlement fund” within the meaning of § 468B
of the Tax Code and § 468B’s associated regulations. Settlement Trust Agreement § 8.4. To
accomplish this, the Settlement Trust Agreement empowers the Settlement Trustee to take all
actions as the Settlement Trustee deems necessary to reasonably ensure that the Settlement Trust
qualifies as, and remains, a “qualified settlement fund.” Id. §2.1(a). This includes authorizing
the Settlement Trustee to unilaterally and without court order, amend, either in whole or in part,
any administrative provision of the Settlement Trust Agreement which causes unanticipated tax
consequences or liabilities inconsistent with the foregoing. Id. § 2.1(a). Reorganized BSA shall
make a “grantor trust” election under Treasury Regulation section 1.468B-1(k) with respect to
the Settlement Trust for U.S. federal income tax purposes and, to the extent permitted under
applicable law, for state and local income tax purposes. Id. § 8.4(a). The Settlement Trustee as
“administrator” of the Trust within the meaning of Section 1.468B-2(k)(3) of the Treasury
Regulations shall report consistently with such grantor trust election and otherwise satisfy all
requirements necessary to qualify and maintain qualification of Trust as a qualified settlement
fund and a grantor trust. Id. § 8.4.

         Lastly, the Settlement Trust Agreement sets forth the Settlement Trust’s termination and
associated procedures. Specifically, the Settlement Trust shall automatically dissolve as soon as
practicable but no later than ninety (90) days after the date on which the Bankruptcy Court
approves the dissolution of the Trust because (i) all reasonably expected assets have been
collected by the Trust, (ii) all distributions have been made to the extent set forth in the Trust
Distribution Procedures, (iii) necessary arrangements and reserves have been made to discharge
all anticipated remaining Trust obligations and Trust Operating Expenses in a manner consistent
with the Trust Documents, and (iv) a final accounting has been filed and approved by the
Bankruptcy Court. Settlement Trust Agreement § 8.2(b). After termination of the Settlement
Trust and solely for the purpose of liquidating and winding up its affairs, the Settlement Trustee
shall continue to act as Settlement Trustee until its duties under the Settlement Trust Agreement
have been fully performed. Upon termination of the Settlement Trust and accomplishment of all
activities described in the Settlement Trust Agreement, the Settlement Trustee and its
professionals shall be discharged and exculpated from liability (except for acts or omissions
resulting from the recklessness, gross negligence, willful misconduct, knowing and material
violation of law or fraud of the Settlement Trustee or his agents or representatives). Id. §
8.29(e).



                                                207
            Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21    Page 215 of 303




       9.      Discharge of Liabilities to Holders of Abuse Claims

        Except as provided in the Plan, the transfer to, vesting in and assumption by the
Settlement Trust of the Settlement Trust Assets as contemplated by the Plan shall, as of the
Effective Date, discharge all obligations and liabilities of and bar any recovery or action against
the Protected Parties for or in respect of all Abuse Claims, including all Indirect Abuse Claims
(and the Confirmation Order shall provide for such discharge). The Settlement Trust shall, as of
the Effective Date, assume sole and exclusive responsibility and liability for all Abuse Claims
and such Claims shall be paid by the Settlement Trust from the Settlement Trust Assets or as
otherwise directed in the Settlement Trust Documents.

       10.     Imposition of Channeling Injunction

        From and after the Effective Date, all Abuse Claims shall be subject to the Channeling
Injunction pursuant to section 105(a) of the Bankruptcy Code and the provisions of the Plan and
the Confirmation Order. From and after the Effective Date, the Protected Parties shall not have
any obligation with respect to any liability of any nature or description arising out of, relating to,
or in connection with any Abuse Claims.

       11.     Insurance Assignment

        As of the Effective Date, the Insurance Assignment shall be completed, which includes
an assignment and transfer to the Settlement Trust of (a) the Insurance Actions, (b) the Insurance
Action Recoveries, (c) the Insurance Settlement Agreements, and (d) all other rights, claims,
benefits, or Causes of Action of the Debtors, Related Non-Debtor Entities, Local Councils,
Participating Chartered Organizations or Contributing Chartered Organizations under or with
respect to the Abuse Insurance Policies (but not the policies themselves). The Insurance
Assignment does not include (i) any rights, claims, benefits, or Causes of Action under or with
respect to any Non-Abuse Insurance Policies and D&O Liability Insurance Policies, (ii) any
Local Council Reserved Rights, or (iii) any rights, claims, benefits, or Causes of Action of any
Chartered Organization that is not a Participating Chartered Organization or a Contributing
Chartered Organization under or with respect to any Abuse Insurance Policy.

       12.     Specified Insurance Policies and Non-Abuse Litigation Claims

        The Settlement Trust shall have consent over any post-Effective Date settlement of any
Non-Abuse Litigation Claim (such consent not to be unreasonably withheld) that is entitled to a
recovery from proceeds of Specified Insurance Policies. A condition of payment of a
Non-Abuse Litigation Claim by the Settlement Trust from a Specified Insurance Policy shall be
a release by the holder of such Non-Abuse Litigation Claim of the Debtors, the Local Councils,
and any other insureds under applicable Specified Insurance Policies. Before the Settlement
Trust settles any Specified Insurance Policy(ies) under which the holder of a Non-Abuse
Litigation Claim is seeking to recover, the holder of a Non-Abuse Litigation Claim may recover
up to the full amount of such Claim in the first instance from any such available unsettled
Specified Insurance Policy(ies) or unsettled Specified Excess Insurance Policy(ies). If and when
the Settlement Trust settles one or more Specified Insurance Policies under which the holder of a
Non-Abuse Litigation Claim is seeking to recover: (a) the holder of such Non-Abuse Litigation


                                                 208
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 216 of 303




Claim shall remain entitled to recover up to $1,000,000 of such Claim under any such Specified
Primary Insurance Policy(ies); and (b) any amounts exceeding $1,000,000 shall be recoverable
in the first instance from any available Specified Excess Insurance Policies. Subject to a review
of the details concerning a Non-Abuse Litigation Claim by the Settlement Trustee, to the extent
that the holder of a Non-Abuse Litigation Claim cannot, as a result of the Settlement Trust’s
release of such Specified Insurance Policy(ies), recover the full amount of any judgment or
settlement of such Claim consented to by the Settlement Trust (such consent not to be
unreasonably withheld) from any Specified Insurance Policy(ies) under which the holder of a
Non-Abuse Litigation Claim is seeking to recover, then any unpaid amounts (up to applicable
policy limits) shall be submitted to the Settlement Trust, which shall pay such amounts out of the
proceeds of the Specified Insurance Policies.

        The Settlement Trustee shall have a duty to treat Direct Abuse Claims and Non-Abuse
Litigation Claims that implicate the Specified Insurance Policies fairly and equally. In
negotiating any settlements involving Specified Insurance Policies, the Settlement Trustee shall
bear in mind the interests of both Direct Abuse Claims and Non-Abuse Litigation Claims in
structuring any settlement and use best efforts to maximize recoveries for both constituencies.

        Notwithstanding anything to the contrary in the Plan, with respect to any Non-Abuse
Litigation Claim that has been asserted or could be asserted against any Local Council, notice of
which is provided to the Debtors, the Coalition, the Tort Claimants’ Committee, and the Future
Claimants’ Representative prior to the Effective Date, the rights of the Local Council to recover
for such Non-Abuse Litigation Claim under the Specified Insurance Policies up to the applicable
coverage limits shall be preserved; provided, however, that if the holder of a Non-Abuse
Litigation Claim provides a full and complete written release of any claims that such holder of a
Non-Abuse Litigation Claim may have against the Local Council related to the Non-Abuse
Litigation Claim, then the Local Council will be deemed to have waived any rights it may have
against the Specified Insurance Policy with respect to such Non-Abuse Litigation Claim.

       13.     Settlement Trust Causes of Action

        The transfer of the Settlement Trust Causes of Action to the Settlement Trust, insofar as
they relate to the ability to defend against or reduce the amount of Abuse Claims, shall be
considered the transfer of a non-exclusive right enabling the Settlement Trust to defend itself
against asserted Abuse Claims, which transfer shall not impair, affect, alter, or modify the right
of any Person, including the Protected Parties, the Limited Protected Parties, an insurer or
alleged insurer, or co-obligor or alleged co-obligor, sued on account of an Abuse Claim or on
account of any asserted right relating to any Abuse Insurance Policy, to assert each and every
defense or basis for claim reduction such Person could have asserted had the Settlement Trust
Causes of Action not been assigned to the Settlement Trust (including any defense or basis for
claim reduction that any Insurance Company or other insurer or alleged insurer could have
asserted under section 502 of the Bankruptcy Code, applicable non-bankruptcy law, or any
Abuse Insurance Policy or other agreement with respect to (a) any alleged liability of the BSA or
any Local Council, Contributing Chartered Organization, Participating Chartered Organization,
or any other insured Person for any Abuse Claim or (b) any alleged liability of any Insurance
Company or other insurer or alleged insurer to provide indemnity or defense relating to any



                                               209
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 217 of 303




Abuse Claim or any alleged extracontractual liability of any Insurance Company or other insurer
or alleged insurer relating to any Abuse Claim).

       14.     Reimbursement by Settlement Trust

         From and after the Effective Date, the Settlement Trust shall reimburse, to the fullest
extent permitted by applicable law, Reorganized BSA and each of the Local Councils for any
documented out-of-pocket, losses, costs, and expenses (including judgments, attorneys’ fees, and
expenses) incurred by Reorganized BSA or any Local Council after the Effective Date
attributable to the defense of a Direct Abuse Claim that is channeled to the Settlement Trust if
the holder of such Direct Abuse Claim seeks to hold Reorganized BSA or such Local Council
liable for such Direct Abuse Claim in violation of the terms of the Plan or the Confirmation
Order; provided that the Settlement Trust’s reimbursement obligations to Reorganized BSA and
any Local Council for any Direct Abuse Claim shall be capped at and shall not exceed the
amount actually payable by the Settlement Trust to the holder of such Direct Abuse Claim under
the Trust Distribution Procedures (i.e., the amount paid based on the Settlement Trust payment
percentage) and shall be deducted on a dollar-for-dollar basis against such holder’s distribution
from the Settlement Trust on account of such Direct Abuse Claim. Reorganized BSA and any
Local Council shall provide notice to the Settlement Trust within ten (10) business days of the
service of any claim or lawsuit filed by a holder of an Abuse Claim that could result in any
reimbursement obligations by the Settlement Trust under this provision. In the event that any
litigation asserting an Abuse Claim is filed naming Reorganized BSA or any Local Council as a
defendant in violation of the terms of the Plan or the Confirmation Order, the Settlement Trust
shall, at the request of Reorganized BSA or such Local Council, promptly appear (1) before the
Bankruptcy Court to obtain entry of an order enforcing the Channeling Injunction and (2) in such
litigation and seek the dismissal of the case. Other than this limited reimbursement obligation,
the Settlement Trust shall not be required to reimburse or indemnify any Protected Parties or
Limited Protected Parties for any claims, liabilities, losses, actions, suits, proceedings,
third-party subpoenas, damages, costs and expenses, including any liabilities related to, arising
out of, or in connection with any Abuse Claim. Except for the right to seek reimbursement or
indemnity set forth in Article IV.M of the Plan, the Debtors, the Local Councils, the
Contributing Chartered Organizations, the Participating Chartered Organizations and any other
Person that is or becomes a Protected Party shall be forever barred from seeking compensation
from the Settlement Trust for or on account of any Claims arising prior to the Petition Date.

       15.     Trust Defense of TCJC Settlement

        In the event that any litigation in any forum asserting an Abuse Claim is filed naming
TCJC as a defendant in violation of the terms of the Plan or the Confirmation Order, the
Settlement Trust shall, at the request of TCJC, promptly appear (1) before the Bankruptcy Court
to obtain entry of an order enforcing the Channeling Injunction and (2) in such litigation seek the
dismissal of the case. Under no circumstances shall the Settlement Trust be required to
reimburse or indemnity TCJC for any claims, liabilities, losses, actions, suits, proceedings,
third-party subpoenas, damages, costs, and expenses, including any liabilities related to, arising
out of, or in connection with, any Abuse Claim.




                                               210
         Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21   Page 218 of 303




       16.     Assignment of Claims and Defenses

        Notwithstanding anything herein to the contrary, on the Effective Date, the Debtors, the
Local Councils and any other party that is or becomes a Protected Party or a Limited Protected
Party shall be deemed to assign any and all Claims and defenses to the Settlement Trust that
arise from or relate to Abuse Claims, including any Claims and defenses against co-defendants;
provided, however, that with respect to Limited Protected Parties, the foregoing assignment shall
be limited to Claims and defenses that arise from or relate to Post-1975 Chartered Organization
Abuse Claims.

       17.     Excess Assets in Settlement Trust

       To the extent any Settlement Trust Assets remain at such time as the Settlement Trust is
dissolved under the terms of the Settlement Trust Documents, any remaining Settlement Trust
Assets shall be distributed to Reorganized BSA.

       18.     Investment Guidelines

        All monies held in the Settlement Trust shall be invested, subject to the investment
limitations and provisions enumerated in the Settlement Trust Agreement.

       19.     Settlement Trust Expenses

         The Settlement Trust shall pay all Settlement Trust Expenses from the Settlement Trust
Assets. The Settlement Trust shall bear sole responsibility with respect to the payment of the
Settlement Trust Expenses. Additionally, the Settlement Trust shall promptly pay all reasonable
and documented Settlement Trust Expenses incurred by any Protected Party for any and all
liabilities, costs or expenses as a result of taking action on behalf of or at the direction of the
Settlement Trust following the transfer to the Settlement Trust of copies of all records and
documents in such Persons’ possession, custody or control pertaining to Abuse Claims in
accordance with the Document Agreement. To the maximum extent permitted by applicable
law, the Settlement Trustee shall not have or incur any liability for actions taken or omitted in
his or her capacity as Settlement Trustee, or on behalf of the Settlement Trust, except those acts
found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable
fees and expenses in defending any and all of his or her actions or omissions in his or her
capacity as Settlement Trustee, or on behalf of the Settlement Trust, except for any actions or
omissions found by Final Order to be arising out of his or her willful misconduct, bad faith,
gross negligence or fraud. Any valid indemnification claim of the Settlement Trustee shall be
satisfied only from the Settlement Trust Assets.

       20.     Settlement Trustee

       There shall be one Settlement Trustee. The initial Settlement Trustee shall be Eric D.
Green. Any successor Settlement Trustee shall be appointed in accordance with the terms of the
Settlement Trust Agreement. For purposes of any Settlement Trustee performing his or her
duties and fulfilling his or her obligations under the Settlement Trust and the Plan, the
Settlement Trust and the Settlement Trustee shall be deemed to be, and the Confirmation Order

                                                211
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 219 of 303




shall provide that he or she is, a “party in interest” within the meaning of section 1109(b) of the
Bankruptcy Code. The Settlement Trustee shall be the “administrator” of the Settlement Trust as
such term is used in Treas. Reg. Section 1.468B-2(k)(3).

        As explained in Article V.K herein, the Debtors filed the Mediation Motion, requesting
the appointment a sitting bankruptcy judge as a mediator if the relevant parties were unable to
agree on a mediator before the hearing on the motion [D.I. 17]. After more than two months of
negotiations among the Debtors, the Tort Claimants’ Committee, the Creditors’ Committee, the
Future Claimants’ Representative, and the Ad Hoc Committee, the Debtors filed a revised
mediation order, including the identities of the Debtors’ proposed mediators: Paul Finn, Timothy
Gallagher, and Eric Green [D.I. 782]. Each of the proposed mediators filed declarations,
disclosing their respective connections to parties-in-interest in the Chapter 11 Cases [D.I. 710,
711, 712]. Certain insurers objected to the Debtors’ proposed mediators asserting, among other
things, that Mr. Green must be disqualified because the Future Claimants’ Representative, James
L. Patton, or his law firm, have represented Mr. Green in his capacity as future claimants’
representative in certain mass-tort cases [D.I. 658, 759, 646, 761, 648, 756]. Hartford and
Century objected to the Debtors’ proposed mediators and filed declarations from the Honorable
Kevin J. Carey (Ret.) and Kenneth Feinberg as their proposed mediators [D.I. 771, 773]. While
the Debtors maintained that Eric Green was well qualified to serve as a neutral mediator, the
Debtors expressed that they would welcome the appointment of Judge Carey as the sole or lead
mediator if the Court deemed such appointment appropriate [D.I. 782]. Ultimately, the
Bankruptcy Court entered the Mediation Order appointing Judge Kevin Carey (Ret.), Paul Finn,
and Timothy Gallagher as Mediators [D.I. 812]. Known connections between Eric D. Green,
White & Case, the Coalition, and the Future Claimants’ Representative, respectively, are listed
in Exhibit H attached hereto.

       21.     The Settlement Trust Advisory Committee

        The Settlement Trust Advisory Committee shall be established pursuant to the Settlement
Trust Agreement. The initial STAC shall be composed of seven (7) members, five (5) of which
shall be selected by the Coalition and two (2) of which shall be selected by the Tort Claimants’
Committee, subject to discussion between and the consent of the Coalition and the Tort
Claimants’ Committee. The STAC members shall be reasonably acceptable to the Debtors and
shall have the functions, duties, and rights provided in the Settlement Trust Agreement. Each
STAC member shall serve in accordance with the terms and conditions of the Settlement Trust
Agreement.

        The commencement or continuation of a STAC Tort Election Claim (as defined in
Article XII.B of the Trust Distribution Procedures) and the approval of any global settlement
after the Effective Date that causes an Insurance Company or a Chartered Organization to
become a Protected Party must be approved by the Settlement Trustee, the Future Claimants’
Representative and the majority of the STAC, provided, however, that the refusal of any of the
foregoing to (a) authorize the commencement or continuation of a STAC Tort Election Claim or
(b) approve a global settlement after the Effective Date that causes an Insurance Company or a
Chartered Organization to become a Protected Party shall be subject to immediate review under




                                               212
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 220 of 303




the standard set forth in the Settlement Trust Agreement by the Special Reviewer if three (3)
members of the STAC so require.

       22.     Compensation of Settlement Trustee and Retention of Professionals

        The Settlement Trustee shall be entitled to compensation as provided for in the
Settlement Trust Agreement. The Settlement Trustee may retain and reasonably compensate,
without Bankruptcy Court approval, counsel and other professionals as reasonably necessary to
assist in their duties as Settlement Trustee, subject to the terms of the Settlement Trust
Agreement. All fees and expenses incurred in connection with the foregoing shall be payable
from the Settlement Trust as provided for in the Settlement Trust Agreement.

       23.     Future Claimants’ Representative

         The Settlement Trust Agreement shall provide for the continuation of the Future
Claimants’ Representative to represent the interests of holders of Future Abuse Claims. The
initial Future Claimants’ Representative shall be James L. Patton, Jr. so long as he is the Future
Claimants’ Representative in the Chapter 11 Cases as of the Effective Date.

       24.     Consent Rights of the Debtors and the Reorganized BSA

       The Settlement Trust Documents may not be amended or modified without the consent of
the Debtors or the Reorganized BSA, as applicable, which shall not be unreasonably withheld.
The Debtors shall also have consent rights with respect to any successor Settlement Trustee and
Trust Advisory Committee members, which consent shall not be unreasonably withheld.
Notwithstanding any of the foregoing, the Indemnification Obligations of the Settlement Trust
described in Article IV.I of the Plan may not be amended or modified without the consent of the
Protected Party that is otherwise entitled to indemnification pursuant to those provisions.

       25.     Document Agreement

        Reorganized BSA, the Local Councils, the Contributing Chartered Organizations and the
Settlement Trust shall enter into the Document Agreement on the Effective Date, substantially in
the form contained in the Plan Supplement. The Document Agreement shall provide for copies
of certain documents, books, and records of Reorganized BSA, the Local Councils, and any
Contributing Chartered Organizations to be transferred to the Settlement Trust. The parties to
the Document Agreement shall be bound by the terms thereof.

       As is customary, the Document Agreement, under which parties thereto shall provide the
Settlement Trust with documents, witnesses, or other information, will be submitted in
connection with the Plan Supplement.

       26.     First Encounter Agreement

       The Debtors’ rights and obligations, if any, in the FEA will be assigned to the Settlement
Trust. However, the Settlement Trust retains the ability to dispute its applicability.




                                               213
          Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 221 of 303




       27.     Privileged Information

        The transfer or assignment of any Privileged Information to the Settlement Trustee shall
not result in the destruction or waiver of any applicable privileges pertaining thereto. Further,
with respect to any privileges: (1) they are transferred to or contributed for the purpose of
enabling the Settlement Trustee to perform his or her duties to administer the Settlement Trust;
(2) they are vested solely in the Settlement Trustee and not in the Settlement Trust, the STAC,
the Future Claimants’ Representative, the Special Reviewer, the SASAC (as defined in the
Settlement Trust Agreement), any other Person, committee or subcomponent of the Settlement
Trust, or any other Person (including counsel and other professionals) who has been engaged by,
represents, or has represented any holder of an Abuse Claim; and (3) the Settlement Trustee shall
keep, handle and maintain such Privileged Information in accordance with the terms of the
Document Agreement. The Settlement Trustee shall succeed to and hold all rights to and
interest in and related to the Debtors’, Local Councils’ and Contributing Chartered
Organizations’ privileges, including the attorney-client privilege, any Common-Interest
Communications with Insurers, and any protection granted by joint defense, common interest,
and/or confidentiality agreement, as to all documents, communications, and other information,
including any information transferred pursuant to the Document Agreement. The Settlement
Trustee shall be permitted to use Privileged Information for any purpose related to the
administration of the Settlement Trust and the settlement of Abuse Claims and shall be permitted
to share Privileged Information with any professional retained by the Settlement Trust; provided,
however, that the Settlement Trustee shall not share Privileged Information with the STAC or
any holder of an Abuse Claim except as required by law or as the Settlement Trustee determines
in good faith is required by law. Notwithstanding the foregoing, nothing herein shall preclude
the Settlement Trustee from providing Privileged Information to any Insurance Company as
necessary to preserve, secure, or obtain the benefit of any rights under any Abuse Insurance
Policy.

       28.     No Liability

         The Protected Parties and the Limited Protected Parties shall neither have nor incur any
liability to, or be subject to any right of action by, any Person for any act, omission, transaction,
event, or other circumstance in connection with or related to the Settlement Trust, the Settlement
Trustee, or the Settlement Trust Documents, including the administration of Abuse Claims and
the distribution of Settlement Trust Assets by the Settlement Trust, or any related agreement.

       29.     U.S. Federal Income Tax Treatment of the Settlement Trust

        The Settlement Trust shall be a “qualified settlement fund” within the meaning of
Treasury Regulation section 1.468B-1. Reorganized BSA shall make a “grantor trust” election
under Treasury Regulation section 1.468B-1(k) with respect to the Settlement Trust for U.S.
federal income tax purposes and, to the extent permitted under applicable law, for state and local
income tax purposes. All parties shall report consistently with such grantor trust election. The
Settlement Trust shall file (or cause to be filed) statements, returns, or disclosures relating to the
Settlement Trust that are required by any Governmental Unit. The Settlement Trustee shall be
responsible for the payment of any taxes imposed on the Settlement Trust or the Settlement Trust
Assets, including estimated and annual U.S. federal income taxes in accordance with the terms


                                                 214
                Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21         Page 222 of 303




of the Settlement Trust Agreement. The Settlement Trustee may request an expedited
determination of taxes on the Settlement Trust under section 505(b) of the Bankruptcy Code for
all returns filed for, or on behalf of, the Settlement Trust for all taxable periods through the
dissolution of the Settlement Trust.

             30.       Institution and Maintenance of Legal and Other Proceedings

         As of the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute,
defend, settle, maintain, administer, preserve, pursue, and resolve all legal actions and other
proceedings related to any asset, liability, or responsibility of the Settlement Trust, including the
Insurance Actions, Abuse Claims, and the Settlement Trust Causes of Action. Without limiting
the foregoing, on and after the Effective Date, the Settlement Trust shall be empowered to
initiate, prosecute, defend, settle, maintain, administer, preserve, pursue, and resolve all such
actions, in the name of the Debtors or Reorganized BSA, if deemed necessary or appropriate by
the Settlement Trust. The Settlement Trust shall be responsible for the payment of all damages,
awards, judgments, settlements, expenses, costs, fees, and other charges incurred on or after the
Effective Date arising from, relating to, or associated with any legal action or other proceeding
which is the subject of Article IV.V of the Plan and shall pay Indirect Abuse Claims, in
accordance with the Trust Distribution Procedures, that may arise from deductibles or other
charges. Furthermore, without limiting the foregoing, the Settlement Trust shall be empowered
to maintain, administer, preserve, or pursue the Insurance Coverage Actions and the Insurance
Action Recoveries.

             31.       Notation on Claims Register Regarding Abuse Claims

       On the Effective Date, all Abuse Claims filed against the Debtors in the Chapter 11
Cases shall be marked on the Claims Register as “Channeled to the Settlement Trust” and
resolved exclusively in accordance with the Trust Distribution Procedures.

             32.       Insurance Provisions

       As provided in Article X.M of the Plan, the following shall apply to all Entities,
including all Insurance Companies:

        Except for the Insurance Assignment, or as otherwise provided in the Bankruptcy Code,
applicable law, the findings made by the Bankruptcy Court in the Confirmation Order or the
findings made by the District Court in the Affirmation Order, nothing in the Plan shall modify,
amend, or supplement, or be interpreted as modifying, amending, or supplementing, the terms of
any Insurance Policy or rights or obligations under an Insurance Policy to the extent such rights
and obligations are otherwise available under applicable law, and the rights and obligations, if
any, of any Non-Settling Insurance Company relating to or arising out of the Plan Documents,
including the Plan, the Confirmation Order, and the Affirmation Order, or any provision thereof,
shall be determined pursuant to the terms and provisions of the Insurance Policies and applicable
law.107108


107108
              The Debtors believe this provision is not inconsistent with the Bankruptcy Court’s statements on the record at the May
         19, 2021 hearing and will resolve the objections of the various survivor groups to the insurance provisions of the Plan.


                                                                  215
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 223 of 303




        No provision of the Plan, other than those provisions contained in the applicable
Injunctions contained in Article X of the Plan, shall be interpreted to affect or limit the
protections afforded to any Settling Insurance Company by the Channeling Injunction.

       Nothing in Article X.M of the Plan is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied against
any Person

       33.     Judgment Reduction

        Without limiting the Discharges, Releases and Injunctions set forth above, if any Person,
including a holder of an Abuse Claim (“Plaintiff”), asserts a Cause of Action against any other
Person arising from or relating to Abuse that is the subject of a proof of claim filed against the
Debtors in the Chapter 11 Cases, regardless of whether such Cause of Action may be asserted
pursuant to the Bankruptcy Code or is in the nature of or sounding in contract, tort, warranty or
any other theory of law or equity whatsoever (each such Cause of Action, an “Abuse Cause of
Action”), and such Abuse Cause of Action results in a determination by the court or tribunal
hearing the Abuse Cause of Action (including by a jury empaneled by such court or tribunal)
that any Person who is not a Protected Party or a Limited Protected Party (each, a “Specified
Person”) is liable in damages to Plaintiff, then, prior to final entry of any judgment, order or
arbitration award (“Judgment”) in such Abuse Cause of Action, Plaintiff shall provide notice and
a copy of the Confirmation Order to the Trial Court. Such court or tribunal shall determine
whether the Abuse Cause of Action gives rise to any Cause of Action on which any Protected
Party or Limited Protected Party would have been liable to Plaintiff in the absence of the Plan
and Confirmation Order. The court or tribunal shall reduce any Judgment against a Specified
Person by an amount equal to the “Judgment Reduction Amount,” which shall equal the greatest
amount such Specified Person would be entitled, under applicable non-bankruptcy law, to set off
against the Judgment if such Protected Party or Limited Protected Party were not entitled to the
benefits of the Discharges, Releases, or Injunctions set forth herein. For the avoidance of doubt,
a Limited Protected Party may be a Specified Person entitled to the judgment reduction provided
for in Article X.N of the Plan with respect to an Abuse Cause of Action arising from or relating
to Abuse that is not the subject of a Post-1975 Chartered Organization Abuse Claim:

        Nothing in the Plan shall prejudice or operate to preclude the right of any Specified
Person to (a) provide notice of the Confirmation Order to any court or tribunal hearing an Abuse
Cause of Action, (b) raise any issues, claims or defenses regarding the Judgment Reduction
Amount, including the contractual liability and/or relative or comparative fault of any Person,
including any Protected Party or Limited Protected Party, in any court or tribunal hearing any
Abuse Cause of Action in accordance with applicable law or procedure, or (c) take discovery of
Protected Parties or Limited Protected Parties in accordance with applicable law or procedure;
provided, however, that nothing herein shall in any way modify or affect the Discharges,
Releases or Injunctions. For the avoidance of doubt, nothing herein shall (i) be deemed to entitle
a Plaintiff to more than a single satisfaction with respect to any Abuse Cause of Action or (ii)
prejudice or operate to preclude the rights of any Specified Person to assert any claims or causes
of action that have not been discharged, released, or enjoined under the Plan or Confirmation
Order.



                                               216
               Case 20-10343-LSS              Doc 6418-1            Filed 09/29/21          Page 224 of 303




       Each Plaintiff is hereby enjoined and restrained from seeking relief or collecting
judgments against any Specified Person in a manner that fails to conform to the terms of Article
X.N of the Plan.
        If any Plaintiff enters into a settlement with any Person with respect to one or more
causes of action based upon, arising from, or related to an Abuse Cause of Action, then such
Plaintiff shall cause to be included, and in all events, the settlement shall be deemed to include, a
dismissal, release and waiver of any Abuse Cause of Action with respect to such settlement.
B.        Trust Distribution Procedures

       The Plan provides that the Settlement Trust will resolve Abuse Claims through the Trust
Distribution Procedures under the Plan, which are summarized herein and are attached to the
Plan as Exhibit A.108109 Please note that if there are any inconsistencies between this
summary and the Trust Distribution Procedures, the Trust Distribution Procedures shall
govern in all respects.
        The Trust Distribution Procedures are designed to permit the Settlement Trustee to
provide substantially similar treatment to holders of similar, legally valid, and supported Abuse
Claims. The procedures set forth in the Trust Distribution Procedures will be the sole and
exclusive method by which the holder of an Abuse Claim may seek allowance and resolution of
his or her Abuse Claim. With respect to payment of claimants pursuant to the Trust Distribution
Procedures, the Settlement Trustee will be provided broad discretion to determine the allocation
of funds in the Settlement Trust to pay (1) each claimant, (2) administrative fees, and (3) legal
fees. This includes discretion regarding how to allocate proceeds received from both Settling
Insurance Companies and Non-Settling Insurance Companies. The process for submission of
Abuse Claims to the Settlement Trust, review of such Claims by the Settlement Trustee, and the
treatment of the valid Claims under the Trust Distribution Procedures are summarized
below.109110
          1.        Purpose and General Guidelines

                              a.        Purpose

      To achieve maximum fairness and efficiency, and recoveries for holders of Allowed
Abuse Claims, the Trust Distribution Procedures are founded on the following principles:

                1. objective Claim eligibility criteria;

                2. clear and reliable proof requirements;

                3. administrative transparency;



108109
            Capitalized terms used in this summary of the Trust Distribution Procedures and not otherwise defined herein or in the
       Plan shall have the meaning ascribed to them in the Trust Distribution Procedures.
109110
            Schedule 1 to the Trust Distribution Procedures (Mitigating Scaling Factor Ranges for Statutes of Limitation or Repose
       as Mitigating Scaling Factors by State) was negotiated without the input of the Insurance Companies.


                                                              217
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 225 of 303




           4. a rigorous review and evidentiary process that requires the Settlement Trustee to
              determine Allowed Claim Amounts in accordance with applicable law;

           5. prevention and detection of any fraud; and

           6. independence of the Settlement Trust and Settlement Trustee.

                       b.     Payment of Allowed Abuse Claims and Insurance Recoveries

         Pursuant to the terms of the Plan, the Settlement Trust has assumed the Debtors’ legal
liability for, and obligation to pay, Allowed Abuse Claims. The Settlement Trust Assets,
including the proceeds of the assigned insurance rights, shall be used to fund distributions to
Abuse Claimants under the Trust Distribution Procedures. The amounts that Abuse Claimants
will ultimately be paid on account of their Allowed Abuse Claims will depend on, among other
things, the Settlement Trust’s ability to liquidate and recover the proceeds of the assigned
insurance rights. The amount of any installment payments, initial payments, or payment
percentages established under the Trust Distribution Procedures or the Settlement Trust
Agreement are not the equivalent of (i) any Abuse Claimant’s Allowed Claim Amount or (ii) the
right to payment that the holder of an Allowed Abuse Claim has against the Debtors and/or
Protected Parties, as assumed by the Settlement Trust.

                       c.     Sole and Exclusive Method

       The Trust Distribution Procedures and any procedures designated in the Trust
Distribution Procedures shall be the sole and exclusive methods by which an Abuse Claimant
may seek allowance and distribution on an Abuse Claim with respect to the Protected Parties.

                       d.     Interpretation

      The terms of the Plan and Confirmation Order shall prevail if there is any discrepancy
between the terms of the Plan or Confirmation Order and the terms of the Trust Distribution
Procedures.

                       e.     Confidentiality

        All submissions to the Settlement Trust by an Abuse Claimant shall be treated as
confidential and shall be protected by all applicable state and federal privileges, including those
directly applicable to settlement discussions. The Settlement Trust will preserve the
confidentiality of such submissions, and shall disclose the contents thereof only to such persons
as authorized by the Abuse Claimant, or in response to a valid subpoena of such materials issued
by the Bankruptcy Court, a Delaware state court, the United States District Court for the District
of Delaware or any other court of competent jurisdiction. Notwithstanding anything in the
foregoing to the contrary, the Settlement Trust may disclose information, documents, or other
materials reasonably necessary in the Settlement Trust’s judgment to preserve, obtain, litigate,
resolve, or settle insurance coverage, or to comply with an applicable obligation under an
Insurance Policy, indemnity, or settlement agreement. Nothing in the Trust Distribution
Procedures shall be construed to authorize the Settlement Trustee to waive privilege or



                                                218
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 226 of 303




disseminate documents to any Abuse Claimants or their respective counsel, except as provided
for in the Document Agreement.

       2.      Trust Distribution Procedures Administration

               a.      Administration

       Pursuant to the Plan and the Settlement Trust Agreement, the Settlement Trust and the
Trust Distribution Procedures shall be administered by the Settlement Trustee in consultation
with the STAC and the Future Claimants’ Representative, which represents the interests of
holders of present Abuse Claims in the administration of the Settlement Trust, and the Future
Claimants’ Representative, who represents the interests of holders of Future Abuse Claims. The
Claims Administrator shall assist the Settlement Trustee in the resolution of Abuse Claims in
accordance with the Trust Distribution Procedures and provide information necessary for the
Settlement Trustee to implement the Trust Distribution Procedures.

                       b.     Powers and Obligations

        The powers and obligations of the Settlement Trustee, the STAC, the Future Claimants’
Representative, and the Claims Administrator are set forth in the Settlement Trust Agreement.
The STAC and the Future Claimants’ Representative shall have no authority or ability to modify,
reject, or influence any claim allowance or Allowed Claim Amount determination under the
Trust Distribution Procedures.

                       c.     Consent Procedures

        The Settlement Trustee shall obtain the consent of the STAC and the Future Claimants’
Representative on any amendments to the Trust Distribution Procedures pursuant to
Article XIII.B of the Trust Distribution Procedures, and on such matters as are otherwise
required below and in Section 1.6 of the Settlement Trust Agreement. Such consent shall not be
unreasonably withheld.

       3.      Claimant Eligibility

               a.      Direct Abuse Claims

        To be eligible to potentially receive compensation from the Settlement Trust on account
of a Direct Abuse Claim, a Direct Abuse Claimant must:

               (i)     have a Direct Abuse Claim;
               (ii)    have timely submitted an Abuse Claim Proof of Claim or Trust Claim
                       Submission to the Settlement Trust as provided below; and
               (iii)   submit supporting documentation and evidence to the Settlement Trust as
                       provided below.
       Direct Abuse Claims can only be timely submitted as follows:



                                              219
                Case 20-10343-LSS                Doc 6418-1           Filed 09/29/21         Page 227 of 303




                       (i)       a Direct Abuse Claim for which a Proof of Claim was filed in the Chapter
                                 11 Cases before the Bar Date or if determined timely by the Bankruptcy
                                 Court shall, without any further action by the Abuse Claimant, be deemed
                                 a timely submitted Abuse Proof of Claim to the Settlement Trust;
                       (ii)      a Direct Abuse Claim alleging abuse against a Local Council (alleged to
                                 be connected to Scouting related to or sponsored by the BSA) (a) for
                                 which, as of the time the Claim is submitted to the Settlement Trust in
                                 accordance with the Settlement Trustee’s designated procedures, a
                                 pending state court action had been timely filed under state law naming
                                 the Local Council as a defendant or (b) which is submitted to the
                                 Settlement Trust at a time when the Claim would be timely under
                                 applicable state law if a state court action were filed against the Local
                                 Council on the date on which the Direct Abuse Claim is submitted to the
                                 Settlement Trust, shall be deemed a timely submitted Abuse Proof of
                                 Claim to the Settlement Trust; or
                       (iii)     a Direct Abuse Claim alleging abuse against any Protected Party other
                                 than a Local Council (alleged to be connected to Scouting related to or
                                 sponsored by the BSA) (a) for which, as of the time the Claim is
                                 submitted to the Settlement Trust in accordance with the Settlement
                                 Trustee’s designated procedures, a pending state court action had been
                                 timely filed under state law naming the Protected Party as a defendant or
                                 (b) which is submitted to the Settlement Trust at a time when the Claim
                                 and would be (x) timely under applicable state law if a state court action
                                 were filed against the Protected Party on the date on which the Direct
                                 Abuse Claim is submitted to the Settlement Trust and (y) meets any
                                 applicable deadline that may be set by the Bankruptcy Court in connection
                                 with such Protected Party becoming a Protected Party in accordance with
                                 the Plan and Confirmation Order, shall be deemed a timely submitted
                                 Abuse Proof of Claim to the Settlement Trust.
      Any Direct Abuse Claim that is not timely submitted based on the foregoing shall be
deemed untimely and Disallowed.

                                 b.       Indirect Abuse Claims110111

      To be eligible to receive compensation from the Settlement Trust, an Indirect Abuse
Claimant:

                       (iv)      must have an Indirect Abuse Claim that satisfies the requirements of the
                                 Bar Date Order;
                       (v)       must establish to the satisfaction of the Settlement Trustee that the claim
                                 is not of a nature that it would be otherwise subject to disallowance under
                                 section 502 of the Bankruptcy Code, including subsection (e) thereof
110111
              For the avoidance of doubt, Indirect Abuse Claims may include claims for the payment of defense costs, deductibles,
         or indemnification obligations.


                                                                220
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 228 of 303




                      (subject to the right of the holder of the Indirect Abuse Claim to seek
                      reconsideration by the Settlement Trustee under section 502(j) of the
                      Bankruptcy Code), or subordination under sections 509(c) or 510 of the
                      Bankruptcy Code; and
              (vi)    must establish to the satisfaction of the Settlement Trustee that:
                      (A)    such Indirect Abuse Claimant has paid in full the liability and/or
                             obligation of the Settlement Trust to a Direct Abuse Claimant to
                             whom the Settlement Trust would otherwise have had a liability or
                             obligation under the Trust Distribution Procedures (and which has
                             not been paid by the Settlement Trust);
                      (B)    the Indirect Abuse Claimant and the person(s), to whose claim(s)
                             the Indirect Abuse Claim relates, have forever and fully released
                             the Settlement Trust and the Protected Parties from all liability for
                             or related to the subject Direct Abuse Claim (other than the
                             Indirect Abuse Claimant’s assertion of its Indirect Abuse Claim);
                      (C)    the Indirect Abuse Claim is not otherwise barred by a statute of
                             limitations or repose or by other applicable law; and
                      (D)    the Indirect Abuse Claimant does not owe the Debtors,
                             Reorganized Debtors, or the Settlement Trust an obligation to
                             indemnify the liability so satisfied.
In no event shall any Indirect Abuse Claimant have any rights against the Settlement Trust
superior to the rights that the Direct Abuse Claimant to whose claim the Indirect Abuse Claim
relates, would have against the Settlement Trust, including any rights with respect to timing,
amount, percentage, priority, or manner of payment. In addition, no Indirect Abuse Claim may
be liquidated and paid in an amount that exceeds what the Indirect Abuse Claimant has paid to
the related Direct Claimant in respect of such claim for which the Settlement Trust would have
liability. Further, in no event shall any Indirect Abuse Claim exceed the Allowed Claim Amount
of the related Direct Abuse Claim.

                      c.     Future Abuse Claims

        To be eligible to potentially receive compensation from the Settlement Trust on account
of a Future Abuse Claim, a Future Abuse Claimant must:

              (i)     have a Direct Abuse Claim that arises from Abuse that occurred prior to
                      the Petition Date; and
              (ii)    as of the date immediately preceding the Petition Date, had not attained
                      eighteen (18) years of age or was not aware of such Direct Abuse Claim as
                      a result of “repressed memory,” to the extent the concept of repressed
                      memory is recognized by the highest appellate court of the state or
                      territory where the claim arose;



                                               221
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 229 of 303




               (iii)   submit the Future Abuse Claim to the Settlement Trust in accordance with
                       the Trust Distribution Procedures (i) at a time when the Claim would be
                       timely under applicable state law if a state court action were filed on the
                       date on which the Future Abuse Claim is submitted to the Settlement
                       Trust, or (ii) if the Future Abuse Claim is not timely under (i) above, it
                       will be eliminated or decreased in accordance with Article VIII.E(iii) of
                       the Trust Distribution Procedures; and
               (iv)    have not filed a Chapter 11 Proof of Claim.
Future Abuse Claims that meet the foregoing eligibility criteria shall be treated as Direct Abuse
Claims hereunder.

       4.      General Trust Procedures

               a.      Document Agreement

       As more fully described in the Document Agreement, the Settlement Trustee may require
other parties to the Document Agreement to provide the Settlement Trust with documents,
witnesses, or other information as provided therein.

                       b.     Document Access

       The Settlement Trust shall afford access for Direct Abuse Claimants to relevant,
otherwise discoverable non-privileged documents obtained by the Settlement Trust pursuant to
the Document Agreement to facilitate their submissions with respect to their Direct Abuse
Claims, including access to IV files (the Volunteer Screening Database) and to all Troop Rosters
in the possession, custody or control of the Debtors, each Protected Party or the Settlement
Trust. A court of competent jurisdiction shall be able to determine whether allegedly privileged
documents should be required to be produced by the Settlement Trust. The Settlement Trust also
may perform any and all obligations necessary to recover assigned proceeds under the assigned
insurance rights in connection with the administration of the Trust Distribution Procedures.

                       c.     Assignment of Insurance Rights

        The Bankruptcy Court has authorized the Insurance Assignment pursuant to the Plan and
the Confirmation Order, and the Settlement Trust has received the assignment and transfer of the
Insurance Actions, the Insurance Action Recoveries, the Insurance Settlement Agreements (if
applicable), the Insurance Coverage, and all other rights or obligations under or with respect to
the Insurance Policies (but not the policies themselves) in accordance with the Bankruptcy Code.
Nothing in the Trust Distribution Procedures shall modify, amend, or supplement, or be
interpreted as modifying, amending, or supplementing, the terms of any Insurance Policy or
rights and obligations under an Insurance Policy assigned to the Settlement Trust to the extent
such rights and obligations are otherwise available under applicable law and subject to the Plan
and Confirmation Order. The rights and obligations, if any, of any Non-Settling Insurance
Company relating to or arising out of the Trust Distribution Procedures, or any provision hereof,
shall be determined pursuant to the terms and provisions of the Insurance Policies and applicable
law. Notwithstanding the foregoing, the Settlement Trust shall satisfy, to the extent required


                                               222
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 230 of 303




under the relevant policies and applicable law, any retrospective premiums and self-insured
retentions arising out of any Abuse Claims under the Abuse Insurance Policies. In the event that
a Non-Settling Insurance Company pays such self-insured retention and is entitled to
reimbursement from the Settlement Trust under applicable law, such Non-Settling Insurance
Company shall receive that reimbursement in the form of a set-off against any claim for
coverage by the Settlement Trust against that Non-Settling Insurance Company with respect to
the relevant Abuse Claim.

                      d.      Deceased Abuse Survivor

        The Settlement Trustee shall consider, and if an Allowed Claim Amount is determined,
pay under the Trust Distribution Procedures, the claim of a deceased Direct Abuse Claimant
without regard to the Direct Abuse Claimant’s death, except that the Settlement Trustee may
require evidence that the person submitting the claim on behalf of the decedent is authorized to
do so.

                      e.      Statute of Limitations or Repose

        The statute of limitations, statute of repose, and the choice of law determination
applicable to an Abuse Claim against the Settlement Trust shall be determined by reference to
the tort system where such Abuse Claim was pending on the Petition Date (so long as the
Protected Party was subject to personal jurisdiction in that location), or where such Abuse Claim
could have been timely and properly filed as asserted by the Abuse Claimant under applicable
law.

       5.      Expedited Distributions

               a.     Minimum Payment Criteria

        A Direct Abuse Claimant who meets the following criteria may elect to resolve his or her
Direct Abuse Claim for an Expedited Distribution of $3,500: (i) the Direct Abuse Claimant
elects to resolve his or her Direct Abuse Claim for the Expedited Distribution in accordance with
the Plan and Confirmation Order (the “Expedited Distribution Election”); (ii) in connection with
the Expedited Distribution Election, the Direct Abuse Claimant has timely submitted to the
Settlement Trust a properly and substantially completed, non-duplicative Chapter 11 POC or
Future Abuse Claim; and (iii) the Direct Abuse Claimant has personally signed his or her Proof
of Claim or Future Abuse Claim attesting to the truth of its contents under penalty of perjury, or
supplements his or her Abuse Claim Proof of Claim to so provide such verification. Direct
Abuse Claimants that make the Expedited Distribution Election will not have to submit any
additional information to the Settlement Trust to receive payment of the Expedited Distribution
from the Settlement Trust.

                      b.      Process and Payment of Expedited Distributions

       Pursuant to a form of notice with an election option to be developed by the Settlement
Trustee with the approval of the STAC and Future Claimants’ Representative, Direct Abuse
Claimants that filed a Chapter 11 POC will have the opportunity to elect to receive an Expedited
Distribution, provided, that any such election will be subject to the requirements set forth in

                                               223
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 231 of 303




Article VI.A of the Trust Distribution Procedures provided further that any Expedited
Distribution Election must be made prior to, and in lieu of, the submission of a Trust Claim
Submission (as defined in Article VII.A of the Trust Distribution Procedures). Direct Abuse
Claimants who have properly made the Expedited Distribution Election and who met the criteria
set forth in Article VI.A(ii) and (iii) of the Trust Distribution Procedures, shall be entitled to
receive their Expedited Payment upon executing an appropriate release, which shall include a
release of the Settlement Trust, the Protected Parties, and all Chartered Organizations. The form
of release agreement that a Direct Abuse Claimant who makes the Expedited Distribution
Election must execute is attached to the Trust Distribution Procedures as Exhibit A. A Direct
Abuse Claimant who does not make the Expedited Distribution Election and a Future Abuse
Claimant who does not elect to receive the Expedited Distribution in accordance with the
deadlines and procedures established by the Settlement Trust may not later elect to receive the
Expedited Distribution. A Direct Abuse Claimant who makes the Expedited Distribution
Election (or Future Abuse Claimant who elects to receive the Expedited Distribution) shall have
no other remedies with respect to any Direct Abuse Claim he or she has against the Settlement
Trust, Protected Parties, Chartered Organizations, or any Non-Settling Insurance Company.
Direct Abuse Claimants that make the Expedited Distribution Election (or Future Abuse
Claimant who elects to receive the Expedited Distribution) will not be eligible to receive any
further distribution on account of their Direct Abuse Claim pursuant to the Trust Distribution
Procedures.

       6.      Claims Allowance Process

               a.     Trust Claim Submissions

        Each Abuse Claimant that does not make the Expedited Distribution Election and instead
elects to pursue recovery from the Settlement Trust pursuant to the Trust Distribution Procedures
must submit his or her Abuse Claim for allowance and potential valuation and determination of
insurance status by the Settlement Trustee pursuant to the requirements set forth herein. In order
to properly make a Trust Claim Submission, each submitting Abuse Claimant must (i) complete
under oath a questionnaire to be developed by the Settlement Trustee and submitted to the STAC
and the Future Claimants’ Representative for approval; (ii) produce all records and documents in
his or her possession, custody or control related to the Abuse Claim, including all documents
pertaining to all settlements, awards, or contributions already received or that are expected to be
received from a Protected Party or other sources; and (iii) execute an agreement to be provided
or made available by the Settlement Trust with the questionnaire (1) to produce any further
records and documents in his or her possession, custody or control related to the Abuse Claim
reasonably requested by the Settlement Trustee, (2) consent to and agree to cooperate in any
examinations requested by the Settlement Trustee (including by healthcare professionals selected
by the Settlement Trustee); and (3) consent to and agree to cooperate in a written and/or oral
examination under oath if requested to do so by the Settlement Trustee. The date on which an
Abuse Claimant submits (i), (ii) and (iii) above to the Settlement Trust shall be the “Trust Claim
Submission Date”. The Abuse Claimant’s breach or failure to comply with the terms of his or
her agreement made in connection with his or her Trust Claim Submission shall be grounds for
disallowance or significant reduction of his or her Abuse Claim. To complete the evaluation of
each Abuse Claim submitted through a Trust Claim Submission, the Settlement Trustee also
may, but is not required to, obtain additional evidence from the Abuse Claimant or from other


                                               224
         Case 20-10343-LSS          Doc 6418-1       Filed 09/29/21   Page 232 of 303




parties pursuant to the Document Obligations and shall consider supplemental information
timely provided by the Abuse Claimant, including information obtained pursuant to the
Document Obligations. Non-material changes to the claims questionnaire may be made by the
Settlement Trustee with the consent of the STAC and the Future Claimants’ Representative.

                      b.      Claims Evaluation

        The Settlement Trustee shall evaluate each Trust Claim Submission individually and will
follow the uniform procedures and guidelines set forth in the Trust Distribution Procedures to
determine, based on the evidence obtained by the Settlement Trust, whether or not a Submitted
Abuse Claim should be allowed. After a review of the documentation provided by the Abuse
Claimant in his or her Proof of Claim, Trust Claim Submission, materials received pursuant to
the Document Obligations, and any follow-up materials or examinations (including, without
limitation, any Trustee Interview), the Settlement Trustee will either find the Abuse Claim to be
legally valid and an Allowed Abuse Claim, or legally invalid and a Disallowed Claim.

                      c.      Settlement Trustee Review Procedures

       The Settlement Trustee must evaluate each Submitted Abuse Claim, including the
underlying Proof of Claim, the Trust Claim Submission and/or the Trustee Interview or any
other follow-up, and documents obtained through the Document Obligations, and determine
whether such Claim is a legally valid Allowed Abuse Claim, based on the following criteria:

                      1.      Initial Evaluation Criteria. The Settlement Trustee shall perform
                              an Initial Evaluation of a Submitted Abuse Claim to determine
                              whether:
                              (A)    the Abuse Claimant’s Proof of Claim or Trust Claim
                                     Submission is substantially and substantively completed
                                     and signed under penalty of perjury;
                              (B)    the Direct Abuse Claim was timely submitted to the
                                     Settlement Trust under Article IV.A of the Trust
                                     Distribution Procedures; and
                              (C)    the Submitted Abuse Claim had not previously been
                                     resolved by litigation and/or settlement involving a
                                     Protected Party.
                              If any of these criteria are not met, then the Submitted Abuse
                              Claim shall be a Disallowed Claim.
                      2.      General Criteria for Evaluating Submitted Abuse Claims. To
                              the extent a Submitted Abuse Claim is not disallowed based on the
                              Initial Evaluation, then the Settlement Trustee will evaluate the
                              following factors to determine if the evidence related to the
                              Submitted Abuse Claim is credible and demonstrates, by a




                                               225
Case 20-10343-LSS    Doc 6418-1       Filed 09/29/21   Page 233 of 303




               preponderance of the evidence, that the Submitted Abuse Claim is
               entitled to a recovery and should be allowed:
               (A)    Alleged Abuse. The Abuse Claimant has identified alleged
                      acts of Abuse that he or she suffered;
               (B)    Alleged Abuser Identification. The Abuse Claimant has
                      either (i) identified an alleged abuser (e.g., by the full name
                      or last name) or (ii) provided specific information (e.g., a
                      physical description of an alleged abuser combined with
                      the name or location of the Abuse Claimant’s troop) about
                      the alleged abuser such that the Settlement Trustee can
                      make a reasonable determination that the alleged abuser
                      was an employee, agent or volunteer of a Protected Party,
                      the alleged abuser was a registered Scout, or the alleged
                      abuser participated in Scouting or a Scouting activity and
                      the Abuse was directly related to Scouting activities;
               (C)    Connection to Scouting. The Abuse Claimant has provided
                      information showing (or the Settlement Trustee otherwise
                      determines) that the Abuse Claimant was abused during a
                      Scouting activity or that the Abuse resulted from
                      involvement in Scouting activities;
               (D)    Date and Age. The Abuse Claimant has either: (i)
                      identified the date of the alleged abuse and/or his or her age
                      at the time of the alleged Abuse, or (ii) provided additional
                      facts (e.g., the approximate date and/or age at the time of
                      alleged Abuse coupled with the names of additional scouts
                      or leaders in the troop) sufficient for the Settlement Trustee
                      to determine the date of the alleged Abuse and age of the
                      Abuse Claimant at the time of such alleged Abuse; and
               (E)    Location of Abuse. The Abuse Claimant has identified the
                      venue or location of the alleged Abuse.
         3.    Submitted Abuse Claims That Satisfy the General Criteria. To
               the extent that a Submitted Abuse Claim meets the evidentiary
               standard set forth in the General Criteria and the Settlement
               Trustee has verified such information and determined that no
               materials submitted or information received in connection with the
               Submitted Abuse Claim are deceptive or fraudulent, the Submitted
               Abuse Claim will be, and will be deemed to be, an Allowed Abuse
               Claim.
         4.    Submitted Abuse Claims That Do Not Satisfy the General
               Criteria. If the Settlement Trustee determines that any Submitted
               Abuse Claim materials provided by an Abuse Claimant include
               fraudulent and/or deceptive information, the Submitted Abuse


                                226
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 234 of 303




                              Claim will be, and will be deemed to be, a Disallowed Claim. To
                              the extent that a Submitted Abuse Claim—after an opportunity for
                              the Abuse Claimant to discover information from the Settlement
                              Trust as provided in the Trust Distribution procedures—does not
                              meet the evidentiary standard set forth in the General Criteria, the
                              Settlement Trustee can disallow such Claim, or request further
                              information from the Abuse Claimant in question necessary to
                              satisfy the General Criteria requirements. If the Settlement
                              Trustee finds that any of the factors set forth in
                              Article VII.C.2(a)-(c) of the Trust Distribution Procedures with
                              respect to any Submitted Abuse Claim are not satisfied, the Claim
                              will be per se disallowed and will be, and will be deemed to be, a
                              Disallowed Claim.
                      d.      Disallowed Claims

        If the Settlement Trustee finds that a Submitted Abuse Claim is a Disallowed Claim, the
Settlement Trustee shall provide written notice of its determination to the relevant Abuse
Claimant. If the Settlement Trustee finds that a Submitted Abuse Claim is a Disallowed Claim,
the Settlement Trustee will not perform the Allowed Abuse Claim valuation analysis described
in Article VIII of the Trust Distribution Procedures. Abuse Claimants shall have the ability to
seek reconsideration of the Settlement Trustee’s determination set forth in the Disallowed Claim
Notice as described in Article VII.G of the Trust Distribution Procedures.

                      e.      Allowed Abuse Claims

       If the Settlement Trustee finds that a Submitted Abuse Claim is an Allowed Abuse
Claim, the Settlement Trustee shall utilize the procedures described in Article VIII of the Trust
Distribution Procedures to determine the proposed Claims Matrix tier and Scaling Factors for
such Abuse Claim, and provide written notice of allowance and the Proposed Allowed Claim
Amount to the Abuse Claimant as set forth in Article VII.F of the Trust Distribution Procedures.

                      f.      Claims Determination

        If the Abuse Claimant accepts the Proposed Allowed Claim Amount in the Allowed
Claim Notice or the reconsideration process set forth in Article VII.G of the Trust Distribution
Procedures has been exhausted (and no further action has been taken by the Abuse Claimant in
the tort system pursuant to Article XII of the Trust Distribution Procedures), the Proposed
Allowed Claim Amount shall become the Allowed Claim Amount for such Claim, and the holder
of such Allowed Abuse Claim shall receive payment in accordance with Article IX of the Trust
Distribution Procedures, subject to the Abuse Claimant executing the form of release set forth in
Article IX.D of the Trust Distribution Procedures.

                      g.      Reconsideration of Settlement Trustee’s Determination

       An Abuse Claimant may make a request for reconsideration of (i) the disallowance of his
or her Submitted Abuse Claim, or (ii) the Proposed Allowed Claim Amount within thirty (30)
days of receiving a Disallowed Claim Notice or an Allowed Claim Notice. Any Abuse Claimant

                                               227
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 235 of 303




who fails to submit a Reconsideration Request to the Settlement Trust by the Reconsideration
Deadline shall be deemed to accept the disallowance of the Abuse Claim or the Proposed
Allowed Claim Amount. Each Reconsideration Request must be accompanied by a check or
money order for $1,000 as an administrative fee for reconsideration. The Abuse Claimant may
submit further evidence in support of the Submitted Abuse Claim with the Reconsideration
Request. The Settlement Trustee will have sole discretion whether to grant the Reconsideration
Request. The decision to grant the Reconsideration Request does not guarantee that the
Settlement Trustee will reach a different result after reconsideration.

        If the Reconsideration Request is denied, the administrative fee will not be returned, and
the Settlement Trustee will notify the Abuse Claimant within thirty (30) days of receiving the
request that it will not reconsider the Abuse Claimant’s Submitted Abuse Claim. The Abuse
Claimant shall retain the ability to pursue the Settlement Trust in the tort system as described in
Article XII of the Trust Distribution Procedures.

       If the Reconsideration Request is granted, the Settlement Trustee will provide the Abuse
Claimant written notice within thirty (30) days of receiving the Reconsideration Request that it is
reconsidering the Abuse Claimant’s Submitted Abuse Claim. The Settlement Trustee will then
reconsider the Submitted Abuse Claim—including all new information provided by the Abuse
Claimant in the Reconsideration Request and any additional Trustee Interview—and will have
the discretion to maintain the prior determination or find that the Submitted Abuse Claim in
question is an Allowed Abuse Claim or should receive a new Proposed Allowed Claim Amount.

         If the Settlement Trustee determines upon reconsideration that a Submitted Abuse Claim
is an Allowed Abuse Claim and/or should receive a new Proposed Allowed Claim Amount, the
Settlement Trustee will deliver an Allowed Claim Notice and return the administrative fee to the
relevant Abuse Claimant. If the Settlement Trustee determines upon reconsideration that the
totality of the evidence submitted by the Abuse Claimant does not support changing the earlier
finding that the Submitted Abuse Claim is a Disallowed Claim, or that the Claim in question is
not deserving of a new Proposed Allowed Claim Amount, the Settlement Trustee’s earlier
allowance determination and/or Proposed Allowed Claim Amount shall stand and the Settlement
Trustee will provide a Claim Notice to the Abuse Claimant of either result within ninety (90)
days of the Settlement Trust having sent notice that it was reconsidering the Abuse Claimant’s
Submitted Abuse Claim. Thereafter, the Abuse Claimant shall retain the ability to pursue the
Settlement Trust in the tort system as described below in Article XII of the Trust Distribution
Procedures.

                       h.     Claim Determination Deferral

        For a period of up to twelve (12) months from the Effective Date, and by an election
exercised at the time of the Trust Claim Submission, Direct Abuse Claimants whose Direct
Abuse Claims may be substantially reduced by the Scaling Factor described in Article
VIII.E.(iii)(a) of the Trust Distribution Procedures (statute of limitations defense) may elect to
defer the determination of their Proposed Allowed Claim Amounts to see if statute of limitations
revival legislation occurs, provided, however, that this claim determination deferral window




                                                228
            Case 20-10343-LSS      Doc 6418-1       Filed 09/29/21   Page 236 of 303




shall close for all Direct Abuse Claims twelve (12) months from the Effective Date at which time
such Submitted Abuse Claims shall be determined based on then applicable Scaling Factors.

                      i.     Prevention and Detection of Fraud

       The Settlement Trustee shall work with the Claims Administrator to institute auditing
and other procedures to detect and prevent the allowance of Abuse Claims based on fraudulent
Trust Claim Submissions. Among other things, such procedures will permit the Settlement
Trustee or Claims Auditor to conduct random audits to verify supporting documentation
submitted in randomly selected Trust Claim Submissions, as well as targeted audits of individual
Trust Claim Submissions or groups of Trust Claim Submissions, any of which may include
Trustee Interviews. Trust Claim Submissions must be signed under the pains and penalties of
perjury and to the extent of applicable law, the submission of a fraudulent Trust Claim
Submission may violate the criminal laws of the United States, including the criminal provisions
applicable to Bankruptcy Crimes, 18 U.S.C. § 152, and may subject those responsible to criminal
prosecution in the Federal Courts.

       7.      Claims Matrix and Scaling Factors

               a.     Claims Matrix and Scaling Factors

        The Trust Distribution Procedures establish certain criteria for unliquidated claims
seeking compensation from the Settlement Trust, a Claims Matrix below that schedules six types
of Abuse and designates for each Abuse Type a Base Matrix Value, and Maximum Matrix
Value, and certain Scaling Factors identified below to apply to the Base Matrix Values to
determine the liquidated values for certain unliquidated Abuse Claims. The Abuse Types,
Scaling Factors, Base Matrix Values, and Maximum Matrix Values that are set forth in the
Claims Matrix have all been selected and derived with the intention of achieving a fair and
reasonable Abuse Claim valuation range in light of the best available information, considering
the settlement, verdict and/or judgments that Abuse Claimants would receive in the tort system
against the Protected Parties absent the bankruptcy. The Settlement Trustee shall utilize the
Claims Matrix and Scaling Factors as the basis to determine a Proposed Allowed Claim Amount
for each Allowed Abuse Claim that does not receive an Expedited Distribution or become a
STAC Tort Election Claim. The Proposed Allowed Claim Amount agreed to by the Direct
Abuse Claimant as the Allowed Claim Amount for an Allowed Abuse Claim shall be deemed to
be the Protected Parties’ liability for such Direct Abuse Claim (i.e., the claimant’s right to
payment for his or her Direct Abuse Claim), irrespective of how much the holder of such Abuse
Claim actually receives from the Settlement Trust pursuant to the payment provisions set forth in
Article IX of the Trust Distribution Procedures. In no circumstance shall the amount of a
Protected Party’s legal obligation to pay any Direct Abuse Claim be determined to be any
payment percentages hereunder or under the Settlement Trust Agreement (rather than the
liquidated value of such Direct Abuse Claim as determined under the Trust Distribution
Procedures).




                                              229
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 237 of 303




                      b.      Claims Matrix

        The Claims Matrix establishes six tiers of Abuse Types, and provides the range of
potential Allowed Claim Amounts assignable to an Allowed Abuse Claim in each tier. The first
two columns of the Claims Matrix delineate the six possible tiers to which an Allowed Abuse
Claim can be assigned based on the nature of the abuse. The Base Matrix Value column for each
tier represents the default Allowed Claim Amount for an Allowed Abuse Claim assigned to a
given tier, in each case based on historical abuse settlements and litigation outcomes which
included release for all BSA-related parties, including the BSA and all other putative Protected
Parties to such actions, prior to application of the Scaling Factors described in Article VIII.D of
the Trust Distribution Procedures. The Maximum Claims Matrix Value column for each tier
represents the maximum Allowed Claim Amount for an Allowed Abuse Claim assigned to a
given tier after Claims Matrix review and application of the Scaling Factors described in Article
VIII.C of the Trust Distribution Procedures. The ultimate distribution(s) to the holder of an
Allowed Abuse Claim that has received a Final Determination may vary upward (in the case of a
larger-than-expected Settlement Trust corpus) or downward (in the case of a
smaller-than-expected Settlement Trust corpus) from the holder’s Allowed Claim Amount based
on the payment percentages determined by the Settlement Trustee. If an Allowed Abuse Claim
would fall into more than one tier, it will be placed in the highest applicable tier. An Abuse
Claimant cannot have multiple Allowed Abuse Claims assigned to different tiers. Commencing
on the second anniversary of the Effective Date, the Settlement Trust shall adjust the valuation
amounts for yearly inflation based on the CPI-U. The CPI-U adjustment may not exceed 3%
annually, and the first adjustment shall not be cumulative.

Tier     Type of Abuse                                                Base         Maximum
                                                                     Matrix       Matrix Value
                                                                     Value
   1     Anal     or    Vaginal     Penetration      by     Adult $600,000        $2,700,000
         Perpetrator—includes anal or vaginal sexual
         intercourse, anal or vaginal digital penetration, or anal
         or vaginal penetration with a foreign, inanimate object.
   2     Oral Contact by Adult Perpetrator—includes oral           $450,000       $2,025,000
         sexual intercourse, which means contact between the
         mouth and penis, the mouth and anus, or the mouth
         and vulva or vagina.
         Anal or Vaginal Penetration by a Youth
         Perpetrator—includes anal or vaginal sexual
         intercourse, anal or vaginal digital penetration, or anal
         or vaginal penetration with a foreign, inanimate object.
   3     Masturbation by Adult Perpetrator—includes touching $300,000             $1,350,000
         of the male or female genitals that involves
         masturbation of the abuser or claimant.
         Oral Contact by a Youth Perpetrator—includes oral
         sexual intercourse, which means contact between the
         mouth and penis, the mouth and anus, or the mouth
         and vulva or vagina.


                                               230
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21     Page 238 of 303




   4     Masturbation by Youth Perpetrator—includes $150,000                        $675,000
         touching of the male or female genitals that involves
         masturbation of the abuser or claimant.
         Touching of the Sexual or Other Intimate Parts
         (unclothed) by Adult Perpetrator.
   5     Touching of the Sexual or Other Intimate Parts             $75,000         $337,500
         (unclothed) by a Youth Perpetrator.
         Touching of the Sexual or Other Intimate Parts
         (clothed), regardless of who is touching whom and not
         including masturbation.
         Exploitation for child pornography.
   6     Sexual Abuse-No Touching.                                     $3,500         $8,500
         Adult Abuse Claims.

                       c.     Scaling Factors

        After the Settlement Trustee has assigned an Allowed Abuse Claim to one of the six tiers
in the Claims Matrix, the Settlement Trustee will utilize the Scaling Factors described below to
determine the Proposed Allowed Claim Amount for each Allowed Abuse Claim. The Scaling
Factors are based on evidence regarding the BSA’s and other putative Protected Parties’
historical abuse settlements, litigation outcomes, and other evidence supporting the Scaling
Factors. Each Allowed Abuse Claim will be evaluated for each factor by the Settlement Trustee
through his or her review of the evidence obtained through the relevant Proof of Claim, Trust
Claim Submission and any related or follow-up materials, interviews or examinations, as well as
materials obtained by the Settlement Trust through the Document Obligations. These scaling
factors can increase or decrease the Proposed Allowed Claim Amount for an Allowed Abuse
Claim depending on the severity of the facts underlying the Claim. By default, the value of each
scaling factor is one (1), meaning that in the absence of the application of the scaling factor, the
Base Matrix Value assigned to a Claim is not affected by that factor. In contrast, if the
Settlement Trustee determines that a particular scaling factor as applied to a given Allowed
Abuse Claim is 1.5, the Proposed Allowed Claim Amount for the Allowed Abuse Claim will be
increased by 50%, the result of multiplying the Base Matrix Value of the Allowed Abuse Claim
by 1.5. The combined effect of all scaling factors is determined by multiplying the scaling
factors together then multiplying the result by the Base Matrix Value of the Allowed Abuse
Claim. See Article VII.F of the Trust Distribution Procedures for illustrative example.

       Aggravating Scaling Factors. The Settlement Trustee may assign upward Scaling
       Factors to each Allowed Abuse Claim based on the following categories:




                                                231
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 239 of 303




   (i)    Nature of Abuse and Circumstances. To account for particularly severe
          Abuse or aggravating circumstances, the Settlement Trustee may assign an
          upward Scaling Factor of up to 1.5 to each Allowed Abuse Claim. The
          hypothetical base case scenario for this scaling factor would involve a
          single incident of Abuse with a single perpetrator with such perpetrator
          having accessed the victim as an employee or volunteer within
          BSA-sponsored scouting. The hypothetical base case is incorporated into
          the Base Matrix Value in the Claims Matrix tiers and would not receive an
          increase on account of this factor. By way of example, aggravating
          factors that can give rise to a higher scaling factor include the following
          factors:

          1.     Extended duration and/or frequency of the Abuse;
          2.     Exploitation of the Abuse Claimant for child pornography;
          3.     Coercion or threat or use of force or violence, stalking; and
          4.     Multiple perpetrators involved in sexual misconduct.
   (ii)   Abuser Profile. To account for the alleged abuser’s profile, the
          Settlement Trustee may assign an upward Scaling Factor of up to 2.0 to an
          Allowed Abuse Claim. This factor is to be evaluated relative to a
          hypothetical base case scenario involving a perpetrator as to whom there
          is no other known allegations of Abuse. The hypothetical base case is
          incorporated into the Base Matrix Value in the Claims Matrix tiers and
          would not receive an increase on account of this factor. An upward
          Scaling Factor may be applied for this category as follows (the Settlement
          Trustee may only apply the scaling factor of the single highest applicable
          category listed below):

          1.     1.25 if the abuser was accused by at least one (1) other alleged
                 victim of Abuse;
          1.     1.5 if the abuser was accused by five (5) or more other alleged
                 victims of Abuse;
          2.     2.0 if the abuser was accused by ten (10) or more other alleged
                 victims of Abuse; and
          3.     1.25 to 2.0 if there is evidence of negligence of a Protected Party
                 (e.g., the inclusion of the perpetrator in the IV files (Volunteer
                 Screening Database) for abuse reasons).




                                  232
Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 240 of 303




   (iii)   Impact of the Abuse. To account for the impact of the alleged Abuse on
           the Abuse Claimant’s mental health, physical health, inter-personal
           relationships, vocational capacity or success, academic capacity or
           success, and whether the alleged Abuse at issue resulted in legal
           difficulties for the Abuse Claimant, the Settlement Trustee may assign an
           upward Scaling Factor of up to 1.5. This factor is to be evaluated relative
           to a hypothetical base case scenario of a victim of Abuse who suffered the
           typical level of Abuse-related distress within the tier to which the Allowed
           Abuse Claim was assigned. The hypothetical base case is incorporated
           into the Base Matrix Values in the Claims Matrix tiers and would not
           receive an increase on account of this factor. The Settlement Trustee will
           consider, along with any and all other relevant factors, whether the Abuse
           at issue manifested or otherwise led the Abuse Claimant to experience or
           engage in behaviors resulting from:

           1.     Mental Health Issues:        This includes anxiety, depression,
                  post-traumatic stress disorder, substance abuse, addiction,
                  embarrassment, fear, flashbacks, nightmares, sleep issues, sleep
                  disturbances, exaggerated startle response, boundary issues,
                  self-destructive behaviors, guilt, grief, homophobia, hostility,
                  humiliation, anger, isolation, hollowness, regret, shame, isolation,
                  sexual addiction, sexual problems, sexual identity confusion, low
                  self-esteem or self-image, bitterness, suicidal ideation, suicide
                  attempts, and hospitalization or receipt of treatment for any of the
                  foregoing.
           2.     Physical Health Issues: This includes physical manifestations of
                  emotional distress, gastrointestinal issues, headaches, high blood
                  pressure, physical manifestations of anxiety, erectile dysfunction,
                  heart palpitations, sexually-transmitted diseases, physical damage
                  caused by acts of Abuse, reproductive damage, self-cutting, other
                  self-injurious behavior, and hospitalization or receipt of treatment
                  for any of the foregoing.
           3.     Interpersonal Relationships:      This includes problems with
                  authority figures, hypervigilance, sexual problems, marital
                  difficulties, problems with intimacy, lack of trust, isolation,
                  betrayal, impaired relations, secrecy, social discreditation and
                  isolation, damage to family relationships, and fear of children or
                  parenting.
           4.     Vocational Capacity: This includes under- and un-employment,
                  difficulty with authority figures, difficulty changing and
                  maintaining employment, feelings of unworthiness, or guilt related
                  to financial success.
           5.     Academic Capacity: This includes school behavior problems.



                                   233
  Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 241 of 303




               6.     Legal Difficulties: This includes criminal difficulties, bankruptcy,
                      and fraud.
Mitigating Scaling Factors. The Settlement Trustee may assign a mitigating Scaling
Factor in the range of 0 to 1.0 except as specifically provided below to each Allowed
Abuse Claim to eliminate or decrease the Proposed Allowed Claim Amount for such
Claim. Each mitigating factor is to be evaluated relative to a hypothetical base case
scenario of a timely asserted Abuse Claim with supporting evidence that demonstrates,
by a preponderance of the evidence, Abuse by a perpetrator that accessed the victim as an
employee, agent or volunteer of a Protected Party, as a registered Scout or as a
participant in Scouting within BSA-sponsored Scouting. If statute of limitations revival
legislation occurs in a particular jurisdiction, the Settlement Trustee may modify the
applicable Scaling Factor (as described below) relevant thereto on a go-forward basis and
determine Proposed Allowed Claim Amounts for Abuse Claims in such jurisdiction
thereafter based on such modified Scaling Factor. Included in the hypothetical base case
scenario is that the applicable period under a statute of limitations or repose for timely
asserting such Abuse Claim against any potentially responsible party will not have
passed. The hypothetical base case is incorporated into the Base Matrix Values in the
Claims Matrix tiers and would not receive a decrease on account of these factors. Such
factors may include the following:

       (i)     Absence of Protected Party Relationship or Presence of a Responsible
               Party that Is Not a Protected Party.

               (A)    Familial Relationship. A Protected Party’s responsibility for a
                      perpetrator may be factually or legally attenuated or mitigated
                      where the perpetrator also had a familial relationship with the
                      Abuse Claimant. Familial Abuse—even if the perpetrator was an
                      employee, agent or volunteer of a Protected Party, and the Abuse
                      occurred in connection with BSA-related Scouting—should result
                      in a significant reduction of the Proposed Allowed Claim Amount.

               (B)    Other Non-Scouting Relationship.            A Protected Party’s
                      responsibility for a perpetrator may be factually or legally
                      attenuated or mitigated where the perpetrator also maintained a
                      non-familial relationship with the Abuse Claimant through a
                      separate affiliation, such as a school, or a religious organization,
                      even if the perpetrator was an employee, agent or volunteer of a
                      Protected Party, or the Abuse occurred in settings where a
                      Protected Party did not have the ability or responsibility to
                      exercise control. Factors to consider include how close the
                      relationship was between the perpetrator and the victim outside of
                      their Scouting-related relationship, whether Abuse occurred and
                      the extent of such Abuse outside of their Scouting relationship, and
                      applicable law related to apportionment of liability. In such event,
                      the Settlement Trustee shall determine and apply a mitigating
                      Scaling Factor that accounts for such other relationship and the


                                       234
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 242 of 303




                 related Abuse. By way of example, if the Settlement Trustee
                 determines after evaluation of an Allowed Abuse Claim and
                 application of all of the other Scaling Factors that the perpetrator,
                 who was an employee, agent or volunteer of a Protected Party for
                 BSA-related Scouting, also was the primary teacher (at a
                 non-Protected Party entity or institution) of the Abuse Claimant
                 outside of BSA-related Scouting, and if numerous incidents of
                 Abuse occurred outside of Scouting before one incident of
                 BSA-related Scouting Abuse occurred, the Settlement Trustee
                 shall apply a mitigating Scaling Factor as a material reduction of
                 the Proposed Allowed Claim Amount.

          (C)    Other Responsible Non-Protected Party. The Abuse Claimant may
                 have a cause of action under applicable law for a portion of his or
                 her Direct Abuse Claim against a responsible entity, such as a
                 Chartered Organization, that is not a Protected Party. By way of
                 example, if the Settlement Trustee determines after evaluation of a
                 Submitted Abuse Claim that (i) a Chartered Organization that is
                 not a Protected Party is responsible under applicable law for a
                 portion of the liability and (ii) a Protected Party(ies) are not also
                 liable for the same portion of the liability (taking into account the
                 relevant jurisdiction’s prevailing law on apportionment of
                 damages), the Settlement Trustee shall apply a final Scaling Factor
                 to account for such non-Protected Party’s portion of the liability.

   (ii)   Other Settlements, Awards, Contributions, or Limitations. The
          Settlement Trustee may consider any further limitations on the Abuse
          Claimant’s recovery in the tort system. The Settlement Trustee also
          should consider the amounts of any settlements or awards already received
          by the Abuse Claimant from other, non-Protected Party sources as well as
          agreed and reasonably likely to be received contributions from other,
          non-Protected Party sources that are related to the Abuse. By way of
          example, the Settlement Trustee should assign an appropriate Scaling
          Factor to Allowed Abuse Claims capped by charitable immunity under the
          laws of the jurisdiction where the Abuse occurred. Notwithstanding the
          foregoing, where an Abuse Claimant has obtained a recovery based on the
          independent liability of a third party for separate instances of Abuse that
          occurred without connection to Scouting activities, no mitigating factor or
          reduction in value will be applied based on that recovery.




                                  235
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 243 of 303




              (iii)   Statute of Limitations or Repose and BSA’s Discharge. If the evidence
                      provided by the Abuse Claimant or otherwise obtained by the Settlement
                      Trustee results in the Settlement Trustee concluding that the subject Direct
                      Abuse Claim could be dismissed or denied in the tort system as to all
                      Protected Parties against whom the Direct Abuse Claim was timely
                      submitted (as set forth in Article IV.A of the Trust Distribution
                      Procedures) due to the passage of a statute of limitations or a statute of
                      repose, the Settlement Trustee shall apply an appropriate Scaling Factor
                      based on the ranges set forth in Schedule 1 of the Trust Distribution
                      Procedures; provided, however, the Settlement Trustee will weigh the
                      strength of any relevant evidence submitted by the Abuse Claimant to
                      determine whether the statute of limitations could be tolled under
                      applicable law, and may apply a higher Scaling Factor if such evidence
                      demonstrates to the Settlement Trustee that tolling would be appropriate
                      under applicable state law.

              (iv)    Absence of a Putative Defendant. If the Direct Abuse Claim could be
                      diminished because such claim was not timely submitted against BSA or
                      another Protected Party (as set forth in Article IV.A of the Trust
                      Distribution Procedures), such that in a suit in the tort system, such Direct
                      Abuse Claim would be burdened by an “empty chair” defense due to the
                      absence of a Missing Party(ies), the Settlement Trustee shall apply a
                      mitigating Scaling Factor to account for a Missing Party’s absence. By
                      way of example, where a timely submitted Direct Abuse Claim was not
                      timely submitted against BSA (i.e., the Abuse Claimant failed to timely
                      file a Chapter 11 POC) but was only timely submitted against the Local
                      Council and/or another Protected Party (as set forth in Articles IV.A(ii)
                      and (iii) of the Trust Distribution Procedures), such absence of the BSA
                      due to BSA’s discharge would be the basis for such a substantial
                      reduction. Any Direct Abuse Claim that is reduced due to the absence of
                      the BSA under this mitigating Scaling Factor shall only be payable, as
                      reduced, from Settlement Trust Assets contributed by the applicable Local
                      Council or Chartered Organization, pro rata with all other Direct Abuse
                      entitled to share in the Settlement Trust Assets contributed by such Local
                      Council or Chartered Organization.

                      d.     Allowed Abuse Claim Calculus

        After the Settlement Trustee assigns an Allowed Abuse Claim to a Claims Matrix tier
and determines the appropriate Scaling Factors that apply to the Claim, the Proposed Allowed
Claim Amount for the Allowed Abuse Claim is the product of the Base Matrix Value of the
Claim and the Scaling Factors applied to the Claim. In no event can an Allowed Abuse Claim’s
Proposed Allowed Claim Amount (or Allowed Claim Amount) exceed the Maximum Matrix
Value for the Claim’s assigned Claims Matrix tier. By way of example, if an Allowed Abuse
Claim is determined by the Settlement Trustee to be a tier 1 claim (Base Matrix Value of
$600,000) with a Scaling Factor of 1.5 for the nature and circumstances of the abuse, and a
mitigating Scaling Factor of 0.75, and no other Scaling Factors, the Proposed Allowed Claim


                                               236
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 244 of 303




Amount for the Allowed Abuse Claim would be $675,000, calculated as $600,000 x 1.5 x 0.75 =
$675,000. As a further example, if, in addition to the above Scaling Factors, the same Allowed
Abuse Claim had an additional aggravating Scaling Factor of 2.0 on account of the abuser’s
profile, the Proposed Allowed Claim Amount for the Allowed Abuse Claim would be
$1,350,000 (calculated as $600,000 x 1.5 x .75 x 2.0).

                      e.      Optional Chartered Organization Release

       To have the opportunity to exclusively share in any settlement proceeds received from a
Chartered Organization that becomes a Protected Party as provided in Article IX.F of the Trust
Distribution Procedures, a Direct Abuse Claimant must execute either (i) the conditional release
of the Chartered Organization(s) against whom the Abuse Claimant has an Abuse Claim, that
will become effective as to that Abuse Claimant if the Chartered Organization(s) against whom
the Abuse Claimant conditionally released becomes a Protected Party(ies), in the form attached
as Exhibit B to the Trust Distribution Procedures, or (ii) the non-conditional release of all
Chartered Organizations in the form attached as Exhibit C to the Trust Distribution Procedures.

       8.      Payment of Final Determination Allowed Abuse Claim

               a.     Payment Upon Final Determination

       Only after the Settlement Trustee has established an Initial Payment Percentage in
accordance with Section 4.1 of the Settlement Trust Agreement, then once there is a Final
Determination of an Abuse Claim pursuant to Article VII.F of the Trust Distribution Procedures,
the Claimant will receive a payment of such Final Determination based on the Payment
Percentage then in effect as described in Articles IX.B and IX.C of the Trust Distribution
Procedures. For the purpose of payment by the Settlement Trust, a Final Judicial Determination
(as defined in Article XII.H of the Trust Distribution Procedures) shall constitute a Final
Determination.

                      b.      Initial Payment Percentage

       After the Claimant accepts the Proposed Allowed Claim Amount and there is a Final
Determination of the Abuse Claim, the Settlement Trust shall pay an Initial Distribution based
on the Initial Payment Percentage established by the Settlement Trustee in accordance with the
Settlement Trust Agreement.

                      c.      Supplemental Payment Percentage

        When the Settlement Trustee determines that the then-current estimates of the Settlement
Trust’s assets and its liabilities, as well as then-estimated value of then-pending Abuse Claims,
warrant additional distributions on account of the Final Determinations, the Settlement Trustee
shall set a Supplemental Payment Percentage in accordance with the Settlement Trust
Agreement.      Such Supplemental Payment Percentages shall be applied to all Final
Determinations that became final prior to the establishment of such Supplemental Payment
Percentage. Claimants whose Abuse Claim becomes a Final Determination after a Supplemental
Payment Percentage is set shall receive an Initial Distribution equal to the then existing payment
percentage. For the avoidance of doubt, the Allowed Claim Amount of each Allowed Abuse

                                               237
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 245 of 303




Claim after Final Determination shall be deemed to be the Protected Parties’ liability for such
Allowed Abuse Claim irrespective of how much the holder of such Abuse Claim actually
receives from the Settlement Trust pursuant to the payment provisions set forth in Article IX of
the Trust Distribution Procedures. For example if the Allowed Claim Amount for an Allowed
Abuse Claim that has received a Final Determination is $1,350,000, even if the Settlement Trust
distributes less than $1,350,000 to the Abuse Claimant on account of such Allowed Abuse Claim
based on application of the Initial Payment Percentage and any Subsequent Payment
Percentage(s), the Allowed Claim Amount for the Abuse Claim is still $1,350,000.

                      d.      Release

        In order for an Allowed Abuse Claim to receive a Final Determination and for the
relevant Abuse Claimant to receive any payment from the Settlement Trust, the Abuse Claimant
must submit, as a precondition to receiving any payment from the Settlement Trust, an executed
form of release to be developed, in each case, by the Coalition and the Future Claimants’
Representative, in consultation with the BSA (which form(s) of release shall provide a full and
final release, in form and substance acceptable to Hartford, of the Hartford Protected Parties in
accordance with the Hartford Insurance Settlement Agreement). As a condition to payment from
the Settlement Trust, the holder of an Abuse Claim shall be required to execute a full and
complete written release in favor of all Contributing Chartered Organizations with respect to his
or her Abuse Claim, including, as a condition to receiving any proceeds from the TCJC
Settlement Contribution, a full and complete written release in favor of TCJC. The form of
release agreement that a Direct Abuse Claimant who makes the Expedited Distribution Election
must execute is attached as Exhibit A to the Trust Distribution Procedures. The form of the
Settling Chartered Organization Release applicable to an Abuse Claimant who has elected to
provide a conditional release to certain Chartered Organizations shall be substantially in the
form of Exhibit B to the Trust Distribution Procedures. The form of the Voluntary Chartered
Organization Release applicable to an Abuse Claimant who has selected a Final Determination
based on the Proposed Allowed Claim Amount shall be substantially in the form of Exhibit C to
the Trust Distribution Procedures. The form of the release applicable to an Abuse Claimant who
has selected a Final Determination based on the Proposed Allowed Claim Amount but who does
not elect to execute the Voluntary Chartered Organization Release shall be substantially in the
form of Exhibit D to the Trust Distribution Procedures.

                      e.      FIFO Claims Process Queuing and Exigent Health Claims

       The Settlement Trust shall review all Trust Claim Submissions for processing purposes
on a FIFO basis as set forth in the Trust Distribution Procedures, except as otherwise provided in
the Trust Distribution Procedures with respect to Expedited Distributions, Exigent Health
Claims, or Submitted Abuse Claims electing to defer determination of their Allowed Claim
Amounts for up to twelve (12) months from the Effective Date pursuant to Article VII.H of the
Trust Distribution Procedures. An Abuse Claimant’s position in the FIFO Processing Queue
shall be determined as of the Abuse Claimant’s Trust Claim Submission Date. If any Trust
Claim Submissions are filed on the same date, an Abuse Claimant’s position in the applicable
FIFO Processing Queue vis-à-vis such other same-day claims shall be determined by the
claimant’s date of birth, with older Abuse Claimants given priority over younger Abuse
Claimants. An Abuse Claimant that seeks recovery on account of an Exigent Health Claim


                                               238
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 246 of 303




based on an Allowed Claim Amount determined through the matrix shall be moved in front of
the FIFO Processing Queue no matter what the order of processing otherwise would have been
under the Trust Distribution Procedures. Following receipt of a Final Determination on account
of an Exigent Health Claim, the holder of an Exigent Health Claim shall receive an Initial
Distribution from the Settlement Trust (subject to the payment percentages then in effect), within
thirty (30) days of executing the release as set forth in Article IX.D of the Trust Distribution
Procedures.

                       f.     Source Affected Weighting

         Notwithstanding the Initial Payment Percentage and the Supplemental Payment
Percentages applied hereunder, Non-BSA Sourced Assets shall be allocated (after deducting an
estimated pro rata share of Settlement Trust expenses and direct expenses related to the
collection of such Non-BSA Sourced Assets) all or in part (the “Source Allocated Portion”) only
among the holders of Allowed Abuse Claims that (1) could have been satisfied from the source
of such Non-BSA Assets absent the Plan’s Discharge and Channeling Injunction and (2) are held
by Direct Abuse Claimants that execute a conditional release, the form of which is attached as
Exhibit B to the Trust Distribution Procedures, releasing all claims against all Chartered
Organizations if the Settlement Trust enters into a global settlement making such Chartered
Organization a Protected Party. The Settlement Trustee shall establish separate payment
percentages (each, a “Source Allocated Payment Percentage”) in accordance with the Settlement
Trust Agreement to effectuate the distribution of the Source Allocated Portions of any Non-BSA
Sourced Assets. For the avoidance of doubt, irrespective of the establishment of any Source
Allocated Payment Percentage under Article IX.F of the Trust Distribution Procedures and the
Settlement Trust Agreement that allocates Source Allocated Portions of Non-BSA Assets to
holders of certain eligible Allowed Abuse Claims, the maximum payment that an Abuse
Claimant can recover from the Settlement Trust before all other Allowed Abuse Claims are paid
in full is the Final Determination Allowed Abuse Claim Amount for his or her Claim. If there is
a remainder of a Source Allocated Portion after satisfaction of all holders of applicable eligible
Allowed Abuse Claims, then that remainder shall be distributed to all holders of Allowed Abuse
Claims pursuant to the applicable payment percentage.

       9.      Rights of Settlement Trust Against Non-Settling Insurance Companies

       Pursuant to the Plan, the Settlement Trust has taken an assignment of BSA’s and any
other Protected Party’s (to the extent provided for in the Plan) rights and obligations under the
Insurance Policies. For any Abuse Claim that the Settlement Trustee determines is an Allowed
Abuse Claim pursuant to Article VII of the Trust Distribution Procedures, the Settlement Trustee
will determine, based on the relevant Trust Claim Submission and any other information
submitted in connection with that submission and in the materials obtained through the
Document Obligations, whether any Non-Settling Insurance Company issued coverage that is
available to respond to such Claim. The Settlement Trustee may determine that multiple
Non-Settling Insurance Companies have responsibility for an Insured Abuse Claim. The
Settlement Trustee shall seek reimbursement for each Insured Abuse Claim that is an Insured
Abuse Claim, including the Proposed Allowed Claim Amount, from the applicable Non-Settling
Insurance Company(ies) pursuant to the Insurance Policies and applicable law. The Settlement
Trustee shall have the ability to exercise all of the rights and interests in the Insurance Policies


                                                239
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 247 of 303




assigned to the Settlement Trust as set forth in the Plan, including the right to resolve any
disputes with a Non-Settling Insurance Company regarding their obligation to pay some or all of
an Insured Abuse Claim. The Settlement Trustee will exercise those rights consistent with their
duty to preserve and maximize the assets of the Settlement Trust. The Settlement Trustee will
have the ability to request further information from Abuse Claimants in connection with seeking
reimbursement for Insured Abuse Claims.

       10.     Indirect Claims

               a.      Claims

        To be eligible to receive compensation from the Settlement Trust, the holder of an
Indirect Abuse Claim must satisfy Article IV.B of the Trust Distribution Procedures. Indirect
Abuse Claims that become Allowed Indirect Abuse Claims shall receive distributions in
accordance with Article IX of the Trust Distribution Procedures and shall be subject to the same
liquidation and payment procedures as the Settlement Trust would have afforded the holders of
the underlying valid Direct Abuse Claims pursuant to Articles VIII and IX of the Trust
Distribution Procedures.

                       b.     Offset

        The liquidated value of any Indirect Abuse Claim paid by the Settlement Trust shall be
treated as an offset to or reduction of the full liquidated value of any related Direct Abuse Claim
that might be subsequently asserted against the Settlement Trust as being against any Protected
Party(ies) whose liability was paid by the Indirect Abuse Claimant.

       11.     Tort System Alternative

               a.      Remedies after Disallowance or Exhaustion of Claims Allowance
                       Procedures

        Within thirty (30) days after a Direct Abuse Claimant receives an Allowed Claim Notice
or Claim Notice following a Reconsideration Request in accordance with Article VII.G of the
Trust Distribution Procedures, a Direct Abuse Claimant may notify the Settlement Trust of his or
her intention to seek a de novo determination of its Direct Abuse Claim by a court of competent
jurisdiction, subject to the limitations set forth in Article XII of the Trust Distribution
Procedures. Such notification shall be made by submitting a written notice to the Settlement
Trustee by the Tort Election Deadline. Unless the Settlement Trustee agrees to extend the Tort
Election Deadline, Abuse Claimants who fail to so submit and/or file a Judicial Election Notice
by the Tort Election Deadline shall be deemed to accept the disallowance of their Abuse Claims
or the Proposed Abuse Claim Amounts (as applicable) and shall have no right to seek any further
review of their Abuse Claims. An Abuse Claimant that asserts a Trust Distribution Procedures
Tort Election Claim may not seek costs or expenses against the Settlement Trust in the lawsuit
filed and the Settlement Trust may not seek costs or expenses against the Abuse Claimant. Any
recoveries for a Trust Distribution Procedures Tort Election Claim from outside the Settlement
Trust in respect of a Protected Party’s liability are payable to the Settlement Trust and the Abuse



                                                240
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 248 of 303




Claimant shall be paid in accordance with Articles XII.G and IX of the Trust Distribution
Procedures.

                       b.     Supporting Evidence for Trust Distribution Procedures Tort
                              Election Claims

        Trust Distribution Procedures Tort Election Claims in the federal courts shall be
governed by the rights and obligations imposed upon parties to a contested matter under the
Federal Rules of Bankruptcy Procedure, provided, however, that an Abuse Claimant that
prosecutes in any court a Trust Distribution Procedures Tort Election Claim after seeking
reconsideration from the Settlement Trust shall not have the right to introduce into evidence to
the applicable court any information or documents that (i) were requested by the Settlement
Trustee and (ii) were in the possession, custody or control of the Abuse Claimant at the time of a
request by the Settlement Trust, but which the Abuse Claimant failed to or refused to provide to
the Settlement Trust in connection with the claims evaluation process in the Trust Distribution
Procedures. The Abuse Claimant’s responses to requests by the Settlement Trustee for
documents or information shall be subject to Rule 37 of the Federal Rules of Civil Procedure, as
applicable under the Federal Rules of Bankruptcy Procedure, and/or any comparable State Rule
of Civil Procedure. An Abuse Claimant shall not have the right to disclose any Proposed Abuse
Claim Amount received from the Settlement Trust to any court in connection with a Tort
Election Claim. Subject to the terms of any protective order entered by a court, the Settlement
Trustee shall be permitted to introduce as evidence before a court all information and documents
submitted to the Settlement Trust under the Trust Distribution Procedures, and the Abuse
Claimant may introduce any and all information and documents that he or she submitted to the
Settlement Trust under the Trust Distribution Procedures.

                       c.     Authorization of Settlement Trustee and Settlement Trust
                              Advisory Committee

        The Settlement Trustee may authorize the commencement or continuation of a lawsuit by
a Direct Abuse Claimant in any court of competent jurisdiction against the Settlement Trust to
obtain the Allowed Claim Amount of a Direct Abuse Claim. STAC Tort Election Claims shall
not be required to exhaust any remedies under the Trust Distribution Procedures before
commencing or continuing such lawsuit. No Abuse Claimant may pursue a STAC Tort Election
Claim without the prior written approval of the Settlement Trustee in accordance with the
Settlement Trust Agreement. Fifty percent (50%) (or less if determined by the Settlement
Trustee) of any amounts paid with respect to a judgment for, or a settlement of, a STAC Tort
Election Claim by a Non-Settling Insurance Company, as to a policy as to which a Protected
Party has assigned relevant insurance rights to the Settlement Trust, shall be paid over to the
Settlement Trust.

                       d.     Tender to Non-Settling Insurance Company

        If an Abuse Claimant is authorized to file suit against the Settlement Trust as provided in
Articles XII.A and XII.C of the Trust Distribution Procedures, the Settlement Trustee shall
determine, based on the Trust Claim Submission and any other information obtained in
connection with that submission and materials received in connection with the Document


                                                241
         Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21   Page 249 of 303




Obligations, whether any Non-Settling Insurance Company issued coverage that is available to
respond to the lawsuit. The Settlement Trustee may determine that there are multiple
Non-Settling Insurance Companies that have responsibility to defend an Insured Lawsuit. The
Settlement Trustee shall provide notice, and if applicable, seek defense, of any Insured Lawsuit
to each Non-Settling Insurance Company from whom the Settlement Trustee determines
insurance coverage may be available in accordance with the terms of each applicable Insurance
Policy.

                       e.     Parties to Lawsuit

        Any lawsuit commenced under Article XII of the Trust Distribution Procedures must be
filed by the Abuse Claimant in his or her own right and name and not as a member or
representative of a class, and no such lawsuit may be consolidated with any other lawsuit. The
Abuse Claimant may assert its Abuse Claim against the Settlement Trust as if the Abuse
Claimant were asserting such claim against either the Debtors or another Protected Party and the
discharge and injunctions in the Plan had not been issued. The Abuse Claimant may name any
person or entity that is not a Protected Party, including Non-Settling Insurance Companies to the
extent permitted by applicable law. Abuse Claimants may pursue in any manner or take any
action otherwise permitted by law against persons or entities that are not Protected Parties so
long as they are not an additional insured or an Insurance Company as to an Insurance Policy
issues to the BSA.

                       f.     Defenses

       All defenses (including, with respect to the Settlement Trust, all defenses that could have
been asserted by the Debtors or Protected Parties, except as otherwise provided in the Plan) shall
be available to both sides (which may include any Non-Settling Insurance Company) at trial.

                       g.     Settlement Trust Liability for Tort Election Claims

        An Abuse Claimant who pursues a Tort Election Claim shall have an Allowed Claim
Amount equal to zero if the litigation is dismissed or claim denied. If the matter is litigated, the
Allowed Claim Amount shall be equal to the settlement or final judgment amount obtained in the
tort system less any payments actually received and retained by the Abuse Claimant, provided
that, exclusive of amounts payable pursuant to Article XII.C of the Trust Distribution Procedures
(in the event such amounts exceed the Maximum Matrix Value in the applicable tier set forth in
the Claims Matrix), any amount of such Allowed Claim Amount for a Tort Election Claim in
excess of the Maximum Matrix Value in the applicable tier set forth in the Claims Matrix shall
be subordinate and junior in right for distribution from the Settlement Trust to the prior payment
by the Settlement Trust in full of all Direct Abuse Claims that are Allowed Abuse Claims as
liquidated under the Trust Distribution Procedures (excluding Article XII). By way of example,
presume (1) there is an Abuse Claimant asserting tier one abuse that achieves a $5 million
verdict for his or her STAC Tort Election Claim against the Settlement Trust, and (2) a
Non-Settling Insurance Company pays $750,000 in coverage under a policy providing primary
coverage, $375,000 of which is paid directly to the Abuse Claimant and $375,000 of which is
paid over to the Settlement Trust pursuant to Article XII.C of the Trust Distribution Procedures.
Although the unpaid amount of such Allowed Abuse Claim would be $4,625,000, the maximum


                                                242
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 250 of 303




total payment that the Abuse Claimant can recover from the Settlement Trust (before the
non-subordinated portion of all other Direct Abuse Claims that are Allowed Abuse Claims are
paid in full) is $2,700,000 (the Maximum Matrix Value in tier one), or an additional $2,325,000,
paid pursuant to the terms of Article IX of the Trust Distribution Procedures. For the avoidance
of doubt, the limit on the Settlement Trust liability under Article XII.G of the Trust Distribution
Procedures shall not apply or inure to the benefit of any Non-Settling Insurance Company, and
the Settlement Trust shall be able to obtain coverage, subject to Article X of the Trust
Distribution Procedures, for the full Allowed Claim Amount obtained by the Abuse Claimant
through a Tort Election Claim.

                       h.     Settlement or Final Judgment

        If the Settlement Trust reaches a global settlement making a Protected Party of a
Non-Settling Insurance Company or other person or entity involved in a Tort Election Claim or
obtains a final judgment in a suit against such person or entity terminating liability for such
person or entity to the Abuse Claimant, the Abuse Claimant shall be entitled to proceed with the
Tort Election Claim for any reason (e.g., if there are persons or entities that are not Protected
Parties to collect from). Alternatively, the Abuse Claimant can elect to terminate the Tort
Election Claim without prejudice and have its Abuse Claim determined through the Trust
Distribution Procedures (i.e., as if no STAC Tort Election Claim had been made), in which event
the Abuse Claimant may submit relevant evidence from the Tort Election Claim that the
Settlement Trustee shall take into account in evaluating the Abuse Claim under the Trust
Distribution Procedures. Such Abuse Claimant may be provided other alternatives by the
Settlement Trust if it had been pursuing a STAC Tort Election Claim.

                       i.     Payment of Judgments by the Settlement Trust

       Subject to Article XII.G of the Trust Distribution Procedures, if and when an Abuse
Claimant obtains a final judgment or settlement against the Settlement Trust in the tort system,
such judgment or settlement amount shall be treated for purposes of distribution under the Trust
Distribution Procedures as the Abuse Claimant’s Final Determination, and such Allowed Claim
Amount shall also constitute the applicable Protected Parties’ liability for such Abuse Claim.
Within thirty (30) days of executing the release as set forth in Article IX.D of the Trust
Distribution Procedures, the Abuse Claimant shall receive an Initial Distribution from the
Settlement Trust (assuming an Initial Payment Percentage has been established by the Settlement
Trust at that time). Thereafter, the Abuse Claimant shall receive any subsequent distributions
based on any applicable Payment Percentage as determined by the Settlement Trust.

                       j.     Litigation Results and Other Abuse Claims

       To the extent that a Final Judicial Determination of an Abuse Claim or changes in
applicable law implicate the appropriateness of the Scaling Factors or General Criteria, the
Settlement Trustee, subject to the terms of the Trust Distribution Procedures and the Settlement
Trust Agreement and the approval of the Bankruptcy Court or District Court, after appropriate
notice and opportunity to object, may appropriately modify the Scaling Factors or General




                                                243
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 251 of 303




Criteria on a go-forward basis for use in evaluation of Future Abuse Claims and other Abuse
Claims as to which no Allowed Claim Amount Final Determination had previously been made.

                      k.      Tolling of Limitations Period

        The running of the relevant statute of limitation shall be tolled as to each Abuse
Claimant’s Abuse Claim against each Protected Party from the earliest of (A) the actual filing of
the claim against the Protected Party prior to the Petition Date, whether in the tort system or by
submission of the claim to the Protected Party pursuant to an administrative settlement
agreement; (B) the tolling of the claim against a Debtor prior to the Petition Date by an
agreement or otherwise, provided such tolling is still in effect on the Petition Date; or (C) the
Petition Date, and shall continue until one (1) year following release of the Abuse Claim into the
tort system hereunder.

       12.     Miscellaneous Provisions

               a.     Non-Binding Effect of Settlement Trust and/or Litigation Outcome

         Notwithstanding any other provision of the Trust Distribution Procedures, the outcome of
litigation against the Debtors by the holder of an Indirect Abuse Claim shall not be used in, be
admissible as evidence in, binding in or have any other preclusive effect in connection with the
Settlement Trust’s resolution or valuation of an Indirect Abuse Claim.

                      b.      Amendments

        Except as otherwise provided in the Trust Distribution Procedures, the Settlement
Trustee may not amend, modify, delete, or add to any provisions of the Trust Distribution
Procedures without the written consent of the STAC and the Future Claimants’ Representative,
as provided in the Settlement Trust Agreement, including amendments to modify the system for
Tort Election Claims. Nothing in the Trust Distribution Procedures is intended to preclude the
STAC and/or the Future Claimants’ Representative from proposing to the Settlement Trustee, in
writing, amendments to the Trust Distribution Procedures. Notwithstanding the foregoing,
absent Bankruptcy Court or District Court approval after appropriate notice and opportunity to
object, neither the Settlement Trustee nor the STAC or Future Claimants’ Representative may
amend the Trust Distribution Procedures in a material manner, including (i) to provide for
materially different treatment for Abuse Claims, (ii) to materially change the system for Tort
Election Claimants, or (iii) in a manner that is otherwise materially inconsistent with the
Confirmation Order or Plan. Notwithstanding the foregoing, neither the Settlement Trustee nor
the STAC or the Future Claimants’ Representative may amend any of the forms of release set
forth in Article IX.D of the Trust Distribution Procedures without the consent of Reorganized
BSA, or remove the requirement of a release in connection with an Expedited Distribution.

                      c.      Severability

        Should any provision contained in the Trust Distribution Procedures be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability and operative
effect of any and all other provisions of the Trust Distribution Procedures.


                                               244
                Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21         Page 252 of 303




                                 d.        Offsets

        The Settlement Trust shall have the right to offset or reduce the Allowed Claim Amount
of any Allowed Abuse Claim, without duplication as to the mitigating factors (e.g., as to other
responsible parties) on a dollar for dollar basis based on any amounts paid, agreed, or reasonably
likely to be paid to the holder of such Claim on account of such Claim as against a Protected
Party (or that reduces the liability thereof under applicable law) from any source other than the
Settlement Trust.

                                 e.        Governing Law

        The Trust Distribution Procedures shall be interpreted in accordance with the laws of the
State of Delaware. Notwithstanding the foregoing, the evaluation of Abuse Claims under the
Trust Distribution Procedures and the law governing litigation in the tort system shall be the law
of the jurisdiction in which the Abuse Claimant files the lawsuit as described in Article XII of
the Trust Distribution Procedures or the jurisdiction where such Abuse Claim could have been
filed under applicable law.

              ARTICLE VIII. SOLICITATION PROCEDURES AND REQUIREMENTS

        Before voting to accept or reject the Plan, each holder of a Claim entitled to vote should
carefully review the Plan. All descriptions of the Plan set forth in this Disclosure Statement are
subject to the terms and provisions of the Plan.

A.           Voting Summary and Deadline111112

        The Bankruptcy Court entered an order in these Chapter 11 Cases [D.I. [●]] (the
“Solicitation Procedures Order”) that, among other things, approved certain procedures
governing the solicitation of votes to accept or reject the Plan from holders of Claims against the
Debtors, including setting the deadline for voting, specifying which holders of Claims are
eligible to receive Ballots to vote on the Plan, and establishing other voting and tabulation
procedures attached to the Solicitation Procedures Order as Exhibit 1 (the “Solicitation
Procedures”).

     THE SOLICITATION PROCEDURES ORDER IS HEREBY INCORPORATED
BY REFERENCE AS THOUGH FULLY SET FORTH HEREIN. YOU SHOULD READ
THE SOLICITATION PROCEDURES ORDER, THE SOLICITATION PROCEDURES,
THE CONFIRMATION HEARING NOTICE, AND THE INSTRUCTIONS ATTACHED
TO YOUR BALLOT IN CONNECTION WITH THIS SECTION, AS THEY SET FORTH
IN DETAIL PROCEDURES GOVERNING VOTING DEADLINES AND OBJECTION
DEADLINES.

       The Plan, though proposed jointly and consolidated for purposes of making distributions
to holders of Claims under the Plan, constitutes a separate Plan proposed by each Debtor.

111112
              Capitalized terms used in this Article VIII and not otherwise defined herein or in the Plan shall have the meanings
         ascribed to such terms in the Solicitation Procedures Motion, Solicitation Procedures Order, or Solicitation Procedures, as
         applicable.


                                                                  245
         Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 253 of 303




Therefore, the classifications set forth in the Plan apply separately with respect to each Plan
proposed by, and the Claims against and Interests in, each Debtor. Your vote will count as votes
for or against, as applicable, each Plan proposed by each Debtor.

 Voting Classes:   The Debtors are soliciting votes to accept or reject the Plan from the
                   holders of Claims in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9.
 Voting Record     The Voting Record Date is [●]October 1, 2021. Only holders in the Voting
 Date:             Classes as of this date will be entitled to vote to accept or reject the Plan.
                   The Debtors reserve the right to set a later Voting Record Date if the
                   Debtors decide to extend the Voting Deadline.
 Voting            The Voting Deadline is [●]December 14, 2021 at 4:00 p.m. (Eastern Time),
 Deadline;         unless the Debtors in their sole discretion extend the date by which the
 Extension:        Ballots will be accepted is extended in accordance with the Solicitation
                   Procedures. If the Voting Deadline is extended, the term “Voting Deadline”
                   will mean the time and date that is designated. Any extension of the Voting
                   Deadline will be followed as promptly as practicable by notice of the
                   extension in accordance with the Solicitation Procedures.
 Solicitation      If you are a holder of a Claim in the Voting Classes, you should deliver a
 Procedures:       properly completed Ballot to the Solicitation Agent. Ballots must be
                   received by the Solicitation Agent on or before the Voting Deadline. To be
                   counted as a vote to accept or reject the Plan, each Ballot must be properly
                   executed, completed, and delivered by (1) the electronic Ballot submission
                   platform on the Solicitation Agent’s website (the “E-Ballot Platform”), (2)
                   mail, (3) overnight delivery, or (4) personal delivery, so that it is actually
                   received, in each case, by the Solicitation Agent no later than the Voting
                   Deadline. Specifically, each Ballot must be returned through the E-Ballot
                   Platform at (a) https://omniagentsolutions.com/bsa-SAballots for Direct
                   Abuse      Claim      Ballots     and      Master      Ballots      or     (b)
                   https://omniagentsolutions.com/bsa-ballots for all other Ballots, by mail
                   using the envelope included in the Solicitation Package, as applicable, or
                   by overnight or personal delivery to the following address: Boy Scouts of
                   America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
                   Avenue, Suite 100, Woodland Hills, CA 91367. You are highly
                   encouraged to submit your Ballot via the E-Ballot Platform.
 Revocation or     After the Voting Deadline, no Ballot may be withdrawn or modified
 Withdrawal of     without the prior written consent of the Debtors, upon notice to parties in
 Ballots:          interest and pursuant to an order of the Bankruptcy Court authorizing such
                   withdrawal or modification; provided, that prior to the Voting Deadline, a
                   voter may withdraw a valid Ballot by delivering a written notice of
                   withdrawal to the Solicitation Agent. The withdrawal must be signed by
                   the party who signed the Ballot, and the Debtors reserve the right to contest
                   any withdrawals, rightand any such withdrawal shall be detailed in the
                   Voting Report filed by the Solicitation Agent.
 Solicitation      The Debtors have retained Omni Agent Solutions as the Solicitation Agent


                                              246
            Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 254 of 303




 Agent:              in connection with the solicitation of votes on the Plan. Deliveries of
                     Ballots should be directed to Omni Agent Solutions as set forth herein and
                     pursuant to the instructions contained in the Ballots.


        The following instructions for voting to accept or reject the Plan, together with the
instructions contained in the Ballot and the Solicitation Procedures, constitute the voting
instructions. Only holders of Claims in Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9 (the “Voting
Classes”) as of the Voting Record Date are entitled to vote on the Plan. To vote, you, or in the
case of certain holders of Direct Abuse Claims, your attorney, must fill out and sign the Ballot
enclosed in the Solicitation Package (as defined below).

B.     Solicitation Procedures

       1.      Vote Required for Acceptance by a Class of Claims

        Under the Bankruptcy Code, acceptance of a plan of reorganization by a class of claims
or interests is determined by calculating the amount and, if a class of claims, the number, of
claims and interests voting to accept, as a percentage of the allowed claims or interests, as
applicable, that have voted. Acceptance by a class of claims requires an affirmative vote of
more than one-half in number of total allowed claims in such class that have voted and an
affirmative vote of at least two-thirds in dollar amount of the total allowed claims in such class
that have voted.

       2.      Solicitation Package

       The package of materials (the “Solicitation Package”) sent to the Voting Classes
contains:

               (a)     a cover letter describing the contents of the Solicitation Package and
                       instructions to obtain access, free of charge, to the Plan, the Disclosure
                       Statement, and the Solicitation Procedures Order, and urging holders of
                       Claims in the Voting Classes to vote to accept the Plan;

               (b)     the Notice of Hearing to Consider Confirmation of Amended Chapter 11
                       Plan of Reorganization for Boy Scouts of America and Delaware BSA,
                       LLC, substantially in the form annexed to the Solicitation Procedures
                       Order as Exhibit 3 (the “Confirmation Hearing Notice”);

               (c)     the Disclosure Statement with all exhibits, including the Plan and all
                       exhibits (to the extent such exhibits are filed with the Bankruptcy Court
                       before the Solicitation Date), which shall be provided in the formats set
                       forth in the Solicitation Procedures Order and are also available via
                       https://omniagentsolutions.com/bsa-SAballots (Direct Abuse Claims) or
                       https://omniagentsolutions.com/bsa-ballots (all other Claims);
               (d)     the Solicitation Procedures Order, including the Solicitation Procedures
                       but excluding all other exhibits, which shall be provided in the formats set

                                                247
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 255 of 303




                      forth in the Solicitation Procedures Order and is also available via
                      https://omniagentsolutions.com/bsa-SAballots                      or
                      https://omniagentsolutions.com/bsa-ballots;
               (e)    an appropriate form of Ballot with return instructions and a return
                      envelope, as applicable;
               (f)    a letter from any official committee orand the Coalition, substantially in
                      the form filed in these Chapter 11 Cases before the Disclosure Statement
                      Hearing (and as may be modified, amended, or supplemented from time to
                      time); and
               (g)    any other materials ordered by the Bankruptcy Court to be included as part
                      of the Solicitation Package.
        The Debtors have distributed the Solicitation Packages to holders of Claims in the Voting
Classes as of the Solicitation Date. In addition, the Plan, this Disclosure Statement, the
Solicitation Procedures Order, and, once they are filed, all exhibits to the three documents
(including the Plan Supplement) will be made available online at no charge at the website
maintained      by     the     Solicitation     Agent,      Omni      Agent      Solutions,    at
https://omniagentsolutions.com/bsa-SAballots or https://omniagentsolutions.com/bsa-ballots. In
addition, the Debtors will provide parties in interest (at no charge) with a flash drive or paper
format of the Plan and/or Disclosure Statement, as well as any exhibits thereto, upon request to
the Solicitation Agent by (1) calling the Debtors’ toll-free restructuring hotline at (866)
907-2721; (2) visiting the Debtors’ restructuring website at https://omniagentsolutions.com/bsa;
(3) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De
Soto Avenue, Suite 100, Woodland Hills, CA 91367; or (4) emailing
BSAballots@omniagnt.com.
        If you are a holder of a Claim or represent a holder of a Direct Abuse Claim who is
entitled to vote on the Plan and you or your attorney did not receive a Ballot, received a damaged
Ballot, or lost your Ballot, please contact the Solicitation Agent by (1) emailing
BSAballots@omniagnt.com, (2) calling the Debtors’ toll-free restructuring hotline at (866)
907-2721, or (3) writing to Boy Scouts of America, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367.
        The Solicitation Procedures set forth a process by which known attorneys representing
holders of Direct Abuse Claims (collectively, the “Firms”), received copies of the Abuse Claim
Solicitation Notice, an Abuse Survivor Plan Solicitation Directive, and Client List. The Abuse
Claim Solicitation Notice notified the Firms of the two options proposed for soliciting votes on
the Plan in respect of Direct Abuse Claims, and the Debtors requested that each Firm voluntarily
return a completed Abuse Survivor Plan Solicitation Directive and confirmed Client List in order
to streamline and expedite the delivery of information to holders of Direct Abuse Claims and
ensure that holders of Direct Abuse Claims can make informed and meaningful decisions
regarding whether to accept or reject the Plan.
        Pursuant to the Abuse Survivor Plan Solicitation Directive, or through a directive
amendment as set forth in subsection c below, each Firm voluntarily selected or may update its
preferred method for the Solicitation Agent to solicit votes on the Plan from its clients who hold


                                               248
        Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21   Page 256 of 303




Direct Abuse Claims (collectively, the “Abuse Survivor Clients”) according to one of the
following proposed methods:
      a. a. Master Ballot Solicitation Method. A Firm may direct the Solicitation Agent to
         serve the Firm with one Solicitation Package and one Master Ballot on which to
         record the votes of all of its Abuse Survivor Clients to accept or reject the Plan and
         any other applicable voting elections (the “Master Ballot Solicitation Method”) if the
         Firm certifies that:

              i.    “Option (a) the Firm shall collect and record the votes of its Abuse Survivor
                   Clients through customary and accepted practices (i.e., written
                   communication), and that it has authority to cast each of its Abuse Survivor
                   Clients’ votes to accept or reject the Plan (subject in each case to the
                   requirements that the Firm comply with the voting procedures and that each
                   Abuse Survivor Client shall have indicated to the Firm his or her informed
                   decision on such vote), or (b) the Firm has the authority under applicable law
                   to vote to accept or reject the Plan on behalf of its Abuse Survivor Clients (a
                   valid power of attorney or other written documentation may be requested by
                   the Debtors, in their discretion). If it is the Firm’s customary and accepted
                   practice to collect and record authorizations or instructions from its Abuse
                   Survivor Clients by email, telephone, or other standard communication
                   methods, the Firm shall be authorized to follow such customary practices to
                   collect and record the votes of its Abuse Survivor Clients. Each Firm that
                   selects the Master Ballot Solicitation Method shall provide the Solicitation
                   Package materials (excluding a ballot) in hard copy, flash drive, or electronic
                   format, to its Abuse Survivor Clients. Any Firm that elects the Master Ballot
                   Solicitation Method must return the Master Ballot (including the Exhibit) to
                   the Solicitation Agent so that it is received by the Voting Deadline. Each
                   Firm must also file a verified statement with the Bankruptcy Court pursuant to
                   Bankruptcy Rule 2019 containing a list of the names and addresses of all
                   Abuse Survivor Clients that the Firms represent (the “Rule 2019 Statement”)
                   prior to or concurrently with the submission of the Master
                   Ballot.Certification”: The Firm shall distribute (as required by the
                   Solicitation Procedures) the Solicitation Package (without a Ballot) to each of
                   its Abuse Survivor Clients and ask each client to provide his or her
                   affirmative vote to accept or reject the Plan (along with any other responsive
                   election to be reflected on the Exhibit to the Master Ballot) and the Firm shall
                   record the affirmative responses on the Master Ballot and reflect that the vote
                   and other responses were collected by means of an Option (a) Certification.
                   For the avoidance of doubt, a Firm may not rely on providing any of its Abuse
                   Survivor Clients negative notice when completing the Master Ballot on behalf
                   of any Abuse Survivor Client if such client did not affirmatively respond with
                   an express answer for each applicable election. Each Firm shall collect the
                   responses through customary and accepted practices (including telephone,
                   email, and other standard communication methods) from each Abuse Survivor
                   Client; provided, however, if an Abuse Survivor Client provides his or her



                                               249
            Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 257 of 303




                     responses orally or via telephone, the Firm shall contemporaneously maintain
                     a record of the responses of the Firm’s Abuse Survivor Clients; or

               ii.    “Option (b) Certification”: If the Firm has the authority under a power of
                     attorney to vote to accept or reject the Plan (in addition to the other elections
                     under the Master Ballot) on behalf of its Abuse Survivor Clients, the Firm
                     shall complete the Master Ballot in accordance with the power granted to the
                     Firm and reflect that the vote and other elections were collected by means of
                     an Option (b) Certification. For any Abuse Survivor Clients whose elections
                     on the Master Ballot were completed by utilizing the Option (b) Certification,
                     the Firm shall supply the power(s) of attorney concurrently with the Master
                     Ballot and Exhibit that provided the Firm with the authorization to act on
                     behalf of such Abuse Survivor Client(s).

       b.      Direct Solicitation Method. A Firm may direct the Solicitation Agent to solicit
               votes on the Plan directly from each of the Firm’s Abuse Survivor Clients by
               distributing a Solicitation Package (including a Ballot) directly to each of the
               Firm’s Abuse Survivor Clients via U.S. mail at the street address specified on the
               Firm’s Client List (the “Direct Solicitation Method”). Under the Direct
               Solicitation Method, each Abuse Survivor Client must return his or her completed
               Ballot to the Solicitation Agent so that it is received by the Voting Deadline. For
               the avoidance of doubt, the Debtors intend to solicit votes to accept or reject
               the Plan from each holder of a Direct Abuse Claim who cannot be matched
               to a Firm or who is not included in any Client List to be solicited via the
               Direct Solicitation Method.

        If a Firm did not voluntarily return an Abuse Survivor Plan Solicitation Directive to the
Solicitation Agent, or otherwise did not select a solicitation method, the Debtors reserve the
right, subject to Bankruptcy Court authorization, to direct the Solicitation Agent to solicit votes
to accept or reject the Plan from the Firm’s Abuse Survivor Clients according to the Direct
Solicitation Method. A Firm may submit a Ballot on behalf of an Abuse Survivor Client, but
only to the extent such Firm has the requisite authority to do so under applicable law and
completes a certification of such authority in the manner set forth herein and on the Ballot that
corresponds to such Abuse Claim (a valid power of attorney may be requested by the Debtors, in
their discretion). Each Firm voting on behalf of more than one Abuse Survivor Client must
complete a Master Ballot, which shall set forth all of the votes cast by such Firm on behalf of all
such clients. Any Firm that has received a Master Ballot but subsequently decides that one or
more of its Abuse Survivor Clients should vote via the Direct Solicitation Method must timely
send information regarding the name, claim number, and address of holder(s) to the Solicitation
Agent in writing so that such holders may be directed solicited for their votes on the Plan.

In addition to the foregoing certification, each Firm that selects the Master Ballot Solicitation
Method must provide the Solicitation Package materials (excluding a ballot), in hard copy, flash
drive, or electronic format, to its Abuse Survivor Clients. Any Firm that elects the Master Ballot
Solicitation Method must return the Master Ballot to the Solicitation Agent so that it is received
by the Voting Deadline. Each Firm must also file a verified statement with the Bankruptcy
Court pursuant to Bankruptcy Rule 2019 prior to or concurrently with the submission of its


                                                  250
            Case 20-10343-LSS           Doc 6418-1        Filed 09/29/21    Page 258 of 303




Master Ballot containing the following (each, a “Rule 2019 Statement”): (i) the facts and
circumstances concerning the Firm’s representation of Abuse Survivor Clients in these chapter
11 cases; (ii) a list of the names, addresses, and claim numbers of all Abuse Survivor Clients that
the such Firm represents; and (iii) an exemplar of the engagement letter used to engage the
Abuse Survivor Clients. The Firm may redact pricing, compensation amounts or percentages,
and personal identifying information of holders of Direct Abuse Claims. For the avoidance of
doubt, personal identifying information related to holders of Direct Abuse Claims on such Rule
2019 Statement shall be filed under seal in accordance with the Final Order (I) Authorizing
Debtors to File (A) a Consolidated List of Counsel Representing the Largest Numbers of Abuse
Victims and (B) a Consolidated List of Other Unsecured Creditors of the Debtors, (II)
Authorizing and Approving Special Noticing and Confidentiality Procedures, and (III) Granting
Related Relief [D.I. 274] and the Bar Date Order; provided that copies of such information shall
be made available to “Permitted Parties” as defined in the Bar Date Order. Each Firm must
submit a copy of the Rule 2019 Statement with unredacted personal identifying information with
its Master Ballot and Exhibit submission to the Solicitation Agent.

       c.           Directive Amendment. After entry of the Solicitation Procedures Order, the
                    Solicitation Agent shall email each Firm that is listed on Direct Abuse Claims in
                    Class 8 to confirm whether any updates are needed to the Abuse Survivor Plan
                    Solicitation Directive previously submitted by each Firm. A Firm must respond
                    in writing to the Solicitation Agent within five (5) days of receipt of the email in
                    order to change its preference pursuant to (i) or (ii) below. If the Solicitation
                    Agent does not receive a response from a Firm within this time period, the
                    Solicitation Agent will honor the solicitation method that Firm previously
                    indicated on the Abuse Survivor Plan Solicitation Directive.

               i.      If a Firm that previously elected the Master Ballot Solicitation Method on its
                       Abuse Survivor Plan Solicitation Directive would like to have each of its
                       clients who hold Direct Abuse Claims cast their own vote to accept or reject
                       the Plan, such Firm may elect to have the Solicitation Agent deliver the
                       Solicitation Package (including Ballots) to the Firm, which will, in turn,
                       deliver the Solicitation Packages (including Ballots) to each of its clients who
                       hold Direct Abuse Claims in hard copy, flash drive, or electronic format. In
                       this case, Solicitation Packages shall be delivered to clients who hold Direct
                       Abuse Claims in accordance with their preferences (i.e., clients who do not
                       want to receive written communications via regular mail shall receive the
                       Solicitation Package materials electronically). The Solicitation Agent shall
                       deliver the Solicitation Package (including Ballots) to each Firm in hard copy,
                       flash drive, or electronic format, depending on the preference specified by
                       each Firm in its response to the email from the Solicitation Agent. Clients
                       who hold Direct Abuse Claims will complete a Ballot and such Ballot will be
                       returned to the Solicitation Agent.

              ii.      If a Firm previously elected the Direct Solicitation Method on its Abuse
                       Survivor Plan Solicitation Directive, that Firm can indicate that it will have its




                                                    251
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 259 of 303




                   clients vote via the Master Ballot Solicitation Method instead and will receive
                   the Solicitation Package directly from the Solicitation Agent.

       3.      Solicitation Procedures, Ballots, and Voting Deadline

        If you are entitled to vote to accept or reject the Plan, one or more Ballot(s) has been
enclosed in your Solicitation Package for the purpose of voting on the Plan. Please vote and
return your Ballot(s) in accordance with the instructions accompanying your Ballot(s).

        You should carefully review (1) the Plan, (2) this Disclosure Statement, (3) the
Solicitation Procedures Order (including the Solicitation Procedures), (4) the Confirmation
Hearing Notice, and (5) the detailed instructions accompanying your Ballot prior to voting on the
Plan.

        After carefully reviewing these materials, including the detailed instructions
accompanying your Ballot(s), please indicate your acceptance or rejection of the Plan by
completing the Ballot(s). All votes to accept or reject the Plan with respect to any Class of
Claims entitled to vote on the Plan must be cast by properly submitting the duly completed and
executed form of Ballot designated for such Class. Holders of Claims or their Firms (as
applicable) voting on the Plan should complete and sign the Ballot(s) in accordance with the
instructions thereon, being sure to check the appropriate box entitled “Accept (vote in favor of)
the Plan” or “Reject (vote against) the Plan.” In addition, if any holder of a Claim elects not to
grant the releases contained in Article X.J.4 of the Plan, then it should check the appropriate box
on its Ballot and follow the instructions contained in the Ballot. Eligible holders of General
Unsecured Claims and Direct Abuse Claims that wish to make the optional electionelections for
Convenience Class treatment or an Expedited Distribution, as such election iselections are more
fully described herein and in the Plan, must carefully follow the instructions set forth in their
Ballots. In order for your vote to be counted, you must complete and return your Ballot(s) in
accordance with the instructions accompanying your Ballot(s) on or before the Voting Deadline.
Each Ballot has been coded to reflect the Class of Claims it represents. Accordingly, in voting to
accept or reject the Plan, you must use only the coded Ballot or Ballots sent to you.

        In order for the holder of a Claim in the Voting Class to have such holder’s Ballot
counted as a vote to accept or reject the Plan, such holder’s Ballot must be properly
completed, executed, and delivered by (1) the electronic Ballot submission platform on the
Solicitation Agent’s website (the “E-Ballot Platform”), (2) mail, (3) overnight delivery, or
(4) personal delivery, so that such holder’s Ballot is actually received by the Solicitation
Agent on or before the Voting Deadline, i.e., [●]December 14, 2021 at 4:00 p.m. (Eastern
Time).

        Specifically, each Ballot must be returned through the E-Ballot Platform at (a)
https://omniagentsolutions.com/bsa-SAballots for Direct Abuse Claim Ballots and Master
Ballots or (b) https://omniagentsolutions.com/bsa-ballots for all other Ballots, by mail using
the envelope included in the Solicitation Package, as applicable, or by overnight or
personal delivery to the following address:
                           Boy Scouts of America Ballot Processing
                                  c/o Omni Agent Solutions

                                               252
         Case 20-10343-LSS         Doc 6418-1          Filed 09/29/21   Page 260 of 303




                                5955 De Soto Avenue, Suite 100
                                  Woodland Hills, CA 91367

     YOU ARE HIGHLY ENCOURAGED TO SUBMIT YOUR BALLOT USING THE
E-BALLOT PLATFORM. IF A BALLOT IS RECEIVED AFTER THE VOTING
DEADLINE, IT WILL NOT BE COUNTED UNLESS THE DEBTORS DETERMINE
OTHERWISE.

     ANY BALLOT THAT IS PROPERLY EXECUTED BY THE HOLDER OF A
CLAIM IN THE VOTING CLASSES BUT THAT DOES NOT CLEARLY INDICATE
AN ACCEPTANCE OR REJECTION OF THE PLAN, OR ANY BALLOT THAT
INDICATES BOTH AN ACCEPTANCE AND A REJECTION OF THE PLAN, WILL
NOT BE COUNTED FOR PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

     EACH HOLDER OF A CLAIM IN THE VOTING CLASSES MUST VOTE ALL
OF ITS CLAIMS WITHIN SUCH CLASS EITHER TO ACCEPT OR REJECT THE
PLAN AND MAY NOT SPLIT SUCH VOTES. IF A HOLDER OF A CLAIM SUBMITS
MORE THAN ONE INCONSISTENT BALLOT RECEIVED BY THE SOLICITATION
AGENT ON THE SAME DAY, SUCH BALLOTS WILL NOT BE COUNTED FOR
PURPOSES OF ACCEPTING OR REJECTING THE PLAN.

     IT IS IMPORTANT THAT THE HOLDER OF A CLAIM IN THE VOTING
CLASSES FOLLOW THE SPECIFIC INSTRUCTIONS PROVIDED ON SUCH
HOLDER’S BALLOT AND THE ACCOMPANYING INSTRUCTIONS.

A.     C. Classes Entitled to Vote on the Plan

        Under the Bankruptcy Code, holders of Claims and Interests are not entitled to vote if
their contractual rights are unimpaired by the proposed plan or if they will receive no property
under the plan. Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are,
therefore, conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Holders of Interests in Class 10 shall not receive or retain property on
account of such interests and are, therefore, deemed to reject the Plan pursuant to section
1126(g) of the Bankruptcy Code. Accordingly, no holders of Claims or Interests in such Classes
shall be entitled to vote to accept or reject the Plan.

       Each of Classes Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF Claims),
Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience Claims),
Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8 (Direct
Abuse Claims), and Class 9 (Indirect Abuse Claims) are Impaired and the holders of Claims in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8 and 9 are entitled to vote to accept or reject the Plan.

        If your Claim or Interest is not included in the Voting Classes, you are not entitled to
vote and you will not receive a Solicitation Package, including a Ballot setting forth detailed
voting instructions. If your Claim is included in the Voting Classes, you should read your Ballot
and carefully follow the instructions included in the Ballot. Please use only the Ballot or Master



                                                 253
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 261 of 303




Ballot that accompanies this Disclosure Statement or the Ballot that the Debtors otherwise
provided to you.

       1.      Holders of Claims Entitled to Vote

        Under section 1124 of the Bankruptcy Code, a class of claims or equity interests is
deemed to be “impaired” under a plan unless (1) the plan leaves unaltered the legal, equitable,
and contractual rights to which such claim or equity interest entitles the holder thereof or
(2) notwithstanding any legal right to an accelerated payment of such claim or equity interest,
the plan (a) cures all existing defaults (other than defaults resulting from the occurrence of
events of bankruptcy or defaults of a kind that do not require cure), (b) reinstates the maturity of
such claim or equity interest as it existed before the default, (c) compensates the holder of such
claim or equity interest for any damages from such holder’s reasonable reliance on such legal
right to an accelerated payment, (d) if such claim or such interest arises from a failure to perform
nonmonetary obligations, other than a default arising from a failure to operate a nonresidential
real property lease, compensates the holder of such claim or such interest (other than the debtor
or an insider) for any actual pecuniary loss incurred by such holder as a result of such failure and
(e) does not otherwise alter the legal, equitable, or contractual rights to which such claim or
equity interest entitles the holder of such claim or equity interest.

       The following table sets forth a simplified summary of which Classes are entitled to vote
on the Plan and which are not and the voting status for each of the separate Classes of Claims
and Interests provided for in the Plan.

     Class                   Claim or Interest                          Entitled to Vote
        1         Other Priority Claims                         No—Presumed to Accept
        2         Other Secured Claims                          No—Presumed to Accept
       3A         2010 Credit Facility Claims                   Yes
       3B         2019 RCF Claims                               Yes
       4A         2010 Bond Claims                              Yes
       4B         2012 Bond Claims                              Yes
        5         Convenience Claims                            Yes
        6         General Unsecured Claims                      Yes
        7         Non-Abuse Litigation Claims                   Yes
        8         Direct Abuse Claims                           Yes
        9         Indirect Abuse Claims                         Yes
       10         Interests in Delaware BSA                     No—Deemed to Reject


       In accordance with sections 1126 and 1129 of the Bankruptcy Code, the Voting Classes
are Impaired under the Plan and, to the extent Claims in the Voting Classes are deemed Allowed


                                                254
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 262 of 303




or subject to the distributions under the Trust Distribution Procedures, the holders of such
Claims will receive distributions under the Plan. As a result, the holders of Claims in each of
these Classes are entitled to vote to accept or reject the Plan.

       Holders of Claims in Classes 1 and 2 are Unimpaired under the Plan and are, therefore,
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
Code. Accordingly, no holders of Claims or Interests in such Classes shall be entitled to vote to
accept or reject the Plan.

        Accordingly, the Debtors are only soliciting votes on the Plan from holders of Claims, in
Classes 3A, 3B, 4A, 4B, 5, 6, 7, 8, and 9. If your Claim or Interest is not included in the Voting
Classes, you are not entitled to vote and you will not receive a Solicitation Package or a Ballot.
If your Claim is included in the Voting Classes, you should read your Ballot and carefully follow
the instructions included in the Ballot. Please use only the Ballot that accompanies this
Disclosure Statement or the Ballot that the Debtors otherwise provided to you.

Holders of Claims under the Plan are deemed to consent to provide the releases contained
in Article X.J.4 of the Plan under the following scenarios: (1) if they vote to accept the Plan
and do not opt out of the release provision of the Plan, (2) if they vote to reject the Plan but
do not opt out of the release provision of the Plan, and (3) with respect to holders of Claims
that are presumed to accept the Plan, except for holders of such Claims that file a timely
objection to the releases set forth in Article X.J.4 of the Plan. Holders of Claims voting to
accept or reject the Plan may check the box on their Ballot to opt out of the releases in
Article X.J.4 of the Plan. Please be advised that the Plan also contains injunction and
exculpation provisions, certain of which are set forth in the Ballot. If the Plan is confirmed
by the Bankruptcy Court, these injunction and exculpation provisions will be binding on
holders of Claims whether or not they elect to opt out of the releases in Article X.J.4 of the
Plan by their Ballot. For a full description of these provisions, see Article VI.Q of this
Disclosure Statement and Article X of the Plan, which sets forth the terms of each of these
provisions.

        If you have filed a Proof of Claim that is subject to an objection, other than a “reclassify”
or “reduce and allow” objection, that is filed with the Bankruptcy Court on or before the
Solicitation Date (a “Disputed Claim”), you are not entitled to vote on the Plan. If you seek to
challenge the disallowance or estimation of your Disputed Claim for voting purposes, you must
file with the Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a),
temporarily allowing such Claim for purposes of voting to accept or reject the Plan (a “Rule
3018(a) Motion”). As set forth in the Confirmation Hearing Notice and the Solicitation
Procedures, any Rule 3018(a) Motion shall be filed with the Bankruptcy Court and served
on the Debtors on or before [●]November 1, 2021. If a holder of a Disputed Claim files a
timely Rule 3018(a) Motion, such holder’s Ballot shall not be counted unless a Resolution
Event occurs with respect to such Disputed Claim on or prior to [●]December 14, 2021 or
as otherwise ordered by the Bankruptcy Court. For the avoidance of doubt, any Claim that is
subject to an objection other than a “reclassify” or “reduce and allow” objection that is filed with
the Bankruptcy Court after the Solicitation Date shall be deemed temporarily allowed solely for
voting purposes in accordance with the Solicitation Procedures, without further action by the
Debtors or the holder of the Claim, and without further order of the Bankruptcy Court, unless the

                                                255
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 263 of 303




Debtors and claimant agree to other treatment for voting purposes or the Bankruptcy Court
orders otherwise.

        A vote on the Plan may be disregarded if the Bankruptcy Court determines, pursuant to
section 1126(e) of the Bankruptcy Code, that it was not solicited or procured in good faith or in
accordance with the provisions of the Bankruptcy Code. The Solicitation Procedures also set
forth assumptions and procedures for determining the amount of Claims that each creditor is
entitled to vote in these Chapter 11 Cases and how votes will be counted under various
scenarios.

        Your vote on the Plan is important. The Bankruptcy Code requires as a condition to
confirmation of a plan of reorganization that each class that is impaired and entitled to vote
under a plan votes to accept such plan, unless the plan is being confirmed under the “cramdown”
provisions of section 1129(b) of the Bankruptcy Code. Section 1129(b) permits confirmation of
a plan of reorganization, notwithstanding the nonacceptance of the plan by one or more impaired
classes of claims or equity interests, so long as at least one impaired class of claims or interests
votes to accept a proposed plan. Under that section, a plan may be confirmed by a bankruptcy
court if it does not “discriminate unfairly” and is “fair and equitable” with respect to each
nonaccepting class.

B.     D. Certain Factors to Be Considered Prior to Voting

       There are a variety of factors that all holders of Interests entitled to vote on the Plan
should consider prior to voting to accept or reject the Plan. These factors, which may impact
recoveries under the Plan, include the following:

       1.      unless otherwise specifically indicated, the financial information contained in this
               Disclosure Statement has not been audited and is based on an analysis of data
               available at the time of the preparation of the Plan and this Disclosure Statement;

       2.      although the Debtors believe that the Plan complies with all applicable provisions
               of the Bankruptcy Code, the Debtors can neither assure such compliance nor that
               the Bankruptcy Court will confirm the Plan;

       3.      the Debtors may request Confirmation without the acceptance of all Impaired
               Classes entitled to vote in accordance with section 1129(b) of the Bankruptcy
               Code; and

       4.      any delays of either Confirmation or the occurrence of the Effective Date could
               result in, among other things, increased Administrative Expense Claims and
               Professional Fee Claims.

       Additionally, the Plan may be modified to include one or more settlements pursuant
to Bankruptcy Rule 9019 to resolve any unresolved controversies, including but not limited
to those described in this Disclosure Statement. While these factors, including the
incorporation of any settlements, could affect distributions available to holders of Allowed
Claims or Abuse Claims under the Plan, the occurrence or impact of such factors will not


                                                256
          Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 264 of 303




necessarily affect the validity of the vote of the Voting Classes or necessarily require a
re-solicitation of the votes of holders of Claims in the Voting Classes.

       For a further discussion of risk factors, please refer to Article X of this Disclosure
Statement, entitled “Risk Factors.”

                      ARTICLE IX. CONFIRMATION PROCEDURES

A.     Hearing on Plan Confirmation

        Under section 1128(a) of the Bankruptcy Code, the Bankruptcy Court, after notice, shall
hold a hearing to confirm a plan of reorganization. The Confirmation Hearing pursuant to
section 1128 of the Bankruptcy Code will be held on [●], 2021January 24, 2022 at [10:00 a.m.]
(Eastern Time), before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge for the District of Delaware, in the United States Bankruptcy Court for the District of
Delaware, located at 824 North Market Street, 6th Floor, Wilmington, Delaware. The
Confirmation Hearing may be continued from time to time without further notice other than an
adjournment announced in open court or a notice of adjournment filed with the Bankruptcy
Court and served on those parties who have requested notice under Bankruptcy Rule 2002 and
the Entities who have filed an objection to the Plan, if any, without further notice to parties in
interest. The Bankruptcy Court, in its discretion and prior to the Confirmation Hearing, may put
in place additional procedures governing the Confirmation Hearing. Subject to section 1127 of
the Bankruptcy Code, the Plan may be modified, if necessary, prior to, during, or as a result of
the Confirmation Hearing, without further notice to parties in interest.

        Additionally, section 1128(b) of the Bankruptcy Code provides that any party in interest
may object to Confirmation. Any objection to Confirmation of the Plan must: (i) be made in
writing; (ii) state the name and address of the objecting party and the nature and amount of the
Claim or Interest of such party; (iii) state with particularity the legal and factual basis and nature
of any objection to the Plan and include any evidentiary support therefor; and (iv) be filed with
the Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801
together with proof of service on or before the Plan Objection Deadline ([●], 2021January 7,
2022 at 4:00 p.m. (Eastern Time)), and served so as to be actually received by the notice
parties set forth in the Confirmation Hearing Notice before the Plan Objection Deadline, which
service may be through the CM/ECF system, with courtesy copies by email.

B.     Requirements for Confirmation of the Plan

        The Bankruptcy Court will confirm the Plan only if all of the requirements of section
1129 of the Bankruptcy Code are met. Among the requirements for confirmation are that the
Plan is (A) accepted by all impaired Classes of Claims and Interests entitled to vote or, if
rejected or deemed rejected by an impaired Class, that the Plan “does not discriminate unfairly”
and is “fair and equitable” as to such Class; (B) in the “best interests” of the holders of Claims
and Interests impaired under the Plan; and (C) feasible.




                                                 257
                 Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 265 of 303




C.            Acceptance by an Impaired Class

        The Bankruptcy Code requires, as a condition to confirmation, that each class of claims
or interests that is impaired under a plan of reorganization, accept the plan. A class that is not
“impaired” under a plan is deemed to have accepted the plan and, therefore, solicitation of
acceptances with respect to such class is not required. As stated above, the Voting Classes are
Impaired Classes and are comprised of the holders of Claims in Class 3A, Class 3B, Class 4A,
Class 4B, Class 5, Class 6, Class 7, Class 8, and Class 9. Section 1126(c) of the Bankruptcy
Code defines acceptance of a plan by a class of impaired claims as an affirmative vote of more
than one-half in number of total allowed claims in such class that have voted and an affirmative
vote of at least two-thirds in dollar amount of the total allowed claims in such class that have
voted. Thus, the Voting Classes described herein will have voted to accept the Plan only if
one-half of the holders of Allowed Claims and Abuse Claims, as applicable, with at least
two-thirds of the total dollar amount of the Allowed Claims and Abuse Claims, as applicable,
vote on the Plan to accept.

     AS EXPLAINED IN ARTICLE VI.G OF THIS DISCLOSURE STATEMENT,
THE BANKRUPTCY CODE CONTAINS PROVISIONS FOR CONFIRMATION OF A
PLAN EVEN IF IT IS NOT ACCEPTED BY ALL CLASSES. THESE SO-CALLED
“CRAMDOWN” PROVISIONS ARE SET FORTH IN SECTION 1129(b) OF THE
BANKRUPTCY CODE, WHICH PROVIDES THAT A PLAN OF REORGANIZATION
CAN BE CONFIRMED EVEN IF IT HAS NOT BEEN ACCEPTED BY ALL IMPAIRED
CLASSES OF CLAIMS AND INTERESTS AS LONG AS AT LEAST ONE IMPAIRED
CLASS OF NON-INSIDER CLAIMS HAS VOTED TO ACCEPT THE PLAN.

D.            Best Interests of Creditors / Liquidation Analysis

        Section 1112(c) of the Bankruptcy Code provides that non-profit Entities such as the
Debtors, cannot have their chapter 11 cases converted into chapter 7 cases involuntarily.112113 A
liquidation under chapter 7 of the Bankruptcy Code is—unlike in the context of for-profit
debtors—a path that can be chosen only by the non-profit debtor. Because the Chapter 11 Cases
could not be involuntarily converted to a chapter 7 liquidation, the Debtors submit they are not
required to satisfy the requirements of section 1129(a)(7) in connection with Confirmation of the
Plan.

        Although the Debtors do not believe they are required to satisfy the “best interests of
creditors” test embodied in section 1129(a)(7), the Debtors do believe a liquidation analysis will
be helpful to holders of Claims as they evaluate their proposed treatment under the Plan.
Accordingly, the Debtors are providing the Liquidation Analysis attached as Exhibit D hereto.

       Exhibit D to the Disclosure Statement contains three sets of analyses. The first section
contains the Liquidation Analysis applicable to the Debtors and Related Non-Debtor Entities.
The second section provides a similar analysis in relation to the Local Councils. Although the


112113
              11 U.S.C. § 1112(c) (“The court may not convert a case under [chapter 11] to a case under chapter 7 of this title if the
         debtor is a farmer or a corporation that is not a moneyed, business, or commercial corporation, unless the debtor requests
         such conversion.”).


                                                                   258
          Case 20-10343-LSS          Doc 6418-1        Filed 09/29/21    Page 266 of 303




Debtors do not believe they are required to satisfy the best-interests test as it relates to the Local
Councils, the Debtors have consented to including this analysis.

       The Debtors’ submission of the Liquidation Analysis shall not be construed as or deemed
to constitute a waiver or admission of any kind. The Debtors reserve all rights to oppose the
applicability of the best interests test in the Chapter 11 Cases.

        The Liquidation Analysis considers whether holders of Impaired Claims will receive or
retain under the Plan property of a value, as of the Effective Date, that is not less than the value
such Holder would receive if the Debtors were liquidated under chapter 7 of the Bankruptcy
Code. Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B
(2019 RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5
(Convenience Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation
Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired
under the Plan.

        To calculate the probable distribution to holders of each Impaired Class of Claims and
interests if the Debtors were liquidated under chapter 7, the Bankruptcy Court must first
determine the aggregate dollar amount that would be generated from the Debtors’ assets if the
Debtors were in cases under chapter 7 of the Bankruptcy Code. This “liquidation value” would
consist primarily of the proceeds from a sale of the Debtors’ assets by a chapter 7 trustee.

        The amount of liquidation value available to unsecured creditors and interest holders
would be reduced by the Claims of any Secured creditors to the extent of the value of their
collateral, by the costs and expenses of liquidation, and by other administrative expenses and
costs of both the chapter 7 cases and the Chapter 11 Cases. Costs of liquidation under chapter 7
of the Bankruptcy Code would include the compensation of a trustee, as well as of counsel and
other professionals retained by the trustee, asset disposition expenses, all unpaid expenses
incurred by the Debtors in the Chapter 11 Cases (such as compensation of attorneys, financial
advisors, and accountants) that are allowed in the chapter 7 cases, litigation costs, and any
Claims arising from the operations of the Debtors during the pendency of the Chapter 11 Cases.

        Once the Bankruptcy Court ascertains the recoveries in liquidation of Secured creditors
and priority claimants, if any, it must determine the probable distribution to general unsecured
creditors and equity security holders from the remaining available proceeds in liquidation. If
such probable distribution has a value greater than the distributions to be received by such
creditors and equity security holders under the plan, then the plan is not in the best interests of
creditors and equity security holders.

       Nine Classes of Impaired Claims, Class 3A (2010 Credit Facility Claims), Class 3B
(2019 RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5
(Convenience Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation
Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse Claims), are Impaired
under the Plan. If the Debtors were liquidated under chapter 7 of the Bankruptcy Code, holders
of Convenience Claims (Class 5), General Unsecured Claims (Class 6), and Abuse Claims
(Classes 8 and 9) would receive lesser distributions than under the Plan, as explained in detail in
the Liquidation Analysis. In addition, holders of Claims in all other Classes will receive at least


                                                 259
             Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21           Page 267 of 303




as much under the Plan as they would in a liquidation and, moreover, the Plan provides much
more certain, efficient, and timely recoveries to holders of these Claims.

        The following chart reflects the estimated recoveries under a hypothetical chapter 7
liquidation as compared to the recoveries under the Plan:113114

  Class Designation114115                        Estimated Amount115116 and                       Estimated Recovery in
                                              Approximate Percentage Recovery                           Chapter 7
   1         Other Priority Claims           Estimated Allowed Amount: Less than                 Estimated Allowed
                                             $0.1 million                                        Amount: $0.1 million

                                             Estimated Percentage Recovery: 100%                 Estimated Percentage
                                                                                                 Recovery: 100%
   2         Other Secured Claims            Estimated Amount: $0                                Estimated Amount: $1.1
                                                                                                 billion 116117
                                             Estimated Percentage Recovery: 100%
                                                                                                 Estimated Percentage
                                                                                                 Recovery: 100%
   3A        2010 Credit Facility            Estimated Amount: $80,762,060                       Estimated Amount:
             Claims                                                                              $80,762,060
                                             Estimated Percentage Recovery: 100%
                                                                                                 Estimated Percentage
                                                                                                 Recovery: 100%




113114
             As set forth in the Liquidation Analysis, Exhibit D hereto, under a chapter 7 liquidation, it is likely that the BSA’s
       defined benefit pension plan would be terminated and the PBGC would pursue its Claim of approximately $1.1 billion
       against all members of the controlled group, which are jointly and severally liable for such amounts and include the Related
       Non-Debtor Entities and Local Councils. As detailed in the Liquidation Analysis, the Debtors believe the PBGC would be
       able to assert a lien against each member of the controlled group not currently in bankruptcy. The Debtors further believe
       that in the event the PBGC was unable to assert a secured claim or its security interest was invalidated, the PBGC would
       still have an unsecured claim against each member of the controlled group. The Debtors’ belief that this fact would not
       materially change the outcome of the Liquidation Analysis because such Claim would be asserted jointly against members
       of the controlled group, including Local Councils. Therefore, the PBGC is expected to recover in full on account of its
       Claim. The ability of the PBGC to recover in full in this circumstance is due to the significant size of its claim, which
       would be asserted in full against each member of the controlled group, as compared to the other claims against such entities,
       and the fact that the aggregate assets of the controlled group exceed the PBGC claim. The Debtors understand the Tort
       Claimaints’ Committee disagrees with both the view that the PBGC would be able to assert a lien and the view that the
       treatment of the PBGC claims as an unsecured claim would not materially change the result of the liquidation analysis.
114115
       The Debtors reserve the right to eliminate any Class of Claims in the event they determine that there are no Claims in such
       Class.
115116
       Figures with respect to the Allowed amounts of the Claims set forth in this chart are based upon the Debtors’ best estimates
       of such Claims as of the date of this Disclosure Statement. These estimates are based on various assumptions. The actual
       amounts of Allowed Claims may differ significantly from these estimates should one or more underlying assumptions prove
       to be incorrect. Such differences may adversely affect the percentage of recovery to holders of Allowed Claims under the
       Plan. Moreover, the estimated recoveries set forth herein are necessarily based on certain assumptions, the realization of
       which are beyond the Debtors’ control.
116117
             Represents the PBGC claim related to pension termination, a portion of which is assumed to be asserted as a secured
       claim against each and every member of the controlled group not currently in bankruptcy and result in a full recovery
       against both the secured and unsecured portion.


                                                               260
                Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21         Page 268 of 303




  Class Designation114115                           Estimated Amount115116 and                     Estimated Recovery in
                                                Approximate Percentage Recovery                          Chapter 7
   3B            2019 RCF Claims                Estimated Amount: $61,542,720                     Estimated Amount:
                                                                                                  $61,542,720
                                                Estimated Percentage Recovery: 100%
                                                                                                  Estimated Percentage
                                                                                                  Recovery: 100%
   4A            2010 Bond Claims               Estimated Amount: $40,137,274                     Estimated Amount:
                                                                                                  $40,137,274
                                                Estimated Percentage Recovery: 100%
                                                                                                  Estimated Percentage
                                                                                                  Recovery: 100%
   4B            2012 Bond Claims               Estimated Amount: $145,662,101                    Estimated Amount:
                                                                                                  $145,662,101
                                                Estimated Percentage Recovery: 100%
                                                                                                  Estimated Percentage
                                                                                                  Recovery: 100%
   5             Convenience Claims             Estimated Amount: $2.3 million – $2.9             Claims are included in
                                                million                                           General Unsecured Claims
                                                                                                  in Class 6
                                                Estimated Percentage Recovery: 100%
   6             General Unsecured              Estimated Amount: $26.5 million –                 Estimated Amount: $3.16
                 Claims                         $33.5 million                                     million

                                                Estimated Percentage Recovery:                    Estimated Percentage
                                                75 – 95%                                          Recovery: 8 – 21%
   7             Non-Abuse Litigation           Estimated Amount: Undetermined117118              Estimated Amount:
                 Claims                                                                           Undetermined
                                                Estimated Percentage Recovery: 100%
                                                                                                  Estimated Percentage
                                                                                                  Recovery: 100%




117118
              This class is comprised of approximately fifty-five (55) wrongful death or personal injury claims as well as seven (7)
         other litigation claims. None of these claims have been liquidated.


                                                                  261
                Case 20-10343-LSS                 Doc 6418-1            Filed 09/29/21          Page 269 of 303




  Class Designation114115                            Estimated Amount115116 and                     Estimated Recovery in
                                                 Approximate Percentage Recovery                            Chapter 7
   8          Direct Abuse Claims118119         Estimated Amount: $2.4 billion – $7.1              Estimated Amount: $2.4
                                                billion                                            billion – $7.1 billion

                                                Estimated Percentage Recovery at $7.1
                                                billion:
                                                10 – 21% plus additional insurance
                                                rights, expected to yield up to 100%
                                                recovery

                                                Estimated Percentage Recovery at $2.4
                                                billion:
                                                31 – 63% plus additional insurance
                                                rights, expected to yield up to 100%
                                                recovery119120




118119
               Under the Plan, “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse Claim.
119120
               The following calculation was used to determine the percentage recovery range under the Plan: ($219 million (BSA
         Settlement Contribution) plus $500 million (Local Counsel Contribution) plus $100 million (DST Note) plus Hartford
         Settlement Contribution minus the Hartford Administrative Expense Claim ($785 million)) divided by $2.4 billion - $7.1
         billion (Estimated Abuse Claims Range). The recovery percentages are net of assumed cost to operate the Settlement
         Trust. Costs are estimated between 6 and 10% of total assets with costs expected to be at the high end of the range in a
         smaller trust and at or below the lower end of the range in a larger trust under the Plan. The low end of the recovery range
         excludes the Hartford Settlement Contribution as some parties may object to the settlement amount and/or how the
         settlement amount is distributed to holders of Abuse Claims, thereby rendering these amounts unavailable to some or all
         creditors. The TCJC Settlement Contribution is not reflected in the recovery ranges for Direct Abuse Claims because such
         contribution by TCJC may not be available to all holders of Direct Abuse Claims under the Trust Distribution Procedures.
         Abuse Claims that relate to TCJC may have a higher recovery than the ranges set forth above. In addition, the Bates White
         estimated range of $2.4 billion to $7.1 billion estimates the value of Abuse Claims, which would include Future Abuse
         Claims, to the extent viable. The Future Claimants’ Representative asserts that the forecast of the Future Abuse Claims
         should be higher than reflected in the Debtors’ range. The Debtors do not agree with the forecast of the Future Abuse
         Claims asserted by the Future Claimants’ Representative and believe that the Bates White range is a more accurate range of
         the value for all Abuse Claims, including Future Abuse Claims. Therefore, the Bates White range provides a better basis on
         which to formulate projected recoveries on account of Abuse Claims, including Direct Abuse Claims (which include Future
         Abuse Claims).


                                                                  262
             Case 20-10343-LSS                  Doc 6418-1             Filed 09/29/21          Page 270 of 303




  Class Designation114115                        Estimated Amount115116 and                         Estimated Recovery in
                                               Approximate Percentage Recovery                           Chapter 7

                                              Under the Expedited                                  Estimated Percentage
                                              Distribution:120121                                  Recovery at $7.1 billion: 5
                                              Estimated Amount: $3,500.00                          – 6%121122

                                                                                                   Estimated Percentage
                                                                                                   Recovery at $2.4 billion: 15
                                                                                                   – 16%
   9      Indirect                 Abuse Estimated Amount: Unknown123124
              Claims122123




120121
             Pursuant to Article III.B.10 of the Plan, each holder of a properly completed non-duplicative proof of claim asserting a
       Direct Abuse Claim who filed such Claim by the Bar Date or was permitted by a Final Order of the Bankruptcy Court to
       file a late claim may, following the Effective Date, subject to critieria set forth in the Trust Distribution Procedures, elect
       on his or her Ballot to receive an Expedited Distribution in exchange for a full and final release in favor of the Debtors, the
       Related Non-Debtor Entities, the Local Councils, Contributing Chartered Organizations, and the Settling Insurance
       Companies. Under the Plan, “Expedited Distribution” means a one-time Cash payment from the Settlement Trust in the
       amount of $3,500.00, conditioned upon satisfaction of the criteria set forth in the Trust Distribution Procedures.
121122
             Recoveries in a hypothetical chapter 7 liquidation include the Hartford Administrative Expense Claim and Additional
       Hartford Administrative Claim (as defined in the Hartford Insurance Settlement Agreement) but do not include recoveries
       on BSA’s Insurance Policies as such recoveries are uncertain and are expected to be lower in a liquidation due to the
       difficulty of obtaining insurance recoveries in such a scenario because, in large part, many of the BSA’s Insurance Policies
       are subject to the rights of co-insured, non-Debtors, including Local Councils, under those policies and because obtaining
       recoveries would likely require significant litigation.
122123
             Under the Plan, “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for contribution, indemnity,
       reimbursement, or subrogation, whether contractual or implied by law (as those terms are defined by the applicable
       non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in
       the nature of or sounding in contract, tort, warranty or any other theory of law or equity whatsoever, including any
       indemnification, reimbursement, hold-harmless or other payment obligation provided for under any prepetition settlement,
       insurance policy, program agreement or contract.
123124
             The Debtors are unable to estimate with certainty the recovery amount for Indirect Abuse Claims under the Plan and
       hypothetical chapter 7 liquidation since they are unliquidated and contingent and subject to objection under section 502(e)
       of the Bankruptcy Code. However, to the extent the Indirect Abuse Claims become liquidated in the future, Indirect Abuse
       Claimants have the ability, pursuant to the Plan, to bring a claim for reconsideration under section 502(j) of the Bankruptcy
       Code and may be able to recover, on account of such claim, against the Settlement Trust Assets. Pursuant to the Trust
       Distribution Procedures, recoveries on account of Indirect Abuse Claims that are liquidated, non-contingent, and meet the
       criteria set forth in the Trust Distribution Procedures shall be subject to the same liquidation and payment procedures as the
       Settlement Trust would have afforded the holders of the underlying valid Direct Abuse Claims as liquidated under the Trust
       Distribution Procedures. The Bates White estimated range of $2.4 billion to $7.1 billion estimates the value of Abuse
       Claims, which would include Indirect Abuse Claims, to the extent viable.


                                                                 263
            Case 20-10343-LSS        Doc 6418-1        Filed 09/29/21   Page 271 of 303




 Class Designation114115              Estimated Amount115116 and             Estimated Recovery in
                                    Approximate Percentage Recovery                Chapter 7
                                                                            Estimated Amount:
                                    Estimated Percentage Recovery at $7.1   Unknown
                                    billion:
                                    10 – 21% plus additional insurance      Estimated Percentage
                                    rights, expected to yield up to 100%    Recovery: Unknown
                                    recovery

                                    Estimated Percentage Recovery at $2.4
                                    billion:
                                    31 – 63% plus additional insurance
                                    rights, expected to yield up to 100%
                                    recovery
     10     Interests in Delaware   Estimated Amount: N/A                   Estimated Amount: N/A
            BSA
                                    Estimated Percentage Recovery: 0%       Estimated Percentage
                                                                            Recovery: 0%


E.        Feasibility

        The Bankruptcy Code requires that a debtor demonstrate that confirmation of a plan of
reorganization is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the
Debtors have analyzed their ability to meet obligations under the Plan. The Debtors, with the
assistance of their advisors, have prepared projections for the calendar years 2021 through 2025,
including management’s assumptions related thereto, attached hereto as Exhibit E (the
“Financial Projections”). The Financial Projections assume that the Plan will be implemented in
accordance with its stated terms. The Debtors are unaware of any circumstances as of the date
of this Disclosure Statement that would require the re-forecasting of the Financial Projections
due to a material change in the Debtors’ prospects so long as the Effective Date occurs before
December 31, 2021. As reflected in the Financial Projections, the Debtors anticipate that they
will timely meet all of their collective obligations and will be financially viable after
Confirmation of the Plan. Accordingly, the Debtors believe that Confirmation is not likely to be
followed by liquidation or the need for further reorganization.

F.        Conditions Precedent to Confirmation of the Plan

       Confirmation of the Plan shall not occur unless the following conditions precedent have
been satisfied, or are otherwise waived, in accordance with Article IX.C of the Plan:

       1.     The Bankruptcy Court shall have entered the Disclosure Statement Order, in form
and substance reasonably acceptable to the Debtors, the Ad Hoc Committee, the Coalition, the
Future Claimants’ Representative, Hartford, the Creditors’ Committee, and JPM;

      2.      The Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
Representative, and Hartford shall have approved of or accepted the Confirmation Order, and the


                                                 264
                 Case 20-10343-LSS                 Doc 6418-1           Filed 09/29/21           Page 272 of 303




Creditors’ Committee, and JPM shall have approved of or accepted the Confirmation Order in
accordance with their respective consent rights under the JPM / Creditors’ Committee Term
Sheet incorporated by reference in Article I.D of the Plan;

       3.     The Bankruptcy Court shall have made such findings and determinations
regarding the Plan as shall enable the entry of the Confirmation Order and any other order in
conjunction therewith, in form and in form and substance acceptable to the Debtors, in
accordance with the requirements of the JPM / Creditors’ Committee Term Sheet.124125 These
findings and determinations are designed, among other things, to ensure that the Injunctions,
Releases and Discharges set forth in Article X of the Plan shall be effective, binding and
enforceable and shall, among other things, provide that:

                        a.        the Plan complies with all applicable provisions of the Bankruptcy Code,
                                  including that the Plan was proposed in good faith and that the
                                  Confirmation Order was not be procured by fraud;

                        b.        the Channeling Injunction and the Insurance Entity Injunction are to be
                                  implemented in connection with the Settlement Trust and shall be in full
                                  force and effect on the Effective Date;

                        c.        upon the Effective Date, the Settlement Trust shall assume the liabilities
                                  of the Protected Parties with respect to Abuse Claims and the liabilities of
                                  the Limited Protected Parties with respect to Post-1975 Chartered
                                  Organization Abuse Claims and have exclusive authority as of the
                                  Effective Date to satisfy or defend such Abuse Claims;

                        d.        the Settlement Trust will be funded with the Settlement Trust Assets;

                        e.        the Settlement Trust will use the Settlement Trust Assets to resolve Abuse
                                  Claims;

                        f.        the terms of the Discharge Injunction, the Channeling Injunction, the
                                  Release Injunction, and the Insurance Entity Injunction, including any
                                  provisions barring actions against third parties, are set out in conspicuous
                                  language in the Plan and in the Disclosure Statement;

                        g.        the Future Claimants’ Representative was appointed by the Bankruptcy
                                  Court as part of the proceedings leading to the issuance of the Channeling
                                  Injunction and the Insurance Entity Injunction for the purpose of, among
                                  other things, protecting the rights of persons who might subsequently
124125
              The findings and determinations set forth in Article IX.A.3.j, Article IX.A.3.q, Article IX.A.3.r, Article IX.A.3.s, and
         Article IX.A.3.t of the Plan shall not be binding on Hartford to the extent that Hartford is a Settling Insurance Company and
         the transactions contemplated in the Hartford Insurance Settlement Agreement, including the release of the Hartford
         Settlement Contribution to the Settlement Trust, are fully consummated. Hartford’s agreement in the Hartford Insurance
         Settlement Agreement not to object to entry of such findings and determinations in the Confirmation Order does not
         indicate Hartford’s support for such findings and determinations, and no party shall argue that Hartford agreed to or
         acquiesced in such findings and determinations in any proceeding. Rather, Hartford is designated as a Settling Insurance
         Company and Protected Party under the Plan, and as a result, Hartford takes no position on such findings and
         determinations or on the Trust Distribution Procedures.


                                                                  265
Case 20-10343-LSS    Doc 6418-1         Filed 09/29/21   Page 273 of 303




         assert Abuse Claims of the kind that are addressed in the Channeling
         Injunction and the Insurance Entity Injunction, which will be transferred
         to and assumed by the Settlement Trust;

   h.    the Plan complies with section 105(a) of the Bankruptcy Code to the
         extent applicable;

   i.    the Injunctions are essential to the Plan and the Debtors’ reorganization
         efforts;

   j.    the Insurance Assignment is authorized as provided in the Plan,
         notwithstanding any terms of any policies or provisions of non-bankruptcy
         law that is argued to prohibit the delegation, assignment, or other transfer
         of such rights, and the Settlement Trust (i) is a proper defendant for Abuse
         Claims to assert the liability of the Protected Parties to trigger such
         insurance rights and (ii) is a proper defendant for Post-1975 Chartered
         Organization Abuse Claims to assert the liability of the Limited Protected
         Parties to trigger such insurance rights;

   k.    the Insurance Settlement Agreements are approved, and any Insurance
         Company that has contributed funds, proceeds or other consideration to or
         for the benefit of the Settlement Trust pursuant to an Insurance Settlement
         Agreement is designated as a Settling Insurance Company;

   l.    the Abuse Claims Settlement represents a sound exercise of the Debtors’
         business judgment, is in the best interest of the Debtors’ Estates, complies
         with section 1123 of the Bankruptcy Code, and is approved pursuant to
         section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;

   m.    the JPM / Creditors’ Committee Settlement represents a sound exercise of
         the Debtors’ business judgment, is in the best interest of the Debtors’
         Estates, complies with section 1123 of the Bankruptcy Code, and is
         approved pursuant to section 1123 of the Bankruptcy Code and
         Bankruptcy Rule 9019;

   n.    the Settlement of Restricted and Core Asset Disputes represents a sound
         exercise of the Debtors’ business judgment, is in the best interest of the
         Debtors’ Estates, complies with section 1123 of the Bankruptcy Code, and
         is approved pursuant to section 1123 of the Bankruptcy Code and
         Bankruptcy Rule 9019;

   o.    the Hartford Insurance Settlement, including the sale of the Hartford
         Policies free and clear of all Interests of any Person or Entity (as such
         terms are defined in the Hartford Insurance Settlement Agreement) and
         the Allowance of the Hartford Administrative Expense Claim is approved
         in accordance with sections 363, 503(b), 507(a)(2), 1123 and 1141 of the
         Bankruptcy Code, Bankruptcy Rule 9019, and the findings of fact and


                                  266
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 274 of 303




                      conclusions of law made by the Bankruptcy Court pursuant to Article
                      V.S.4 of the Plan;

               p.     the TCJC Settlement is approved in accordance with findings of fact and
                      conclusions of law made by the Bankruptcy Court pursuant to Article
                      V.S.5 of the Plan;

               q.     the Plan, the Plan Documents, and the Confirmation Order shall be
                      binding on all parties in interest;

               r.     (i) the procedures included in the Trust Distribution Procedures pertaining
                      to the allowance of Abuse Claims and (ii) the criteria included in the Trust
                      Distribution Procedures pertaining to the calculation of the Allowed Claim
                      Amounts, including the Trust Distribution Procedures’ Claims Matrix,
                      Base Matrix Values, Maximum Matrix Values, and Scaling Factors (each
                      as defined in the Trust Distribution Procedures), are fair and reasonable
                      based on the evidentiary record offered to the Bankruptcy Court;

               s.     the right to payment that the holder of an Abuse Claim has against the
                      Debtors or another Protected Party or a Limited Protected Party is the
                      allowed value of such Abuse Claim as liquidated in accordance with the
                      Trust Distribution Procedures and is not (i) the initial or supplemental
                      payment percentages established under the Trust Distribution Procedures
                      to make distributions to holders of allowed Abuse Claims or (ii) the
                      contributions made by the Debtors or any Protected Party to the
                      Settlement Trust; and

               t.     the Plan and the Trust Distribution Procedures were proposed in good
                      faith and are sufficient to satisfy the requirements of section 1129(a)(3) of
                      the Bankruptcy Code.

G.     Conditions Precedent to the Effective Date

       The Effective Date of the Plan shall not occur unless the following conditions precedent
have been satisfied or waived in accordance with Article IX.C of the Plan:

       1.      (a) the Confirmation Order shall have been submitted to the District Court for
               affirmation; (b) the District Court shall have entered the Affirmation Order in
               form and substance acceptable to (i) the Debtors, the Ad Hoc Committee, the
               Coalition, the Future Claimants’ Representative and Hartford and (ii) the
               Creditors’ Committee and JPM, consistent with the JPM / Creditors’ Committee
               Term Sheet; (c) at least fifteen (15) days shall have passed following entry of the
               Confirmation Order and the Affirmation Order; (d) no court shall have entered an
               order staying the occurrence of the Effective Date pending an appeal of the
               Confirmation Order or the Affirmation Order; and (e) no request for a stay of the
               occurrence of the Effective Date shall be pending;



                                               267
     Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21    Page 275 of 303




2.      the Settlement Trust Assets shall, simultaneously with the occurrence of the
        Effective Date or as otherwise provided herein, be transferred to, vested in, and
        assumed by the Settlement Trust in accordance with Article IV and Article V of
        the Plan;

3.      the Settlement Trust Documents and other applicable Plan Documents necessary
        or appropriate to implement the Plan shall have been executed, delivered and if
        applicable, filed with the appropriate governmental authorities in compliance with
        the JPM / Creditors’ Committee Term Sheet;

4.      the Restated Debt and Security Documents shall have been duly executed and
        delivered by all of the Entities that are parties thereto and all conditions precedent
        (other than any conditions related to the occurrence of the Effective Date) to the
        effectiveness thereof shall have been satisfied or duly waived in writing in
        accordance with the terms of the Restated Debt and Security Documents, the
        closing shall have occurred thereunder, and Reorganized BSA shall have paid the
        JPM Exit Fee to JPM;

5.      the Foundation Loan Agreement and any applicable collateral and other loan
        documents governing the Foundation Loan shall have been duly executed and
        delivered by all of the Entities that are parties thereto and all conditions precedent
        (other than any conditions related to the occurrence of the Effective Date) to the
        effectiveness thereof shall have been satisfied or duly waived in writing in
        accordance with the terms of the Foundation Loan Agreement and related
        documentation, and the closing shall have occurred thereunder;

6.      the Debtors shall have adequately funded the Professional Fee Reserve so as to
        permit the Debtors to make Distributions on account of Allowed Professional Fee
        Claims in accordance with Article II of the Plan;

7.      the Debtors shall have obtained all authorizations, consents, certifications,
        approvals, rulings, opinions or other documents that are necessary to implement
        and effectuate the Plan;

8.      all payments required to be made pursuant to the terms of the Cash Collateral
        Order shall have been paid;

9.      all actions, documents, and agreements necessary to implement and effectuate the
        Plan shall have been effected or executed;

10.     the transactions to be implemented on the Effective Date shall be materially
        consistent with the Plan Documents and the JPM / Creditors’ Committee Term
        Sheet; and

11.     the Debtors shall have filed a notice of occurrence of the Effective Date.




                                         268
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 276 of 303




H.     Waiver of Conditions Precedent

        To the fullest extent permitted by law, each of the conditions precedent in Article IX of
the Plan may be waived or modified, in whole or in part, in the sole discretion of the Debtors;
provided, however, that (1) the Creditors’ Committee’s consent (not to be unreasonably
withheld) is required to the extent any such waiver or modification by the Debtors impacts the
treatment of General Unsecured Claims, Non-Abuse Litigation Claims, or Convenience Claims;
(2) the conditions precedent set forth in Article IX.B.4 and Article IX.B.8 may be waived or
modified by the Debtors only with the prior written consent of JPM; (3) the condition precedent
set forth in Article IX.A.3.o of the Plan may be waived or modified by the Debtors only with the
prior written consent of Hartford; (4) the condition precedent set forth in Article IX.A.3.p of the
Plan may be waived or modified by the Debtors only with the prior written consent of TCJC; (5)
for Article IX.A.3.j, Article IX.A.3.p, Article IX.A.3.r, Article IX.A.3.s, Article IX.A.3.t of the
Plan, and any waiver or modification that impacts the treatment of Abuse Claims, the prior
written consent of the Coalition and the Future Claimants’ Representative shall be required as a
condition to waiver or modification by the Debtors; and (6) the conditions precedent in Article
IX.B.1 and Article IX.B.6 of the Plan may be waived or modified by the Debtors only with the
prior written consent of the Ad Hoc Committee, the Coalition and the Future Claimants’
Representative. Any waiver or modification of a condition precedent under Article IX of the
Plan may be effectuated at any time, without notice, without leave or order of the Bankruptcy
Court or the District Court, and without any other formal action other than proceedings to
Confirm or consummate the Plan. The failure to satisfy or waive any condition precedent to the
Effective Date may be asserted by the Ad Hoc Committee, the Coalition, the Future Claimants’
Representative, Hartford, the Creditors’ Committee or JPM regardless of the circumstances
giving rise to the failure of such condition to be satisfied or waived.

I.     Substantial Consummation of the Plan

       On the Effective Date, the Plan shall be deemed to substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

J.     Vacatur of Confirmation Order; Non-Occurrence of Effective Date

        If the Confirmation Order is vacated or the Effective Date does not occur within 180 days
after entry of the Confirmation Order (subject to extension by the Debtors in their sole
discretion), the Plan shall be null and void in all respects and nothing contained in the Plan or
this Disclosure Statement shall (1) constitute a waiver or release of any Causes of Action by or
Claims against or Interests in the Debtors or any Person; (2) prejudice in any manner the rights
of the Debtors, any holders of a Claim or Interest or any other Person; (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of a Claim or
Interest, or any other Person in any respect; or (4) be used by the Debtors or any other Person as
evidence (or in any other way) in any litigation, including with respect to the strengths and
weaknesses of positions, arguments or claims of any of the parties to such litigation.




                                                269
            Case 20-10343-LSS      Doc 6418-1         Filed 09/29/21   Page 277 of 303




                                ARTICLE X. RISK FACTORS

     HOLDERS OF CLAIMS AGAINST THE DEBTORS SHOULD READ AND
CONSIDER CAREFULLY THE FACTORS SET FORTH BELOW, AS WELL AS THE
OTHER INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND
THE DOCUMENTS DELIVERED TOGETHER HEREWITH OR INCORPORATED BY
REFERENCE, PRIOR TO VOTING TO ACCEPT OR REJECT THE PLAN. THESE
FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS CONSTITUTING THE
ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN AND ITS
IMPLEMENTATION.   THERE ARE RISKS, UNCERTAINTIES, AND OTHER
IMPORTANT FACTORS THAT COULD CAUSE THE DEBTORS’ ACTUAL
PERFORMANCE OR ACHIEVEMENTS TO BE MATERIALLY DIFFERENT FROM
THOSE THEY MAY PROJECT, AND THE DEBTORS UNDERTAKE NO
OBLIGATION TO UPDATE ANY SUCH STATEMENT.


A.     Risks Relating to the Debtors’ Operations, Financial Condition, and Certain Bankruptcy
       Law Considerations

       1.      There is a Risk that the Plan Will Not Be Confirmed

        If confirmed and consummated, the Debtors believe the Plan will accomplish two core
objectives: (a) provide an equitable, streamlined, and certain process by which Abuse Survivors
may obtain compensation for their Abuse Claims and (b) ensure that the BSA has the ability to
continue its vital charitable mission. If the Plan cannot be Confirmed, or if the Bankruptcy
Court otherwise finds that conditions necessary for Confirmation cannot be met, the Debtors
may be required to liquidate and/or voluntarily convert these Chapter 11 Cases to cases under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to
liquidate the Debtors’ assets for distribution in accordance with the priorities established by the
Bankruptcy Code. In this event, the Debtors believe that neither of the Debtors’ core objectives
would be accomplished. Abuse Survivors would not have a certain, streamlined way to recover
on account of their Claims, and there would be a material risk that the BSA’s mission could not
continue to be carried out.

        The Debtors believe that the best mechanism for the Debtors to achieve these two core
objectives is Confirmation of the Plan which provides for substantial contributions by the
Debtors, by Local Councils, by Contributing Chartered Organizations (including TCJC), and by
Settling Insurance Companies (including Hartford) to the Settlement Trust in exchange for the
protection of the Channeling Injunction and Releases under the Plan. Even if there is sufficient
support for Confirmation of the Plan, the commitments contemplated by the Plan will not be
realized if the Plan is not Confirmed. Without an agreement by a substantial majority of
creditors to support the Plan, the Debtors will be unable to meet the requirements necessary to
Confirm the Plan as currently contemplated with respect to the Channeling Injunction and
Releases. The Channeling Injunction and Releases are a necessary component of the Plan,
without which the Local Council Contribution and the Contributing Chartered Organization
Contribution will not be made to the Settlement Trust.



                                                270
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 278 of 303




       2.      The Pension Benefit Guaranty Corporation Could Assert Contingent Claims

         On October 29, 2020, the Pension Benefit Guaranty Corporation (“PBGC”) filed a
contingent Proof of Claim in the amount of $1,102,200,000 against the BSA (the “Unfunded
Benefit Liability Claim”) based on the unfunded benefit liabilities of the Pension Plan.
Contemporaneously, the PBGC also filed a contingent Proof of Claim with respect to PBGC
premiums, including an amount of $51,862,500 against the BSA that may become due upon
termination of the Pension Plan (the “Termination Premiums Claims”). Finally, the PBGC
contemporaneously asserted a claim in an unspecified amount with respect to any failure to
make minimum funding contributions (the “Minimum Funding Contribution Claims”). The
Unfunded Benefit Liability Claims and the Termination Premiums Claims are contingent on the
termination of the Pension Plan, and for purposes of such claims, it is assumed that the Pension
Plan terminated on October 1, 2020. It is asserted that the Pension Plan is a single employer
plan and that all of these liabilities are joint and several among the BSA and each Local Council
that is a member of the BSA’s “controlled group” on account of statutory liability under 29 USC
§§ 1082, 1307, 1362. The PBGC, as a result, believes that it can assert the full amount of any
and all of its Claims against each and every member of the controlled group upon termination.
In addition, if the Unfunded Benefit Liability Claim is not paid to the PBGC on demand, it is
asserted that a statutory lien arises in favor of the PBGC on the assets of the plan sponsor and the
members of the plan sponsor’s controlled group. The amount of this lien would be the lesser of
the Unfunded Benefit Liability Claim and 30% of the collective net worth of the controlled
group. The Plan does not contemplate termination of the Pension Plan. However, if the Plan is
not confirmed and consummated and the Debtors’ Pension Plan is terminated, the PBGC’s
contingent Unfunded Benefit Liability Claims and the Termination Premiums Claims against the
BSA and Local Councils within its “controlled group” may become due and would significantly
dilute any recoveries available to satisfy creditors from both the BSA and the Local Councils
within the controlled group.

        As discussed above, if certain conditions precedent are met, the DST Note will be issued.
Until the DST Note is extinguished, the LC Reserve Account will only be used to fund
contributions to the Pension Plan and, to the extent of any excess, to pay any amounts due under
the DST Note. Thus, to the extent that there are excess funds in a given year, such funds would
not be available to fund shortfalls in future years with respect to the Local Councils’ obligations
to contribute to the Pension Plan.

       3.      The Tort Claimants’ Committee Disputes the PBGC’s Contingent Claims

       The Tort Claimants’ Committee disputes the PBGC’s Unfunded Benefit Liability Claim
as being too high because it is, among other things, not based on current PBGC interest rate
assumptions for this purpose and on the current value of Plan assets.

        The Tort Claimants’ Committee also disputes the Unfunded Benefit Liability Claim
would ever be secured because terminating the Pension Plan is not an immediate or
straightforward process. The PBGC has to obtain authorizations from multiple levels of its
internal bureaucracy (Office of Gen. Counsel, Trusteeship Working Group, Dir. of PBGC) and
likely in a case this size from its Board: the Secretaries of Labor, Commerce and Treasury.
Those authorizations would not be easy under this factual scenario (i.e., an overfunded pension).


                                                271
            Case 20-10343-LSS       Doc 6418-1         Filed 09/29/21   Page 279 of 303




However, assuming that the authorizations were granted, the PBGC would have to send the
Local Councils a 90-day termination notice. If the issue was not resolved prior to the expiration
of the 90-day notice, the PBGC would have to go to the District Court to obtain authorization to
terminate the Pension Plan (and the Local Councils would have notice of this and have a chance
to oppose). Assuming the court granted the request, the PBGC would terminate the Pension Plan
and then send a payment demand to the Local Councils. If the claim was not paid, only then
would a lien arise in favor of the PBGC. In this context, if the Local Councils were in distress to
the extent that it caused the PBGC to initiate the above process, it is not realistic or reasonable to
assume the Local Councils would not commence a bankruptcy case to avoid the imposition of
lien.

        Furthermore, the Tort Claimants Committee believes it is unreasonable to assume that, if
the PBGC were anticipated to recover the bulk of its claim (whether it is secured or unsecured)
via a joint & several assessment of liability to each Local Council, a chapter 7 trustee would not
then pursue a less expensive standard termination of the Pension Plan. It is the Tort Claimants’
Committee’ view that there are very strong arguments that the Local Councils and the Debtors
do not comprise a controlled group, and that therefore the Pension Plan is a multiple employer
plan, and that therefore the PBGC’s claim would have to be allocated among the BSA and the
Local Councils, rather than being assessed jointly & severally against all the entities.

        The Debtors, the Creditors’ Committee, and the PBGC disagree with the Tort Claimants’
Committee’s assumptions and analysis set forth above, including the Tort Claimants’
Committee’s unqualified contention that the Pension Plan is “overfunded” and the assertions that
the Debtors and the Local Councils do not comprise a controlled group and the Pension Plan
may be a multiple employer plan rather than a single employer plan. The Debtors, the Creditors’
Committee, and the PBGC believe that there are strong arguments and past practices that support
control group liability for the Debtors and the Local Councils.

       4.      Debtors May be Impacted by the Continuing COVID-19 Pandemic

         The COVID-19 pandemic has presented issues and caused disruptions to the entire
organization and Scouting as a whole. Beginning in late February 2020, the BSA began to face
unprecedented operational challenges associated with the spread of COVID-19 in the United
States. As the pandemic spread through North America, the BSA was forced to temporarily
close its Headquarters, distribution center, and virtually all of its scout shops, consistent with
governmental health guidelines and directives. The BSA was also ultimately forced to cancel
summer programming at Philmont, its largest high adventure base, and limit programming at its
other three high adventure bases. Local Councils also significantly curtailed activity throughout
2020 which impacted the BSA’s retail sales and fall recruiting season. Throughout 2020, as the
global pandemic gradually worsened, the BSA undertook a number of critical cost-saving
initiatives, including initially furloughing and later permanently reducing staff, eliminating all
non-essential spending, negotiating concessions with suppliers and local vendors, and canceling
a number of revenue generating events due to social gathering concerns.

       The impact of COVID-19 has been devastating to the BSA. Membership recruitment in
2020 ground to a halt with school closures and other social distancing measures resulting in an
81% decline versus 2019, which will impact 2021 membership revenue. Supply revenue


                                                 272
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 280 of 303




declined 57% driven by the several months of retail locations being closed and poor recruiting
driving lower uniform sales. High adventure facility revenue declined 74% driven by the
temporary closure of Philmont and shortened seasons and/or reduced capacity at the other
facilities. The BSA further expects to have lower retention of existing members when annual
memberships renew in early 2021 due to significant curtailment of programing throughout 2020.

         The continued spread of COVID-19 could have a significant impact on the Debtors’
activities in the future and, in turn, the functions of Scouting at every level. This includes the
ability to have pack and troop meetings in-person, restricted or limited use of the BSA or Local
Council properties such as summer camps and high adventure facilities. It remains unclear the
extent and duration that restrictions will remain in place in response to the pandemic, which
could bar or limit engaging in fundamental Scouting activities such as camping, service projects,
meetings, and other group activities that help build the bonds of fellowship essential to the
BSA’s mission. Moreover, the health, social, and economic impact the pandemic will have in
the future is unknown. As such, there can be no assurance that the uncertainties caused by the
spread of COVID-19 will not negatively impact the Debtors in the future and, therefore, affect
the underlying financial projections contained in this Disclosure Statement.

       5.      Pending and Future Litigation

        As discussed in this Disclosure Statement, the Debtors are involved in various litigation,
including but not limited to, the Trademark Action with the GSUSA—which so long as it
remains unresolved represents a reputational issue, a potential challenge to welcoming female
members into Scouting, and potential Claim for monetary damages. Additionally, there is a risk
of future litigation. Such litigation could be brought in connection with the BSA’s operations,
including its high adventure facilities, or otherwise. Pending litigation or future litigation could
result in a material judgment against the Debtors or the Reorganized BSA. Such litigation, and
any judgment in connection therewith, could have a material negative effect on the Debtors or
the Reorganized BSA.

       6.      Risk of Non-Confirmation of the Plan

        Although the Debtors believe that the Plan satisfies all requirements necessary for
Confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for Confirmation
or that such modifications would not necessitate re-solicitation of votes. Moreover, the Debtors
can make no assurances that they will receive the requisite acceptances to confirm the Plan, and
even if all Voting Classes vote in favor of the Plan or the requirements for “cramdown” are met
with respect to any Class that rejects or is deemed to reject the Plan, the Bankruptcy Court may
exercise discretion as a court of equity and choose not to confirm the Plan. If the Plan is not
confirmed, it is unclear what distributions holders of Claims or Interests would ultimately
receive with respect to their Claims or Interests in a subsequent plan of reorganization, a
liquidation, or other proceedings.




                                                273
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 281 of 303




       7.      Other Parties in Interest Might Be Permitted to Propose Alternative Plans of
               Reorganization

        Under the Bankruptcy Code, a debtor in possession initially has the exclusive right to
propose and solicit acceptances of a plan of reorganization. However, such exclusivity period
can be reduced or terminated upon order of the Bankruptcy Court, or it may expire under the
applicable provisions of the Bankruptcy Code. If such an order were to be entered or such
expiration were to occur, other parties in interest would then have the opportunity to propose
alternative plans of reorganization.

        If other parties in interest were to propose an alternative plan of reorganization following
expiration or termination of the Debtors’ exclusivity period, such a plan may be less favorable to
the Debtors, their Estates, and their stakeholders. In addition, if there were competing plans of
reorganization, the Chapter 11 Cases would likely become longer, more complicated, and more
expensive, thereby reducing recoveries to holders of Claims.

       8.      Non-Consensual Confirmation

        If any Impaired Class of Claims does not accept or is deemed not to accept a plan of
reorganization, a Bankruptcy Court may nevertheless confirm such plan at the proponent’s
request if at least one Impaired Class has accepted the plan (with such acceptance being
determined without including the vote of any “insider” in such class), and as to each impaired
class that has not accepted the plan, the Bankruptcy Court determines that the plan “does not
discriminate unfairly” and is “fair and equitable” with respect to the dissenting impaired classes.
If any Class votes to reject or is deemed to reject the Plan, then these requirements must be
satisfied with respect to such rejecting Class. The Debtors believe that the Plan satisfies these
requirements.

       9.      Parties in Interest May Object to the Debtors’ Classification of Claims and
               Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an
interest in a particular class only if the claim or interest is substantially similar to the other
claims or interests in that class. Parties in interest may object to the classification of certain
claims and interests both on the grounds that certain claims and interests have been improperly
placed in the same Class and/or that certain claims and interests have been improperly placed in
different Classes. The Debtors believe that the classification of Claims and Interests under the
Plan complies with the requirements of the Bankruptcy Code because the Classes established
under the Plan each encompass Claims or Interests that are substantially similar to similarly
classified Claims or Interests. Nevertheless, there can be no assurance that the Bankruptcy Court
will reach the same conclusion. Parties in interest may object to the classification of certain
Claims and Interests both on grounds that certain Claims and Interests have been improperly
placed in the same Class and/or that certain Claims and Interests have been improperly placed in
different Classes.




                                                274
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 282 of 303




       10.     The Debtors May Object to the Amount or Classification of a Claim

        Except as otherwise provided in the Plan, the Debtors reserve the right to object to the
amount or classification of any Claim under the Plan. The estimates set forth in this Disclosure
Statement cannot be relied on by any holder of a Claim where such Claim is subject to an
objection. Any holder of a Claim that is subject to an objection may, therefore, not receive its
expected share of the estimated distributions described in this Disclosure Statement.

       11.     The Conditions Precedent to Plan Confirmation and the Effective Date of the
               Plan May Not Occur

        As more fully set forth in Article IX of the Plan, Plan Confirmation and the Effective
Date are subject to a number of conditions precedent. If such conditions precedent are not
satisfied or waived, Plan Confirmation, the Effective Date, or both will not occur.

       12.     The Recovery to Holders of Allowed Claims, Abuse Claims, and Interests
               Cannot Be Stated with Absolute Certainty

        Due to the inherent uncertainties associated with projecting financial results, litigation
outcomes, and the projected of number and amount of Abuse Claims that will be liquidated
pursuant to the Trust Distribution Procedures, the projections contained in this Disclosure
Statement should not be considered assurances or guarantees of the amount of Claims that may
be allowed in the various Classes or amounts that will be paid by the Settlement Trust on
account of Abuse Claims. While the Debtors believe that the projections and estimates
contained in this Disclosure Statement are reasonable, including with respect to the number and
valuation range related to Abuse Claims, which includes Indirect and Future Abuse Claims,
certain parties, such as the Tort Claimants’ Committee, the Coalition and Future Claimants’
Representative have indicated that they believe that the projected number and value of Future
Abuse Claims is much higher than the Debtors have projected. To the extent that Claims,
including Abuse Claims, are allowed at numbers or amounts that are higher than the total
projected number or valuation ranges for each Class, distributions/recoveries to holders of
Claims, including Abuse Claim may be lower, and there can be no assurance that the
distributions/recoveries set forth in the projections in the Disclosure Statement will be realized.
Also, because the Liquidation Analysis, distribution projections, and other information contained
herein and attached hereto are estimates only, the timing and amount of actual distributions to
holders of Allowed Claims and Abuse Claims satisfied by the Settlement Trust in accordance
with the Trust Distribution Procedures, if applicable, may be affected by many factors that
cannot be predicted.

       13.     Appointment of Different Settlement Trustee and/or Different Members of the
               Settlement Trust Advisory Committee for the Settlement Trust

        Prior to the Confirmation Hearing, the Plan Supplement shall identify the initial members
of the Settlement Trust Advisory Committee. The proposed initial Settlement Trustee is Eric D.
Green, as set forth in the Plan. Parties-in-interest, however, may object to the proposed
Settlement Trustee, or one or more of the proposed members of the Settlement Advisory
Committee. In that case, an alternate Settlement Trustee and/or alternative proposed members of


                                               275
         Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 283 of 303




the Settlement Trust Advisory Committee would have to be nominated, potentially resulting in
significant delays in the occurrence of the Confirmation Date and Effective Date. The Debtors
do not believe that the identity of the Settlement Trustee will impact creditor recoveries under
the Plan, but other parties disagree.


       14.     Distributions under the Trust Distribution Procedures

        Abuse Claims, including both Direct Abuse Claims and Indirect Abuse Claims, will be
resolved pursuant to the Settlement Trust Documents, and their treatment will be based upon,
among other things, estimates of the number, types, and amount of Abuse Claims, the value of
the assets of the Settlement Trust, the liquidity of the Settlement Trust, the Settlement Trust’s
expected future income and expenses, and other matters. There can be no certainty as to the
precise amounts that will be distributed by the Settlement Trust in any particular time period or
when Settlement Claims will be resolved by the Settlement Trust. The Debtors believe that
Indirect Abuse Claims are unliquidated, contingent, and subject to objection. The outcome of
such objections and ultimate allowance of Indirect Abuse Claims, could have a dilutive effect on
Abuse Claims as a whole including Direct Abuse Claims.

       15.     Participation by Local Councils, Participating Chartered Organizations,
               Contributing Chartered Organizations, and Settling Insurance Companies

       The Plan contemplates participation by the Local Councils, Participating Chartered
Organizations, Contributing Chartered Organizations, and Settling Insurance Companies
including through the Local Council Settlement Contribution, Participating Chartered
Organization Settlement Contribution, Contributing Organization Settlement Contribution, and
any contributions of Settling Insurance Companies to the Settlement Trust. However, there can
be no assurance that the Local Councils, Chartered Organizations, or Settling Insurance
Companies will make such contributions as set forth in the letters of intent, with respect to Local
Councils, or as agreed upon, with respect to Chartered Organizations or Settling Insurance
Companies, or that the level of contributions, including those Participating Chartered
Organizations, will be acceptable to all other parties in these Chapter 11 Cases or satisfy the
requirements for obtaining approval of the Channeling Injunction by the Bankruptcy Court. In
addition, the letters of intent include provisions indicating that such letters of intent are
non-binding and that nothing in the letters of intent create a binding obligation with respect to
such contributions.

       At this time, all Local Councils have submitted letters of intent, the form of which is
attached as Exhibit B to the Plan, indicating their intent to contribute to the Settlement Trust in
the amounts listed on Exhibit C to the Disclosure Statement. All of the Local Councils’ letters
of intent are conditioned on, among other things, “[a]cceptable resolution of insurance and
indemnity issues with respect to our chartered partners, to be negotiated.” If a Local Council
determines that the treatment of Chartered Organizations under the Plan is not “acceptable,” the
Local Council may decline to contribute its share of the Cash Contribution and Property
Contribution on the Effective Date. If the Local Council Settlement Contribution does not equal
$500 million in the aggregate on the Effective Date, comprised of at least $300 million of Cash
and $200 million (calculated as provided in the Plan) of unrestricted properties (reduced on a


                                                276
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 284 of 303




dollar-for-dollar basis by any Cash Contribution in excess of $300 million), then no Local
Council shall be treated as a Protected Party under the Plan. The Local Council Settlement
Contribution is calculated in the aggregate and any individual Local Council’s failure to make
the contribution provided in Exhibit C shall not prevent the Local Council from becoming a
Protected Party so long as the aggregate amount of the Local Council Settlement Contribution is
contributed on the Effective Date as provided in the Plan. There can be no assurance that any
Local Council will contribute the amount listed on Exhibit C, and, if an individual Local Council
fails to contribute the amount on Exhibit C, there can be no assurance that other Local Councils
will make a sufficient financial contribution on behalf of such Local Council to meet the
aggregate Local Council Settlement Contribution.

        The Hartford Insurance Settlement Agreement provides that “the Debtors, the Coalition,
the FCR and the Trust shall secure an assignment to the Trust of, or otherwise resolve to the
Parties’ satisfaction, Chartered Organizations’ rights or claims to coverage under Abuse
Insurance Policies issued by Hartford.” If the Debtors, the Coalition and the Future Claimants’
Representative are unable to resolve claims by Chartered Organizations under Abuse Insurance
Policies issued by Hartford, there can be no assurance that Hartford will make the Hartford
Settlement Contribution.

       At this time, one Chartered Organization has agreed to make substantial contributions
and become a Contributing Chartered Organization. Similarly, one Insurance Company has
agreed to make substantial contributions and become a Settling Insurance Company.

        Any failure to contribute by the Local Councils, Contributing Chartered Organizations,
and/or Settling Insurance Company and/or objections to the level of the Contributing Chartered
Organizations and/or objections to the level of the Local Council Settlement Contribution,
Participating Chartered Organizations Settlement Contribution, the Contributing Organization
Settlement Contribution, and any contributions by Settling Insurance Companies could
materially affect the Plan, resulting in significant delays to the occurrence of the Confirmation
Date and Effective Date, amendments to the Plan, and/or significant alterations to the current
structure and distributions to holders of Claims contemplated by the Plan.

        Certain Insurance Companies have indicated that it may be difficult to reach settlements
with any Insurance Company if the Debtors cannot reach agreements with Chartered
Organizations to become Contributing Chartered Organizations or another resolution regarding
Abuse Claims, because it may not be possible to protect Insurance Companies from Abuse
Claim exposure absent settlements with such Chartered Organizations. Accordingly, absent such
settlements the Debtors may not be able to settle with Insurance Companies or may be forced to
settle at lower amounts because the Channeling Injunctions may not provide the Settling
Insurance Companies with complete protection from Abuse Claim exposure.

        Several parties have raised concerns regarding the adequacy of contributions by certain
of the Protected Parties. There can be no assurance that the Bankruptcy Court will determine that
the requirements for obtaining approval of the Channeling Injunction are met with respect to
contributions made by Protected Parties.



                                               277
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 285 of 303




       16.     U.S. Federal Income Tax Risks

        For a discussion of certain U.S. federal income tax consequences of the implementation
of the Plan to the Debtors and to holders of certain Claims and Interests, see Article XI of this
Disclosure Statement.

       17.     Risk of Non-Occurrence of the Effective Date

       Although the Debtors believe that the Effective Date will occur soon after the
Confirmation Date, there can be no assurance as to the timing of the Effective Date. If the
conditions precedent to the Effective Date set forth in the Plan have not occurred or have not
been waived as set forth in Article IX of the Plan, then the Confirmation Order may be vacated,
in which event no distributions would be made under the Plan, the Debtors and all holders of
Claims or Interests would be restored to the status quo as of the day immediately preceding the
Confirmation Date, and the Debtors’ obligations with respect to Claims and Interests would
remain unchanged. Any delay to the Confirmation Date may materially negatively impact the
Debtors’ business and may result in a liquidation.

       18.     Amendment of Plan Prior to Confirmation by the Debtors

        The Debtors, subject to the terms and conditions of the Plan, reserve the right to modify
the terms and conditions of the Plan or waive any conditions thereto if and to the extent
necessary or desirable for confirmation. The potential impact of any such amendment or waiver
on holders of Claims and Interests cannot presently be foreseen but may include a change in the
economic impact of the Plan on some or all of the proposed Classes or a change in the relative
rights of such Classes.

       19.     Financial Projections

        The Debtors have prepared financial projections on a consolidated basis with respect to
the Reorganized BSA and Related Non-Debtor Entities based on certain assumptions, as set
forth in Exhibit E hereto. The projections have not been compiled, audited, or examined by
independent accountants, and neither the Debtors nor their advisors make any representations or
warranties regarding the accuracy of the projections or the ability to achieve forecasted results.

        Many of the assumptions underlying the projections are subject to significant
uncertainties that are beyond the control of the Debtors or the Reorganized BSA, including the
timing, Confirmation, and consummation of the Plan, continued engagement with Scouting and
the Reorganized BSA, and the ability of the Local Councils to continue to support the Debtors’
membership.      Some assumptions may not materialize, and unanticipated events and
circumstances may affect the actual results. Projections are inherently subject to substantial and
numerous uncertainties and to a wide variety of significant economic, and operational risks, and
the assumptions underlying the projections may be inaccurate in material respects. In addition,
unanticipated events and circumstances occurring after the approval of this Disclosure Statement
by the Bankruptcy Court including any natural disasters, terrorist attacks, or health epidemics
may affect the actual financial results achieved. Such results may vary significantly from the
forecasts and such variations may be material. The Debtors’ projections reflect expectations of


                                               278
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 286 of 303




continued donor support. However, the Debtors cannot state with certainty that such donation
programs will achieve their targeted results.

       20.     There Is No Assurance That the DST Note Will Be Fully Funded

        On the Effective Date, pursuant to the terms of the Plan, the DST shall issue the DST
Note in favor of the Settlement Trust in the principal amount of $100 million. Local Councils
shall make monthly contributions into the LC Reserve Account, which will be owned by the
DST, in an amount equal to the Required Percentage of the Local Councils’ respective payrolls.
The funds in the LC Reserve Account shall be used to fund the DST Note in accordance with the
terms thereof until the DST Note is extinguished unless certain circumstances described above in
Article V.S.2 of the Disclosure Statement occur, in which case such funds shall be deposited into
the Pension Plan. Because the determination of whether the contributions from the LC Reserve
Account are deposited into the Pension Plan or used to fund the DST Note depends upon market
performance, there can be no assurance that the DST Note will be fully funded.

       21.     Potential Settlements

        As set forth in Article II.D of this Disclosure Statement, the Debtors have been in
negotiations with the mediation parties in hopes of resolving certain controversies related to the
structure of the Plan, level of contributions by Chartered Organizations and insurance-related
issues, and the level of contribution by Insurance Companies, which may result in additional
settlements pursuant to Bankruptcy Rule 9019 and may be included in the Plan. If a Settlement
Agreement is reached, the Plan may be modified prior to the Confirmation Hearing to
incorporate any number of resolutions. The potential impact of any such settlements or
resolutions on holders of Claims and Interests cannot presently be foreseen but may include a
change in the economic impact of the Plan on some or all of the proposed Classes or a change in
the relative rights of such Classes. As explained herein, the Debtors have reached settlements
with TCJC, the Creditors’ Committee, JPM and Hartford. The Plan incorporates the terms and
conditions of such settlements.

       However, certain parties may object to such settlements, including with respect to the
contribution amounts in such settlements. Additionally, there can be no assurance the
Bankruptcy Court will approve the Plan, including such settlements over objections. If the
settlements are not approved, the amounts contributed to the Settlement Trust (and therefore
available to distribute to holders of Claims) will be reduced.

        Pursuant to the Plan, Chartered Organizations can enter into settlements to become
Contributing Chartered Organization and receive the protections of the Channeling Injunction
before and after the Effective Date. However, with more than 41,000 Chartered Organizations, it
is unlikely that all Chartered Organization will become Contributing Chartered Organizations.
Therefore, it is likely that the treatment of each Chartered Organization will vary depending on
whether such Chartered organization becomes a Contributing Chartered Organization, a
Participating Chartered Organization, or opts not to participate. The rights of such Chartered
Organizations and third party rights against those Chartered Organizations will likewise vary




                                               279
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 287 of 303




based on what type of participation a specific Chartered Organization elects, assuming that the
Bankruptcy Court approves the treatment of Chartered Organizations.

       Moreover, if the Debtors reach settlements with other insurers, in addition to the Hartford
Insurance Settlement Agreement, such insurers will provide contributions to the Settlement Trust
in order to be treated as a “Settling Insurance Company” under the Plan. It is likely that such
settlements may involve the sale of BSA Insurance Policies issued by such Settling Insurance
Company back to such Settling Insurance Company in exchange for a contribution to the
Settlement Trust. The rights, if any, of Chartered Organizations under such insurance policies
will be treated in accordance with section 363 and 1141 of the Bankruptcy Code and other
applicable law.




                                               280
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 288 of 303




       22.     Insurance Contributions

        If the Debtors are unable to reach agreement on the terms of Insurance Settlement
Agreements with the Insurance Companies, there is a risk that the Settlement Trust may not
realize contributions from Insurance Companies, or that the Settlement Trust’s efforts to realize
recoveries on account of the Insurance Coverage will be the subject of litigation that is
expensive and time-consuming and in which Non-Settling Insurance Companies could raise
meritorious coverage defenses that may reduce the amount of coverage available under the
Insurance Policies.

       23.     Insurance Coverage Actions

        In accordance with the Plan, the BSA will contribute to the Settlement Trust, among
other things, rights to the Insurance Actions, which includes the pending Insurance Coverage
Actions. It is not currently known whether the Insurance Coverage Actions will result in a
favorable outcome for the Settlement Trust. Even if a favorable outcome is realized, the
amounts awarded and the costs associated with pursuing such litigation cannot be determined at
this time. Therefore, the ultimate value of the Insurance Coverage Actions being contributed to
the Settlement Trust is unknown.

       24.     Insurance Coverage Risks – Insurance Neutrality and Trust Distribution
               Procedures

       The Debtors’ Insurance Companies contend that the Plan and the Trust Distribution
Procedures are not confirmable, which the Debtors have disputed. Specifically, the Debtors’
Insurance Companies assert that the Plan and the Trust Distribution Procedures are not
confirmable due to a lack of “insurance neutrality” (i.e. because Insuance Companies contend
that the Plan, among other things, is an attempt by the Debtors, the Future Claimants’
Representative and the Coalition to misuse the bankruptcy process to derogate the rights of the
Debtors’ insurers under their insurance policies in order to unduly inflate insurer exposure). The
Debtors’ Insurance Companies contend that, unless the Plan is revised so that it no longer
impairs existing insurer rights and coverage defenses, the Plan cannot be confirmed because it
lacks “insurance neutrality” and was not proposed in “good faith.” The Debtors’ Insurance
Companies contend that the Plan is not insurance neutral and lacks “good faith” for various
reasons, including:

                       1.      Confirmation of the Plan would materially increase the “quantum
               of liability” that the Debtors’ Insurance Companies would face when compared
               that which would have existed in the tort system;
                       2.      The Plan and the Trust Distribution Procedures alter various rights
               that the Debtors’ Insurance Companies purport to have under the insurance
               policies, including:
                      a.      The right to defend Abuse Claims in an adversarial setting in
                              which legal judgments are entered following discovery and
                              consideration of evidence;



                                               281
Case 20-10343-LSS     Doc 6418-1        Filed 09/29/21   Page 289 of 303




          b.     The right to participate in the settlement of Abuse Claims and to
                 limit the applicable Insurance Company’s obligation to pay Abuse
                 Claims stemming from settlements entered into without the
                 consent of the applicable Insurance Company;

          c.     The right to receive the cooperation of any insureds under the
                 Insurance Policies;

          d.     The right to limit payment of Abuse Claims only to situations
                 where there is an entry of judgment against the insured by a court
                 of competent jurisdiction or a settlement to which the insurance
                 company has expressly consented; and

          e.     The right to settle non-Abuse Claims without the consent of the
                 Settlement Trust.

          3.      The Debtors’ Insurance Companies argue that the Plan improperly
   permits the payment of non-compensable claims because:
   a.     The Plan and the Trust Distribution Procedures appoint a Settlement
          Trustee that the Debtors’ Insurance Companies maintain is not
          disinterested in a process that prevents the Debtors’ Insurance Companies
          from objecting to claims and taking discovery in the manner they assert
          they are entitled to;

          b.     The Plan and the Trust Distribution Procedures do not provide the
                 Settlement Trustee with sufficient authority to reduce the value of
                 Direct Abuse Claims based on certain mitigating factors and have
                 no ability to disallow Direct Abuse Claims based on such factors;

          c.     The Plan and the Trust Distribution Procedures allow the
                 Settlement Trustee to base decisions regarding the applicable
                 statute of limitations or choice of law based on considerations that
                 are not appropriate;

          d.     The Plan and the Trust Distribution Procedures allow Abuse
                 Claimants to defer the determination of the Proposed Allowed
                 Claim for up to 12 months to see if there are changes to the
                 applicable statute of limitations law;




                                  282
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 290 of 303




                      e.      The Plan and the Trust Distribution Procedures do not require a
                              showing of even negligence on the part of any Protected Party to
                              establish the validity of a Direct Abuse Claim to be allowed at a
                              Base Matrix Value and that, for these and other reasons, the Plan
                              and Trust Distribution Procedures require the Settlement Trustee
                              to allow Abuse Claims that would not be entitled to any recovery
                              either in the tort system or under section 502 of the Bankruptcy
                              Code; and

                      f.      The Plan and the Trust Distribution Procedures guarantee that
                              every Abuse Claim may receive a distribution through the
                              Expedited Distribution, which certain of the Debtors’ Insurance
                              Companies have alleged allows payment of Abuse Claims even if
                              such Abuse Claim was fraudulent, time-barred, or otherwise
                              defensible in the tort system.

                       4.     The Plan requires the Bankruptcy Court to make findings in the
               Confirmation Order that the Settlement Trustee’s future determinations of
               Allowed Claim Amounts based on vague criteria in the Trust Distribution
               Procedures are fair, reasonable, and in good faith, with the goal of precluding
               insurers from arguing that any yet to be taken actions by the Settlement Trust or
               Settlement Trustee is a basis to limit or deny insurance coverage;
                       5.      The Plan inappropriately requires the Bankruptcy Court to make
               other findings expressly designed to set insurer liability at whatever amount the
               Settlement Trust unilaterally allows Abuse Claims at in the future with the goal of
               removing, to the greatest extent possible, all insurer coverage defenses in
               violation of prepetition insurance policies
                      6.     The Plan and the Trust Distribution Procedures are unconfirmable
               because they leave open the possibility that Claims will be presented to the
               Settlement Trust that were not filed prior to the Bar Date Order;
                       7.    The Plan interferes with the Debtors’ Insurance Companies rights
               to seek subrogation or contribution from other non-debtors; and
                       8.       The Plan improperly requires the consent of the Settlement Trust
               over any post-Effective Date settlements of any Non-Abuse Litigation claims that
               are entitled to any recovery from the proceeds of a Specified Insurance Policy.
          The Insurance Companies have asserted that (a) the Plan may not be confirmed based
on these objections, (b) the Plan may be subsequently altered or revised to address these
objections, and/or (c) rights to payment with respect to such Insurance Policies related to Abuse
Claims could be reduced or barred entirely post-Confirmation based on purported breaches of
the insurance policies The Debtors maintain that Plan and the Trust Distribution Procedures are
confirmable notwithstanding the objections of the Debtors’ Insurance Companies. Specifically,
the Debtors, the Coalition, and the Future Claimants’ Representative assert, among other things,
that (a) the Insurance Companies have no right to an insurance “neutral” Plan, and, in any event,


                                               283
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 291 of 303




the Insurance Companies mischaracterize what an “insurance neutral” Plan would require; (b)
the effect of the Plan on the Debtors’ Insurance Companies’ “quantum of liability” is not a
relevant consideration for Plan confirmation; (c) that the Plan and the Trust Distribution
Procedures do not prejudicially impact the Debtors’ Insurance Companies’ rights under any
insurance policies, (d) the Plan does not improperly permit the payment of any non-compensable
claims in violation of the Bankruptcy Code; (e) the findings sought in connection with the
confirmation of the Plan are appropriate and necessary for Plan confirmation; (f) the use of a
Settlement Trustee to administer the Trust Distribution Procedures does not improperly prejudice
the insurers’ coverage defenses or prejudice Debtors’ Insurance Companies’ rights under
prepetition insurance policies, (g) the fact that certain claimants with Abuse Claims against
non-Debtors can bring claims for a period after the Bar Date Order does not render the Plan and
the Trust Distribution Procedures unconfirmable, (h) the Plan does not prejudicially interfere
with Debtors’ Insurance Companies’ subrogation or contribution rights; and (i) requiring the
consent of the Settlement Trust over any post-Effective Date settlements on Non-Abuse
Litigation Claims does not prejudice the rights of any of Debtors’ Insurance Companies.

       The Debtors dispute that the Plan is prejudicial to the Debtors’ Insurance Companies and
maintain that the Plan has been proposed in good faith and through a means permitted by law.

       25.     Insurance Coverage Risks – Retentions and Deductibles

        As set forth in Article III.F of this Disclosure Statement, the Debtors’ Insurance
Companies have reserved rights to contest various Abuse Claims tendered to them based on
various coverage defenses. While the Debtors believe these defenses have no merit and are
working to resolve these disputes, to the extent any of these defenses prevail, rights to payment
with respect to such Insurance Policies related to Abuse Claims could be reduced or barred
entirely.

         Additionally, as set forth in Article III.F of this Disclosure Statement, the obligation to
pay certain deductibles under the certain Insurance Policies is disputed. However, it is the
BSA’s position that when the BSA cannot or does not pay the deductible, the primary Insurance
Policies issued between 1986 and 2008 require the insurer to pay. A dispute exists as to whether
the obligation on the primary insurer to pay the deductible on behalf of the BSA is subject to an
aggregate limit of liability. The primary insurers have asserted that a $1 million aggregate
applies to this obligation. Other insurers have asserted that the primary insurers’ obligation to
pay the deductible is not subject to any aggregate, and that the aggregate limit of liability only
applies to those damages in excess of the deductible. In the event that the aggregate limit of
liability does apply to the payment of the deductibles under the primary Insurance Policies, a
related dispute exists as to whether the BSA can directly access the excess insurance policies
issued between 1986 and 2008 or whether the BSA must continue to pay that deductible on an
ongoing basis for each claim.

        The excess insurers’ policies sit above primary policies, which have deductibles. To the
extent that the primary policies’ aggregate limits are eroded by Abuse Claims, including by the
payment of deductibles thereon, the excess policies add self-insured retentions (“SIRs”). BSA
takes the position that to the extent that aggregate limits are eroded and an unexhausted SIR
applies to Abuse Claims, then the excess insurers are only obligated to pay for the portion of the


                                                284
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 292 of 303




Abuse Claims that exceeds such SIR. In such event, the Settlement Trust would be obligated, in
accordance with the Trust Distribution Procedures, to satisfy the SIR to the extent required by
the relevant policies and applicable law.

        Certain insurers also contend that, even if the Debtors are not obligated to pay
deductibles, certain non-Debtors who will be Protected Parties are improperly avoiding their
obligations for such deductibles. The Debtors disagree and contend that pursuant to the
Channeling Injunction, all Abuse Claims against Protected Parties are channeled to the
Settlement Trust and liquidated pursuant to the Trust Distribution Procedures.

        In addition to the foregoing disputes with the Insurance Companies, certain Insurance
Companies may not have the ability to pay part or all of the amounts that are believed to be
owed under certain per-occurrence Insurance Policies. As noted above, certain Insurance
Policies have been exhausted and, therefore, amounts may not be available to pay claims under
such Insurance Policies.

       Any of the forgoing disputes could potentially reduce or eliminate the right to payment
under certain Insurance Policies. Moreover, defenses, disputes, and other relevant circumstances
could arise that could potentially reduce or eliminate the right to payment under certain
Insurance Policies.

       26.     Insurance Assignment Risks

        Pursuant to the Plan, the insurance rights of the BSA, Local Councils and Contributing
Chartered Organizations under their Insurance Policies will be assigned and transferred to the
Settlement Trust to be used to satisfy Abuse Claims in accordance with the Trust Distribution
Procedures. Certain parties in interest, including certain of the Debtors’ Insurance Companies,
contest the ability of the BSA to assign those rights under these Insurance Policies to the
Settlement Trust without insurer consent. Certain parties in interest also contest the ability of
non-Debtors, including Local Councils and Contributing Chartered Organizations as applicable,
to assign their rights under the Insurance Policies to the Settlement Trust without insurer
consent. To the extent that such assignment is not allowed, the assets contributed to the
Settlement Trust to satisfy Abuse Claims will be reduced or insurance coverage may be voided
by the assignment.

       27.     Risk Related to 1976 and 1977 Hartford Policies

        As set forth in Article III.F.1, Hartford issued primary insurance coverage to the BSA for
several years in the 1970s, including in 1976 and 1977. In 2011, the BSA and Hartford entered
into a settlement agreement which released Hartford for claims related to sexual-abuse. The
1976 and 1977 Hartford policies are included in such settlement agreement. Certain parties in
interest, including Local Councils and Chartered Organizations, have taken the position that the
BSA sold the 1976 and 1977 policies back to Hartford and, therefore, these policies are not
property of the BSA’s estate. The 2011 settlement agreement released only claims with respect
to sexual-abuse claims, but did not release all of the BSA’s interests in the policies. These
interests are still property of the BSA’s estate.



                                               285
                Case 20-10343-LSS              Doc 6418-1          Filed 09/29/21       Page 293 of 303




        Moreover, certain parties in interest, including Local Councils, Chartered Organizations
and certain Insurance Companies have taken the position that the 2011 settlement was only
between the BSA and Hartford, and therefore, the Local Councils and Chartered Organizations
still have the right to access coverage under the 1976 and 1977 Hartford policies for the Abuse
Claims. Hartford contends that the definition of BSA under the 2011 settlement agreement
includes, inter alia, each of the BSA’s past, present, and future affiliates. Therefore, Hartford
argues that “affiliates” includes Local Councils and Chartered Organizations.

             28.      Risk Related to Insurance Provisions in Article X.M of the Plan

        The provisions of the Plan related to insurance included in Article X.M of Plan conform
to the Bankruptcy Court’s statements at the May 19, 2021 hearing, as described more fully above
in Article II.K and Article VII.A.30 of this Disclosure Statement. However, there is a risk that
there will be extensive litigation concerning the provisions of the Plan and the Bankruptcy
Court’s findings and conclusions in support of confirmation. This litigation is likely to be
extremely costly and time-consuming, and as described in Article X.A.30 of this Disclosure
Statement, any delay beyond the winter in confirming the Plan may have extreme, negative
consequences on the Debtors’ ability to reorganize successfully. The Debtors believe they have
mitigated some of this risk by structuring Net Unrestricted Cash and Investments to take into
account the potentially prolonged time in bankruptcy and costs associated therewith as described
in Article X.A.30 of this Disclosure Statement, but actual results of operations are far from
certain. In addition to litigation before the Bankruptcy Court, it is likely that if the Plan is
confirmed with the current insurance provision found in Article X.M of the Plan, the Bankruptcy
Court’s Confirmation Order will be appealed. Appeal of the Confirmation Order could be costly
and time-consuming, and there is a risk that the Confirmation Order will be overturned on
appeal. Conversely, it is possible that the Bankruptcy Court will not confirm the Plan with
Article X.M as currently drafted and will require that the Debtors include amended insurance
neutrality language prior to confirmation of the Plan.

             29.      Insurance Risk Relating to Negative Notice Assignment

        So long as a Chartered Organization (i) does not object to Confirmation, (ii) does not
elect to opt out, (iii) is not a debtor in bankruptcy, or (iv) does not becomes a Contributing
Chartered Organization,125126 such Chartered Organization will automatically be treated as a
Participating Chartered Organization under the Plan and will have its insurance rights under
Abuse Insurance Policies assigned to the Settlement Trust in connection with the Participating
Chartered Organization Insurance Assignment. Parties in interest, including certain Insurance
Companies, have contended that because the Debtors are not receiving affirmative consent from
Chartered Organizations or Insurance Companies, there is a risk that the Participating Chartered
Organization Insurance Assignment violates applicable law, potentially impairing or voiding the
Insurance Policies subject to such assignment.




125126
             The treatment of Chartered Organizations under the Plan and the differences between a Participating Chartered
         Organization versus a Contributing Chartered Organization is explained in Article II.E herein.


                                                             286
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 294 of 303




       30.     Risk that the Allocation of Settlement Trust Assets for the Payment of Abuse
               Claims in Accordance with the Plan and Trust Distribution Procedures Will
               Not Be Approved

        Under the Plan, Chartered Organizations and Non-Settling Insurance Companies can
make contributions to the Settlement Trust before and after the Effective Date in order to
become Protected Parties and receive the benefits of the Channeling Injunction. The Plan and
Trust Distribution Procedures provide for the allowance, valuation and payment of Abuse
Claims as set forth therein and further described in Article VII herein. Pursuant to the terms of
the Trust Distribution Procedures, all assets contributed to the Settlement Trust by the BSA,
Local Councils and Settling Insurance Companies are pooled for the benefit of all holders of
Abuse Claims, irrespective of whether they have a valid claim against a Local Council or if their
Abuse Claim is insured. Furthermore, the Trust Distribution Procedures provide that a portion,
and not all, of the contributions to the Settlement Trust by Chartered Organizations that become
Protected Parties will be allocated to holders of Abuse Claims against that particular Chartered
Organization that meet certain requirements. Certain parties have objected to this structure.
They argue that claim determinations and distributions of Settlement Trust Assets to Abuse
Survivors should be allocated–at least in part–based upon the non-Debtor parties liable for such
Abuse Claims, and those parties’ contribution, if any, of assets to the Settlement Trust. The
Debtors believe that the structure proposed in the Trust Distribution Procedures is appropriate
and consistent with applicable law. However, there a risk that the Plan and Trust Distribution
Procedures may not be approved or will need to be modified with respect to this issue, and that
certain of the Settlement Trust Assets will be allocated only to holders of Abuse Claims against
particular Protected Parties, which may result in holders of Abuse Claims against other Protected
Parties or parties that have not become Protected Parties receiving a lower recovery on their
claim.

       31.     Failure to Obtain Approval of Releases, Injunctions, and Exculpation,
               Including the Channeling Injunction

        As set forth in Article VI.Q of this Disclosure Statement, the Plan provides for certain
Releases, Injunctions (including the Channeling Injunction), and exculpations, including a
release of Liens and third-party releases that may otherwise be asserted against the Debtors, the
Reorganized BSA, the other Released Parties and their respective Related Parties, Protected
Parties or Limited Protected Parties, as applicable. The Releases, Injunctions, and exculpations
(including, the Channeling Injunction) provided in the Plan are subject to objection by parties in
interest and may not be approved.

        In the Third Circuit, non-consensual third-party releases are permissible if they satisfy
the Continental hallmarks of “fairness and necessity to the reorganization,” which must be
supported by specific factual findings. In re Millennium Lab Holdings II, LLC, 575 B.R. 252,
272 (Bankr. D. Del. 2017) (citing Gillman v. Cont’l Airlines (In re Cont’l Airlines), 203 F.3d
203, 214 (3d Cir. 2000)). In determining whether such a release satisfies this standard, courts
apply the Master Mortgage factors: (1) an identity of interest between the debtor and the third
party, such that a suit against the non-debtor is, in essence, a suit against the debtor or will
deplete assets of the estate; (2) substantial contribution by the non-debtor of assets to the
reorganization; (3) the essential nature of the injunction to the reorganization to the extent that,


                                                287
          Case 20-10343-LSS         Doc 6418-1         Filed 09/29/21   Page 295 of 303




without the injunction, there is little likelihood of success; (4) an agreement by a substantial
majority of creditors to support the injunction, specifically if the impacted class or classes
‘overwhelmingly’ votes to accept the plan; and (5) provision in the plan for payment of all or
substantially all of the claims of the class or classes affected by the injunction. Id. (quoting In re
Zenith Elecs. Corp., 241 B.R. 92, 110 (Bankr. D. Del. 1999)). “These factors are neither
exclusive nor conjunctive requirements, but simply provide guidance in the Court’s
determination of fairness.” In re Washington Mut. Inc., 442 B.R. 314, 346 (Bankr. D. Del. 2011).

        If the Releases are not approved, including the non-consensual third party releases,
certain parties may not be considered Released Parties, Limited Protected Parties, or Protected
Parties, and certain of these parties could withdraw their support for the Plan and/or
contributions to the Settlement Trust based on the Plan’s failure, absent such releases, to release
and enjoin claims against such parties.

       32.     The Channeling Injunction

        The Channeling Injunction, which, among other things, bars the assertion of any Abuse
Claims against the Protected Parties or Limited Protected Parties, as applicable, is a necessary
element of the Plan. Although the Plan, the Settlement Trust Agreement, and the Trust
Distribution Procedures all have been drafted with the intention of complying with the
Bankruptcy Code, there is no guarantee that the validity and enforceability of the Channeling
Injunction or the application of the Channeling Injunction to Abuse Claims will not be
challenged, either before or after Confirmation of the Plan.

        While the Debtors believe that the Plan satisfies the requirements of the Bankruptcy
Code, certain objections might be lodged on grounds that the requirements of the Bankruptcy
Code cannot be met given the unique facts of the Chapter 11 Cases. At this juncture, the
Debtors believe that the Plan provides a sufficient basis for the issuance of the Channeling
Injunction under section 105(a) of the Bankruptcy Code.

       33.     Voting Requirements

        If sufficient votes are not received, the Debtors may seek to confirm an alternative
chapter 11 plan. There can be no assurance that the terms of any such alternative chapter 11 plan
would be similar or as favorable to the holders of Allowed Claims and Abuse Claims satisfied by
the Settlement Trust in accordance with the Trust Distribution Procedures as those proposed in
the Plan.

       34.     Timeline Risk

        There is a material risk that failure to emerge from these Chapter 11 Cases in a timely
manner could endanger the future of the BSA. In order to rebuild membership and ensure
successful recruiting and retention of existing members, the Debtors must emerge from the cloud
of these Chapter 11 Cases. The recruiting and the ultimate enrollment of new members may be
hampered by the fact that the cloud of bankruptcy remains during the fall recruiting
season—potentially eroding faith in the long term prospects of the BSA. If the number of new
members and returning members is substantially reduced from projections, the BSA could lack


                                                 288
           Case 20-10343-LSS                  Doc 6418-1     Filed 09/29/21   Page 296 of 303




the means to meet their operational needs or otherwise emerge from bankruptcy. Timely
emergence from Chapter 11 is essential to the Debtors’ ability to improve their operations.

        Substantial professional fees will continue to accrue until a plan is confirmed and
becomes effective. At this time, the Debtors’ bankruptcy estate bears the burden for the fees of
the professionals and advisors to the Debtors, the Tort Claimants’ Committee, the Future
Claimants’ Representative, the Unsecured Creditors’ Committee, and JPM. Such fees are
substantial and to date the Debtors have incurred more than $146 million126127 in professional
fees related to this restructuring. By the end of December 2021, the Debtors estimate the
professional fees in the Chapter 11 Cases will equal or exceed $205 million.127128 Each
successive month is expected to cost the estate approximately $10 million or more. The Debtors
believe this is wholly inappropriate for a non-profit chapter 11 proceeding and believe
emergency from bankruptcy as soon as possible is essential to stop the accrual of additional
professional fees. The potential for protracted litigation with Insurance Companies under the
Plan is great and will cause increased costs and expenses to the Debtors, including with respect
to professional fees. If such litigation ensues, there is a material risk that professional fees could
be much higher than the Debtors anticipate or are able to pay.

         35.      Conversion into Chapter 7 Cases

        If no plan of reorganization can be confirmed, the Debtors may choose to convert these
Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee
would be appointed or elected to liquidate the Debtors’ assets for distribution in accordance with
the priorities established by the Bankruptcy Code. Under section 1112(c) of the Bankruptcy
Code, the Chapter 11 Cases may not be converted to cases under chapter 7 without the Debtors’
consent.

         36.      Dismissal of the Chapter 11 Cases

        If the Plan is not confirmed, the Debtors or other parties in interest may seek dismissal of
the Chapter 11 Cases pursuant to section 1112 of the Bankruptcy Code. Without limitation,
dismissal of the Chapter 11 Cases would terminate the automatic stay and might allow certain
creditors to file lawsuits against the Debtors or take other action to pursue their Claims against
the Debtors. Accordingly, the Debtors believe that dismissal of the Chapter 11 Cases would
significantly reduce the value of the Debtors’ remaining assets.

         37.      Parties in Interest May Object to the Plan Based on Section 1129(a)(7) of the
                  Bankruptcy Code

        The Debtors may need to satisfy the “best interests of creditors” test, embodied in section
1129(a)(7) of the Bankruptcy Code. As a threshold matter, the Debtors do not believe the best
interests test applies to non-profit organizations such as the Debtors in light of the restrictions on
the forced sale of a non-profit’s assets under the Bankruptcy Code and applicable state law. If
the Bankruptcy Court disagrees with this position, then the best interests test should apply only
with respect to recoveries of claimants on account of their claims against the Debtors in a
126127
         Amount excludes bar noticing fees.
127128
         Amount excludes bar noticing fees.


                                                       289
            Case 20-10343-LSS       Doc 6418-1        Filed 09/29/21   Page 297 of 303




hypothetical liquidation of the Debtors, and not with respect to recoveries against Protected
Parties in such a scenario. However, to the extent the Bankruptcy Court determines that the Plan
must satisfy the best interests test with respect to Protected Parties, the Debtors will be prepared
at confirmation to address those standards, including through the Liquidation Analysis, which
shows that the Debtors and Local Councils satisfy the test, and/or through other expert testimony
related to whether holders of Impaired Claims will receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such holder would receive in a
liquidation under chapter 7. If the Bankruptcy Court determines that the Plan does not satisfy
the requirements of the best interests test, to the extent it applies, the Plan may not be Confirmed
or may only be Confirmed with modifications, including potential modifications to the
nonconsensual third party releases included in the Plan. If the Plan cannot be Confirmed
because of this issue, the Debtors’ options going forward aremay be limited to: (1) reaching
agreement on a fully consensual plan; (2) satisfying the best interest of creditors test; (3)
voluntary or involuntary dismissal; and, (4) voluntary conversion to Chapter 7.

B.     Additional Factors

       1.      Debtors Could Withdraw the Plan

       Subject to, and without prejudice to, the rights of any party in interest, the Plan may be
revoked or withdrawn before the Confirmation Date by the Debtors.

       2.      Debtors Have No Duty to Update

        The statements contained in this Disclosure Statement are made by the Debtors as of the
date hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after
that date does not imply that there has been no change in the information set forth herein since
that date. Additionally, the Debtors have no duty to update this Disclosure Statement unless
otherwise ordered to do so by the Bankruptcy Court.

       3.      No Representations Outside this Disclosure Statement Are Authorized

        No representations concerning or related to the Debtors, the Chapter 11 Cases, or the
Plan are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in
this Disclosure Statement. Any representations or inducements made to secure your acceptance
or rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.

       4.      No Legal or Tax Advice Is Provided by this Disclosure Statement

       The contents of this Disclosure Statement should not be construed as legal, business, or
tax advice. Each holder of a Claim or Interest should consult its own legal counsel and
accountant as to legal, tax, and other matters concerning their Claim or Interest. This Disclosure
Statement is not legal advice to you. This Disclosure Statement may not be relied upon for any
purpose other than to determine how to vote on the Plan or object to Confirmation of the Plan.




                                                290
            Case 20-10343-LSS      Doc 6418-1        Filed 09/29/21   Page 298 of 303




       5.      This Disclosure Statement May Contain Forward Looking Statements

        This Disclosure Statement may contain “forward looking statements” within the meaning
of the Private Securities Litigation Reform Act of 1995. Such statements consist of any
statement other than a recitation of historical fact and can be identified by the use of forward
looking terminology such as “may,” “expect,” “anticipate,” “estimate” or “continue” or the
negative thereof or other variations thereon or comparable terminology. The reader is cautioned
that all forward looking statements are necessarily speculative and there are certain risks and
uncertainties that could cause actual events or results to differ materially from those referred to
in such forward looking statements. The liquidation analysis, distribution projections or other
information contained herein and attached hereto are estimates only, and the timing and amount
of actual distributions to holders of Allowed Claims and Abuse Claims satisfied by the
Settlement Trust in accordance with the Trust Distribution Procedures may be affected by many
factors that cannot be predicted. Therefore, any analyses, estimates or recovery projections may
or may not turn out to be accurate.

       6.      No Admission Made

        Nothing contained herein or in the Plan shall constitute an admission of, or shall be
deemed evidence of, the tax or other legal effects of the Plan on the Debtors or holders of Claims
or Interests.

            ARTICLE XI. CERTAIN UNITED STATES FEDERAL INCOME TAX
                          CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain U.S. federal income tax consequences
of the Plan and is for general information purposes only. This summary should not be relied
upon for purposes of determining the specific tax consequences of the Plan with respect to a
particular holder of a Claim or Interest. This discussion does not purport to be a complete
analysis or listing of all potential tax considerations.

        This discussion is based on existing provisions of the Internal Revenue Code of 1986, as
amended (the “Code”), existing and proposed Treasury Regulations promulgated thereunder, and
current administrative rulings and court decisions. Legislative, judicial, or administrative
changes or interpretations enacted or promulgated after the date hereof could alter or modify the
analyses set forth below with respect to the U.S. federal income tax consequences of the Plan.
Any such changes or interpretations may be retroactive and could significantly affect the U.S.
federal income tax consequences of the Plan.

       Due to the lack of definitive judicial and administrative authority in a number of areas,
substantial uncertainty may exist with respect to some of the tax consequences described below.
No ruling has been requested or obtained from the IRS with respect to any tax aspects of the
Plan and no opinion of counsel has been sought or obtained with respect thereto. The discussion
below is not binding upon the IRS or any court. No assurance can be given that the IRS would
not assert, or that a court would not sustain, a different position than any position discussed
herein. No representations or assurances are being made to the holders of Claims or Interests
with respect to the U.S. federal income tax consequences described herein. Except as


                                               291
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 299 of 303




specifically set forth below, this discussion addresses only holders of Claims or Interests that are
“United States persons” (within the meaning of Section 7701(a)(30) of the Code).

     ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN U.S.
FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES
ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE
BASED UPON THE INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER
OF A CLAIM OR INTEREST. ALL HOLDERS OF CLAIMS OR INTERESTS ARE
URGED TO CONSULT THEIR OWN TAX ADVISORS FOR THE FEDERAL, STATE,
LOCAL AND NON-U.S. TAX CONSEQUENCES OF THE PLAN.

A.     The Settlement Trust

        On the Confirmation Date, the Settlement Trust shall be established in accordance with
the Trust Documents. The Settlement Trust is intended to qualify as a “qualified settlement
fund” (“QSF”) pursuant to Treasury Regulation section 1.468B-1. The Protected Parties are the
“transferors” within the meaning of Treasury Regulation Section 1.468B-1(d)(1). The
Settlement Trustee shall be classified as the “administrator” within the meaning of Treasury
Regulation Section 1.468B-2(k)(3). The Trust Documents, including the Settlement Trust
Agreement, are incorporated herein by reference.

        Reorganized BSA shall make a “grantor trust” election under Treasury Regulation
section 1.468B-1(k) with respect to the Settlement Trust for U.S. federal income tax purposes
and, to the extent permitted under applicable law, for state and local income tax purposes. By
making such election, the Settlement Trust is effectively treated as an extension of Reorganized
BSA. All parties shall report consistently with such grantor trust election.

B.     Holders of Claims

        The federal income tax consequences to a holder of a Claim receiving, or entitled to
receive, a distribution in partial or total satisfaction of a Claim may depend on a number of
factors, including the nature of the Claim, the claimants’ method of accounting, and their own
particular tax situation. Because each claimant’s tax situation differs, claimants should consult
their own tax advisors to determine how the Plan affects them for federal, state and local tax
purposes, based on their particular tax situations.

        Among other things, the federal income tax consequences of a distribution to a claimant
may depend initially on the nature of the original transaction pursuant to which the Claim arose.
For example, a distribution in repayment of the principal amount of a loan is generally not
included in the claimant’s gross income. A distribution to a holder of an Abuse Claim may not
be taxable as it may be considered compensation for personal injuries. The federal income tax
consequences of a distribution to a claimant may also depend on whether the item to which the
distribution relates has previously been included in the claimant’s gross income or has
previously been subject to a loss or bad debt deduction. For example, if a distribution is made in
satisfaction of a receivable acquired in the ordinary course of the claimant’s trade or business,
and the claimant had previously included the amount of such receivable distribution in his or her
gross income under his or her method of accounting, and had not previously claimed a loss or


                                                292
          Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21    Page 300 of 303




bad debt deduction for that amount, the receipt of the distribution should not result in additional
income to the claimant but may, as discussed below, result in a loss.

       Conversely, if the claimant had previously claimed a loss or bad debt deduction with
respect to the item previously included in income, the claimant generally would be required to
include the amount of the distribution in income when received.

         A claimant receiving a distribution in satisfaction of his or her Claim generally may
recognize taxable income or loss measured by the difference between (i) the amount of Cash and
the fair market value (if any) of the property received and (ii) its adjusted tax basis in the Claim.
For this purpose, the adjusted tax basis may include amounts previously included in income (less
any bad debt or loss deduction) with respect to that item. This income or loss may be ordinary
income or loss if the distribution is in satisfaction of accounts or notes receivable acquired in the
ordinary course of the claimant’s trade or business for the performance of services or for the sale
of goods or merchandise. In addition, if a claimant had claimed an ordinary bad debt deduction
for the worthlessness of his or her Claim in whole or in part in a prior taxable year, any income
realized by the claimant as a result of receiving a distribution may be taxed as ordinary income
to the extent of the ordinary deduction previously claimed. Generally, the income or loss will be
capital gain or loss if the Claim is a capital asset in the claimant’s hands.

       Subject to the qualifications and limitations set forth above:

               1. A holder of a Class 3A, 3B, 4A, or 4B Claim may recognize gain or loss
                  pursuant to the Plan depending on whether the receipt of the Claim under the
                  Restated Credit Facility Documents or under the Restated Bond Documents,
                  as applicable, in satisfaction of its existing Claim is treated as a taxable
                  exchange for U.S. federal income tax purposes. The tax treatment of the
                  receipt of such Claim pursuant to the Plan is unclear – although it seems
                  likely under applicable law that the receipt of the Claims would be treated as a
                  taxable exchange. Holders of Class 3A, 3B, 4A, or 4B Claims are strongly
                  urged to consult their own tax advisors regarding the specific tax
                  consequences of the transactions described in the Plan.

               2. A holder of a Class 5 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of the cash and the fair market value (if
                  any) of the property received and (ii) its adjusted tax basis in the Convenience
                  Claim.

               3. A holder of a Class 6 Claim generally will recognize gain or loss measured by
                  the difference between (i) the U.S. dollar value of such holder’s Pro Rata
                  Share of the Core Value Cash Pool received and the fair market value (if any)
                  of the property received and (ii) its adjusted tax basis in the General
                  Unsecured Claim.

               4. A holder of a Class 7 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of cash received from (a) available
                  Insurance Coverage, (b) applicable proceeds of any Insurance Settlement


                                                293
         Case 20-10343-LSS         Doc 6418-1        Filed 09/29/21   Page 301 of 303




                   Agreements, and (c) co-liable non-debtors (if any) or their insurance
                   coverage, and (ii) its adjusted tax basis in the Non-Abuse Litigation Claim,
                   unless such holder elects to have its Claim treated as an Allowed Convenience
                   Claim. A holder of a Class 7 Claim that elects to have its Claim treated as an
                   Allowed Convenience Claim generally will recognize gain or loss measured
                   by the difference between (i) the amount of the cash and the fair market value
                   (if any) of the property received and (ii) its adjusted tax basis in the
                   Non-Abuse Litigation Claim.

               5. The United States federal income tax treatment of a Class 8 Claim will
                  depend on several factors, including the nature of the Abuse that forms the
                  basis for the relevant Claim. As a result, certain holders of Class 8 Claims
                  generally will recognize gain or loss measured by the difference between (i)
                  the amount of the cash and the fair market value (if any) of the property
                  received and (ii) their adjusted tax basis in the Direct Abuse Claim, while
                  other holders will not be required to include the amount of such cash or the
                  value of such property in their gross income for U.S. federal income tax
                  purposes. Holders of Class 8 Claims are urged to consult their tax advisors
                  concerning the tax consequences of the Plan.

               6. A holder of a Class 9 Claim generally will recognize gain or loss measured by
                  the difference between (i) the amount of the cash and the fair market value (if
                  any) of the property received and (ii) its adjusted tax basis in the Indirect
                  Abuse Claim.

C.     Holders that are Non-United States Persons

        Holders of Claims that are not “United States persons” (within the meaning of Section
7701(a)(30) of the Code) generally will not be subject to U.S. federal income tax with respect to
property (including Cash) received in exchange for such Claims, unless (i) such holder is
engaged in a trade or business in the United States to which income, gain or loss from the
exchange is “effectively connected” for U.S. federal income tax purposes, or (ii) if such holder is
an individual, such holder is present in the United States for 183 days or more during the taxable
year of the exchange and certain other requirements are met.

               ARTICLE XII. CONCLUSION AND RECOMMENDATION

        In the opinion of the Debtors and the Supporting Parties, the Plan is preferable to all
other available alternatives and provides for a larger and more timely distribution to the Debtors’
creditors than would otherwise result from any other scenario. Any alternative to Confirmation
of the Plan, moreover, could result in extensive delays, increased administrative expenses,
reduced financial performance, and a potential liquidation. Accordingly, the Debtors and the
Supporting Parties believe that the Plan provides the best available recovery to their stakeholders
and urge the holders of Claims in the Voting Classes to vote in favor thereof. The Debtors and
the Supporting Parties support confirmation of the Plan and recommend that holders of Claims in
the Voting Classes vote to accept the Plan.



                                               294
Case 20-10343-LSS   Doc 6418-1     Filed 09/29/21   Page 302 of 303




                             295
       Case 20-10343-LSS      Doc 6418-1   Filed 09/29/21   Page 303 of 303




Dated: September 2729, 2021            Boy Scouts of America
                                       Delaware BSA, LLC

                                       /s/
                                       Roger C. Mosby
                                       Chief Executive Officer and President
